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                                      May 03, 2018                               ·

       ·1
       · · · · · · · · · · UNITED STATES DISTRICT COURT
       ·2· · · · · · · · · SOUTHERN DISTRICT OF FLORIDA
       · · · · · · · · · · · · · ·MIAMI DIVISION
       ·3
       · · · · · · · · · · ·CASE NO. 1:17-cv-60426-UU
       ·4

       ·5
       · · ALEKSEJ GUBAREV, XBT HOLDING
       ·6· S.A., AND WEBZILLA, INC.,

       ·7· · · · ·Plaintiff,

       ·8· -vs-

       ·9
       · · BUZZFEED, INC. AND BEN SMITH,
       10
       · · · · · ·Defendant.
       11· ___________________________________/

       12

       13· · · · · · · · · · · · · ·VIDEOTAPED

       14
       · · · · · · · · · · · · · · DEPOSITION
       15
       · · · · · · · · · · · · · · · · ·OF
       16
       · · · · · · · · · · · KOSTYANTYN BEZRUCHENKO
       17

       18

       19· · · · · · · · · · · · · May 3, 2018
       · · · · · · · · · · · ·10:06 a.m. - 5:28 p.m.
       20· · · · · · ·201 S. Biscayne Boulevard, Suite 1300
       · · · · · · · · · · · · Miami, Florida 33131
       21

       22
       · · · · · · · · · ·Stenographically Reported By:
       23· · · · · · · · · · · SHARON VELAZCO, RPR
       · · · · · · · · · Registered Professional Reporter
       24

       25


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       · · · · Buzzfeed, Inc.
       22

       23
       · · Also Present:· · ·Roderick Pratt, Videographer
       24· · · · · · · · · · Mykola Tyshchenko, Interpreter

       25


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       22· · · · · · · · · · · · ·_· · ·_· · ·_

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       ·1· Videotaped Deposition taken before SHARON VELAZCO,
       ·2· Registered Professional Reporter and Notary Public in and
       ·3· for the State of Florida at Large, in the above cause.
       ·4· · · · · · · · · · · · · · -------
       ·5· · · · · · THE VIDEOGRAPHER:· Good morning.· We are now on
       ·6· · · ·the video record.· Today is Thursday the 3rd day of
       ·7· · · ·May, 2018.· The time is approximately 10:06 A.M.· We
       ·8· · · ·are at 201 South Biscayne Boulevard, Suite 1300,
       ·9· · · ·Miami, Florida, for the purpose of taking the video
       10· · · ·deposition of Kostyantyn Bezruchenko, taken by the
       11· · · ·defendant in Case Number 117 CV 06426 UU in the
       12· · · ·matter of Aleksej Gubarev versus Buzzfeed
       13· · · ·Incorporated, which is filed in the United States
       14· · · ·District Court, Southern District of Florida, Miami
       15· · · ·Division.
       16· · · · · · The court reporter is Sharon Velazco of U.S.
       17· · · ·Legal Support.· The videographer is Roderick Pratt of
       18· · · ·U.S. Legal Support.
       19· · · · · · Would all counsel please state their appearance
       20· · · ·for the record.
       21· · · · · · MS. BOLGER:· Katherine Bolger from Davis Wright
       22· · · ·Tremaine on behalf of the defendant.· With me is my
       23· · · ·colleague Adam Lazier, and Nabiha Syed of Buzzfeed.
       24· · · · · · MR. BLACK:· Roy Black, also for Buzzfeed.
       25· · · · · · MR. FRAY-WITZER:· Evan Fray-Witzer for


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       ·1· · · ·plaintiffs.
       ·2· · · · · · MR. GURVITS:· Val Gurvits for plaintiffs.
       ·3· · · · · · (Russian Interpreter Mykola Tyshchenko was duly
       ·4· · · ·sworn.)
       ·5· Thereupon:
       ·6· · · · · · · · · · KONSTYANTYN BEZRUCHENKO
       ·7· Was called as a witness and duly sworn, and testified as
       ·8· follows:)
       ·9· · · · · · · · · · · ·DIRECT EXAMINATION
       10· BY MS. BOLGER:
       11· · · ·Q.· ·Good morning, Mr. Bezruchenko.
       12· · · ·A.· ·Good morning.
       13· · · ·Q.· ·How is my pronunciation?· Am I okay?
       14· · · ·A.· ·Great, great.· You are trained properly.
       15· · · ·Q.· ·Well, great.· Thank you for being here with us
       16· today.· I know you were here on Monday, with Mr. Gubarev
       17· for the whole deposition.· So you know the drill.
       18· · · · · · Have you ever been deposed before?
       19· · · ·A.· ·No.
       20· · · ·Q.· ·Mr. Bezruchenko, I speak very quickly.· If I
       21· speak too quickly, please ask me to slow down and I will
       22· be happy to do so.
       23· · · ·A.· ·Thank you.
       24· · · ·Q.· ·So Mr. Bezruchenko, how long have you known
       25· Mr. Gubarev?


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       ·1· · · ·A.· ·Since 2003, I believe.
       ·2· · · ·Q.· ·And where did you meet each other?
       ·3· · · ·A.· ·Cyprus.
       ·4· · · ·Q.· ·And under what circumstances?
       ·5· · · ·A.· ·I don't remember.· That -- I don't remember.
       ·6· · · ·Q.· ·Okay.· Is it fair to say you are both members of
       ·7· the expat Russian community in Cyprus?
       ·8· · · ·A.· ·No.
       ·9· · · ·Q.· ·Okay.· What is wrong with that sentence?
       10· · · ·A.· ·I'm not Russian.
       11· · · ·Q.· ·Okay.· You are Ukrainian, right?
       12· · · ·A.· ·Yes.
       13· · · ·Q.· ·And is it fair to say that you are both members
       14· of the expat Ukrainian --
       15· · · ·A.· ·No.
       16· · · ·Q.· ·Community -- okay.· Correct me.· What is wrong
       17· with that sentence?
       18· · · ·A.· ·To my knowledge, Aleksej Gubarev is not
       19· Ukrainian.
       20· · · ·Q.· ·Okay.· And did you meet each other in a social
       21· setting or a professional setting?
       22· · · ·A.· ·Social.
       23· · · ·Q.· ·And how did it come to pass that you became
       24· business associates?
       25· · · ·A.· ·At the time, I was in a business of managing


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       ·1· servers, and I see that there is a lack of this service in
       ·2· the hosting area, and I was proposed to Aleksej to create
       ·3· a hosting company.
       ·4· · · ·Q.· ·Okay.· You said you were in the business of
       ·5· managing servers.
       ·6· · · ·A.· ·Yes.
       ·7· · · ·Q.· ·Where were you -- what company did you work for?
       ·8· · · ·A.· ·At the time, I worked for ICOO Soft, I-C-O-O
       ·9· Soft.
       10· · · ·Q.· ·What did you do for ICOO Soft?
       11· · · ·A.· ·Managing their infrastructure servers.
       12· · · ·Q.· ·And do you mean managing the actual physical
       13· hardware of their infrastructure?
       14· · · ·A.· ·No, it was software like configuration, security,
       15· and maintenance.
       16· · · ·Q.· ·Okay.· And did ICOO Soft have servers in Cyprus
       17· or elsewhere?
       18· · · ·A.· ·Elsewhere.
       19· · · ·Q.· ·Where were they?
       20· · · ·A.· ·I don't remember.· Most likely, in the U.S.A.
       21· · · ·Q.· ·Okay.· And so you -- how did you -- if the
       22· servers were in the U.S.A, and you were in Cyprus, how did
       23· you manage the server?
       24· · · ·A.· ·Remotely.
       25· · · ·Q.· ·Okay.· And what kinds of things did you perform?


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     ·1· What kind of management services?
     ·2· · · ·A.· ·Application installation like Apache database,
     ·3· web servers, databases, firewalls, whatever they -- they
     ·4· needs to perform their activities.
     ·5· · · ·Q.· ·Okay.· In that -- in that capacity, were you
     ·6· responsible for security in the ICOO Soft -- on the ICOO
     ·7· Soft servers?
     ·8· · · ·A.· ·I was not designated.· There was no designated
     ·9· person to be responsible for security, but I performed
     10· that duty, yes --
     11· · · ·Q.· ·And what --
     12· · · ·A.· ·-- voluntarily.
     13· · · ·Q.· ·Okay.· And what was your -- what were those
     14· duties?
     15· · · ·A.· ·Like to be responsible that the servers stayed up
     16· to date, and they have -- there is no -- not unauthorized
     17· access, and all these things.
     18· · · ·Q.· ·Okay.· And were you also responding to abuse
     19· notifications on the ICOO Soft servers?
     20· · · ·A.· ·No.
     21· · · ·Q.· ·Whose responsibility was that?
     22· · · ·A.· ·I don't remember.· I -- I -- I don't think if
     23· there was any abuse notifications there.
     24· · · ·Q.· ·Okay.· So you said you thought that there was a
     25· lack -- isn't your word, so I apologize if I am using an


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     ·1· incorrect word, but you said that there was sort of an
     ·2· absence of these kinds of businesses, or a lack of these
     ·3· kinds of businesses, and you saw a business opportunity.
     ·4· Is that right?
     ·5· · · ·A.· ·That's correct.
     ·6· · · ·Q.· ·Can you explain what that absence was?
     ·7· · · ·A.· ·Yes.· Most of the hosting companies at that time,
     ·8· they didn't offer management services, and overall,
     ·9· experience of the average people who looking to do a
     10· business in Internet was not that great to understand how
     11· to set up everything to be online.· So I was able to set
     12· up them -- application so they can do their online
     13· business.
     14· · · ·Q.· ·Okay.· And I think we are going to talk about
     15· this a fair amount today, so why don't you and I get an
     16· agreed baseline definition.· What is a managed server
     17· versus an unmanaged server?
     18· · · ·A.· ·The managed server is -- well, like, if it is
     19· applicable to Webzilla, or in general?
     20· · · ·Q.· ·Just as a baseline definition, as a general
     21· matter.
     22· · · ·A.· ·A managed server is if someone actually has
     23· access to server and managed, like, installs the
     24· software-configured server, and unmanaged server is the
     25· server which is just a bare metal and no -- it is not


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     ·1· managed by -- not anyone but customer, not anyone but
     ·2· customer.
     ·3· · · ·Q.· ·Okay.· Working backwards, is there a difference
     ·4· in -- well, say the terms as used by XBT and Webzilla,
     ·5· between a bare metal server and unmanaged server?
     ·6· · · ·A.· ·Bare metal server -- it's completely different
     ·7· definition, managed and unmanaged, that is the right
     ·8· definition.· Bare metal can be both managed and unmanaged.
     ·9· · · ·Q.· ·Okay.· So just so we're not confused, give me a
     10· definition then of bare metal server.
     11· · · ·A.· ·There is -- virtual server, which is not the
     12· physical device.· On one physical server, there can be
     13· many virtual servers.· Bare metal server is the physical
     14· server.
     15· · · ·Q.· ·As I understand bare metal server, bare metal
     16· servers are simply that; a physical box, with no operating
     17· system or any other kind of software.· It is just the
     18· physical box.· Is that right?
     19· · · ·A.· ·Yes.
     20· · · ·Q.· ·Okay.· So when we talk about bare metal server,
     21· that's the way I will use the term.· Agreed?
     22· · · ·A.· ·Yes.
     23· · · ·Q.· ·Okay.· And when we talk about managed servers,
     24· managed servers, as I understand what you just said, are
     25· servers that your customer can rent, but that you, as the


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     ·1· managed server proprietor, have access to, to put on
     ·2· operating systems and to service.· Correct?
     ·3· · · ·A.· ·Managed server?
     ·4· · · ·Q.· ·Yes?
     ·5· · · ·A.· ·Yes.
     ·6· · · ·Q.· ·And unmanaged servers are servers that your
     ·7· customer uses that you all may put an operating system on,
     ·8· but then you have no further management of; is that
     ·9· correct?
     10· · · ·A.· ·Yes, and don't have access to the server anymore,
     11· after that point.
     12· · · ·Q.· ·Okay.· Just to talk quick -- well, we will get to
     13· that.· I am fine with that.· Let's move on a little bit.
     14· · · · · · Okay.· So you proposed to Mr. Gubarev, "Hey,
     15· let's start a serving company."
     16· · · · · · He said, "Great idea."
     17· · · · · · And you went into business with a third person,
     18· Mr. Boredin, is that right?
     19· · · ·A.· ·No.
     20· · · ·Q.· ·No?· Just the two of you?
     21· · · ·A.· ·No. The last name is not correct.
     22· · · ·Q.· ·Oh.
     23· · · ·A.· ·It was "Boredin."
     24· · · ·Q.· ·Okay.· And who was Mr. Boredin?
     25· · · ·A.· ·He was just another person I met on Cyprus.


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     ·1· · · ·Q.· ·Okay.· And when did the three of you go into
     ·2· business together?
     ·3· · · ·A.· ·I believe it was April, May, 2005.
     ·4· · · ·Q.· ·Okay.· And what was the business you guys formed
     ·5· together in 2005?
     ·6· · · ·A.· ·Webazilla was the name, W-E-B-A-Z-I-L-L-A.
     ·7· · · ·Q.· ·Incidentally, Mr. Bezruchenko, your colleagues
     ·8· call you BK; correct?
     ·9· · · ·A.· ·Only recent year, and it was invented by Rajesh.
     10· · · ·Q.· ·By Rajesh -- what -- is there -- my initials are
     11· also KB, Mr. Bezruchenko.· Why BK?
     12· · · ·A.· ·Obviously, they have hard time to pronounce my
     13· last and first name, especially Rajesh, and he went to
     14· this, and everyone started calling me like that.
     15· · · ·Q.· ·Okay.· Great.· Okay.· So in 2005, you founded
     16· Webazilla.· Why did you all choose the name Webazilla?
     17· · · ·A.· ·Actually, at that time, we wanted to choose
     18· Webzilla, but it was already occupied.· So we just added
     19· one letter and it became Webazilla.
     20· · · ·Q.· ·Why did you choose the name Webzilla?
     21· · · ·A.· ·No, because we were kind of related -- it is web
     22· hosting, and there was Mozilla, and Gozilla, and like --
     23· good name, Webzilla.
     24· · · ·Q.· ·Okay.· And you started the business in 2005.· How
     25· much of the business do you own?


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     ·1· · · ·A.· ·At the time we opened the company, it was equal
     ·2· between three of us.
     ·3· · · ·Q.· ·Okay.· And over time, that has changed; correct?
     ·4· · · ·A.· ·Yes.
     ·5· · · ·Q.· ·Why has that changed?
     ·6· · · ·A.· ·Because business has grown, and it required some
     ·7· additional investments, and I was not able to put
     ·8· additional money, so yeah.
     ·9· · · ·Q.· ·Okay.· Now, you said at the beginning of the
     10· deposition that you are Ukrainian; correct?
     11· · · ·A.· ·Yes, correct.
     12· · · ·Q.· ·And when did you move to Cyprus?
     13· · · ·A.· ·In 2003, end of 2003, October of 2003.
     14· · · ·Q.· ·Why the move to Cyprus?
     15· · · ·A.· ·I get a job offer.
     16· · · ·Q.· ·Okay.· And did you go to university in Ukraine?
     17· · · ·A.· ·Twice, but it was unfinished in both cases.
     18· · · ·Q.· ·Okay.· And what did you study at university?
     19· · · ·A.· ·It was Robotics.
     20· · · ·Q.· ·Robotics?
     21· · · ·A.· ·Robotics, yes.
     22· · · ·Q.· ·Did you ever study computer programming?
     23· · · ·A.· ·Yes.· In college.
     24· · · ·Q.· ·Okay.· What universities did you go to?
     25· · · ·A.· ·It was East Ukrainian National University.


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     ·1· · · ·Q.· ·Both times?
     ·2· · · ·A.· ·Yes.
     ·3· · · ·Q.· ·Is East Ukraine the part of the country that --
     ·4· part of Ukraine that is currently -- let's use the word
     ·5· "occupied" by the Russians?
     ·6· · · ·A.· ·That's right word, is "occupied."
     ·7· · · ·Q.· ·And that's where the East Ukrainian University
     ·8· is; correct?
     ·9· · · ·A.· ·That's correct.
     10· · · ·Q.· ·Where do you currently live?
     11· · · ·A.· ·In Limassol, Cyprus and in Dallas, Texas.
     12· · · ·Q.· ·And how often are you in Dallas, Texas?
     13· · · ·A.· ·I didn't count, but quite often.· A few months a
     14· year.
     15· · · ·Q.· ·And why are you in Dallas, Texas?
     16· · · ·A.· ·I am the -- I have business there.· I am employee
     17· of the U.S. company.· I am the lawful --
     18· · · · · · THE COURT REPORTER:· I'm sorry --
     19· · · · · · THE WITNESS:· I have a business in Dallas.            I
     20· have -- like I am the lawful permanent resident of the
     21· United States.
     22· BY MS. BOLGER:
     23· · · ·Q.· ·Where did you learn your English, Mr.
     24· Bezruchenko?
     25· · · ·A.· ·On Cyprus.


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     ·1· · · ·Q.· ·It is considerably better than my Russian, so
     ·2· thank you.
     ·3· · · ·A.· ·Thank you.
     ·4· · · ·Q.· ·Have you been to Prague?
     ·5· · · ·A.· ·Yes.
     ·6· · · ·Q.· ·How many times have you been to Prague?
     ·7· · · ·A.· ·Once.
     ·8· · · ·Q.· ·When was that?
     ·9· · · ·A.· ·October 2016.
     10· · · ·Q.· ·What were you doing in Prague?
     11· · · ·A.· ·I have been in the -- Hitache Customer
     12· Conference.
     13· · · ·Q.· ·What is the Hitache Customer Conference?
     14· · · ·A.· ·Hitache is the company who produced the hard
     15· drives and SSD drives, and we are obviously using their
     16· products in quite considerable amounts, and we also was
     17· invited to their conference.· That was the second
     18· conference I went, in their --
     19· · · ·Q.· ·And how long were you in Prague?
     20· · · ·A.· ·I don't remember.· Maybe about a week.
     21· · · ·Q.· ·And it was essentially what I would call -- are
     22· you familiar with the American phrase, a boondoggle?
     23· · · ·A.· ·Sorry?
     24· · · ·Q.· ·Are you familiar with the American phrase, a
     25· boondoggle?


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     ·1· · · · · · MR. FRAY-WITZER:· Objection.
     ·2· · · · · · You can answer.
     ·3· · · · · · THE WITNESS:· Unfortunately, not.
     ·4· BY MS. BOLGER:
     ·5· · · ·Q.· ·No?· Apparently, there is no word for boondoggle
     ·6· in Russian.· And now we have all learned something about
     ·7· our respective cultures.· Okay.
     ·8· · · · · · You have been to the A -- American -- the AMW
     ·9· Open; correct?
     10· · · ·A.· ·Yes.
     11· · · ·Q.· ·Sorry.· AWM Open?
     12· · · ·A.· ·Yes.
     13· · · ·Q.· ·And these are -- I am going to ask -- I am
     14· handing you what was marked as Exhibits PX104, 70, 69,
     15· 68,67, 66, 65, 64, 63, 62, 60 and 61.
     16· · · · · · What is -- just for the record, the AWM Open?
     17· · · ·A.· ·It was Adult Webmaster conference, Adult
     18· Webmaster Open.
     19· · · ·Q.· ·And what is an adult webmaster?
     20· · · ·A.· ·It is a webmaster who is generally involved in
     21· the adult entertainment business.
     22· · · ·Q.· ·Okay.· And are you an -- were you an adult
     23· webmaster?
     24· · · ·A.· ·I was not -- never adult webmaster.
     25· · · ·Q.· ·If you look at exhibit PX104, there is a


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     ·1· photograph of you holding what looks like an award.
     ·2· · · ·A.· ·Yes.
     ·3· · · · · · MR. FRAY-WITZER:· Sorry.· Mine don't have any
     ·4· · · ·numbers or stickers.
     ·5· · · · · · MS. BOLGER:· I am very sorry about that.
     ·6· · · · · · MR. FRAY-WITZER:· Can you just tell me which --
     ·7· · · · · · MS. BOLGER:· It is the one that looks like that.
     ·8· · · · · · MR. FRAY-WITZER:· Oh, thank you.
     ·9· · · · · · MS. BOLGER:· We will fix that for you.
     10· · · · · · Almost there.
     11· BY MS. BOLGER:
     12· · · ·Q.· ·Actually, there are two of you getting awards,
     13· but I was looking at that one, Mr. Bezruchenko.
     14· · · · · · So that is you holding an award; correct?
     15· · · ·A.· ·Yes.
     16· · · ·Q.· ·Do you know when that was?
     17· · · ·A.· ·Yes.
     18· · · ·Q.· ·When was that?
     19· · · ·A.· ·I don't remember a year, but it was in Pattaya in
     20· Thailand.
     21· · · ·Q.· ·Okay.· And what is the award you are winning?
     22· · · ·A.· ·Like Best Hosting of the Year.
     23· · · ·Q.· ·Okay.· Sorry.· I thought you just said you
     24· weren't an adult webmaster.· So I am confused.· What is
     25· Best Hosting of the Year award for?


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     ·1· · · ·A.· ·For the best hosting company.
     ·2· · · ·Q.· ·Okay.· And what was the best hosting company?
     ·3· · · ·A.· ·At that year, it was Webzilla.
     ·4· · · ·Q.· ·All right.· So Webzilla won an award for best
     ·5· hosting company at the Adult Webmaster Open?
     ·6· · · ·A.· ·Yes.
     ·7· · · ·Q.· ·Okay.· Can I ask you what the - if you look down
     ·8· at the award, itself --
     ·9· · · ·A.· ·Yes.
     10· · · ·Q.· ·-- it says -- it is in Russian.· It is what I
     11· would call Cyrillic.· My apologies.· What does it say?
     12· · · ·A.· ·"Best Hosting."
     13· · · ·Q.· ·And you were accepting that award on behalf of
     14· Webzilla?
     15· · · ·A.· ·Yes.
     16· · · ·Q.· ·Okay.· And you will see there is another picture
     17· of you getting another -- that's it.· Right there.· You
     18· don't have to flip.· This one right here -- you are
     19· wearing a different shirt.· I believe that is a different
     20· year; is that correct?
     21· · · ·A.· ·Yes.· Maybe won it more than once.
     22· · · ·Q.· ·Okay.· And so you are saying that is the same
     23· award?
     24· · · ·A.· ·Yes.· It looks like, yes.
     25· · · ·Q.· ·Okay.· So Webzilla won the same -- Webzilla won


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     ·1· the best hosting company at the American -- the Adult
     ·2· Webmasters Open Conference more than one year; correct?
     ·3· · · ·A.· ·Yes.· Two years in a row, '07 and '08.
     ·4· · · ·Q.· ·Okay.· Have you -- has Webzilla won any other
     ·5· awards at the Adult Webmasters Open?
     ·6· · · ·A.· ·I don't -- I don't remember.· Maybe once more.
     ·7· Not more than that.
     ·8· · · ·Q.· ·Okay.· When was the last time you were at the
     ·9· Adult Webmasters Open?
     10· · · ·A.· ·I don't remember exact year, but it was in
     11· Amsterdam, Netherlands.
     12· · · ·Q.· ·How many years ago?
     13· · · ·A.· ·Around ten, I believe.· I don't remember exactly.
     14· · · ·Q.· ·Okay.· Let me make a representation to you that
     15· we have records that show you were there as recently as
     16· 2015.· Does that jog your memory at all?
     17· · · · · · MR. FRAY-WITZER:· Objection.
     18· · · · · · You can answer.
     19· · · · · · THE WITNESS:· I don't know.· I don't remember
     20· · · ·really.
     21· BY MS. BOLGER:
     22· · · ·Q.· ·Okay.· When was the last time -- we talked about
     23· awards that -- other than the awards we talked about, has
     24· Webzilla won any other awards at the Adult Webmaster Open?
     25· · · ·A.· ·I don't remember.


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     ·1· · · ·Q.· ·Okay.· The same question for XBT or any of its
     ·2· subsidiaries?
     ·3· · · ·A.· ·No.
     ·4· · · ·Q.· ·And other than the award you won, was Webzilla
     ·5· nominated for any other awards?
     ·6· · · ·A.· ·I don't remember.· Marketing was not my
     ·7· responsibility.
     ·8· · · ·Q.· ·Okay.· In those pictures, I will tell you that
     ·9· there is one of you talking into a microphone.· Did you
     10· give a speech?
     11· · · ·A.· ·Some sort of thankful speech, yes.
     12· · · ·Q.· ·Okay.· Who did you thank?
     13· · · ·A.· ·People who was there, for choosing us.
     14· · · ·Q.· ·Okay.· Okay.· So what is your current job?
     15· · · ·A.· ·I am the CEO of XBT.
     16· · · ·Q.· ·I am going to ask the court reporter -- or in
     17· this case, Adam, to mark as Exhibit 1 -- while he does
     18· that, Webzilla was a sponsor of the AWM Open for a long
     19· time, right?
     20· · · ·A.· ·I don't remember.· Like, it was not my
     21· responsibility.
     22· · · ·Q.· ·Okay.· Are you balking at my sentence, "a long
     23· time?"· In other words, do you disagree that they were the
     24· sponsors?· Were they sponsors?
     25· · · ·A.· ·Most likely, but I really don't remember.


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     ·1· · · ·Q.· ·Okay.· Why were they -- why was Webzilla
     ·2· interested in attending the Adult Webmasters Open?
     ·3· · · ·A.· ·We had customers in that area of business.
     ·4· · · ·Q.· ·Okay.· You had Adult Webmaster customers?
     ·5· · · ·A.· ·Yes.
     ·6· · · ·Q.· ·Did you know them all personally?
     ·7· · · ·A.· ·Yes.
     ·8· · · ·Q.· ·Do you know how much money you all spent
     ·9· sponsoring the Adult Webmasters Open?
     10· · · ·A.· ·No.· I have no idea.
     11· · · ·Q.· ·Did you know the other sponsors?
     12· · · ·A.· ·No. I have no idea.
     13· · · ·Q.· ·Okay.· All right.· Can you take a look at what I
     14· am calling Exhibit 1.
     15· · · ·(Exhibit No. 1 was marked for Identification.)
     16· BY MS. BOLGER:
     17· · · ·Q.· ·This is your Linked-In profile; correct?
     18· · · ·A.· ·Yes.
     19· · · ·Q.· ·Okay.· You will see it says that you are
     20· currently the CTO of Servers.com, and have been since
     21· September 2014, and before that, were the CTO of
     22· Webzilla.com.· Do you see that?
     23· · · ·A.· ·Yes, that's correct.
     24· · · ·Q.· ·Why the -- have your job responsibilities changed
     25· since 2014?


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     ·1· · · ·A.· ·Yes.
     ·2· · · ·Q.· ·Okay.· How have they changed?
     ·3· · · ·A.· ·I have became -- I put my more attention to
     ·4· Servers.com, and a little bit less attention to Webzilla.
     ·5· · · ·Q.· ·And who took over from you at Webzilla?
     ·6· · · ·A.· ·It was no reason to took over, the business was
     ·7· more or less already formed, and it works themselves.· So
     ·8· overseeing the business, not doing deep technical things
     ·9· in there.
     10· · · ·Q.· ·So does Webzilla currently have a CTO or any
     11· other kind of technological officer?
     12· · · ·A.· ·Yes, that is me.
     13· · · ·Q.· ·So you are the CTO of both Servers.com and
     14· Webzilla?
     15· · · ·A.· ·Technically, I am the CTO of XBT and the CTO of
     16· company, yes.
     17· · · ·Q.· ·Okay.· Why the switch on your Linked-In account?
     18· Why the emphasis on Servers.com?
     19· · · ·A.· ·Yes, because it is our new project, and I start
     20· work on the new project, and I switched only the Linked
     21· account.
     22· · · ·Q.· ·What is the difference -- I understand that there
     23· is a name difference.· But what is the difference in the
     24· business model between Webzilla.com and Servers.com?
     25· · · ·A.· ·The Webzilla is like managed hosting,


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     ·1· semi-managed, there is a managed and unmanaged customers,
     ·2· but we offer managed hosting, and Webzilla is not
     ·3· automated hosting.· Our Servers.com is completely
     ·4· unmanaged and automated.
     ·5· · · ·Q.· ·Okay.· So -- sorry.· Just so I understand, you
     ·6· are saying that Webzilla has -- has managed servers, and
     ·7· Servers.com has automated servers that are managed by
     ·8· automation?
     ·9· · · · · · MR. FRAY-WITZER:· Objection.
     10· · · · · · THE WITNESS:· No. I didn't say that.· I said that
     11· · · ·Webzilla had managed and unmanaged customers, and the
     12· · · ·processes around that was not automated.· And
     13· · · ·Servers.com has only unmanaged customers and fully
     14· · · ·automated structures.
     15· BY MS. BOLGER:
     16· · · ·Q.· ·Okay.· Why did you all decide to shift your focus
     17· from the kind of servers you had in Webzilla to the kind
     18· of servers you had with Servers?
     19· · · · · · MR. FRAY-WITZER:· Objection.
     20· · · · · · You can answer.
     21· · · · · · THE WITNESS:· The reason of that was because
     22· · · ·already over the years, infrastructure became really,
     23· · · ·really complicated, and there was no way to be in
     24· · · ·line with modern requirements, technology
     25· · · ·requirements.· And, we -- we decided to build a new


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     ·1· · · ·brand, and build it like for next ten years, to be on
     ·2· · · ·track with it, the new technology requirements for
     ·3· · · ·next ten years.
     ·4· BY MS. BOLGER:
     ·5· · · ·Q.· ·Okay.· Can you explain to me what the unreachable
     ·6· technology requirements were?
     ·7· · · ·A.· ·Yes, it is a level of automation, that network
     ·8· infrastructures at Webzilla was not built like a snowball,
     ·9· you know, starting from this to this, and we always tried
     10· to adapt to current market station.· We never foreseen
     11· future, and it was unable to, like, transform from the
     12· current state to the future state.· So we decided to start
     13· from scratch and build with at least ten years in mind
     14· upfront.
     15· · · ·Q.· ·Okay.· When you say that it was -- I think you
     16· said "optimation" -- optimization, and I apologize --
     17· · · ·A.· ·Automation.
     18· · · ·Q.· ·Are you saying automation?
     19· · · ·A.· ·Automation.
     20· · · ·Q.· ·Okay.· Apologies.· All right.· So you are saying
     21· -- when you talk then about the techno -- the
     22· technological requirements that led you to move away from
     23· the Webzilla model, you are talking about technology that
     24· facilitated your customers' use of the servers and --
     25· right?


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     ·1· · · ·A.· ·Yes.· In the network and the services is
     ·2· facilitated the customer use, yes.
     ·3· · · ·Q.· ·Okay.
     ·4· · · ·A.· ·That is our business.
     ·5· · · ·Q.· ·And so the -- can you give me an example of what
     ·6· the -- I don't quite know -- this may not be the right way
     ·7· to put it, but you will correct me -- can you give me an
     ·8· example of the kind of technological inability that led
     ·9· you to move on to the Servers.com model?
     10· · · ·A.· ·Absolutely.· In Webzilla, if the customer orders
     11· server, the process looks like that, you have to take
     12· server from the storage, put it into the rack, find a
     13· place where to put it, put into the rack, cable, manually
     14· configure, like, a remote access, set up operating system,
     15· set up the network configuration.· It is all done
     16· manually.· It takes enormous amount of time to do that.
     17· In Servers.com, the -- all servers is already
     18· preinstalled, precabled, preconfigured, all of the
     19· configuration happens automatically with no involvement
     20· from the human side.
     21· · · ·Q.· ·Okay.· If currently, I were a customer, and I
     22· went to the Webzilla website -- which there is still a
     23· Webzilla website, right?
     24· · · ·A.· ·Yes.
     25· · · ·Q.· ·And I wanted to sign up for managed services --


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     ·1· · · ·A.· ·Yes.
     ·2· · · ·Q.· ·-- is it still the manual process you described,
     ·3· or do you use the automated servers?
     ·4· · · ·A.· ·As I mentioned, no, it is manual.· It is manual.
     ·5· · · ·Q.· ·Okay.· So if you sign up for a server through
     ·6· Webzilla.com, you get the manual process, but Servers.com,
     ·7· you get the automated process?
     ·8· · · ·A.· ·That's correct.
     ·9· · · ·Q.· ·What percentage of XBT's current business is
     10· generated on the Servers.com model?
     11· · · ·A.· ·I don't know the numbers.· That is maybe a good
     12· question for CFO.· I don't know the number.
     13· · · ·Q.· ·I'm not actually asking you necessarily for the
     14· dollar amounts.· I am asking you for the actual percentage
     15· of your business that you run through the company from
     16· which you are the CTO, right?· So you have -- XBT has
     17· Webzilla, it has lots of other subsidiaries.· What
     18· percentage of the business of XBT comes from Servers.com?
     19· · · · · · MR. FRAY-WITZER:· Objection.
     20· · · · · · You can answer.
     21· · · · · · THE WITNESS:· Yes, the percentage is actually
     22· · · ·dollar amounts, so I don't know.
     23· BY MS. BOLGER:
     24· · · ·Q.· ·Well, do you have more people who sign up to your
     25· Webzilla system than your Server system, or vice versa?


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     ·1· · · ·A.· ·I don't know.· I don't track the people who sign
     ·2· up for Webzilla or for Servers.com.· I don't count that.
     ·3· · · ·Q.· ·Okay.· Well, who configures the servers?· So you
     ·4· said that Servers.com -- sorry -- the servers for
     ·5· Servers.com are preconfigured.· So who preconfigures them?
     ·6· · · ·A.· ·Teams, like responsible for that on-site team in
     ·7· the date center, and other teams like support team.
     ·8· · · ·Q.· ·Okay.· And who manages those teams?
     ·9· · · ·A.· ·I do.
     10· · · ·Q.· ·Okay.· And are they employees of Servers.com?
     11· · · · · · MR. FRAY-WITZER:· Objection.
     12· · · · · · You can answer.
     13· · · · · · THE WITNESS:· Some of them.
     14· BY MS. BOLGER:
     15· · · ·Q.· ·Who else employs them?
     16· · · ·A.· ·Webzilla, Datacenter.com.· DV, like my other
     17· companies.
     18· · · ·Q.· ·Companies that XBT controls, or --
     19· · · ·A.· ·Yes.
     20· · · ·Q.· ·Third-party companies?
     21· · · ·A.· ·No third-party XBT companies.
     22· · · ·Q.· ·Okay.· Wait.· Sorry.· Your answer confused me.
     23· You said third-party XBT companies.
     24· · · ·A.· ·No, not the third-party.
     25· · · ·Q.· ·Not the third-party, XBT companies?


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     ·1· · · ·A.· ·Yes.
     ·2· · · ·Q.· ·Okay.· So the teams that preconfigure the servers
     ·3· for Servers.Com are made up of XBT employees, but not
     ·4· necessarily of the subsidiary Servers.com?
     ·5· · · · · · MR. FRAY-WITZER:· Objection.
     ·6· · · · · · THE WITNESS:· There are some other like
     ·7· · · ·Datacenter.com, yes.
     ·8· BY MS. BOLGER:
     ·9· · · ·Q.· ·What is Datacenter.com?
     10· · · ·A.· ·It is company who provides the data center
     11· services to XBT and other customers.
     12· · · ·Q.· ·Okay.· So XBT owns some data centers; correct?
     13· · · ·A.· ·No.
     14· · · ·Q.· ·XBT leases data centers?
     15· · · ·A.· ·Yes.
     16· · · ·Q.· ·How many data centers does XBT lease?
     17· · · ·A.· ·Nine.
     18· · · ·Q.· ·Nine?
     19· · · ·A.· ·Nine.
     20· · · ·Q.· ·Does XBT have personnel in those nine data
     21· centers?
     22· · · ·A.· ·Not in all.
     23· · · ·Q.· ·Not in all.· Okay.· And in how many data centers
     24· does XBT have personnel?
     25· · · ·A.· ·Six.


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     ·1· · · ·Q.· ·Where?
     ·2· · · ·A.· ·Amsterdam -- two data centers in Amsterdam, one
     ·3· in Luxembourg, one in Dallas, Texas, one in Moscow, and
     ·4· one in Singapore.
     ·5· · · ·Q.· ·Do you go to work at the one in Dallas?
     ·6· · · ·A.· ·Yes.
     ·7· · · ·Q.· ·Okay.· How many XBT employees are there in the
     ·8· two data centers in Amsterdam?
     ·9· · · ·A.· ·Around 30.
     10· · · ·Q.· ·Is it 15 and 15, or 30 each?
     11· · · ·A.· ·They are sharing responsibilities, so some days
     12· they are here, and some days, they are there.· So it is 30
     13· in total.
     14· · · ·Q.· ·And how about Luxembourg?
     15· · · ·A.· ·About ten.
     16· · · ·Q.· ·Dallas?
     17· · · ·A.· ·About 20.
     18· · · ·Q.· ·Moscow?
     19· · · ·A.· ·About 20.
     20· · · ·Q.· ·And Singapore?
     21· · · ·A.· ·Two.
     22· · · ·Q.· ·Okay.· And of those XBT employees -- let's just
     23· use Amsterdam as an example.· Are they all -- well, what
     24· are their job -- do they all have the same job
     25· responsibility?


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     ·1· · · ·A.· ·No.
     ·2· · · ·Q.· ·Okay.· What kind of jobs do XBT employees do in
     ·3· these data centers?
     ·4· · · ·A.· ·There is on-site, which means they are
     ·5· responsible for physical parts of the job.· There is RMA,
     ·6· where they are responsible for receiving and exchanging
     ·7· the broken parts and --
     ·8· · · ·Q.· ·Did you say RMA?
     ·9· · · ·A.· ·Yeah.
     10· · · ·Q.· ·What does RMA stand for?
     11· · · ·A.· ·Returns something.· I don't remember exactly the
     12· explanation.
     13· · · ·Q.· ·Okay.
     14· · · ·A.· ·And they are responsible for returning any broken
     15· parts and receiving new shipments.· And there is support,
     16· who was doing some support of the customers.
     17· · · ·Q.· ·Okay.· And the support people aren't necessarily
     18· doing support for just the hardware; correct?· They also
     19· help with the software, right?
     20· · · ·A.· ·Only in Dallas, Texas.
     21· · · ·Q.· ·Are there support people in the other data
     22· centers, or --
     23· · · ·A.· ·No.
     24· · · ·Q.· ·-- not?
     25· · · ·A.· ·No.


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     ·1· · · ·Q.· ·Okay.· Okay.· XBT also owns a certain number of
     ·2· servers; correct?
     ·3· · · ·A.· ·We do own servers, correct.
     ·4· · · ·Q.· ·How many servers do you own?
     ·5· · · ·A.· ·I don't know how many we own.· I know how many we
     ·6· have.
     ·7· · · ·Q.· ·Okay.· How many do you have?
     ·8· · · ·A.· ·There is around 20 -- 22,000 physical servers,
     ·9· bare metal servers.
     10· · · ·Q.· ·Okay.· And some percentage of them you own, and
     11· some percentage of them you lease; correct?
     12· · · ·A.· ·Yes.
     13· · · ·Q.· ·Do you lease more than you own?
     14· · · ·A.· ·I don't know.
     15· · · ·Q.· ·Who would know that?
     16· · · ·A.· ·Probably some -- Rajesh should know that.
     17· · · ·Q.· ·Okay.
     18· · · ·A.· ·Because he is dealing with leasing.
     19· · · ·Q.· ·Okay.· Who -- I was about to ask that.· Who is
     20· responsible for negotiating and entering into those lease
     21· agreements?
     22· · · ·A.· ·I do, and Nick Dvas, yes, okay.· Yes.
     23· · · ·Q.· ·Okay.· Who is Nick Dvas?
     24· · · ·A.· ·He is now CEO of XBT.
     25· · · ·Q.· ·COO?


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     ·1· · · ·A.· ·CEO.
     ·2· · · ·Q.· ·CEO.· Excellent.· Okay.· So you do, and Mr. Dvas
     ·3· does.· And how does -- how do you go about doing that?· Do
     ·4· you have a particular person you lease from, or how
     ·5· does -- how does that happen?
     ·6· · · ·A.· ·We have particular vendors to lease from.
     ·7· · · ·Q.· ·And how often do you lease a new server?
     ·8· · · ·A.· ·A few times a month.· That is servers, not
     ·9· server.· Servers.
     10· · · ·Q.· ·Sorry.· Say that again?
     11· · · ·A.· ·Servers, is multiple servers, not "server."· We
     12· are buying in batches.
     13· · · ·Q.· ·I understand.· And what goes into your decision
     14· to lease more batches of servers?
     15· · · ·A.· ·Like business projections, immediate needs of the
     16· customers.
     17· · · ·Q.· ·Is it your business plan to migrate customers
     18· away from 'zilla to Servers.com?
     19· · · ·A.· ·We do want to migrate some customers from
     20· Webzilla to Servers.com.
     21· · · ·Q.· ·Do they know they are being migrated?
     22· · · ·A.· ·Some of them.
     23· · · ·Q.· ·Why would you tell some and not others?
     24· · · ·A.· ·Yeah, we decide, ourself, which customers we want
     25· to notify, when we are ready, and we notify them and then


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     ·1· migrate them.· It is based on the business decision.
     ·2· · · ·Q.· ·What goes into that business decision?
     ·3· · · ·A.· ·Financials.
     ·4· · · ·Q.· ·Explain that, please.
     ·5· · · ·A.· ·If the customer rents servers at Webzilla during
     ·6· the migration, he may get discount, or like something --
     ·7· he may ask for discount or something like that, so we
     ·8· decide if it is worth to touch that or not.
     ·9· · · ·Q.· ·I am sorry.· I am not sure I understand.· You are
     10· saying if someone serves -- may sign up to Webzilla
     11· because they are looking for a discount, is that what you
     12· mean?· I just don't understand.
     13· · · ·A.· ·No. There is a customers of Webzilla who we are
     14· looking to migrate to Servers.com.· And some of them, not,
     15· because obviously, if you are paying for service, and like
     16· it is your normal business procedure, you don't think
     17· about it -- like, cost a lot.· But if we come to offer
     18· you, "Hey, here we are, let's do something," they start
     19· thinking, "Oh, maybe I don't need these servers.· Maybe I
     20· need to -- like, some other servers."· And at the end, it
     21· can end up in the shrinking revenue, so we don't want
     22· this.
     23· · · ·Q.· ·Sorry.· I am not sure I understand.· Is it more
     24· expensive to have a server through Servers.com or through
     25· Webzilla?


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     ·1· · · ·A.· ·I don't know.· It's case by case -- case by case.
     ·2· · · ·Q.· ·Okay.· So you are saying that there might be a
     ·3· customer of Webzilla -- so my question is:· Are you all --
     ·4· are you all making the decision to migrate customers from
     ·5· Webzilla servers to Servers.com servers?
     ·6· · · ·A.· ·Yeah, I do.
     ·7· · · ·Q.· ·Okay.· What factors go into making that decision?
     ·8· · · ·A.· ·I just -- looking for a customer, how old this
     ·9· customer, like how much they pay, what the server
     10· configuration they have, and how I can match the server
     11· configuration in the Servers.com and to what that, in the
     12· end, I can get out of that.
     13· · · ·Q.· ·Are you all hoping in the end to phase out
     14· Webzilla.com?
     15· · · ·A.· ·No. Webzilla.com is our major business at this
     16· moment.
     17· · · ·Q.· ·Okay.· What is the benefit to XBT of migrating a
     18· customer from Webzilla to Servers.com?
     19· · · ·A.· ·To lower burden, maintenance burden, so we want
     20· to be more automated and less manual job.
     21· · · ·Q.· ·Okay.· And I asked you if you notified customers
     22· that you were migrating them, and you said sometimes you
     23· do, and sometimes you don't.· Why would you notify them?
     24· · · ·A.· ·When we see there is no loss of revenue for us,
     25· or even benefit or gaining their revenue, then we try to


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     ·1· convince them to move.
     ·2· · · ·Q.· ·And you need to try to convince them because they
     ·3· are used to having managed services on Webzilla, and you
     ·4· need to convince them that moving to the automated
     ·5· Servers.com will get them the same amount of service.
     ·6· · · · · · MR. FRAY-WITZER:· Objection.
     ·7· · · · · · THE WITNESS:· No, no.
     ·8· BY MS. BOLGER:
     ·9· · · ·Q.· ·Can you -- what do you need to convince them of?
     10· · · ·A.· ·To move.
     11· · · ·Q.· ·Why would they not want to move?
     12· · · ·A.· ·That is a great amount of job, and they -- they
     13· have own business activities, and they don't want to spend
     14· their -- obviously, money for the migration.
     15· · · ·Q.· ·So as CTO of XBT, what are your specific job
     16· obligations?
     17· · · ·A.· ·I am responsible for technical, all of the
     18· technical things; infrastructure, and -- all of the
     19· technical things, like whatever requires to be technical,
     20· that is my responsibility.
     21· · · ·Q.· ·Okay.· Give me some examples.· What do you do all
     22· day?
     23· · · ·A.· ·I am doing the contracts with vendors, I am
     24· doing -- like, I am doing the decisions on the vendors.            I
     25· am doing the infrastructure planning.· I am doing the --


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     ·1· like, managing the different teams, like support on-site,
     ·2· that's --
     ·3· · · ·Q.· ·Okay.· Do you draft terms of service?
     ·4· · · ·A.· ·I may be asked for the question, but no.
     ·5· · · ·Q.· ·Who does that?
     ·6· · · ·A.· ·Attorney.
     ·7· · · ·Q.· ·Okay.· Who, at XBT, has responsibility for
     ·8· drafting things like terms of service and acceptable use
     ·9· policies?
     10· · · ·A.· ·Either our in-house or outside attorney.
     11· · · ·Q.· ·Who is your in-house attorney?
     12· · · ·A.· ·Panos.
     13· · · ·Q.· ·What?
     14· · · ·A.· ·Panos Gorgeou, G-O-R-G-E-O-U.
     15· · · ·Q.· ·And where is Mr. Gorgeou?
     16· · · ·A.· ·Cyprus.· Marisol, Cyprus.
     17· · · ·Q.· ·And who, on the business side, is responsible for
     18· drafting terms of service accessible use policies and
     19· things like that?
     20· · · · · · MR. FRAY-WITZER:· Objection.
     21· · · · · · You can answer.
     22· · · · · · THE WITNESS:· It is decision of Panos.· He may
     23· · · ·ask some question to different people in the company.
     24· · · ·I don't know.
     25· BY MS. BOLGER:


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     ·1· · · ·Q.· ·You have no involvement in that?
     ·2· · · ·A.· ·Sometimes he asks me questions.
     ·3· · · ·Q.· ·Okay.· Are you responsible for security policies?
     ·4· · · ·A.· ·Yes.
     ·5· · · ·Q.· ·And are you responsible for compliance policies?
     ·6· · · ·A.· ·To certain extent, the -- most of them is going
     ·7· from legal part.
     ·8· · · ·Q.· ·Do you -- are you sort of the architect of your
     ·9· ATIS system, your web systems.· You guys have certain
     10· services where you provide networks, right?· Are you the
     11· architect of those networks?
     12· · · ·A.· ·You can be more specific, please.
     13· · · ·Q.· ·Yes.· We will get to it.· I wondered if you are
     14· responsible for sort of the strategic planning?
     15· · · ·A.· ·Yes.· I am responsible for strategic planning,
     16· yes.
     17· · · ·Q.· ·So what is the strategy for the next ten years?
     18· · · · · · MR. FRAY-WITZER:· Objection.
     19· · · · · · You can answer.
     20· · · · · · THE WITNESS:· Automation.
     21· BY MS. BOLGER:
     22· · · ·Q.· ·So everything would be automated?
     23· · · ·A.· ·Absolutely everything.
     24· · · ·Q.· ·What percentage of security measures are
     25· currently automated?


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     ·1· · · · · · MR. FRAY-WITZER:· Objection.
     ·2· · · · · · You can answer.
     ·3· · · · · · THE WITNESS:· I don't know.· I never counted.
     ·4· BY MS. BOLGER:
     ·5· · · ·Q.· ·Well, it is -- it is your day-to-day life.· You
     ·6· must have some experience with-it, right?· In your
     ·7· experiences -- what -- are more of your procedures
     ·8· automated, or are less of your procedures automated?
     ·9· · · ·A.· ·For Webzilla, nothing is automated.· For
     10· Servers.com, everybody is automated, so far.
     11· · · ·Q.· ·Does that include reviewing abuse notifications?
     12· · · ·A.· ·Abuse notifications, no.
     13· · · ·Q.· ·They are not automated for either one?
     14· · · ·A.· ·No. We don't want to -- this part to be
     15· automated.
     16· · · ·Q.· ·How about, for example, patching the operating
     17· systems?· Is that automated?
     18· · · ·A.· ·For managed servers, it is similar to unmanaged.
     19· It can be automated.· We don't have access to customer
     20· systems.
     21· · · ·Q.· ·Okay.· You are also sort of the public face of
     22· the company for new technology advancements, right?
     23· · · · · · MR. FRAY-WITZER:· Objection.
     24· · · · · · THE WITNESS:· Can you say again?
     25· BY MS. BOLGER:


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     ·1· · · ·Q.· ·Sure.· You are -- your name is associated -- you
     ·2· give quotes to the press, or you speak in your own press
     ·3· releases when you all have new technological innovations,
     ·4· right?
     ·5· · · · · · MR. FRAY-WITZER:· Objection.
     ·6· · · · · · THE WITNESS:· Sometimes.
     ·7· BY MS. BOLGER:
     ·8· · · ·Q.· ·Now, do you regularly send email as part of your
     ·9· job?
     10· · · ·A.· ·Email?
     11· · · ·Q.· ·Yes.
     12· · · ·A.· ·Yes.
     13· · · ·Q.· ·And what email address to you use?
     14· · · ·A.· ·The bk@servers.com, bk@webzilla.com,
     15· bk@xbtholdings.com, bk@iptransit.com, BK@UCDM.com,
     16· BK@800hosting.com, BK@DFWnet, BK@servers.ru, R-U.
     17· · · ·Q.· ·So Mr. Bezruchenko, I have two email addresses,
     18· and I mess up all the time and send wrong emails from the
     19· wrong email all the time.· How do you keep all those
     20· straight?
     21· · · · · · MR. FRAY-WITZER:· Objection.
     22· · · · · · You can answer.
     23· · · · · · THE WITNESS:· Can you repeat the question?
     24· BY MS. BOLGER:
     25· · · ·Q.· ·Sure.· How do you keep your use of all those


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     ·1· emails straight?· How do you know when to use which email
     ·2· address at what time?
     ·3· · · ·A.· ·Based on from which company a question comes.· So
     ·4· the people who wants to communicate me at certain
     ·5· capacity, they send me the appropriate mail.· When I want
     ·6· to make it, someone, I send them from appropriate email.
     ·7· · · ·Q.· ·What is your default -- if you are going to send
     ·8· an email, what do you use?
     ·9· · · ·A.· ·Right now, I would say Servers.com.
     10· · · ·Q.· ·Okay.· Has that changed over time?
     11· · · ·A.· ·Default?
     12· · · ·Q.· ·Yes.
     13· · · ·A.· ·It may change when I re-install my laptop, so the
     14· first account I set up became default.· It may change.
     15· · · ·Q.· ·Okay.· Is it generally your practice to be
     16· truthful in emails?
     17· · · · · · MR. FRAY-WITZER:· Objection.
     18· · · · · · You can answer.
     19· · · · · · THE WITNESS:· I try to be so.
     20· · · · · · MS. BOLGER:· What is your objection to that
     21· · · ·question?
     22· · · · · · MR. FRAY-WITZER:· Is he truthful in every email?
     23· · · ·To his family?
     24· · · · · · Are you asking about when he is talking to
     25· · · ·friends?


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     ·1· · · · · · MS. BOLGER:· Yes, I am asking if he is truthful.
     ·2· · · · · · It is not a hard question.
     ·3· BY MS. BOLGER:
     ·4· · · ·Q.· ·Are you truthful in emails?
     ·5· · · · · · MR. FRAY-WITZER:· I am going to object to the
     ·6· · · ·form of the question.
     ·7· · · · · · THE WITNESS:· I try my best.
     ·8· BY MS. BOLGER:
     ·9· · · ·Q.· ·Okay.· Well, sometimes are you untruthful?
     10· · · ·A.· ·I don't know.
     11· · · ·Q.· ·That seems pretty easy to know whether you tell
     12· the truth or not it, right?· Are you truthful in emails?
     13· · · · · · MR. FRAY-WITZER:· I have told people that I am
     14· not available for dinner though I am.· That is untruthful.
     15· · · · · · MS. BOLGER:· Also, you are not testifying.
     16· · · · · · THE WITNESS:· I try my best.
     17· BY MS. BOLGER:
     18· · · ·Q.· ·Okay.· Okay.· So what does XBT stand for?
     19· · · ·A.· ·Can you elaborate that, the question?
     20· · · ·Q.· ·Yes.· Does XBT stand for anything?· How did you
     21· guys land on the name XBT?
     22· · · ·A.· ·I don't remember.· Really, I don't remember.
     23· · · ·Q.· ·Okay.· There is an exchange, the bit coin.· Bit
     24· coin is sometimes referred to as XBT, right?
     25· · · ·A.· ·Oh, yeah.


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     ·1· · · ·Q.· ·Were you all trying to kind of reference bit coin
     ·2· in forming the name, or is it just a coincidence?
     ·3· · · ·A.· ·It is coincidence, I believe.
     ·4· · · ·Q.· ·So what does XBT Holdings do?· Just broadly,
     ·5· answer that question.
     ·6· · · ·A.· ·Technological stuff; hosting, mostly hosting.
     ·7· · · ·Q.· ·Okay.· So it does hosting, right?
     ·8· · · ·A.· ·Web hosting, yes.
     ·9· · · ·Q.· ·Okay.· We are going to talk about a lot of
     10· technical terms, so I am just going to ask you to define
     11· them and then we will move.· What is IP Transit?
     12· · · ·A.· ·In terms of in capacity of XBT, or in general
     13· terms?
     14· · · ·Q.· ·We will make, I will just show you what I am
     15· talking about.· I am going to ask Adam to mark as Exhibit
     16· D, the document that I printed off of -- from XBT's
     17· website.
     18· · · · · · (Discussion off the record.)
     19· · · · · · MS. BOLGER:· Did I say D?
     20· · · · · · MR. FRAY-WITZER:· I thought you were trying to
     21· · · ·throw me off.· We got from 1 to D.
     22· · · · · · MS. BOLGER:· I am having a brain aneurysm.
     23· · · ·Sorry.· I apologize.· It is Exhibit 2.
     24· · · · · · (Exhibit No. 2 was marked for Identification.)
     25· BY MS. BOLGER:


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     ·1· · · ·Q.· ·Just for the record, Mr. Bezruchenko, this is the
     ·2· home page of XBT website, right?· More accurately, a
     ·3· printout of the home page of the XBT website?
     ·4· · · ·A.· ·It looks like, yes.
     ·5· · · ·Q.· ·Okay.· If you flip to the second page of the
     ·6· exhibit, you will see it says services.· Do you see that?
     ·7· · · ·A.· ·Yes.
     ·8· · · ·Q.· ·Okay.· And it has the bubbles, one of which says
     ·9· IP Transit.· Do you see that?
     10· · · ·A.· ·Yes.
     11· · · ·Q.· ·What is that?
     12· · · ·A.· ·IP Transit, it is a service for transporting data
     13· through Internet.
     14· · · ·Q.· ·Okay.· And then it has CDN.· What is that?
     15· · · ·A.· ·It is a content delivery network.
     16· · · ·Q.· ·What is that?
     17· · · ·A.· ·It is a network of servers responsible for
     18· delivering content.
     19· · · ·Q.· ·Okay.· And then in the middle, it has dedicated
     20· servers.· What is that?
     21· · · ·A.· ·It's bare metal servers, dedicated servers.· It's
     22· a physical -- boxes.
     23· · · ·Q.· ·Okay.· And then there is colocation.· What is
     24· that?
     25· · · ·A.· ·Colocation is a renting of the place for


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     ·1· customer-owned physical servers.· So it is -- it's a place
     ·2· in the data center where a customer can put his own device
     ·3· and connected it to the power and the Internet.
     ·4· · · ·Q.· ·So colocation is like an apartment building in
     ·5· New York City.· Everybody has, you have your own little
     ·6· space in a physical data center, right?· A physical space
     ·7· in a physical data center?
     ·8· · · ·A.· ·Yes.· Physical space, yes.· It's basically power
     ·9· and cooling -- power and cooling.
     10· · · · · · THE INTERPRETER:· As in AC.
     11· · · · · · THE WITNESS:· AC, yes.
     12· BY MS. BOLGER:
     13· · · ·Q.· ·VPS hosting?
     14· · · ·A.· ·It is virtual server.
     15· · · ·Q.· ·Then in the background, you can see it back
     16· there, it says, "managed services."· What are managed
     17· services?
     18· · · ·A.· ·It is typically managed dedicated server.
     19· · · ·Q.· ·And there is "cloud" in the background.· Do you
     20· see that?
     21· · · ·A.· ·Yes.· It is typically cloud computing, which is
     22· again virtual server or cloud storage.
     23· · · ·Q.· ·Okay.· And then in the very back, you might not
     24· be able to see, but it does say "application development."
     25· Do you see that?


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     ·1· · · · · · Sort of back to the left?
     ·2· · · ·A.· ·Yes.· I see it, yes.
     ·3· · · ·Q.· ·What is app development?
     ·4· · · ·A.· ·It is developing the software.· We have -- yes.
     ·5· Development of software.
     ·6· · · ·Q.· ·Of these services, which is the -- which one
     ·7· makes up the biggest portion of XBT's business?
     ·8· · · ·A.· ·I don't know.· I can guess, but I don't want to.
     ·9· · · ·Q.· ·Okay.· Well, I don't want you to guess, but you
     10· are the chief technical officer.· You must know what most
     11· of your -- what your business does all day.· So --
     12· · · ·A.· ·Dedicated servers.
     13· · · ·Q.· ·Okay.· All right.· Do you -- how many ASNs does
     14· XBT and its affiliates control?
     15· · · ·A.· ·I don't remember exact number, but it is
     16· something between five and ten.
     17· · · ·Q.· ·Where would one be able to get the exact number?
     18· Who would know that?
     19· · · ·A.· ·I do.
     20· · · ·Q.· ·Okay.· I am going to ask you to -- I am going to
     21· ask you to give me a precise answer to the question.· How
     22· many ASNs do you control -- so I will follow up with Evan
     23· after this deposition.
     24· · · · · · Other than the ones you control, do you manage
     25· additional ASNs?


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     ·1· · · ·A.· ·No.
     ·2· · · ·Q.· ·So what is your process for announcing and
     ·3· withdrawing IP addresses?
     ·4· · · ·A.· ·Which IP addresses?
     ·5· · · ·Q.· ·I suppose IP addresses controlled by XBT.
     ·6· · · ·A.· ·We do choose the IP -- free IP block, and then a
     ·7· networking team creates appropriate root objects in
     ·8· appropriate databases, and then we contact the carriers to
     ·9· ask them to accept that network blocks, and then we
     10· announce these IP space.
     11· · · ·Q.· ·Okay.· And who is responsible for that?
     12· · · ·A.· ·A networking team.
     13· · · ·Q.· ·Who is on the networking team?
     14· · · ·A.· ·There are about 12 people, ten, 12 people
     15· working.
     16· · · ·Q.· ·And where are they?
     17· · · ·A.· ·Ukraine, and Cyprus, and Russia.
     18· · · ·Q.· ·And are you part of the networking trio?
     19· · · ·A.· ·I am the -- managing networking team.
     20· · · ·Q.· ·And do you make the decisions about announcing
     21· and withdrawing IP addresses?
     22· · · ·A.· ·XBT-owned IP addresses?
     23· · · ·Q.· ·Yes.
     24· · · ·A.· ·I do -- I dedicate -- actually, I choose the free
     25· IP address to announce it before the team can proceed, so


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     ·1· it is up to my decision.
     ·2· · · ·Q.· ·Okay.· Are there specific policies and procedures
     ·3· for governing your ASNs?
     ·4· · · ·A.· ·I don't think so.· No.
     ·5· · · ·Q.· ·That's because you make the decisions about it,
     ·6· right?
     ·7· · · ·A.· ·Yes.
     ·8· · · ·Q.· ·And what -- when you are -- you, yourself, as the
     ·9· decisionmaker, are making decisions relevant to the ASNs
     10· what are your processes?
     11· · · ·A.· ·I think how it can best work for the company.
     12· · · ·Q.· ·And that's to maximize profit, or what do you
     13· mean by best work for the company?
     14· · · ·A.· ·Like all of the best, all of the best, not doing
     15· like something bad.· Only good things, all of the best for
     16· the company.
     17· · · ·Q.· ·Okay.· I am going to ask you -- am going to show
     18· you what was marked at the deposition of Mr. Mishra as
     19· Exhibit 7.
     20· · · ·(Exhibit No. 7 -- previously marked for
     21· Identification at deposition of Mr. Mishra.)
     22· · · · · · MS. BOLGER:· For the record, it is a document
     23· · · ·produced by the plaintiff with Bates number PI52
     24· · · ·through 55, with a headline "XBT family IP subnets."
     25· BY MS. BOLGER:


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     ·1· · · ·Q.· ·Mr. Bezruchenko what is an IP subnet?
     ·2· · · ·A.· ·It is an Internet protocol, IP addresses provided
     ·3· to us by local internal registries.
     ·4· · · ·Q.· ·Okay.· And these subnets are all owned by XBT.
     ·5· This is the exhaustive list?
     ·6· · · ·A.· ·Technically, they are not owned, because it is --
     ·7· it is provided to us by Internet registry, but it is not
     ·8· something you own.· You can use this.
     ·9· · · ·Q.· ·Is that your total -- is this your absolute list,
     10· or does this list change?
     11· · · ·A.· ·That -- there is no date here, so I don't know.
     12· It may change since that was produced.· I don't know.
     13· · · ·Q.· ·Well, that actually kind of answers my question.
     14· So in other words, this information can change over time?
     15· · · ·A.· ·Oh, yes.
     16· · · ·Q.· ·Okay.· How often does it change?
     17· · · ·A.· ·These days, not often.
     18· · · ·Q.· ·And who keeps this list?
     19· · · ·A.· ·I do.
     20· · · ·Q.· ·And why do you keep this list?
     21· · · ·A.· ·Just to know what kind of IP addresses we have to
     22· select, free IP addresses, to announce them and to provide
     23· them to the customers.
     24· · · ·Q.· ·And so would you have created this list, would
     25· you say?


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     ·1· · · ·A.· ·Yes, yes.
     ·2· · · ·Q.· ·How often do you update it?
     ·3· · · ·A.· ·As soon as we receive new address space.
     ·4· · · ·Q.· ·And when would you -- under what circumstances
     ·5· would you receive new IP address space?
     ·6· · · ·A.· ·There are two ways, three ways.· First, we are
     ·7· running out of IP space, and we are requesting this IP
     ·8· space from Internet registry; second, is when we can
     ·9· purchase an IP space; and third, we can acquire a company
     10· who owns IP space.
     11· · · ·Q.· ·Okay.· As CTO, how many people report to you?
     12· · · ·A.· ·I think well over a hundred.
     13· · · ·Q.· ·If these terms are wrong, I will ask you to
     14· correct me, but what -- what number of people in that
     15· hundred are people who are responsible for support of the
     16· servers and the networks?
     17· · · ·A.· ·For the support, they are about 70, plus, of
     18· them, and for network, it is about 12 people.
     19· · · ·Q.· ·Okay.· So when you say, "support" -- which was my
     20· word, so thank you -- do you mean actual physical hardware
     21· support, or do you mean support that includes both
     22· hardware and the software?
     23· · · ·A.· ·Both.
     24· · · ·Q.· ·Okay.· What percentage are the hardware, or what
     25· number are the hardware?


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     ·1· · · ·A.· ·There are about -- about 40, 50 of them.
     ·2· · · ·Q.· ·And so that leaves us like 20 for the software?
     ·3· · · ·A.· ·Yes.· Something like that, yes.· Yeah.
     ·4· · · ·Q.· ·And as a general matter, are your technical teams
     ·5· made up of local people?· So in other words, in Dallas,
     ·6· you said you have 20 people in Dallas.· Are they Texans,
     ·7· or are they from somewhere else?
     ·8· · · · · · MR. FRAY-WITZER:· Objection.
     ·9· · · · · · You can answer.
     10· · · · · · THE WITNESS:· In certain regions, we have local
     11· · · ·people.· For example, in an example of Dallas, they
     12· · · ·are U.S. citizens and mostly Texans.· And there are
     13· · · ·-- in Luxembourg, they are locals, and in Singapore,
     14· · · ·they are locals.· It is based on the culture or
     15· · · ·language properties of region.
     16· BY MS. BOLGER:
     17· · · ·Q.· ·Okay.· I am going to ask -- show you a document
     18· that Adam is going to mark as Exhibit 3.
     19· · · · · · MR. FRAY-WITZER:· 4.
     20· · · · · · MS. BOLGER:· Exhibit 3?
     21· · · · · · MR. FRAY-WITZER:· 3.· Sorry.· You didn't mark
     22· · · ·that.
     23· · · · · · MS. BOLGER:· You see, you are just messing with
     24· · · ·me now.
     25· · · ·(Exhibit No. 3 was marked for Identification.)


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     ·1· BY MS. BOLGER:
     ·2· · · ·Q.· ·So for the record, this is a document also from
     ·3· the XBT website, web page called Company Overview.· Mr.
     ·4· Bezruchenko, this is, in fact, the company overview for
     ·5· XBT that is currently on its website; correct?
     ·6· · · ·A.· ·I don't know if it is currently on the website,
     ·7· but it looks familiar to me.
     ·8· · · ·Q.· ·Okay.· Up at the top, you will see -- kind of
     ·9· across the top front page, it says 12,000 customers.· Is
     10· that right?
     11· · · ·A.· ·I don't know the amount of the customers we
     12· have -- quality -- quantity of the customers we have.
     13· · · ·Q.· ·Who would know that?
     14· · · ·A.· ·I don't know.· Maybe financial guys know that,
     15· maybe sales guys know that.· I don't know.
     16· · · ·Q.· ·Okay.· Do you know where your customers are
     17· located mostly?
     18· · · ·A.· ·No.
     19· · · ·Q.· ·Do you know where any of your customers are
     20· located?
     21· · · ·A.· ·Around the world, globally.
     22· · · ·Q.· ·Right.· Are any of them from any one particular
     23· region?
     24· · · · · · MR. FRAY-WITZER:· Objection.
     25· · · · · · You can answer.


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     ·1· · · · · · THE WITNESS:· They are located globally.
     ·2· BY MS. BOLGER:
     ·3· · · ·Q.· ·37,000 servers, is that right?
     ·4· · · ·A.· ·As reads here, yes, as it states here.
     ·5· · · ·Q.· ·Okay.· 40 countries?
     ·6· · · ·A.· ·As it states here.
     ·7· · · ·Q.· ·I am asking you if that is correct.· Are you
     ·8· present in 40 countries?
     ·9· · · ·A.· ·I don't know what does it mean here, but it says
     10· here, 40 countries.· I don't know.
     11· · · ·Q.· ·Well, I know it says that.· But I just wonder if
     12· it is a correct number.· It is on your website, and I am
     13· asking you if it is correct?
     14· · · ·A.· ·It doesn't say anything.· It just says 40
     15· countries.· I don't know what this means.
     16· · · ·Q.· ·Okay.· Well, you are the CTO of XBT, right?
     17· · · ·A.· ·Yes.
     18· · · ·Q.· ·You are responsible for its websites?
     19· · · · · · MR. FRAY-WITZER:· Objection.
     20· · · · · · THE WITNESS:· For websites of XBT?
     21· BY MS. BOLGER:
     22· · · ·Q.· ·Um-hmm.
     23· · · ·A.· ·No.
     24· · · ·Q.· ·Who is responsible for its websites?
     25· · · ·A.· ·It is marketing people.


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     ·1· · · ·Q.· ·And you don't review them?
     ·2· · · ·A.· ·Only briefly.· That is not my responsibility.
     ·3· · · ·Q.· ·Okay.· All right.· Well, then you can put that
     ·4· page away if you don't know what is on your website.
     ·5· · · · · · Who do you consider the competitors of XBT?
     ·6· · · ·A.· ·AWS, Amazon Web Services, Leaseweb, Google
     ·7· Services, OVH.
     ·8· · · ·Q.· ·What about Akamai?
     ·9· · · ·A.· ·No.
     10· · · ·Q.· ·Akamai, A-K-A-M-A-I.
     11· · · ·A.· ·No.
     12· · · ·Q.· ·Why not?
     13· · · ·A.· ·They are in CBM business.· And we are -- it is
     14· only small amount of our business.
     15· · · ·Q.· ·Okay.· And how about Rackspace?
     16· · · ·A.· ·Maybe, yes, but recently, they are moving from
     17· dedicated to managing AWS, so no.· No, not today.
     18· · · ·Q.· ·Okay.
     19· · · ·A.· ·Maybe yes, like, before, but not today.
     20· · · ·Q.· ·When would you have considered them a competitor?
     21· · · ·A.· ·Sorry?
     22· · · ·Q.· ·When would you have considered them a competitor?
     23· · · ·A.· ·I don't remember.· So at some point of time
     24· before.
     25· · · ·Q.· ·So, XBT has many subsidiaries; correct?


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     ·1· · · ·A.· ·Define "many."
     ·2· · · ·Q.· ·Sorry.· You just said Leaseweb is a competitor,
     ·3· right?
     ·4· · · · · · MR. FRAY-WITZER:· Objection.
     ·5· · · · · · THE WITNESS:· Right.
     ·6· BY MS. BOLGER:
     ·7· · · ·Q.· ·It is not an affiliate?
     ·8· · · ·A.· ·Leaseweb, no.
     ·9· · · ·Q.· ·Okay.· This guy.
     10· · · · · · MR. FRAY-WITZER:· Exhibit K?
     11· · · · · · MS. BOLGER:· Exhibit apple pie.
     12· · · ·(Exhibit No. 4 was marked for Identification.)
     13· BY MS. BOLGER:
     14· · · ·Q.· ·I am going to hand you what has been marked as
     15· Exhibit 4.· This is another document printed off the XBT
     16· website that actually lists your subsidiaries.· It lists
     17· seven subsidiaries.· So it lists -- it is going to -- it
     18· list Fozzy, IBEE Solutions, IP Transit, Universal CDN,
     19· Rootservers.com, Webzilla.· Do you see that?
     20· · · ·A.· ·Yes.
     21· · · ·Q.· ·In fact, you all have many more than seven
     22· subsidiaries, right?
     23· · · ·A.· ·XBT owns more companies than that, yes.
     24· · · ·Q.· ·Okay.· So they own onebg.com?
     25· · · ·A.· ·Previously, not -- no, not anymore.


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     ·1· · · ·Q.· ·When did you stop owning that?
     ·2· · · ·A.· ·I don't remember.
     ·3· · · ·Q.· ·In the last five years?
     ·4· · · ·A.· ·I really don't remember.
     ·5· · · ·Q.· ·Okay.· Well, let me -- okay.· Dedicated Servers,
     ·6· Inc.?
     ·7· · · ·A.· ·Yes.
     ·8· · · ·Q.· ·DFW Internet Services, Inc.?
     ·9· · · ·A.· ·Yes.
     10· · · ·Q.· ·I Marketing Solutions Limited?
     11· · · ·A.· ·That's not something I recognize.
     12· · · ·Q.· ·Okay.· Servers.com, we talked about.· TM Web
     13· Properties?
     14· · · ·A.· ·Yes.
     15· · · ·Q.· ·Travail Systems?
     16· · · ·A.· ·Yes.
     17· · · ·Q.· ·Universal CDN, Inc.?
     18· · · ·A.· ·Yes.
     19· · · ·Q.· ·URL Solutions, Inc.?
     20· · · ·A.· ·Yes.
     21· · · ·Q.· ·Webzilla Dallas, Inc.?
     22· · · ·A.· ·Yes.
     23· · · ·Q.· ·Webzilla Apps, Inc.?
     24· · · ·A.· ·Yes.
     25· · · ·Q.· ·BN Domain Trust Services?


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     ·1· · · ·A.· ·Not something I remember.
     ·2· · · ·Q.· ·Ataniaset -- forgive my Russian.
     ·3· · · ·A.· ·Yes.
     ·4· · · ·Q.· ·ITPAN.com?
     ·5· · · ·A.· ·Yes.· I am not sure, but it looks familiar, yes.
     ·6· · · ·Q.· ·Universal CDN -- I think I said that, I
     ·7· apologize -- and WZ Communications, right?
     ·8· · · ·A.· ·Yes.
     ·9· · · ·Q.· ·Is that it?
     10· · · ·A.· ·I don't know that full list of the subsidiaries.
     11· · · ·Q.· ·Okay.· Why not?
     12· · · ·A.· ·That is not my responsibility.
     13· · · ·Q.· ·Whose responsibility is it?
     14· · · ·A.· ·It is our legal counsel and COO and financial
     15· guy, Rajesh.
     16· · · ·Q.· ·Okay.· Great.· I am going to jump topics.
     17· · · · · · Do you want to take a break, or do you want to
     18· keep going?
     19· · · · · · MR. FRAY-WITZER:· If you could, a break.
     20· · · · · · MS. BOLGER:· Thanks.
     21· · · · · · THE VIDEOGRAPHER:· Off the video record at 11:12
     22· · · ·A.M.
     23· · · · · · (Whereupon, there was a recess, after which the
     24· · · ·following proceedings were had:)
     25· · · · · · THE VIDEOGRAPHER:· Back on the video record at


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     ·1· · · ·11:22 A.M.
     ·2· BY MS. BOLGER:
     ·3· · · ·Q.· ·I want to talk about Leaseweb, because you said
     ·4· that they were competitors.· Doesn't XBT also have a
     ·5· business relationship with Leaseweb?
     ·6· · · ·A.· ·Had.
     ·7· · · ·Q.· ·Had.· Can you explain that to me, please.
     ·8· · · ·A.· ·When we start our -- Webzilla starts its
     ·9· business, Webzilla rented servers at Leaseweb and resell
     10· them.
     11· · · ·Q.· ·Rented servers at Leaseweb and resold them.· Is
     12· that what you said?
     13· · · ·A.· ·Rented, yes.
     14· · · ·Q.· ·And how long did Webzilla have that relationship
     15· with Leaseweb?
     16· · · ·A.· ·Years -- maybe three years, maybe five years.
     17· Not more than that.· Shouldn't be more than that.· I don't
     18· remember exactly.
     19· · · ·Q.· ·When did you all end that relationship with
     20· Leaseweb?
     21· · · ·A.· ·I don't remember exactly, but -- I don't remember
     22· exactly.
     23· · · ·Q.· ·Can you give me a time estimate in the last two
     24· years, in the last five years?
     25· · · ·A.· ·Last five years?


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     ·1· · · ·Q.· ·Within the last five years.· Was it within the
     ·2· last two years?
     ·3· · · ·A.· ·I don't think so.
     ·4· · · ·Q.· ·Okay.· From whom does XBT rent servers?
     ·5· · · ·A.· ·XBT hasn't rent the services -- servers.
     ·6· · · ·Q.· ·XBT doesn't rent servers?
     ·7· · · ·A.· ·No.
     ·8· · · ·Q.· ·Sorry.· I thought I told -- I thought you told me
     ·9· at the beginning of this deposition that you rented
     10· servers.
     11· · · ·A.· ·Webzilla.
     12· · · ·Q.· ·I'm sorry.· From whom does Webzilla rent servers?
     13· · · ·A.· ·That's -- was Leaseweb.
     14· · · ·Q.· ·Okay.· Currently, does Webzilla rent servers from
     15· Leaseweb?
     16· · · ·A.· ·No.
     17· · · ·Q.· ·When was the last time Webzilla rented servers
     18· from Leaseweb?
     19· · · ·A.· ·Over five years ago.
     20· · · ·Q.· ·Okay.· From whom does Webzilla currently rent
     21· servers?
     22· · · · · · MR. FRAY-WITZER:· Objection.
     23· · · · · · THE WITNESS:· We -- Webzilla does not rent
     24· · · ·servers.
     25· BY MS. BOLGER:


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     ·1· · · ·Q.· ·Okay.· At the beginning of the deposition, you
     ·2· told me that you all leased some servers and owned some
     ·3· servers; correct?
     ·4· · · ·A.· ·Yes.
     ·5· · · ·Q.· ·Okay.· From whom -- which entity were you talking
     ·6· about?
     ·7· · · ·A.· ·Who leased and rent?· Webzilla Servers.com,
     ·8· Dedicated Servers, Inc.
     ·9· · · ·Q.· ·Okay.· But you just told me that currently,
     10· Webzilla doesn't rent any servers.
     11· · · · · · MR. FRAY-WITZER:· Objection.
     12· · · · · · THE WITNESS:· That's correct.
     13· BY MS. BOLGER:
     14· · · ·Q.· ·Who currently rents servers?
     15· · · ·A.· ·No one.
     16· · · ·Q.· ·I am sorry.· I don't understand.· You are giving
     17· me completely inconsistent answers, to me, but they are
     18· clearly not inconsistent to you.· So let's try again.
     19· Currently, does XBT or its subsidiaries rent servers from
     20· anyone?
     21· · · ·A.· ·No.
     22· · · ·Q.· ·Okay.· When did that stop?
     23· · · ·A.· ·Over five years ago.
     24· · · ·Q.· ·So you own all of the 37,000 -- sorry, all of
     25· 22,000 physical servers?


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     ·1· · · · · · MR. FRAY-WITZER:· Objection.
     ·2· · · · · · THE WITNESS:· No.
     ·3· BY MS. BOLGER:
     ·4· · · ·Q.· ·What is the difference -- what -- what -- how do
     ·5· you reconcile those?
     ·6· · · ·A.· ·We don't rent.· We do lease servers.· It is a
     ·7· financeable leasing.· It is not the renting.
     ·8· · · ·Q.· ·Okay.· What is the difference?
     ·9· · · ·A.· ·When you rent servers, you don't own the servers.
     10· Financeable lease, it is -- where you lease the server --
     11· is, at the end, you own it.
     12· · · ·Q.· ·Okay.· Currently, from whom does any subsidiary
     13· of XBT, or XBT, itself, lease servers?
     14· · · ·A.· ·There are a lot of vendors.· I don't know all
     15· their names.
     16· · · ·Q.· ·Is Leaseweb one of them?
     17· · · ·A.· ·No.
     18· · · ·Q.· ·Can you give me the ones you do remember?
     19· · · ·A.· ·Sure.· Dell.
     20· · · ·Q.· ·That's it?· That is the only one you remember?
     21· · · ·A.· ·Yeah.
     22· · · ·Q.· ·Okay.· Who would know the answer to that
     23· question?
     24· · · ·A.· ·Rajesh.
     25· · · ·Q.· ·And Mr. Mishra would only know when you ended


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     ·1· your relationship with Leaseweb?
     ·2· · · · · · MR. FRAY-WITZER:· Objection.
     ·3· · · · · · You can answer.
     ·4· · · · · · THE WITNESS:· I don't know if he may know.             I
     ·5· · · ·don't know.
     ·6· BY MS. BOLGER:
     ·7· · · ·Q.· ·Well, who knows, then?
     ·8· · · ·A.· ·I don't know.· Maybe legal counsel.· I don't
     ·9· know.
     10· · · ·Q.· ·Okay.· So I am going to ask Adam to mark as
     11· Exhibit 5 a document that was printed off of --
     12· · · · · · That's my copy.· I don't think I wrote on it.
     13· Just give me another copy.
     14· · · ·(Exhibit No. 5 was marked for Identification.)
     15· BY MS. BOLGER:
     16· · · ·Q.· ·This is a -- for the record, a printout from the
     17· -- from the XBT web page which says "Services" on it.· Are
     18· you with me?· Are you with me?
     19· · · ·A.· ·Yes.
     20· · · ·Q.· ·And that's what that is?
     21· · · ·A.· ·It looks familiar.
     22· · · ·Q.· ·Okay.· So over the course of the two pages of
     23· this exhibit, it lists the services or the features of XBT
     24· Holdings.· There are nine basic services.· Do you see
     25· that?


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     ·1· · · ·A.· ·Yes, I see.
     ·2· · · ·Q.· ·Okay.· I'm going to talk to you about all of
     ·3· them, but before I do, is it the case that XBT Holdings,
     ·4· itself, doesn't really do anything, right?· It just acts
     ·5· as a holding company?
     ·6· · · · · · MR. FRAY-WITZER:· Objection.
     ·7· · · · · · You can answer.
     ·8· · · · · · THE WITNESS:· I think it is a holding company.
     ·9· BY MS. BOLGER:
     10· · · ·Q.· ·Okay.· And it offers services to its customers
     11· through certain subsidiaries?
     12· · · ·A.· ·Yes.· I think that's correct.
     13· · · ·Q.· ·Okay.· Would you agree with me that the various
     14· subsidiaries often perform the same services?
     15· · · ·A.· ·Some subsidiaries offer similar service, yes.
     16· · · ·Q.· ·Why is it that the same subsidiaries -- sorry,
     17· different subsidiaries offer similar services?
     18· · · ·A.· ·There are two reasons for that.· One reason is
     19· acquisitions, and the second reason, as I explained it in
     20· example of servers, Webzilla -- the second reason is that
     21· Webzilla and Servers.com situation, when we want to start
     22· something new.
     23· · · ·Q.· ·So you are using that as an example, and not --
     24· you're using it as an example of the second reason that
     25· you might use different names?


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     ·1· · · ·A.· ·There is two reasons; acquisition, and starting
     ·2· the new -- new business.
     ·3· · · ·Q.· ·Okay.· And do you all have subsidiaries targeted
     ·4· at different customer bases?
     ·5· · · ·A.· ·I don't know.
     ·6· · · ·Q.· ·So for example, are some subsidiaries targeted at
     ·7· one sort of Internet client, and others services are
     ·8· targeted at others?
     ·9· · · ·A.· ·Not to my knowledge.
     10· · · ·Q.· ·Okay.· So you will see that the very first thing
     11· on the first page is Dedicated Hosting.· And I will
     12· represent -- and you can correct me if I am wrong, that if
     13· you click on More Details, it takes you to a Webzilla
     14· page.
     15· · · ·A.· ·I don't know.· I can't click here.
     16· · · ·Q.· ·Well, do you have any reason to think I am lying
     17· to you?
     18· · · · · · MR. FRAY-WITZER:· Objection.
     19· · · · · · THE WITNESS:· I don't know, really.
     20· BY MS. BOLGER:
     21· · · ·Q.· ·Okay.· Well, I will represent to you that I have
     22· clicked on that link, and it has led me to Exhibit 6 --
     23· · · ·(Exhibit No. 6 was marked for Identification.)
     24· BY MS. BOLGER:
     25· · · ·Q.· ·-- which is your web page from Webzilla, okay,


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     ·1· which says, "Dedicated Servers."· Do you see that?
     ·2· · · ·A.· ·Yes.
     ·3· · · ·Q.· ·Okay.· Tell me again why you think I am not
     ·4· telling you the truth about clicking on More Details on
     ·5· the front page.
     ·6· · · · · · MR. FRAY-WITZER:· Objection, form.
     ·7· · · · · · THE WITNESS:· I did not say you were not telling
     ·8· · · ·the truth.
     ·9· MS. BOLGER:
     10· · · ·Q.· ·Okay.· Do you have any reason to doubt me, that I
     11· am telling you that this is what you get when you click at
     12· that location?
     13· · · ·A.· ·I didn't say that.
     14· · · ·Q.· ·I am asking if you have a reason to doubt me.
     15· · · ·A.· ·No.
     16· · · ·Q.· ·Okay.· What is a dedicated server?
     17· · · ·A.· ·Dedicated server -- it is the physical server,
     18· like the physical machine; hardware, bare metal.
     19· · · ·Q.· ·And you are making a distinction between a
     20· dedicated server, which is the physical thing, versus a
     21· virtual server, right?
     22· · · ·A.· ·Yes.
     23· · · ·Q.· ·Can you have a dedicated virtual server?
     24· · · ·A.· ·No.· It is not something possible.
     25· · · ·Q.· ·Okay.· You will see if you flip through the


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     ·1· exhibit that you all -- or even as your experience, you
     ·2· offer two different kinds of dedicated servers; a managed
     ·3· server and an unmanaged server.· Correct?
     ·4· · · ·A.· ·Yes.
     ·5· · · ·Q.· ·Okay.· Which is your more popular product?
     ·6· · · ·A.· ·I don't know.
     ·7· · · ·Q.· ·Well, do you have more dedicated -- sorry, more
     ·8· managed servers or more unmanaged servers?
     ·9· · · ·A.· ·I really don't know the numbers.
     10· · · ·Q.· ·Okay.· Well, I am not really asking you for the
     11· numbers.· I am asking you for your sense of -- I don't
     12· need exact numbers.· I am asking your sense.· You are
     13· literally the CTO of this company.· You've got to know
     14· this.· What is -- which one do you use -- which customers
     15· base do you have more of?· The kind that manages -- you
     16· have for managed servers, or the kind for unmanaged
     17· servers?
     18· · · · · · MR. FRAY-WITZER:· Object to form.
     19· · · · · · THE WITNESS:· I have to guess, and I don't want
     20· · · ·to.
     21· BY MS. BOLGER:
     22· · · ·Q.· ·Well, I don't want you to guess, but you are the
     23· CTO of the company.· You live with this every day of your
     24· life.· So bearing that in mind, which do you have more of,
     25· managed servers or unmanaged servers?


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     ·1· · · · · · MR. FRAY-WITZER:· Objection.
     ·2· · · · · · THE WITNESS:· I -- I don't know.
     ·3· BY MS. BOLGER:
     ·4· · · ·Q.· ·Well, you just told me that you are moving away
     ·5· from managed servers because it is more expensive, and
     ·6· that is the whole reason for the shift to Servers.com,
     ·7· right?
     ·8· · · · · · MR. FRAY-WITZER:· Objection.
     ·9· · · · · · THE WITNESS:· I didn't say that.
     10· BY MS. BOLGER:
     11· · · ·Q.· ·Okay.· You moved -- you're moving -- I find it
     12· hard to believe that you don't know which one is more of
     13· your business, but fine.
     14· · · · · · If you are managing the server, what do you do?
     15· · · ·A.· ·We do install operating system, and we do install
     16· any software customer may request us to do so.· We do
     17· patching, like updating the software on the system.· And
     18· that's all.
     19· · · ·Q.· ·Do you monitor -- sorry.· So once you set it up,
     20· and you can set it up with -- so once you set it up by
     21· installing the operating system and putting in whatever
     22· software is on from the client, the only thing you do from
     23· that point forward is patch the system; is that correct?
     24· · · · · · MR. FRAY-WITZER:· Objection.
     25· · · · · · You can answer.


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     ·1· · · · · · THE WITNESS:· No.· We are patching systems and
     ·2· · · ·performing any further customer's requirements
     ·3· · · ·regarding software installation or modification.
     ·4· BY MS. BOLGER:
     ·5· · · ·Q.· ·So other than what the customer asks you to do on
     ·6· a going-forward basis, once it is set up, the only thing
     ·7· Webzilla does is patch.· Is that right?
     ·8· · · ·A.· ·We do monitor their services for availability.
     ·9· · · ·Q.· ·Sorry.· Say that again.
     10· · · ·A.· ·We do monitor the servers for availability.
     11· · · ·Q.· ·Okay.· What does that mean?
     12· · · ·A.· ·We mean -- we have a monitoring system which
     13· checks the availability of the server or its components
     14· like database server or web server.
     15· · · ·Q.· ·So in other words, to see if it is working?
     16· · · ·A.· ·If it is running, yes.
     17· · · ·Q.· ·Okay.· So you check to see if it is running.· How
     18· often?
     19· · · ·A.· ·It is -- in minutes, in minutes increments.
     20· · · ·Q.· ·Okay.· And you patch?
     21· · · ·A.· ·Yes.
     22· · · ·Q.· ·What else?
     23· · · ·A.· ·In case we receive some complaint regarding the
     24· server, we do check what is going on in the server, if
     25· there is anything wrong, if it is hot or not, like this


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     ·1· kind of services.
     ·2· · · ·Q.· ·Okay.· And is that a -- is that a
     ·3· Webzilla-generated process, or do you have to have input
     ·4· from some third party to engage in that process?
     ·5· · · ·A.· ·Sometimes it is third party, sometimes it is
     ·6· Webzilla.
     ·7· · · ·Q.· ·Okay.· And under what circumstances would
     ·8· Webzilla, itself, notice a compliance problem on a managed
     ·9· server?
     10· · · ·A.· ·We may see unusual traffic spikes, for example,
     11· from the server, or we see unavailability of the -- some
     12· server components; or, something goes wrong during the
     13· system update, like update is not performing, and
     14· something is corrupt, there, that file is corrupted,
     15· system file is corrupted.· So under those circumstances.
     16· · · ·Q.· ·And how would -- how -- how would Webzilla come
     17· to notice those anomalies?
     18· · · ·A.· ·If you are talking about traffic spikes, it is --
     19· we have a system in place which monitors for any
     20· suspicious traffic activity, traffic spikes.· It is a
     21· system called Genee, G-E-N-E-E.· And in case of
     22· monitoring, it's -- we have monitoring system that checks
     23· availability in case of compliance update and corrupt file
     24· that happens during the actual patching.
     25· · · ·Q.· ·And how often does Genee check or review the


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     ·1· servers?
     ·2· · · ·A.· ·Constant process.
     ·3· · · ·Q.· ·How often do you get alerts from Genee on your
     ·4· servers?
     ·5· · · ·A.· ·Multiple times a day, multiple times a day.· But,
     ·6· it works both ways; to server and the -- from server.· So
     ·7· most of the notifications -- most of the notifications is
     ·8· regarding traffic towards the servers, so someone trying
     ·9· to DDoS server or doing something to the server.· Not from
     10· the server.
     11· · · ·Q.· ·Okay.· Just for the sake of having a record, what
     12· is DDoS?
     13· · · ·A.· ·Distributed denial of service.
     14· · · ·Q.· ·What is that?
     15· · · · · · THE INTERPRETER:· "Denial."
     16· · · · · · THE WITNESS:· Denial of service.· Yes, sorry.· It
     17· · · ·is kind of attack, when the attacker is trying to
     18· · · ·bring your server or website down.
     19· BY MS. BOLGER:
     20· · · ·Q.· ·Okay.· And what you are telling me is that Genee
     21· most often picks up attacks on your servers, not from your
     22· servers?
     23· · · ·A.· ·That's correct.
     24· · · ·Q.· ·Okay.· And who monitors the Genee report
     25· throughout the day?


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     ·1· · · ·A.· ·Genee then generates automated reports which go
     ·2· to the support team.
     ·3· · · ·Q.· ·Okay.· So the automated reports from Genee go to
     ·4· the support team?
     ·5· · · ·A.· ·Yes.
     ·6· · · ·Q.· ·Where is the support team?
     ·7· · · ·A.· ·Ukraine.
     ·8· · · ·Q.· ·And who is on the support team?
     ·9· · · ·A.· ·Our employees.
     10· · · ·Q.· ·How many employees?
     11· · · ·A.· ·I don't know, like 20, 30 of them.· 40, maybe.            I
     12· don't know.· I don't know exact number.
     13· · · ·Q.· ·Well, is it less than 50?
     14· · · ·A.· ·Yeah.· I think so.· It is less, but I don't know
     15· exact number.
     16· · · ·Q.· ·Okay.· And it is in Ukraine, you said?
     17· · · ·A.· ·Yes.
     18· · · ·Q.· ·Where, in Ukraine?
     19· · · ·A.· ·Two cities; Dnipro and Kiev.
     20· · · ·Q.· ·And are those support staff located at data
     21· centers in those cities?
     22· · · ·A.· ·We don't have data centers in the Ukraine.
     23· · · ·Q.· ·Do you have physical offices in the Ukraine?
     24· · · ·A.· ·Yes.
     25· · · ·Q.· ·And are all of your employees in the Ukraine


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     ·1· trained or educated in technology?
     ·2· · · ·A.· ·They have experience in technology.
     ·3· · · ·Q.· ·Okay.· Are they often -- do they have degrees
     ·4· generally, or are they not --
     ·5· · · ·A.· ·We do not require any degrees.· We require
     ·6· knowledge of technology.
     ·7· · · ·Q.· ·And conceivably, many of the people in the
     ·8· Ukraine in your Ukrainian centers are, in fact,
     ·9· Ukrainians?
     10· · · ·A.· ·Most of them.
     11· · · ·Q.· ·What language do they communicate in?
     12· · · ·A.· ·Ukrainian and Russian.
     13· · · ·Q.· ·And when you interact with the folks in the
     14· support centers in Ukraine, what language do you speak?
     15· · · ·A.· ·Russian.
     16· · · ·Q.· ·Do you speak Ukrainian?
     17· · · ·A.· ·Yes.
     18· · · ·Q.· ·Okay.· So the support -- but you are not in the
     19· support center in Ukraine, right?· You are either in
     20· Cyprus or Dallas, right?
     21· · · ·A.· ·There are support centers in Dallas.
     22· · · ·Q.· ·Okay.· So Genee -- the Genee notifications go to
     23· Ukraine?
     24· · · ·A.· ·Yes.
     25· · · ·Q.· ·Do they ever go anywhere else?


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     ·1· · · ·A.· ·No.· Oh, actually, it goes to Dallas, as well.
     ·2· Yes, that's true.· Yes.
     ·3· · · ·Q.· ·Okay.· And then who has responsibility for
     ·4· determining whether the Genee notifications need to be
     ·5· followed up on?
     ·6· · · ·A.· ·Support team.
     ·7· · · ·Q.· ·The support team?
     ·8· · · ·A.· ·Yes.
     ·9· · · ·Q.· ·Who is the head of the support team in Ukraine?
     10· · · ·A.· ·Oleg Pshemitsyn.· P-S-H-E-M-I-T-S-Y-N.
     11· · · ·Q.· ·When I read The Brothers Karamazov, I actually
     12· had to have a list of the characters next to me because I
     13· had such a hard time with the names, so I apologize for
     14· having a hard time with the names.
     15· · · ·A.· ·That's fine.
     16· · · ·Q.· ·Okay.· And does Oleg make the final decisions
     17· on --
     18· · · ·A.· ·No.
     19· · · ·Q.· ·Who makes the final decisions on how to respond
     20· to the Genee alerts?
     21· · · ·A.· ·Duty engineer -- the engineer who is on duty.
     22· · · ·Q.· ·The duty engineer who is on duty?
     23· · · ·A.· ·Yes.
     24· · · ·Q.· ·So Genee comes in, it goes to your support team.
     25· The support team reviews them.· Who determines whether the


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     ·1· information needs to go from the support team to the duty
     ·2· engineer?
     ·3· · · ·A.· ·No, no.· It is duty engineer in support team.
     ·4· · · ·Q.· ·In the support team?
     ·5· · · ·A.· ·Yes.
     ·6· · · ·Q.· ·Okay.· Who are the duty engineers?
     ·7· · · ·A.· ·They -- all of them.· They are performing their
     ·8· duty engineering job on day-to-day basis.
     ·9· · · ·Q.· ·So the job title of the members of your support
     10· team is duty engineer?
     11· · · ·A.· ·We don't have titles in our company.
     12· · · ·Q.· ·Okay.· The members of the support team are the
     13· same people as the duty engineers?
     14· · · ·A.· ·Yes.
     15· · · ·Q.· ·Okay.· So the particular person who gets the
     16· abuse is the person who decides whether it needs to be
     17· followed up on, right?
     18· · · ·A.· ·Not abuse.· That is notification.
     19· · · ·Q.· ·Sorry.· You are right.· I apologize.· The
     20· notification.
     21· · · ·A.· ·Yes.
     22· · · ·Q.· ·Okay.· So when the duty engineer -- if the duty
     23· engineer decides it needs to be followed up on, what
     24· happens next?
     25· · · ·A.· ·Depends on the case.· If there is an external


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     ·1· attack and the server is affected, he may try to manage
     ·2· that attack through an available way he has to.· If it is
     ·3· attacks going from server, he goes to server and tries to
     ·4· understand what is going on, if it is somehow compromised,
     ·5· or like, just to understand what is going on with the
     ·6· server.
     ·7· · · ·Q.· ·And do things ever get elevated beyond the duty
     ·8· engineer?
     ·9· · · ·A.· ·What means elevated?
     10· · · ·Q.· ·Does anybody ever report up?
     11· · · ·A.· ·Yeah.· They all report to me.· I am the -- like
     12· highest escalation.· If something really, really wrong,
     13· everything goes up to me.
     14· · · ·Q.· ·Okay.· Are you -- I understand you are the
     15· highest.· Are you also the second?· Is there someone below
     16· you, in between you and duty engineer?
     17· · · ·A.· ·Yes.· This guy I named, Oleg.
     18· · · ·Q.· ·So the notification comes in.· The individual in
     19· the support system, also known as the duty engineer, tries
     20· to fix the problem.· If they can't, it goes to Oleg, and
     21· if Oleg can't, it goes to you; is that right?
     22· · · ·A.· ·They can go directly to me if they believe it is
     23· important.
     24· · · ·Q.· ·Okay.· What language are the Genee alerts in?
     25· · · ·A.· ·English.


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     ·1· · · ·Q.· ·So all of your support team speaks English?
     ·2· · · ·A.· ·Yes, that is required.· Maybe not verbally, but
     ·3· at least they can read and write in English.
     ·4· · · ·Q.· ·Okay.· Let's talk for a minute about your
     ·5· unmanaged servers.· What do you do -- what services does
     ·6· Webzilla perform for the unmanaged servers?
     ·7· · · ·A.· ·We configure server hardware of the server at the
     ·8· customer request, and we may or may not install the
     ·9· operating system and give up the access to the customer.
     10· That's -- that's all we do for unmanaged services.
     11· · · ·Q.· ·Okay.· So you configure it according to the
     12· client's specification?· You may or may not put the
     13· operating system on, and then you're done with it, right?
     14· · · ·A.· ·Yes.
     15· · · ·Q.· ·So you don't monitor it, or patch it, right?
     16· · · ·A.· ·No.
     17· · · ·Q.· ·Do you get Genee alerts on it?
     18· · · ·A.· ·Yes.
     19· · · ·Q.· ·Do you respond to the Genee alerts on the
     20· unmanaged servers the same way you do for the managed
     21· servers?
     22· · · ·A.· ·Not the same, because we can't do anything to go
     23· on the server.· We notify the customer, and if it is an
     24· incoming thing, we try to mitigate this.· And yes, we do
     25· the same way, for incoming server, for outgoing -- it's


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     ·1· for customer notification.
     ·2· · · ·Q.· ·So if the server shows -- a spike, for example,
     ·3· the only thing you all do is contact the customer, you do
     ·4· no analysis yourself; correct?
     ·5· · · ·A.· ·We can't.
     ·6· · · ·Q.· ·Okay.· Does the customer have root access to the
     ·7· servers?
     ·8· · · ·A.· ·Yes.
     ·9· · · ·Q.· ·Yes?
     10· · · ·A.· ·Yes.· Which servers?
     11· · · ·Q.· ·Sorry, you are right.· It was a bad question.
     12· Well, either one.· Answer the question for both.
     13· · · ·A.· ·They absolutely have for unmanaged, and sometimes
     14· they have for managed, and sometimes they not.
     15· · · ·Q.· ·Okay.· What determines whether or not they have
     16· root access?
     17· · · ·A.· ·We prefer do not provide them access for managed
     18· servers because the customer may break something and we
     19· have to fix it.· And -- but sometimes customers insist and
     20· we give them that access.
     21· · · ·Q.· ·Okay.· Can you define root access for me?
     22· · · ·A.· ·Root access is a super user in the system which
     23· can perform basically everything on the operating system
     24· level.
     25· · · ·Q.· ·Do more of your customers use unmanaged servers


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     ·1· or managed servers?
     ·2· · · · · · MR. FRAY-WITZER:· Objection.
     ·3· · · · · · THE WITNESS:· I don't know.
     ·4· BY MS. BOLGER:
     ·5· · · ·Q.· ·What kinds of customers use managed servers?
     ·6· · · ·A.· ·I don't know.· Different kinds of customers.            I
     ·7· don't know.
     ·8· · · ·Q.· ·Do you know who the customers are?
     ·9· · · ·A.· ·The companies are all persons.
     10· · · ·Q.· ·Okay.· What kind -- what kinds of companies use
     11· Webzilla's services?
     12· · · ·A.· ·I don't know.· That's not my duty.· I don't know.
     13· · · ·Q.· ·I know it is not your duty, but you are alive in
     14· the world and you interact with these servers on a daily
     15· basis.· So in your experience as CTO of XBT Holdings, what
     16· kind of companies use Webzilla's servers?
     17· · · · · · MR. FRAY-WITZER:· Objection to form.
     18· · · · · · THE WITNESS:· It is companies who are doing
     19· · · ·Internet business.
     20· BY MS. BOLGER:
     21· · · ·Q.· ·Okay.· Are they big, massive, multinational
     22· companies, or smaller companies?
     23· · · ·A.· ·Different kind of customers.· Both that and that.
     24· · · ·Q.· ·It can be individual people, too, right?
     25· · · ·A.· ·Yes.


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     ·1· · · ·Q.· ·Okay.· What percentage of the customers of
     ·2· Webzilla are individual people?
     ·3· · · ·A.· ·I don't know.
     ·4· · · ·Q.· ·Who would know that?
     ·5· · · ·A.· ·Maybe sales team.· Maybe Rajesh.· I don't know.
     ·6· · · ·Q.· ·What kind of vetting does Webzilla do for
     ·7· customers?
     ·8· · · ·A.· ·What kind of?
     ·9· · · ·Q.· ·Vetting.
     10· · · ·A.· ·What is that?
     11· · · ·Q.· ·Vetting?
     12· · · · · · (Discussion off the record between witness and
     13· · · ·interpreter.)
     14· · · · · · THE INTERPRETER:· Screening.
     15· BY MS. BOLGER:
     16· · · ·Q.· ·Screening is fine.
     17· · · ·A.· ·What kind of that -- do?
     18· · · ·Q.· ·Screening, does Webzilla do before it rents its
     19· services out to people?
     20· · · · · · MR. FRAY-WITZER:· Objection.
     21· · · · · · THE WITNESS:· It depends on case-by-case basis.
     22· BY MS. BOLGER:
     23· · · ·Q.· ·Well, for managed servers, what kind of screening
     24· does Webzilla do for its customers?
     25· · · · · · THE INTERPRETER:· Counsel, if I may offer a


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     ·1· · · ·couple of alternatives.
     ·2· · · · · · (Discussion off the record between witness and
     ·3· · · ·interpreter.)
     ·4· · · · · · THE WITNESS:· Okay.· We are checking if it is
     ·5· · · ·genuinely noncompany.· We checking if we are --
     ·6· · · ·sometimes we are asking for documents, like provide
     ·7· · · ·copy of the credit card -- a credit card or the ID.
     ·8· · · ·Sometimes just trying to find something from the
     ·9· · · ·public sources.· Sometimes it is trying to call them
     10· · · ·back to confirm if it is a real, a person.· So it is
     11· · · ·case by case.
     12· BY MS. BOLGER:
     13· · · ·Q.· ·What would be the factors that influence what
     14· screening procedures Webzilla engaged in for its managed
     15· servers, customers?
     16· · · ·A.· ·Well, it -- it depends how the customer present
     17· himself.· If he is trying to hide his real name during the
     18· registration or he is willing to pay for not the credit
     19· card, but like PayPal, or something like that, so that --
     20· the more harder customer trying to hide his identity,
     21· let's say, not hide, not provide all his identity
     22· information, like phone numbers, addresses, then the more
     23· we are going to into the -- his checking.
     24· · · ·Q.· ·Is there a level of activity that they are going
     25· to do on your server that affects the level of scrutiny,


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     ·1· so for example, do you pay more attention to a customer
     ·2· who -- do you do more vetting or more selecting a customer
     ·3· who wants to lease 50 servers compared to, say, one
     ·4· server, or is that not a factor?
     ·5· · · ·A.· ·It is absolutely a factor.
     ·6· · · ·Q.· ·Okay.· So if it is a person who wants to do
     ·7· large -- rent a large number of servers, you do more
     ·8· vetting?
     ·9· · · ·A.· ·Yes.· That's absolutely a factor.
     10· · · ·Q.· ·Okay.· Do you have different contracts or
     11· agreements with those customers than you do for other
     12· customers who rent or use less of your resources?
     13· · · ·A.· ·We -- typically, it is up to the customer if he
     14· has -- he wants to have a contract.· We are doing on
     15· month-to-month basis.· Some customers wanted to have
     16· contracts; some not.
     17· · · ·Q.· ·Have Webzilla's vetting processes for customers
     18· on their managed dedicated servers changed over time?
     19· · · ·A.· ·I don't remember, but I believe, yes.· Because
     20· that -- they are always trying to find -- the customers is
     21· always trying to find a way to sneak, like, improvise much
     22· -- as less details as possible.· Like, they are using some
     23· free mails, or they are using some one-time, like,
     24· one-time email addresses.· So we are -- when there
     25· appears, they realize that -- we realize that they are


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     ·1· here, and we stop accepting customers from these email
     ·2· addresses.
     ·3· · · ·Q.· ·When did your processes change?
     ·4· · · ·A.· ·When we realized that it is something wrong with
     ·5· that customer, and we analyze that and see what we can do
     ·6· to prevent this.
     ·7· · · · · · THE VIDEOGRAPHER:· Counsel, can we go off the
     ·8· · · ·record a moment?
     ·9· · · · · · MS. BOLGER:· Do we need to?· Sure.
     10· · · · · · THE VIDEOGRAPHER:· Off the video record at
     11· · · ·11:52 A.M.
     12· · · · · · (Whereupon, there was a recess, after which the
     13· · · ·following proceedings were had:)
     14· · · · · · THE VIDEOGRAPHER:· Back on the video record at
     15· · · ·11:52 A.M.
     16· BY MS. BOLGER:
     17· · · ·Q.· ·Just to follow up on that last question, I will
     18· ask sort of a better question.· Is there a year or moment
     19· in chronological time where you guys changed your vetting
     20· procedures?
     21· · · ·A.· ·No.
     22· · · ·Q.· ·It is -- just is involved with your interaction
     23· with the client?
     24· · · ·A.· ·It can happen -- it may not happen during the
     25· year.· It may happen during the year.· It depends on like


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     ·1· what the current trends in the -- in the industry, let's
     ·2· say.
     ·3· · · ·Q.· ·It depends on the trends in the industry?
     ·4· · · ·A.· ·Yes.
     ·5· · · ·Q.· ·Do you think that Webzilla's vetting procedures
     ·6· are consistent with trends in the industry?
     ·7· · · ·A.· ·I think so, we try to, our best, to be consistent
     ·8· with that.
     ·9· · · ·Q.· ·Is it the case that an individual could fill out
     10· an application or a form on the web to set up a dedicated
     11· server with you all, and no -- then there is no human
     12· interaction?· You all simply set that up as they asked?
     13· · · ·A.· ·Yes.· That's possible.
     14· · · ·Q.· ·Who is responsible for interacting with the
     15· customers to set up their data -- sorry, the servers?
     16· · · · · · MR. FRAY-WITZER:· Objection.
     17· · · · · · THE WITNESS:· It depends, depends for which
     18· · · ·company.
     19· BY MS. BOLGER:
     20· · · ·Q.· ·Sorry?
     21· · · ·A.· ·Depends on which company.
     22· · · ·Q.· ·Webzilla-managed dedicated servers?
     23· · · ·A.· ·It is sales team.
     24· · · ·Q.· ·Okay.· How often does it happen that a customer
     25· interacts with no one other than the Internet in setting


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     ·1· up their managed dedicated server?
     ·2· · · · · · MR. FRAY-WITZER:· Objection.
     ·3· · · · · · THE WITNESS:· For Webzilla?
     ·4· BY MS. BOLGER:
     ·5· · · ·Q.· ·For Webzilla.
     ·6· · · ·A.· ·It is not possible.
     ·7· · · ·Q.· ·Why not?
     ·8· · · ·A.· ·There is no automation process.· A customer has
     ·9· to go through a salesperson.
     10· · · ·Q.· ·Does their diligence in vetting your customers
     11· depend on whether it is managed or unmanaged?
     12· · · · · · MR. FRAY-WITZER:· Objection.
     13· · · · · · THE WITNESS:· No, we are trying to be consistent
     14· · · ·on all processes.
     15· BY MS. BOLGER:
     16· · · ·Q.· ·Has Webzilla ever refused to engage with a client
     17· after the vetting process?
     18· · · ·A.· ·Yes.
     19· · · ·Q.· ·How many times?
     20· · · ·A.· ·I don't know.· More than one.
     21· · · ·Q.· ·More than one?
     22· · · ·A.· ·Yes.
     23· · · ·Q.· ·Less than a hundred?
     24· · · ·A.· ·I don't know.· I don't know exact number, but
     25· more than one.


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     ·1· · · ·Q.· ·Okay.· Well, I mean, there is a big difference
     ·2· between one and a hundred, right?· It is approximately 99
     ·3· numbers.· So is it more than 50?
     ·4· · · ·A.· ·I don't know.
     ·5· · · ·Q.· ·Who knows?
     ·6· · · ·A.· ·I don't know who knows.
     ·7· · · ·Q.· ·Have you guys ever done criminal background
     ·8· checks?
     ·9· · · · · · MR. FRAY-WITZER:· Objection.
     10· · · · · · THE WITNESS:· For whom?
     11· BY MS. BOLGER:
     12· · · ·Q.· ·Your customers?
     13· · · ·A.· ·I don't think so.
     14· · · ·Q.· ·Are customers allowed to pay with cash?
     15· · · ·A.· ·Only the customers who has really, really deep
     16· due diligence, like we know them personally, they are
     17· locally located in Cyprus.· But that's real rare case.
     18· · · ·Q.· ·How about bit coin?
     19· · · ·A.· ·No.
     20· · · ·Q.· ·How about like a prepaid card, or cash card?
     21· · · · · · MR. FRAY-WITZER:· Objection.
     22· · · · · · THE WITNESS:· I don't know.
     23· BY MS. BOLGER:
     24· · · ·Q.· ·Do you have employees in Moscow?
     25· · · ·A.· ·Yes.


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     ·1· · · ·Q.· ·How many?
     ·2· · · ·A.· ·About 20 of them.
     ·3· · · ·Q.· ·And are any of them trained in a Russian
     ·4· technical school?
     ·5· · · ·A.· ·Yes.· I believe some of them, but I don't know.
     ·6· · · ·Q.· ·And there are -- how many of your employees are
     ·7· Russian citizens?
     ·8· · · ·A.· ·In Russia?
     ·9· · · ·Q.· ·In company wide, Russian citizens?
     10· · · ·A.· ·Well, 30.· Oh, no. I am wrong.· There is a place
     11· on Cyprus with Russians.· I believe about 60.
     12· · · ·Q.· ·Are you a Russian citizen, or are you --
     13· · · ·A.· ·I am the citizen of Ukraine, and that is only one
     14· citizenship I have.
     15· · · ·Q.· ·Are there different price points between your
     16· unmanaged data servers and your managed data servers?
     17· · · ·A.· ·Yes.· I think so.
     18· · · ·Q.· ·Do you know how -- what those price points are?
     19· · · ·A.· ·No.· It is -- no.
     20· · · ·Q.· ·Is it customer-dependent?
     21· · · ·A.· ·It is up to -- sales decides that, salesperson
     22· decides that.
     23· · · ·Q.· ·Okay.· Is it customer-dependent?
     24· · · ·A.· ·I don't know.· It is their decision.
     25· · · ·Q.· ·Are there terms of use that govern -- let's talk


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     ·1· about managed dedicated servers for Webzilla.
     ·2· · · ·A.· ·Yes.
     ·3· · · ·Q.· ·Who drafts those terms of use?
     ·4· · · ·A.· ·It is our in-house or external attorney.
     ·5· · · ·Q.· ·Okay.· And how long a contract are -- do people
     ·6· enter into for the Webzilla managed dedicated servers?
     ·7· · · ·A.· ·If there is a contract, it is from one to three
     ·8· years.
     ·9· · · ·Q.· ·Okay.· Sir, I thought earlier you said it was
     10· month to month.
     11· · · · · · MR. FRAY-WITZER:· Objection.
     12· · · · · · THE WITNESS:· It is -- there is no contract for
     13· · · ·month to month.· It is based on the online agreement
     14· · · ·between that we accept during the service provision.
     15· · · ·If they enter into contract, it is from one to three
     16· · · ·years.
     17· BY MS. BOLGER:
     18· · · ·Q.· ·Okay.· So if they enter into a -- if they enter
     19· into the terms of use on the website, it is month to
     20· month; if they enter a contract, it can be one to three
     21· years?
     22· · · ·A.· ·Yes.
     23· · · ·Q.· ·Okay.· And are there -- is there an acceptable
     24· use policy for Webzilla-dedicated servers?
     25· · · ·A.· ·There is a general acceptable use policy on the


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     ·1· Webzilla website.
     ·2· · · ·Q.· ·What is that acceptable use policy?
     ·3· · · ·A.· ·It is a policy describing our services and
     ·4· obligations, from our side and in the customer side.
     ·5· · · ·Q.· ·And who drafted that acceptable use policy?
     ·6· · · ·A.· ·It is either our in-house or outside attorney.
     ·7· · · ·Q.· ·And are you involved in that?
     ·8· · · ·A.· ·They may ask some questions to me.· Somehow, I
     ·9· can be involved in the process.
     10· · · ·Q.· ·Can you tell me generally what an accessible use
     11· is on a Webzilla-dedicated server?
     12· · · ·A.· ·Accessible?
     13· · · ·Q.· ·What -- no.· What an acceptable use is.· What is
     14· acceptable?
     15· · · ·A.· ·Yes, I understand it.
     16· · · · · · Any legal business.
     17· · · ·Q.· ·So illegal business would be a problem?
     18· · · ·A.· ·Oh, for sure.
     19· · · ·Q.· ·How do you enforce your acceptable use policy?
     20· · · ·A.· ·Hardly.
     21· · · ·Q.· ·Sorely?
     22· · · ·A.· ·We -- we don't want our customers to abuse our
     23· acceptable use policy.
     24· · · ·Q.· ·Right.· How do you enforce it?
     25· · · ·A.· ·By disconnecting the customer, or limiting his


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     ·1· services or whatever.
     ·2· · · ·Q.· ·And how -- what do you do to get to the point
     ·3· where you decide to disconnect or limit their services?
     ·4· Do you investigate?
     ·5· · · ·A.· ·Well, it is case-by-case basis investigation.
     ·6· · · ·Q.· ·And how do you conduct the investigation?
     ·7· · · ·A.· ·It is case by case, it depends on what is going
     ·8· on there.
     ·9· · · ·Q.· ·Well, let's say you get a notice that they are
     10· violating your acceptable use policy.· What is the first
     11· thing you do?
     12· · · ·A.· ·It depends on what exactly the policy they
     13· violate.
     14· · · ·Q.· ·Well, give me an example of a time when you have
     15· investigated someone for violating an acceptable use
     16· policy.
     17· · · ·A.· ·If someone sends spam, for example, we contact
     18· the customer and ask him, like, what is going on?· If he
     19· is not replying, we shut him down.· If he is replying, we
     20· try to understand, like, what is the problem, if he was --
     21· compromised, or he is processing -- he sending the spam;
     22· is it legitimate mail or not, and based on all these
     23· processes, we decide what to do next; either terminate him
     24· or make him strike identification, or -- strike.
     25· · · ·Q.· ·Can you give me the names of any customers you


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     ·1· have terminated for violating your acceptable use policy?
     ·2· · · ·A.· ·Oh, yes.· There was Alexander Zhukov.
     ·3· · · ·Q.· ·Okay.· Who else?
     ·4· · · ·A.· ·I don't remember.· That was most recent one.· And
     ·5· the most -- big one.· Yes.
     ·6· · · ·Q.· ·Okay.· You have been CTO of XBT since it started.
     ·7· So think hard on this question.· But have you -- give me
     ·8· the names -- can you give me the names of any other
     ·9· customers that you terminated for violating your
     10· acceptable use policy?
     11· · · · · · MR. FRAY-WITZER:· Objection.
     12· · · · · · You can answer.
     13· · · · · · THE WITNESS:· I don't -- I don't remember.
     14· BY MS. BOLGER:
     15· · · ·Q.· ·Okay.· Has it happened?
     16· · · ·A.· ·I don't remember.
     17· · · ·Q.· ·What percentage of Webzilla's customer base is
     18· from managed designated servers?
     19· · · · · · MR. FRAY-WITZER:· Objection.
     20· · · · · · You can answer.
     21· · · · · · THE WITNESS:· Well, I don't know this.
     22· BY MS. BOLGER:
     23· · · ·Q.· ·Okay.· What percentage of your revenue is
     24· generated from managed dedicated servers?
     25· · · ·A.· ·I don't know this more than the previous.           I


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     ·1· don't know.
     ·2· · · ·Q.· ·You know, I have to make a record.· What
     ·3· percentage of your customer base or your revenue is
     ·4· generated from unmanaged designated servers?
     ·5· · · ·A.· ·I don't know.
     ·6· · · ·Q.· ·How often do customers of the Webzilla-dedicated
     ·7· server -- servers turn over?
     ·8· · · · · · In other words, how long is any one customer
     ·9· generally a customer of Webzilla for designated servers?
     10· · · · · · MR. FRAY-WITZER:· Objection.
     11· · · · · · You can answer.
     12· · · · · · THE WITNESS:· I don't know.· But, I believe we
     13· · · ·have a good turnover rate.· This means the customer
     14· · · ·stay on with.
     15· BY MS. BOLGER:
     16· · · ·Q.· ·What is your basis for that belief?
     17· · · ·A.· ·I see a period appearing the same names in
     18· communications.
     19· · · ·Q.· ·What kind of communications?
     20· · · ·A.· ·Like, support, sales.
     21· · · ·Q.· ·Okay.· Who would know the question of how often
     22· you turn over customers?
     23· · · ·A.· ·I don't think we ever have any counted.· I don't
     24· think.· Maybe Rajesh used this in his financial
     25· projections, but I don't know.


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     ·1· · · ·Q.· ·In absolute numbers, and actual round numbers,
     ·2· how many customers are there of the Webzilla-dedicated
     ·3· server business?
     ·4· · · ·A.· ·I don't know.
     ·5· · · ·Q.· ·Okay.· I am going to move on to cloud services,
     ·6· which are offered through Webzilla; correct?
     ·7· · · ·A.· ·We do offer cloud storage services for Webzilla.
     ·8· · · ·Q.· ·Just for the record, what is cloud storage?
     ·9· · · ·A.· ·It is -- it is actually the place to store -- it
     10· is a place to store files, like a Dropbox, for example.
     11· · · ·Q.· ·Okay.· A place to store?
     12· · · ·A.· ·Files.
     13· · · ·Q.· ·Great.· So you also offer a private cloud
     14· storage; correct?
     15· · · ·A.· ·There is no definition of private or public cloud
     16· storage.· It is just cloud storage.
     17· · · ·Q.· ·We are going to mark as Exhibit 7 a printout of
     18· the Webzilla cloud storage page.
     19· · · ·(Exhibit No. 7 was marked for Identification.)
     20· BY MS. BOLGER:
     21· · · ·Q.· ·And if you take a look at the third page of the
     22· exhibit, you will see it offers private cloud storage.
     23· · · ·A.· ·Page 3?
     24· · · ·Q.· ·Page 3.· You see the words "private cloud,"
     25· right?


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     ·1· · · ·A.· ·Yes, I see the words "private cloud."
     ·2· · · ·Q.· ·Okay.· So this is from the Webzilla web page.
     ·3· You are the CTO of Webzilla.· Does Webzilla offer private
     ·4· cloud storage?
     ·5· · · ·A.· ·No.
     ·6· · · ·Q.· ·Okay.· What is this?
     ·7· · · ·A.· ·It is a private cloud.· It is not the private
     ·8· cloud storage.
     ·9· · · ·Q.· ·Okay.· Can you explain to me the difference?
     10· · · ·A.· ·Yes.· Well, it is computing.· It is like a
     11· virtual server.
     12· · · ·Q.· ·Okay.· And so that is a separate system from the
     13· cloud storage system?
     14· · · ·A.· ·Absolutely.
     15· · · ·Q.· ·Okay.· What is a private cloud?
     16· · · ·A.· ·It is a virtual servers, infrastructure.
     17· · · ·Q.· ·Okay.· What kind of customers choose a private
     18· cloud rather than, for example, a dedicated server?
     19· · · ·A.· ·They can be two kinds of customers; one kind of
     20· customer who can't afford dedicated server or may not need
     21· a dedicated server for this workload for like
     22· developers --
     23· · · · · · THE INTERPRETER:· Workload.
     24· · · · · · THE WITNESS:· Workload like developers, and
     25· another kind of customers is who need to scale in and


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     ·1· scale out during their processes, and done instantly, not
     ·2· waiting until we provision a new physical server.
     ·3· · · ·Q.· ·So someone who needs a server quickly, is that
     ·4· right?
     ·5· · · ·A.· ·In some cases.· It is one of the reasons.
     ·6· · · ·Q.· ·That was your second example, right?
     ·7· · · ·A.· ·That is one of the reasons, yes.
     ·8· · · ·Q.· ·How do you -- do you all manage cloud storage for
     ·9· your Webzilla customers?
     10· · · ·A.· ·We do not manage cloud storage.· We do manage
     11· cloud storage infrastructure behind the product.
     12· · · ·Q.· ·Can you explain to me how you manage the cloud
     13· storage infrastructure behind the product?
     14· · · ·A.· ·Yes.· We do set up a hardware and software, which
     15· then provides a service to the customers.
     16· · · ·Q.· ·After you set up hardware and software to provide
     17· the cloud storage, do you all monitor the cloud storage in
     18· any way?
     19· · · ·A.· ·Yes.· There is a monitoring for that, yes.
     20· · · ·Q.· ·What is the monitoring?
     21· · · ·A.· ·For the -- availability for the -- like, for lack
     22· of availability.
     23· · · ·Q.· ·For availability?
     24· · · ·A.· ·Yes.
     25· · · ·Q.· ·Okay.· Any other kind of monitoring?


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     ·1· · · ·A.· ·Yes.· Maybe any other monitoring, that's cloud,
     ·2· you may know better.
     ·3· · · ·Q.· ·Sorry.· So you are not sure if there is any other
     ·4· monitoring?
     ·5· · · ·A.· ·I am not sure, no.
     ·6· · · ·Q.· ·Who would know the answer to that?
     ·7· · · ·A.· ·The cloud team.
     ·8· · · ·Q.· ·And who is the cloud team?
     ·9· · · ·A.· ·The group of people in our office.
     10· · · ·Q.· ·Where are the cloud team?
     11· · · ·A.· ·Mostly in Cyprus.
     12· · · ·Q.· ·And how many members are on the cloud team?
     13· · · ·A.· ·Five to six.
     14· · · ·Q.· ·And the cloud team is responsible for both cloud
     15· storage and the private cloud?
     16· · · ·A.· ·Yes.
     17· · · ·Q.· ·Do you get Genee reports from the cloud?
     18· · · ·A.· ·It is -- yes.· Genee covers all of the network.
     19· Whatever it is -- cloud, private cloud or dedicated
     20· server.
     21· · · ·Q.· ·What vetting do you do of customers for cloud
     22· storage?
     23· · · ·A.· ·Well, I believe the same kind of procedures.· So
     24· it is -- depends case by case.· So they still have to open
     25· an account, and we do -- checking that, not the servers,


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     ·1· but account, actually.· So it is -- it should be the same.
     ·2· · · ·Q.· ·You are saying "it should be," and "I believe."
     ·3· Do you know, or are you --
     ·4· · · ·A.· ·I believe it is the same, yes.
     ·5· · · ·Q.· ·When you say, "I believe," do you mean you know?
     ·6· · · ·A.· ·Yes.· It should be the same, and I believe it is
     ·7· the same.· Yes, that's what I can say.
     ·8· · · ·Q.· ·Okay.· And how long -- is the cloud storage more
     ·9· or less expensive than managed or dedicated servers,
     10· managed dedicated servers?
     11· · · ·A.· ·You can't compare.· It is not apple-to-apple
     12· comparison.· It is different services completely.
     13· · · ·Q.· ·Why would -- what kind of customers would use
     14· cloud servers versus dedicated servers?
     15· · · ·A.· ·I don't know.
     16· · · ·Q.· ·What is different about the services that would
     17· -- well, what is different about the services?
     18· · · ·A.· ·Well, the cloud storage is the place to store
     19· your files.· And dedicated server, it can be used for
     20· various cases.
     21· · · ·Q.· ·Okay.· And you don't have access to the cloud
     22· once you set it up?
     23· · · ·A.· ·You don't have?
     24· · · ·Q.· ·You don't have access to whatever the customer
     25· stores on the cloud once you set it up, right?


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     ·1· · · ·A.· ·It is not encrypted, I believe we should have --
     ·2· · · · · · It's not encrypted, I believe we should have
     ·3· access to the files on the cloud storage.· We can have
     ·4· access.
     ·5· · · ·Q.· ·You can have access?
     ·6· · · ·A.· ·Yes.
     ·7· · · ·Q.· ·Do you access it?
     ·8· · · ·A.· ·I don't know.
     ·9· · · ·Q.· ·Okay.· And are there terms of use that relates to
     10· cloud storage?
     11· · · ·A.· ·There are general terms of use that covers all of
     12· the services of the company.
     13· · · ·Q.· ·And is it the same as we talked about for the
     14· designated servers, which is to say if you enter into an
     15· agreement per the terms of use, it is month to month?
     16· · · ·A.· ·Yes.
     17· · · ·Q.· ·Okay.· Are there written contracts for cloud
     18· storage?
     19· · · ·A.· ·I don't think so.· I don't think we have even one
     20· enter into the contract for the cloud storage because the
     21· whole idea of the cloud is month to month, even
     22· day-to-day.
     23· · · ·Q.· ·Okay.· And you have -- do you have acceptable use
     24· policies for the cloud, or is it -- or not?
     25· · · ·A.· ·Should be general -- I am not sure, but it should


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     ·1· be general acceptable use policy for the company, which
     ·2· covers the whole services of the company.
     ·3· · · ·Q.· ·Does cloud storage make up a substantial portion
     ·4· of Webzilla's business?
     ·5· · · ·A.· ·I don't know.
     ·6· · · ·Q.· ·How about private clouds?
     ·7· · · ·A.· ·Webzilla?
     ·8· · · ·Q.· ·Um-hmm.
     ·9· · · ·A.· ·It was discontinued recently.
     10· · · ·Q.· ·When was it discontinued?
     11· · · ·A.· ·There was not -- it wasn't too not popular.
     12· · · ·Q.· ·Not why, when?
     13· · · ·A.· ·When?
     14· · · ·Q.· ·When?
     15· · · ·A.· ·Sorry.· I don't remember exactly.· About half a
     16· year ago, maybe, maybe a year ago.
     17· · · ·Q.· ·And why was that?
     18· · · ·A.· ·That was not popular.
     19· · · ·Q.· ·Do you -- turn over customers -- do you have high
     20· turnover of customers for cloud storage?
     21· · · ·A.· ·I don't think so.· Our customers are generally --
     22· like, not high, I do not, generally.
     23· · · ·Q.· ·Okay.· What is -- we talked a little about
     24· colocation.· And -- so we talked about colocation, which
     25· is sort of physically renting spaces in a data center,


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      ·1· right?
      ·2· · · ·A.· ·Yes.· The colocation is about rent -- renting
      ·3· spaces in data center.
      ·4· · · ·Q.· ·When you do colocate with another customer, do
      ·5· they have -- do they have personnel in the data center
      ·6· with you?
      ·7· · · ·A.· ·No.
      ·8· · · ·Q.· ·So they colocate for the servers, but you all
      ·9· provide the hardware support, is that right?
      10· · · · · · MR. FRAY-WITZER:· Objection.
      11· · · · · · You can answer.
      12· BY MS. BOLGER:
      13· · · ·Q.· ·What is wrong with what I just said?
      14· · · ·A.· ·It's just not like that.· It is just not.
      15· · · ·Q.· ·So you all -- they rent the physical servers in
      16· your space, but you all have no responsibility for them
      17· once they are set up?
      18· · · ·A.· ·Yes.
      19· · · ·Q.· ·Okay.· Who can access your data centers,
      20· physically?
      21· · · ·A.· ·Our employees and customers, if they request an
      22· access, and if they are collocated customers, and if they
      23· are customers, they can request to our access -- to, to
      24· see the data center.
      25· · · ·Q.· ·What kind of security do you have at your data


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      ·1· centers?
      ·2· · · ·A.· ·The security is governed by the center, itself.
      ·3· It is not ours.
      ·4· · · ·Q.· ·So you don't -- don't have the security
      ·5· protocols?
      ·6· · · ·A.· ·No.
      ·7· · · ·Q.· ·Are there access logs in your data centers?
      ·8· · · ·A.· ·I don't know, but I believe so.
      ·9· · · ·Q.· ·And do you have access to all of your data
      10· centers, all of the data centers Webzilla uses?
      11· · · ·A.· ·No. There are some I have no access.
      12· · · ·Q.· ·Which -- why not?
      13· · · ·A.· ·There is one data center in Russia, which is
      14· located inside some nuclear institute, on the territory of
      15· this institute, and they don't let nonRussian citizens on
      16· the territory because it is, like, protected thing.
      17· · · ·Q.· ·So who is the Webzilla or XBT person who has
      18· access to that data center?
      19· · · ·A.· ·Our employees from Moscow.
      20· · · ·Q.· ·Your employees in Moscow have access to it?
      21· · · ·A.· ·Yes.
      22· · · ·Q.· ·Who is the -- who is in charge of your employees
      23· in the Moscow facility?
      24· · · ·A.· ·Sergei Krysenko, C-R-G-E-Y -- K-R-Y-S-E-N-K-O.
      25· · · ·Q.· ·I am assuming the nuclear facility is owned by


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      ·1· the Russian government, right?
      ·2· · · ·A.· ·I don't know.· Never been there.
      ·3· · · · · · MR. FRAY-WITZER:· Objection.
      ·4· BY MS. BOLGER:
      ·5· · · ·Q.· ·Okay.
      ·6· · · ·A.· ·It is institute in public facility, institute.
      ·7· · · ·Q.· ·You mean it is an educational facility, or --
      ·8· · · ·A.· ·Research, I believe it is research place.
      ·9· · · ·Q.· ·Okay.· Why are your -- is your data center on a
      10· nuclear research place in Moscow?
      11· · · ·A.· ·I don't know.· We acquired that company, like
      12· what with the data center was there, but as far as in all
      13· of the history of this place, that was just one of the
      14· first connected, like, first data centers in Moscow.
      15· · · ·Q.· ·Okay.· And what company was it that you acquired?
      16· · · ·A.· ·Edenayset, E-D-E-N-A-Y-S-E-T.
      17· · · ·Q.· ·You said that like it begins with a Y?
      18· · · ·A.· ·E.
      19· · · ·Q.· ·E?
      20· · · ·A.· ·E-D-E.
      21· · · ·Q.· ·E-D-E.· Okay.
      22· · · ·(Exhibit No. 8 was marked for Identification.)
      23· BY MS. BOLGER:
      24· · · ·Q.· ·And I am going to ask you to take a look at
      25· Exhibit 8, which is a printout from the website on


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      ·1· colocation.· And you will see that the colocation services
      ·2· offered by Webzilla include both managed -- and if you
      ·3· keep flipping -- unmanaged colocation.· So what is managed
      ·4· colocation?
      ·5· · · · · · Sorry.· What is the name of the institute in
      ·6· Moscow?
      ·7· · · ·A.· ·I don't remember --
      ·8· · · · · · It is Kurchatova, K-U-R-C-H-A-T-O-V-A.
      ·9· · · ·Q.· ·Totally would have guessed that.· Kidding.
      10· · · · · · So what is the difference between managed
      11· colocation services and unmanaged colocation services?
      12· · · ·A.· ·Well, it is -- on the managed colocation
      13· services, we can help with the hardware.· We brought in
      14· remote hands.· It is called remote hands.· We can change
      15· the hardware or -- like replace the hardware, replace the
      16· hardware, upgrade the server by customer request.
      17· · · ·Q.· ·So forgive me if I am mischaracterizing it, and
      18· you will correct me, so on the managed colocation
      19· services, what Webzilla does is help with the upkeep of
      20· the physical server, right?
      21· · · ·A.· ·Yeah, we don't touch the software part.· We just
      22· may install the server, replace the hard drive in it, if
      23· it fails, by customer request, only.
      24· · · ·Q.· ·Okay.· So you don't do the kinds of things you do
      25· for the managed dedicated servers?


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      ·1· · · ·A.· ·Absolutely no.
      ·2· · · ·Q.· ·Do you get any logs or information or anything
      ·3· like that from the servers that you are collocating with
      ·4· another customer on?
      ·5· · · ·A.· ·Yes, in some cases.
      ·6· · · ·Q.· ·What, and in which cases?
      ·7· · · ·A.· ·Some of the cases, when the customer has the
      ·8· managed colocation service, they asked us to manage the
      ·9· operating system, as well.· So they may have managed
      10· operating system, and when -- we do it the same way as we
      11· do with other -- our server.
      12· · · ·Q.· ·And what services do you provide for the
      13· unmanaged colocation system?
      14· · · ·A.· ·It is hardware and data center and Internet
      15· access.
      16· · · ·Q.· ·So you simply provide a building to put your
      17· server in and make sure it's hooked up to the Internet,
      18· and that's it?
      19· · · ·A.· ·And -- yeah, I think so.· Yes.· Yeah.
      20· · · ·Q.· ·Okay.· What vetting of customers do you do for
      21· your colocation servers?
      22· · · ·A.· ·It is always same kind of process we -- I think
      23· with the company because they have to go through an
      24· account opening process, and that is when it happens.
      25· · · ·Q.· ·Okay.· So collocating seems to me like a pretty


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      ·1· big deal from a security point of view, right?· This
      ·2· person is physically in your space, and has physical
      ·3· access to your space, right?
      ·4· · · ·A.· ·No.
      ·5· · · ·Q.· ·Well, their server is physically in your space,
      ·6· right?
      ·7· · · ·A.· ·The hardware is in our space, in the server --
      ·8· hardware.
      ·9· · · ·Q.· ·Okay.· The hardware is in your space, and they
      10· have access to the space, right?
      11· · · ·A.· ·No.
      12· · · ·Q.· ·They have no access to the data centers?
      13· · · ·A.· ·No.
      14· · · ·Q.· ·Are you confident that they have no access to any
      15· of the data centers?
      16· · · ·A.· ·They may request it, and we may go with them to
      17· the rack and maintain, like by -- while they do job, they
      18· stay there -- while they doing the job, yes, we stay
      19· there.
      20· · · ·Q.· ·So the people who colocate in the data centers
      21· with you all have no access to data centers unless you are
      22· with them, is that right?
      23· · · ·A.· ·Yes.
      24· · · ·Q.· ·All right.· What types -- did you do more
      25· diligence for customers who seek to colocate with you than


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      ·1· with people who simply seek to lease managed servers?
      ·2· · · ·A.· ·It is same amount of diligence.
      ·3· · · ·Q.· ·Okay.· Are there particular terms of use that
      ·4· relate to collocating customers?
      ·5· · · ·A.· ·It is all within our terms of use on the website.
      ·6· So it should be covered by the same things, terms of use
      ·7· we have on the website.
      ·8· · · ·Q.· ·And do you -- you don't monitor traffic on their
      ·9· servers in any way, right?
      10· · · ·A.· ·We do monitor traffic for the whole network, as
      11· it is with Genee.
      12· · · ·Q.· ·So the same Genee and the same network things we
      13· talked about in the beginning of this discussion, relate
      14· to the collocating services?
      15· · · ·A.· ·Yes.· It happens later, after.· So -- however,
      16· some colocation customers may be not using our network.
      17· · · ·Q.· ·Right.· That was what I was about to ask you.            I
      18· thought that colocation customers had their own servers,
      19· which mean they don't necessarily use your network, right?
      20· · · ·A.· ·Right.· That can -- that can be -- we had that
      21· happen before and probably have that now.· So they -- they
      22· just colocate and connect it somewhere else.
      23· · · ·Q.· ·Okay.· What percentage of your collocating
      24· customers use your network?
      25· · · ·A.· ·I don't know.


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      ·1· · · ·Q.· ·Is it most, is it -- not most?
      ·2· · · ·A.· ·Most.
      ·3· · · ·Q.· ·Okay.· Most.· Okay.· Do your collocating
      ·4· customers have to comply with your acceptable use policy?
      ·5· · · ·A.· ·Absolutely.
      ·6· · · ·Q.· ·Have you ever terminated a collocating customer
      ·7· for violating your acceptable use policy?
      ·8· · · ·A.· ·I don't remember.· But --
      ·9· · · ·Q.· ·How can you not remember that?
      10· · · · · · MR. FRAY-WITZER:· Objection.
      11· BY MS. BOLGER:
      12· · · ·Q.· ·And you are the CTO of this company, right?
      13· · · ·A.· ·Yes, that's right.
      14· · · ·Q.· ·Right?· This is the thing you do every day of
      15· your life, something you are proud of, and you work with.
      16· How do you not know if you have kicked people off of it?
      17· · · · · · MR. FRAY-WITZER:· Objection.
      18· · · · · · THE WITNESS:· Yeah.· There are so many duties I
      19· · · ·do.· I can't remember everything.
      20· BY MS. BOLGER:
      21· · · ·Q.· ·This is a pretty significant thing, to reject a
      22· customer who was paying you money and tell them they can
      23· no longer pay you money, isn't it?
      24· · · · · · MR. FRAY-WITZER:· Objection.
      25· · · · · · You can answer.


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      ·1· · · · · · THE WITNESS:· I don't know.
      ·2· BY MS. BOLGER:
      ·3· · · ·Q.· ·What percentage of your customer base is the
      ·4· colocation service?
      ·5· · · ·A.· ·I don't know.
      ·6· · · ·Q.· ·What percentage of your revenue comes from
      ·7· colocation service?
      ·8· · · ·A.· ·That, I don't know.
      ·9· · · ·Q.· ·How often do you turn over collocating customers?
      10· · · ·A.· ·I don't know.
      11· · · ·Q.· ·And how long, generally, do those relationships
      12· last?
      13· · · ·A.· ·Generally longer than dedicated.
      14· · · ·Q.· ·Okay.· Okay.· How long -- and forgive me i I
      15· asked this, and Evan will object if I did, but how long,
      16· generally, are your relationships with dedicated customers
      17· of a dedicated service?
      18· · · ·A.· ·I don't know.
      19· · · ·Q.· ·Again, how do you not know?
      20· · · · · · MR. FRAY-WITZER:· Objection.
      21· BY MS. BOLGER:
      22· · · ·Q.· ·This is what you do all of the time.· How do you
      23· not know how long you deal with your customers?
      24· · · · · · MR. FRAY-WITZER:· Objection.
      25· · · · · · THE WITNESS:· This is not the only one thing I


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      ·1· · · ·do.· I do many things.· I can't remember everything.
      ·2· · · ·That's quite normal.
      ·3· BY MS. BOLGER:
      ·4· · · ·Q.· ·Okay.· The website also says you provide -- that
      ·5· Webzilla provides something that is referred to on the
      ·6· website as managed services.· Do you know what managed
      ·7· services are?
      ·8· · · ·A.· ·That's the services we discussed previously.· It
      ·9· is operating system installed and software installation by
      10· --
      11· · · ·Q.· ·Okay.· Can you go back to the exhibit --
      12· · · · · · -- which number I didn't mark --
      13· · · · · · This one.· Five.
      14· BY MS. BOLGER:
      15· · · ·Q.· ·All right.· So Exhibit 5, there is dedicated
      16· hosting, and that talks about managed services.· If you
      17· flip the page, you will see there is a separate thing
      18· called managed services.· And that separately links to a
      19· different part of the website, which I am going to ask --
      20· I am going to mark as Exhibit 9.
      21· · · ·(Exhibit No. 9 was marked for Identification.)
      22· BY MS. BOLGER:
      23· · · ·Q.· ·Okay --· which links to this web page, which
      24· leads me to conclude that it is an additional service,
      25· because that is a separate page on your website.


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      ·1· · · · · · Am I wrong about that?
      ·2· · · · · · MR. FRAY-WITZER:· Objection.
      ·3· · · · · · THE WITNESS:· That is what the website says, but
      ·4· · · ·as I have mentioned, it is the same set of services
      ·5· · · ·we discussed yesterday.· It a management of the
      ·6· · · ·operating system software, and all the things like on
      ·7· · · ·the customer servers.
      ·8· BY MS. BOLGER:
      ·9· · · ·Q.· ·Okay.· So this is going to sound strange.· I am
      10· not -- so in other words, you can add on managed services
      11· to, for example, your colocation contract, right?· In
      12· other words, it is an add-on to other services you offer?
      13· · · ·A.· ·Yes, you may purchase unmanaged server and then
      14· have it managed.
      15· · · ·Q.· ·Okay.· So there is nothing different about this
      16· managed service -- service that we have not talked about?
      17· · · ·A.· ·No.
      18· · · ·Q.· ·Okay.· What is a VPS?
      19· · · ·A.· ·A virtual private server.
      20· · · ·Q.· ·What is a virtual private server?
      21· · · ·A.· ·That is a virtual server located on bare metal
      22· server, and there are many of them typically located in
      23· bare metal server.· And, they share resources of this bare
      24· metal server.
      25· · · ·Q.· ·Okay.· I am going to ask you again about bare


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      ·1· metal server, which we talked about at the very beginning.
      ·2· When you say bare metal server, are you talking about --
      ·3· · · ·A.· ·Database.
      ·4· · · ·Q.· ·The box?
      ·5· · · ·A.· ·Yes.
      ·6· · · ·Q.· ·Or are you talking about -- and sorry.· Let's --
      ·7· this is the part I am actually trying to get the
      ·8· difference between, all right?
      ·9· · · ·A.· ·All right.
      10· · · ·Q.· ·I am trying to get the difference between an
      11· unmanaged server and a bare metal server.· To me, there is
      12· a difference.· This is the difference.· I think a bare
      13· metal server is actually the physical hardware with
      14· nothing on it.· You have not put an operating system on
      15· it, you have not put anything on it.
      16· · · · · · I think an unmanaged server can have operating
      17· software and other things on it, but doesn't
      18· necessarily -- that is what I think.· I think that an
      19· unmanaged server has an operating system and maybe some
      20· customer software on it, and the bare metal server is
      21· something different.· You are not using that term the same
      22· way, right?
      23· · · · · · MR. FRAY-WITZER:· Objection.
      24· · · · · · THE WITNESS:· No.
      25· BY MS. BOLGER:


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      ·1· · · ·Q.· ·Okay.· What is -- is the term, how the term you
      ·2· are using?
      ·3· · · ·A.· ·Bare metal server is just a physical device.
      ·4· · · ·Q.· ·Okay.
      ·5· · · ·A.· ·The server later can be managed or unmanaged.
      ·6· · · ·Q.· ·Okay.· So tell me again what a VPS is, with that
      ·7· in mind.
      ·8· · · ·A.· ·It is a virtual private server, which is based on
      ·9· the bare metal server and share its resources.
      10· · · ·Q.· ·Okay.· How does one make something virtual,
      11· private?
      12· · · ·A.· ·Because it is not shared with any other customer
      13· who is on the same server.
      14· · · ·Q.· ·And you -- your -- the VPS that XBT offers are
      15· offered through a subsidiary called Fozzy?· Right?
      16· · · ·A.· ·Yes.
      17· · · ·Q.· ·What is Fozzy?
      18· · · ·A.· ·It is a company who works -- who offers shared
      19· hosting and VPS.
      20· · · ·Q.· ·Are you familiar with Fozzy the Bear?
      21· · · ·A.· ·No.· I am familiar with Fozzy the metal rock
      22· band.
      23· · · ·Q.· ·Did XBT acquire Fozzy?
      24· · · ·A.· ·No, we created it.
      25· · · ·Q.· ·Why is it named Fozzy?


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      ·1· · · ·A.· ·Metal rock band.· It was metal band.
      ·2· · · ·Q.· ·Why did you choose the name Fozzy for the metal
      ·3· rock band?
      ·4· · · ·A.· ·It is just a name.
      ·5· · · ·Q.· ·Okay.· Why did you create the subsidiary Fozzy?
      ·6· · · ·A.· ·We hired a manager who previously had experience
      ·7· with shared hosting, and we created this brand to get into
      ·8· this business.
      ·9· · · ·Q.· ·Okay.· And who is the brand targeted at?
      10· · · ·A.· ·Like small -- end user and small enterprises,
      11· really small.
      12· · · ·Q.· ·I'm sorry.· Could you say that again?
      13· · · ·A.· ·End -- like end users.
      14· · · ·Q.· ·End users.· That's the word I didn't get.
      15· · · ·A.· ·Small enterprises.
      16· · · ·Q.· ·Okay.· Thus, the punk rock name, right?
      17· · · ·A.· ·Fozzy?
      18· · · ·Q.· ·Yes.· I mean, the idea is you were targeting
      19· people who were like young and cool, right?
      20· · · ·A.· ·I don't know.
      21· · · ·Q.· ·Okay.· Cool enough to know who Fozzy the punk
      22· metal band was, and not the muppet?
      23· · · ·A.· ·I don't think so.
      24· · · ·Q.· ·Okay.· And what kind of -- sorry.· I am going to
      25· ask you to look at what I will mark as Exhibit 10.


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      ·1· · · ·(Exhibit No. 10 was marked for Identification.)
      ·2· BY MS. BOLGER:
      ·3· · · ·Q.· ·So this is the Fozzy web page that you click to
      ·4· -- if you click the More Details link on the XBT website,
      ·5· it take you to this page.· It says, "Fast Linux VPS."
      ·6· · · · · · What is Linux?
      ·7· · · ·A.· ·It is operating system.
      ·8· · · ·Q.· ·Okay.· And what is the point of advertising it as
      ·9· Linux, "fast Linux, VPS," instead of just "fast VPS"?
      10· · · ·A.· ·Because there could be various operating systems
      11· like Windows advertising as fast Linux VPS.
      12· · · ·Q.· ·Okay.· And in fact, you guys are compatible with
      13· lots of operating -- Fozzy VPS is compatible with a lot of
      14· operating systems.· Right?
      15· · · ·A.· ·I don't know.
      16· · · ·Q.· ·Okay.· I thought -- the last page of this
      17· exhibit, second to last page of exhibit --I apologize --
      18· no, third to last page -- has operating systems, and I
      19· assume that means it is compatible with these operating
      20· systems, right?
      21· · · ·A.· ·Yes.· That's all generally Linux.
      22· · · ·Q.· ·Okay.· Great.· Okay.· So it refers to unmanaged
      23· and managed at the top.· Do you see that?
      24· · · ·A.· ·Yes.
      25· · · ·Q.· ·And what -- what is the difference between the


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      ·1· two services when it relates to the VPS?
      ·2· · · ·A.· ·It is the same.· Difference, unmanaged, we do not
      ·3· have access and do not manage the system; for the managed,
      ·4· we do manage and have access.
      ·5· · · ·Q.· ·Okay.· So it is the same management that we
      ·6· talked about earlier?
      ·7· · · ·A.· ·Yes.· Software patching, yes.
      ·8· · · ·Q.· ·Okay.· And what kind of diligence do you do on
      ·9· customers for Fozzy?
      10· · · ·A.· ·It is the same level.
      11· · · ·Q.· ·Okay.· You had mentioned that these were small
      12· enterprises.
      13· · · ·A.· ·Yes.
      14· · · ·Q.· ·You -- does that change the level of diligence
      15· you do?
      16· · · ·A.· ·No.
      17· · · ·Q.· ·Okay.· Conceivably, this is a cheaper product, is
      18· that right?
      19· · · · · · MR. FRAY-WITZER:· Objection.
      20· · · · · · THE WITNESS:· I don't know.
      21· BY MS. BOLGER:
      22· · · ·Q.· ·Well, you don't know if it costs more money to
      23· rent a dedicated server than it does to do a VPS?
      24· · · ·A.· ·It depends.
      25· · · ·Q.· ·I mean, you are advertising it for 81 euros a


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      ·1· month, right?
      ·2· · · ·A.· ·No, no.
      ·3· · · ·Q.· ·Right there.· Take a look at the front page.
      ·4· · · ·A.· ·No.
      ·5· · · ·Q.· ·The first page, on the bottom, it says 81 euros.
      ·6· · · ·A.· ·It is annual.
      ·7· · · ·Q.· ·Did I say month?· I apologize.· 81 euros.· It
      ·8· costs more than 81 euros a year to run the dedicated --
      ·9· managed dedicated server, doesn't it?
      10· · · ·A.· ·I don't think so.
      11· · · ·Q.· ·You think you can rent a managed dedicated server
      12· from Webzilla for 81 euros a month?
      13· · · · · · MR. FRAY-WITZER:· Objection.
      14· · · · · · THE WITNESS:· I don't think so.
      15· BY MS. BOLGER:
      16· · · ·Q.· ·Sorry?
      17· · · ·A.· ·I don't think so.
      18· · · ·Q.· ·You don't think you can -- I am very confused.
      19· Do you think you can rent a managed dedicated server from
      20· Webzilla for $81 a year?
      21· · · · · · MR. FRAY-WITZER:· Objection.
      22· · · · · · THE WITNESS:· I don't think so.· I don't know.
      23· · · ·But I don't think so.· It is up to the salesperson to
      24· · · ·decide on the price of the product.
      25· BY MS. BOLGER:


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      ·1· · · ·Q.· ·Right.· It is more expensive to rent a dedicated
      ·2· server than it is to rent a VPS?
      ·3· · · ·A.· ·I don't know.
      ·4· · · ·Q.· ·How do you not know that?
      ·5· · · · · · MR. FRAY-WITZER:· Objection.
      ·6· · · · · · THE WITNESS:· Because it is not my duty, that --
      ·7· · · ·the salesperson who decides the price for that
      ·8· · · ·system.
      ·9· BY MS. BOLGER:
      10· · · ·Q.· ·Sure.· We all have duties and not duties, but we
      11· also have the felt experience of our day-to-day life.· You
      12· are the CTO of this company.
      13· · · ·A.· ·Yes.
      14· · · ·Q.· ·As you sit here with all of your expertise, can
      15· you really not tell me whether it is more expensive to
      16· rent a managed dedicated server than it is to rent a
      17· virtual private server?
      18· · · ·A.· ·No.
      19· · · · · · MR. FRAY-WITZER:· Objection.
      20· BY MS. BOLGER:
      21· · · ·Q.· ·Okay.· Do you get abuse notifications -- sorry.
      22· · · · · · All of the things we talked about, the Genee and
      23· the monitoring that you do on the networks, would that all
      24· apply to the VPS service?
      25· · · ·A.· ·Yes.· Fozzy considered it as a customer, like as


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      ·1· a part of Webzilla, as part of XBT, so yes, we do apply
      ·2· the same things here.
      ·3· · · ·Q.· ·Okay.
      ·4· · · ·A.· ·Same Genee, they are all in the network.
      ·5· · · ·Q.· ·Okay.· Have you -- and so also the same terms of
      ·6· use apply, or do they have their own terms of use?
      ·7· · · ·A.· ·They have their own terms of use.
      ·8· · · ·Q.· ·What is the difference?
      ·9· · · ·A.· ·I don't know.· I didn't create that terms of use.
      10· · · ·Q.· ·How do you know they are different?
      11· · · ·A.· ·I am pretty sure, since they offer different
      12· service, they should be different type of use.
      13· · · ·Q.· ·Well, we have been talking all morning about
      14· different services, and you have been telling me they are
      15· all covered by the same terms of use.· What is it about
      16· Fozzy that makes the terms of use different?
      17· · · · · · MR. FRAY-WITZER:· Objection.
      18· · · · · · THE WITNESS:· VPS, VPS.
      19· BY MS. BOLGER:
      20· · · ·Q.· ·What is different about that, that would cause
      21· you to have a different term of use?
      22· · · ·A.· ·I don't know.
      23· · · ·Q.· ·Well, you just said it.
      24· · · ·A.· ·That is a different service.
      25· · · ·Q.· ·Right?


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      ·1· · · ·A.· ·It may have different terms of use.· That is all
      ·2· I can say.
      ·3· · · ·Q.· ·Is it also month to month?
      ·4· · · ·A.· ·Yes.· I think so.· I'm not sure, but -- maybe.            I
      ·5· don't know.
      ·6· · · ·Q.· ·Does it also have the same acceptable use policy?
      ·7· · · ·A.· ·I don't know.
      ·8· · · ·Q.· ·How do you not know?
      ·9· · · · · · MR. FRAY-WITZER:· Objection.
      10· · · · · · THE WITNESS:· The acceptable use policy is
      11· · · ·created by our in-house or external attorneys.
      12· BY MS. BOLGER:
      13· · · ·Q.· ·Right.· I am not asking you to recite it.· I am
      14· asking you to tell me if it is the same acceptable use
      15· policy as your other subsidiaries.
      16· · · · · · MR. FRAY-WITZER:· Objection.
      17· · · · · · THE WITNESS:· I don't know.
      18· BY MS. BOLGER:
      19· · · ·Q.· ·Who would have made the decision -- you are the
      20· chief technology officer for this entity.· Who makes the
      21· decision about what acceptable use policies apply to your
      22· services?
      23· · · · · · MR. FRAY-WITZER:· Objection.
      24· · · · · · You can answer.
      25· · · · · · THE WITNESS:· I do.


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      ·1· BY MS. BOLGER:
      ·2· · · ·Q.· ·Okay.· Is there a different acceptable use policy
      ·3· for VPS than there is for the other services?
      ·4· · · ·A.· ·I don't know.
      ·5· · · ·Q.· ·Why would there be?
      ·6· · · ·A.· ·It is a different kind of product.
      ·7· · · ·Q.· ·It is -- what is the difference that would lead
      ·8· to a different acceptable use policy?
      ·9· · · ·A.· ·That is a virtual private server, so that may
      10· have some different kind of -- I can name --
      11· · · ·Q.· ·What is different about a VPS that would lead to
      12· a different acceptable use policy?
      13· · · ·A.· ·Okay.· The customer may abuse their resources of
      14· the VPS server -- may abuse the resources of the VPS
      15· server, like getting too much CPU, or too much memory,
      16· affecting other customers on the same server.· So
      17· acceptable use policy may include something about -- to
      18· that.
      19· · · ·Q.· ·Does it?
      20· · · ·A.· ·I don't know.· Maybe, but I don't know.
      21· · · ·Q.· ·What other -- are there other differences native
      22· to it being a VPS that would lead to a different
      23· acceptable use policy?
      24· · · ·A.· ·I don't know.
      25· · · ·Q.· ·Is it because the customers are much more likely


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      ·1· to be kind of fly-by-night and break rules?
      ·2· · · · · · MR. FRAY-WITZER:· Objection.
      ·3· · · · · · THE WITNESS:· I don't know -- I don't know.
      ·4· BY MS. BOLGER:
      ·5· · · ·Q.· ·Do you think so?
      ·6· · · · · · MR. FRAY-WITZER:· Objection.
      ·7· · · · · · THE WITNESS:· No.
      ·8· BY MS. BOLGER:
      ·9· · · ·Q.· ·Really?
      10· · · ·A.· ·Yes.
      11· · · ·Q.· ·If you were going to invent a -- say a bot that
      12· you wanted to go out and engage in some kind of bad
      13· behavior, if you were going to invent a little piece of
      14· malware, you wouldn't use a VPS before you used a
      15· dedicated server?
      16· · · · · · MR. FRAY-WITZER:· Objection.
      17· · · · · · THE WITNESS:· I don't know.· I never created
      18· · · ·anything like that.
      19· BY MS. BOLGER:
      20· · · ·Q.· ·Okay.· Would you get abuse notifications for
      21· Fozzy?
      22· · · ·A.· ·Yes.
      23· · · ·Q.· ·Have you gotten abuse notifications?
      24· · · ·A.· ·What?
      25· · · ·Q.· ·Have you gotten abuse notifications?


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      ·1· · · ·A.· ·Yes.
      ·2· · · ·Q.· ·Have you ever terminated a customer for violating
      ·3· your acceptable use policy at Fozzy?
      ·4· · · ·A.· ·I don't know.
      ·5· · · ·Q.· ·What percentage of your customer base uses the
      ·6· VPS server?
      ·7· · · ·A.· ·I don't know.
      ·8· · · ·Q.· ·What about your revenue?
      ·9· · · ·A.· ·I don't know numbers.
      10· · · ·Q.· ·Is it a big part of your business?
      11· · · ·A.· ·I don't know.
      12· · · ·Q.· ·What is the biggest part of XBT's business?
      13· · · ·A.· ·Webzilla.
      14· · · ·Q.· ·Okay.· What service of Webzilla is the biggest
      15· part of its business?
      16· · · · · · MR. FRAY-WITZER:· Objection.
      17· · · · · · You can answer.
      18· · · · · · THE WITNESS:· I think -- Webzilla, itself.· Like
      19· · · ·-- I don't know, specifically, which servers, but it
      20· · · ·is Webzilla.· It is biggest part of business.
      21· BY MS. BOLGER:
      22· · · ·Q.· ·What percentage of the business is Webzilla's
      23· business?
      24· · · ·A.· ·I don't know.
      25· · · ·Q.· ·Is it more than half?


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      ·1· · · ·A.· ·I don't know.· It is better to ask Rajesh.            I
      ·2· don't know.
      ·3· · · ·Q.· ·Rajesh didn't know, either.· How often do you
      ·4· turn over customers on Fozzy?
      ·5· · · ·A.· ·I don't know.
      ·6· · · ·Q.· ·And how long are your relationships with your
      ·7· customers on Fozzy?
      ·8· · · ·A.· ·I don't know.
      ·9· · · ·Q.· ·There is also a service that you offer through
      10· Fozzy called shared hosting.· Do you know what that is?
      11· · · ·A.· ·Yes.
      12· · · ·Q.· ·What is that?
      13· · · ·A.· ·It is a -- generally hosting which involves any
      14· dedicated resources like VPS, without dedicated CPU or
      15· memory.· It is just a place for the website to host.
      16· · · ·Q.· ·Okay.· And those are generally very small
      17· customers, right, that, for example, write a blog, is that
      18· right?
      19· · · ·A.· ·I don't know.
      20· · · ·Q.· ·You don't know what kind of customers would use
      21· that service?
      22· · · ·A.· ·No.
      23· · · ·Q.· ·Well, sure you do.· If you are a bank, you are
      24· not going to use that service, right?
      25· · · · · · MR. FRAY-WITZER:· Objection.


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      ·1· · · · · · You can answer.
      ·2· · · · · · THE WITNESS:· No.
      ·3· BY MS. BOLGER:
      ·4· · · ·Q.· ·Okay.· So is it a various --
      ·5· · · ·A.· ·"No," means it doesn't mean if you are a bank,
      ·6· you can't use the service.
      ·7· · · ·Q.· ·So -- sorry.· You think that a bank would likely
      ·8· use a shared hosting?
      ·9· · · ·A.· ·It is possible.
      10· · · · · · MR. FRAY-WIRTZER:· Objection.
      11· BY MS. BOLGER:
      12· · · ·Q.· ·Has no boundaries, and is completely shared with
      13· other users -- shared with other users?
      14· · · ·A.· ·I don't know.
      15· · · ·Q.· ·Okay.
      16· · · ·A.· ·But it is definitely possible.
      17· · · ·Q.· ·Okay.· I want you to go back to that Exhibit 5.
      18· So you will see the next category is called Application
      19· Development.· Do you see that?
      20· · · ·A.· ·Yes.
      21· · · ·Q.· ·Okay.· So application development is developing
      22· applications, right, developing apps?
      23· · · ·A.· ·Yes.· Yes.
      24· · · ·Q.· ·Inventing the next Candy Crush, right?
      25· · · · · · MR. FRAY-WIRTZER:· Objection.


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      ·1· · · · · · THE WITNESS:· I don't know.
      ·2· BY MS. BOLGER:
      ·3· · · ·Q.· ·But hypothetically, the next app I use on my cell
      ·4· phone, right?
      ·5· · · ·A.· ·Not necessarily.· I don't know.
      ·6· · · ·Q.· ·Okay.· What entity does application development?
      ·7· · · ·A.· ·There was two, as far as I remember, two entities
      ·8· related to that.· It is IBEE, in India, and Webzilla Apps.
      ·9· · · · · · I-B-E-E, and Webzilla Apps, A-P-P-S.
      10· · · ·Q.· ·IBEE Hosting, you said is in India, right?
      11· · · ·A.· ·Yes.
      12· · · ·Q.· ·Does IBEE -- settle an internal debate.· Is IBEE
      13· Hosting initials for something, or is it like "I be
      14· hosting," like "I be chillin'"?
      15· · · · · · THE WITNESS:· I don't know how this -- what name
      16· · · ·-- it was acquired.
      17· BY MS. BOLGER:
      18· · · ·Q.· ·Okay.· When was it acquired?
      19· · · ·A.· ·I don't remember.· Three, four, five years ago.
      20· I don't remember.
      21· · · ·Q.· ·Why was it acquired?
      22· · · ·A.· ·We believed that it is a good market to go.
      23· India has huge population, and it is a good market to be.
      24· · · ·Q.· ·And who is responsible for the IBEE Hosting
      25· subsidiary?


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      ·1· · · ·A.· ·There is a guy -- I don't remember his name
      ·2· exactly.· It is Indian name.· You know, it is hard to
      ·3· remember.· But there is a -- one dedicated person who is
      ·4· responsible for that.
      ·5· · · ·Q.· ·And is he an Indian?
      ·6· · · ·A.· ·Yes.
      ·7· · · ·Q.· ·Are there servers in India?
      ·8· · · ·A.· ·Yes.
      ·9· · · ·Q.· ·And those are the IBEE Hosting servers?
      10· · · ·A.· ·There are Webzilla, in India, and IBEE Hosting in
      11· India, and Fozzy in India.
      12· · · ·Q.· ·I am so sorry -- can you say that again?
      13· Webzilla, and --
      14· · · ·A.· ·Fozzy and IBEE.
      15· · · ·Q.· ·IBEE and Fozzy.· Okay.· And do you offer managed
      16· dedicated servers through IBEE, or are they all unmanaged?
      17· · · ·A.· ·I don't know that part.· The best of my
      18· knowledge, they offer service similar to Fozzy.· So it is
      19· VPS and shared.
      20· · · ·Q.· ·Okay.· And is there anything -- is there
      21· something -- strike that.· Sorry.· Is there anything
      22· distinct about the services you offer through IBEE Hosting
      23· as compared to Webzilla?
      24· · · ·A.· ·I don't know.· I don't know.
      25· · · ·Q.· ·Who would know that?· You are the CTO.


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      ·1· · · · · · MR. FRAY-WITZER:· Objection.
      ·2· · · · · · THE WITNESS:· Yes.
      ·3· BY MS. BOLGER:
      ·4· · · ·Q.· ·Okay.· So you are the CTO.· So I am going to ask
      ·5· you again.· Are there any distinctions between the
      ·6· services you offer through IBEE Hosting and Webzilla?
      ·7· · · ·A.· ·I don't know.
      ·8· · · ·Q.· ·Well, what is the difference?· Why have a
      ·9· subsidiary if the services are the same?
      10· · · ·A.· ·To be compliant with local country laws.
      11· · · ·Q.· ·Is that the only distinction, is that IBEE
      12· Hosting is compliant with India law?
      13· · · ·A.· ·I didn't say it is a distinction, but we -- we
      14· need to have local entity to be compliant with country
      15· law, and that is the reason why we require it.· And I
      16· don't know what the difference is between IBEE Hosting and
      17· Webzilla.
      18· · · ·Q.· ·Is IBEE Hosting governed by the same terms of use
      19· as Webzilla?
      20· · · ·A.· ·I'm not sure.· I don't know.
      21· · · ·Q.· ·Does -- is IBEE Hosting governed by the same
      22· acceptable use policy?
      23· · · ·A.· ·I don't know, but there may be differences based
      24· on the local laws.· I don't know exactly.
      25· · · ·Q.· ·And have you ever terminated a customer of IBE --


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      ·1· IBEE for violating the local -- for violating terms of use
      ·2· or acceptable use policies?
      ·3· · · ·A.· ·I don't know.
      ·4· · · ·Q.· ·And what percentage of your customer base is
      ·5· through IBEE Hosting?
      ·6· · · ·A.· ·I don't know.
      ·7· · · ·Q.· ·Is it a big part or a small part?
      ·8· · · ·A.· ·I don't know.
      ·9· · · ·Q.· ·Okay.· Well, what percentage of your revenue
      10· comes from IBEE Hosting?
      11· · · ·A.· ·I don't know.· That is not my responsibility.
      12· · · ·Q.· ·And how often do you -- "That is not my
      13· responsibility" is not a sufficient answer to that
      14· question.
      15· · · · · · MR. FRAY-WITZER:· Objection.
      16· BY MS. BOLGER:
      17· · · ·Q.· ·I don't care whether you know it as a
      18· responsibility.· I care whether you know the answer to my
      19· question.· Do you know the answer to my question?
      20· · · ·A.· ·No, I don't know.
      21· · · · · · MR. FRAY-WITZER:· Objection.· The witness has
      22· · · ·given an answer.
      23· BY MS. BOLGER:
      24· · · ·Q.· ·How often do you turn over customers for IBEE?
      25· · · ·A.· ·I don't know.


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      ·1· · · ·Q.· ·And generally, how long are your customers --
      ·2· · · ·A.· ·I don't know.
      ·3· · · ·Q.· ·Okay.· You also have something called a content
      ·4· delivery network, right?
      ·5· · · ·A.· ·Yes.
      ·6· · · ·Q.· ·What is that?
      ·7· · · ·A.· ·It is the network of the servers which we -- it
      ·8· is located globally, and close to the end users, and they
      ·9· deliver the content faster.
      10· · · ·Q.· ·Who is the architect of that network?
      11· · · ·A.· ·That guy is not with us anymore.
      12· · · ·Q.· ·What is his name?
      13· · · ·A.· ·Slavi Nikolov, S-L-A-V-I, Nikolov, N-I-K-O-L-O-V.
      14· · · ·Q.· ·Okay.· And when did Mr. Nikolov design the CDM?
      15· · · ·A.· ·Years ago.· I don't remember when, exactly.
      16· · · ·Q.· ·Does that network get updated?· Does that
      17· architecture get updated?
      18· · · ·A.· ·Yes.
      19· · · ·Q.· ·And who updates it?
      20· · · ·A.· ·The -- it is now my responsibility.
      21· · · ·Q.· ·And how often do you update it?
      22· · · ·A.· ·Constantly.
      23· · · ·Q.· ·Okay.· Does the network have edge points?
      24· · · ·A.· ·There is -- something to name as edge points,
      25· yes, it is the servers, yes.


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      ·1· · · ·Q.· ·And where -- sorry.· So your edge points are
      ·2· bounded by the servers?· Is that what you are saying?
      ·3· · · ·A.· ·Yes.· Edge point is typically a set of servers,
      ·4· one server, set of servers.
      ·5· · · ·Q.· ·Now, if you turn to the second page of Exhibit 5,
      ·6· you will see Content Delivery Network, is a service offer?
      ·7· · · ·A.· ·Yes.
      ·8· · · ·Q.· ·Do you see that?
      ·9· · · ·A.· ·Yes.
      10· · · ·Q.· ·Am I believing you correctly that it is not
      11· necessarily a separate service, in fact, it is the network
      12· that you deliver the rest of your services on?
      13· · · ·A.· ·It is a separate service. It is a separate
      14· service.
      15· · · ·Q.· ·So who -- what kind of customers use that
      16· service?
      17· · · ·A.· ·The customer who needs to deliver their content
      18· faster to the end users.
      19· · · ·Q.· ·Generally, what types of customers need to
      20· deliver their content faster to the end users?
      21· · · ·A.· ·I don't know.· Like -- I don't know.· It is
      22· pretty common these days to have a CDM for almost every
      23· web project.
      24· · · ·Q.· ·Do you all monitor the use of your CDM among your
      25· customers?


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      ·1· · · ·A.· ·We do monitor.
      ·2· · · ·Q.· ·What do you monitor on that CDM?
      ·3· · · ·A.· ·For any illegal activities that may happen.
      ·4· · · ·Q.· ·Can you see what is happening on the server --
      ·5· sorry.· Can you see what is happening on the network?           I
      ·6· apologize.
      ·7· · · ·A.· ·Yes.
      ·8· · · ·Q.· ·Do you?
      ·9· · · ·A.· ·Yes.
      10· · · ·Q.· ·What -- what is the process by which you peer
      11· into the network?
      12· · · ·A.· ·Peering?
      13· · · ·Q.· ·Look in?
      14· · · ·A.· ·It is a same -- the same tool, Genee.
      15· · · ·Q.· ·Okay.· Other than -- so do you do any other
      16· monitoring on the network, other than that which you do on
      17· the managed servers?
      18· · · ·A.· ·We do the same monitoring through Genee, but
      19· nothing else.
      20· · · ·Q.· ·I am sorry.· I am not understanding.· So you do
      21· no additional monitoring on the network than you do on the
      22· managed servers?· Is that right?
      23· · · ·A.· ·Yes.
      24· · · ·Q.· ·Okay.· Does your content delivery network have an
      25· acceptable use policy?


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      ·1· · · ·A.· ·I think so.
      ·2· · · ·Q.· ·And a terms of use?
      ·3· · · ·A.· ·I think so.
      ·4· · · ·Q.· ·And have you ever kicked someone off of it
      ·5· because of a violation of the terms of use, or the abuse
      ·6· policy -- acceptable use policy?
      ·7· · · ·A.· ·I don't remember.
      ·8· · · ·Q.· ·What percentage of your customer base uses the
      ·9· CDM?
      10· · · ·A.· ·To my knowledge, CDM has maybe up to 20
      11· customers.
      12· · · ·Q.· ·So it is a small percentage of your business?
      13· · · ·A.· ·I don't know if it is small or not.· I know the
      14· number of the customers.
      15· · · ·Q.· ·Okay.· Who are those customers?
      16· · · ·A.· ·I don't know.
      17· · · ·Q.· ·What kinds of businesses?
      18· · · ·A.· ·I don't know.
      19· · · ·Q.· ·You don't -- you know there are 20, but you don't
      20· know any names?
      21· · · ·A.· ·No, no.
      22· · · ·Q.· ·Who would know those names?
      23· · · ·A.· ·Salespersons should know.
      24· · · ·Q.· ·What percentage of your revenue is from the CDM?
      25· · · ·A.· ·I don't know.


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      ·1· · · ·Q.· ·A lot or a little?
      ·2· · · ·A.· ·I don't know.· It is really better to ask
      ·3· financial guys about that.
      ·4· · · ·Q.· ·Okay.· The last category on page -- Exhibit 5 is
      ·5· IP Transit.· Do you see that?
      ·6· · · ·A.· ·Yes.
      ·7· · · ·Q.· ·What is IP Transit?
      ·8· · · ·A.· ·IP Transit is the company that provides IP
      ·9· Transit services to XBT -- to other XBT companies.
      10· · · ·Q.· ·Okay.· And by IP Transit services, you mean
      11· peering services, right?
      12· · · ·A.· ·Not necessarily.· Not only peering, but also --
      13· actually, IP transport, transport and these kinds of
      14· service.
      15· · · ·Q.· ·It makes it faster, right?
      16· · · ·A.· ·It makes -- not necessarily.
      17· · · ·Q.· ·I am trying to figure out a way to explain it in
      18· plain English.· So can you give me a way to explain what
      19· IP Transit services do in plain English?
      20· · · ·A.· ·Yes.
      21· · · ·Q.· ·What is that?
      22· · · ·A.· ·Well, I can explain it, little bit purpose of the
      23· transit, and from that, you can understand like -- since
      24· we have more than one company in XBT Holdings.
      25· · · ·Q.· ·Yes.


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      ·1· · · ·A.· ·Each company should have Internet connection,
      ·2· like Webzilla should have Internet connection, UCD should
      ·3· have web connection.· It would be quite hard for each
      ·4· company to have separate IP transit agreement connectivity
      ·5· or peering connectivity with carriers.· So for that
      ·6· reason, we create IP Transit, which holds the contracts
      ·7· towards the carriers, which has the backbone network
      ·8· across our data centers.· And our other companies -- XBT
      ·9· companies actually has services from IP Transit, that
      10· makes us virtually -- easy to start a new company or add
      11· the new servers.· So whatever we add the servers, IP
      12· Transit or any other company can use it.
      13· · · ·Q.· ·So does IP Transit have independent customers,
      14· or --
      15· · · ·A.· ·Yes.
      16· · · ·Q.· ·It does.· And what --are there customers who just
      17· use IP Transit?
      18· · · ·A.· ·Yes.
      19· · · ·Q.· ·Why do they use IP Transit?
      20· · · ·A.· ·I don't know.· But -- because of the price,
      21· probably.· We have good purchase power.· We have good
      22· prices.· And we can sell, resell the good price.
      23· · · ·Q.· ·What kinds of customers would use IP Transit?
      24· · · ·A.· ·The customers who need access to Internet.
      25· · · ·Q.· ·Not individuals, though, or would it be


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      ·1· individuals?
      ·2· · · ·A.· ·No, not individuals.· That is corporations.
      ·3· · · ·Q.· ·Did -- are you the architect of the network, of
      ·4· the IP Transit network?
      ·5· · · ·A.· ·Yes.
      ·6· · · ·Q.· ·When did you set it up?
      ·7· · · ·A.· ·I don't remember.· Maybe -- I don't remember
      ·8· exactly.· It was more than five years ago, for sure.· More
      ·9· than -- about eight years ago, I believe.
      10· · · ·Q.· ·And you update it, I assume?
      11· · · ·A.· ·Sorry?
      12· · · ·Q.· ·And you update it pretty often?
      13· · · ·A.· ·It is constantly changing to match the market
      14· requirements.
      15· · · ·Q.· ·Is this -- is this an upsell to your other
      16· services?
      17· · · · · · MR. FRAY-WITZER:· Objection.
      18· · · · · · THE WITNESS:· Is what is the upsell?
      19· · · · · · MS. BOLGER:· Upsell.· Is this like an added
      20· · · ·benefit?· Is this --
      21· · · · · · THE WITNESS:· No.
      22· BY MS. BOLGER:
      23· · · ·Q.· ·-- a bell and a whistle?
      24· · · ·A.· ·No.· It is not an upsell.
      25· · · ·Q.· ·Why not?· I don't --


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      ·1· · · ·A.· ·Because we are hosting company, and the Internet
      ·2· is part of the hosting business.· So it is not an upsell.
      ·3· We can't be hosting company without the Internet.
      ·4· · · ·Q.· ·Right.· I guess it seems odd to me that an
      ·5· additional -- that this is a separate service.· It would
      ·6· seem to me that it's related to all your other services.
      ·7· Do you understand?
      ·8· · · ·A.· ·Yes.· I understand your thinking, yes.· I think I
      ·9· understand.· I am not sure, but I think I understand.
      10· · · ·Q.· ·Okay.· But I'm not right about that?
      11· · · ·A.· ·Can I give you an example?
      12· · · ·Q.· ·Please.
      13· · · ·A.· ·And we have -- let's say we have Webzilla and
      14· Servers.com.· Webzilla and Servers.com both are
      15· allocations in Dallas and Amsterdam.· We need to have
      16· connection between the data centers.· So if there is no IP
      17· Transit, this means I have to purchase two separate
      18· services, one for Webzilla and one for Servers.com.· And
      19· this means I have to spend, let's say, $20,000 a month.
      20· If there is an IP Transit service, I can spend $10,000 a
      21· month, half of that, and share the service for Webzilla
      22· and Servers.com.· It is actually what we call backbone,
      23· call it the backbone.
      24· · · ·Q.· ·Do your clients know they are using it?
      25· · · ·A.· ·I don't know.


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      ·1· · · ·Q.· ·Do you -- do you disclose, "Hey, if you have this
      ·2· service with us, we use it through IP Transit?"· Is that
      ·3· something you tell the client?
      ·4· · · ·A.· ·No, but we're not trying to hide it as well.· It
      ·5· is up to the customer to realize it.
      ·6· · · ·Q.· ·Okay.· So what percentage of your customers then
      ·7· use IP Transit?· It must be quite high.
      ·8· · · · · · MR. FRAY-WITZER:· Objection.
      ·9· · · · · · You can answer.
      10· BY MS. BOLGER:
      11· · · ·Q.· ·Even if they are not contracting for it, right,
      12· what percentage actually use the system, de facto?
      13· · · ·A.· ·You are asking about the customer who use IP
      14· Transit or the customer of Webzilla, or -- what about,
      15· what customers are you going --
      16· · · ·Q.· ·I guess what I'm asking you is if you are a
      17· customer of Webzilla, are you necessarily using IP
      18· Transit?
      19· · · ·A.· ·Yes.
      20· · · ·Q.· ·Okay.· So what percentage of your customer base
      21· uses IP Transit only?· In other words, not the other --
      22· not the other things?
      23· · · ·A.· ·Just IP Transit?· Can -- I don't know the
      24· percentage, but I know the number.
      25· · · ·Q.· ·What is the number?


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      ·1· · · ·A.· ·It is three customers.
      ·2· · · ·Q.· ·Did you say three?
      ·3· · · ·A.· ·Three.· Three customers.
      ·4· · · ·Q.· ·And how often do you turn over customers?
      ·5· · · ·A.· ·Not often.
      ·6· · · ·Q.· ·Okay.· It is ten minutes to one.· I was --
      ·7· · · · · · Why don't we take a break for lunch, and unless
      ·8· you guys need to take a break, we don't need a very long
      ·9· break.· You want to come back at 1:30?
      10· · · ·A.· ·That's fine.
      11· · · · · · MS. BOLGER:· I don't want you to fall over.
      12· · · · · · THE WITNESS:· That's okay.
      13· · · · · · THE VIDEOGRAPHER:· Off the video record at
      14· · · ·12:55 P.M.
      15· · · · · · (Whereupon, there was a recess for lunch, after
      16· · · ·which the following proceedings were had at 1:41
      17· · · ·p.m.:)
      18· · · · · · THE VIDEOGRAPHER:· Back on the video record at
      19· · · ·1:41 P.M.
      20· BY MS. BOLGER:
      21· · · ·Q.· ·Welcome back, Mr. Bezruchenko.· We -- when we
      22· left, we were talking about various subsidiaries, but I
      23· wanted to talk in particular about Root S.A.· So can you
      24· tell me what Root S.A. is?
      25· · · ·A.· ·Root S.A. is a hosting company, web hosting


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      ·1· company based out of Luxembourg.
      ·2· · · ·Q.· ·And it is owned by XBT; correct?
      ·3· · · ·A.· ·Yes.· It is XBT's subsidiary.
      ·4· · · ·Q.· ·I'm so sorry.· Say that again?
      ·5· · · ·A.· ·Yes, XBT's subsidiary.
      ·6· · · ·Q.· ·Okay.· When did XBT acquire Root?
      ·7· · · ·A.· ·I don't remember the exact dates.· There was a --
      ·8· the thing is, there are two stages position.· The first
      ·9· stage, there was part of company acquired, and the second,
      10· the hundred percent of the company acquired.· I don't
      11· remember exact dates.· But that was more than four years
      12· ago, more than five years ago, yeah.
      13· · · ·Q.· ·Okay.· And what was the -- what percentage of or
      14· what portion of the company was acquired in the first
      15· acquisition?
      16· · · ·A.· ·I don't remember.
      17· · · ·Q.· ·Okay.· Was it -- I am trying to figure out what
      18· was distinct about the first acquisition rather than the
      19· second.· Was it a percentage of the assets, or was it
      20· something more like you acquired the servers in the first
      21· time and something else in the second time?
      22· · · ·A.· ·No, it is percentage for the company, itself.
      23· Not the assets.· It is like business.
      24· · · ·Q.· ·Okay.· Okay.· Is Root S.A. fully integrated into
      25· the XBT network?


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      ·1· · · ·A.· ·Please -- please elaborate it.
      ·2· · · ·Q.· ·Sure.· When we talked earlier, we were talking
      ·3· about the fact that you ran monitoring software, including
      ·4· Genee, on all of the servers that were owned by Webzilla
      ·5· and XBT, right?
      ·6· · · ·A.· ·Yes.
      ·7· · · ·Q.· ·Okay.· And root -- Are servers that are part of
      ·8· Root S.A. part of that same system?
      ·9· · · ·A.· ·Yes.· Genee works on the whole network, yes.
      10· · · ·Q.· ·Is Root fully integrated into XBT from a
      11· technological point of view?
      12· · · · · · MR. FRAY-WITZER:· Objection.
      13· · · · · · You can answer.
      14· · · · · · THE WITNESS:· I don't know what it means,
      15· · · ·integrated, fully integrated.
      16· · · · · · (Discussion off the record between witness and
      17· · · ·interpreter.)
      18· · · · · · THE WITNESS:· I understand meaning, general
      19· · · ·meaning, but I don't understand what you mean by
      20· · · ·that.
      21· BY MS. BOLGER:
      22· · · ·Q.· ·Okay.· Fully connected.
      23· · · ·A.· ·It is connected to IP Transit.
      24· · · ·Q.· ·Okay.· And does the content delivery network run
      25· on Root servers, too?


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      ·1· · · ·A.· ·No.
      ·2· · · ·Q.· ·Why not?
      ·3· · · ·A.· ·Just not.
      ·4· · · ·Q.· ·Was that a conscious decision?
      ·5· · · ·A.· ·I don't know.
      ·6· · · ·Q.· ·Where is Root headquartered?
      ·7· · · ·A.· ·Luxembourg.
      ·8· · · ·Q.· ·Who runs Root?
      ·9· · · ·A.· ·Its CO, Marc Goederich, M-A-R-A G-O-E-R-E-D-E-C-H
      10· (sic).
      11· · · ·Q.· ·To whom does Mr. Goederich report?
      12· · · ·A.· ·To board of XBT, the CEO of XBT.
      13· · · ·Q.· ·Who is the board of XBT?
      14· · · ·A.· ·CEO, CTO and CFO.
      15· · · ·Q.· ·So the board of XBT is Mr. Gubarev, you, and Mr.
      16· Mishra?
      17· · · · · · MR. FRAY-WITZER:· Objection.
      18· · · · · · THE WITNESS:· No.
      19· BY MS. BOLGER:
      20· · · ·Q.· ·Sorry.· In 2015, the board of XBT was
      21· Mr. Gubarev, you, and Mr. Mishra?
      22· · · ·A.· ·Yes.· I think so.· Yes.
      23· · · ·Q.· ·And then recently, you all changed the board to
      24· Mr. Dvas -- sorry, you changed the CEO to Mr. Dvas;
      25· correct?


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      ·1· · · ·A.· ·That was not me.· That was a decision of the
      ·2· company shareholders to change the CEO, because of that
      ·3· bad publicity.
      ·4· · · ·Q.· ·And currently, who are the board of XBT?
      ·5· · · ·A.· ·It is me, Mr. Dvas and Rajesh.
      ·6· · · ·Q.· ·And who the shareholders of XBT?
      ·7· · · ·A.· ·There are four companies, as far as I remember.
      ·8· · · ·Q.· ·And what are they?
      ·9· · · ·A.· ·I don't remember the names.· I only remember the
      10· name of my company, which is owned a part of it -- BK Tech
      11· Investments.
      12· · · ·Q.· ·Tech Investments?
      13· · · ·A.· ·Tech Investments, yes.· Sorry.
      14· · · ·Q.· ·I'm really not correcting your English, just
      15· helping you out.· I don't want you to think I am messing
      16· you up.
      17· · · ·A.· ·No, no.· That is correct.· Fine.
      18· · · ·Q.· ·And the four -- who owns the other three
      19· companies that constitute the shareholders of XBT?
      20· · · ·A.· ·One is owned by Aleksej Gubarev, and another is
      21· owned by Alexander Boredin -- -B-O-R-E-D-I-N, Alexander.
      22· · · · · · And the last one owned -- I am not sure who is
      23· the owner behind that company, but there is -- Andre
      24· Kopnov.· I believe he is representing that company.· Andre
      25· K-O-P-N-O-V.


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      ·1· · · ·Q.· ·And what is the name of that company?
      ·2· · · ·A.· ·I don't remember the names.· I only remember my
      ·3· name, my company -- my company name.· Yeah.
      ·4· · · ·Q.· ·Okay.· So Marc Goederich reports to the board?
      ·5· · · ·A.· ·Yes.
      ·6· · · ·Q.· ·But you, as the CTO are the CTO of Root S.A.?
      ·7· · · ·A.· ·I am the CTO of XBT, so whatever technical
      ·8· question, I oversee this in Root S.A.
      ·9· · · ·Q.· ·And how many servers are there in Root S.A.?
      10· · · ·A.· ·About two or 3,000.
      11· · · ·Q.· ·Two or 3,000?
      12· · · ·A.· ·Two or 3,000.· I am not sure.
      13· · · ·Q.· ·"Three" is a particularly hard number to say with
      14· a Ukranian accent, I think.
      15· · · ·A.· ·Yes.· I am trying to improve.
      16· · · ·Q.· ·No, you are doing great.
      17· · · · · · And who are the executives of Root?
      18· · · ·A.· ·I believe it is only Marc.· There is no other
      19· executives there.
      20· · · ·Q.· ·How many employees are there?
      21· · · ·A.· ·I believe around 10, slightly more than ten.
      22· · · ·Q.· ·What was it about Root that made you all think it
      23· was an attractive company to acquire?
      24· · · ·A.· ·There was two things:· The one thing, it is --
      25· different geographic location.· Because at that time, it


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      ·1· was only in Amsterdam and Europe, and some customers
      ·2· wanted to be diverse for disaster recovery.
      ·3· · · · · · And the other reason was that Root was in the
      ·4· business of -- I have called -- cheap dedicated servers,
      ·5· which are not enterprise.· And we want to enter into that
      ·6· business, as well.· We see the potential of that business.
      ·7· · · ·Q.· ·You used the word cheap dedicated servers, right?
      ·8· · · ·A.· ·That is the wording that I use, but I don't know
      ·9· how to name it other way.
      10· · · ·Q.· ·That's great.· I will be happy to use that, but
      11· just tell me what you mean by cheap dedicated servers.
      12· · · ·A.· ·That is typically low quality servers.· Like, not
      13· enterprise, not from major vendors.· It is like -- not
      14· many additional services on top; typically, nonmanaged,
      15· nonredundant, nonredundant data centers, if we were
      16· subscribed network --
      17· · · ·Q.· ·What?
      18· · · ·A.· ·Oversubscribed network, oversubscribed network,
      19· that is the definition of cheap.
      20· · · ·Q.· ·Okay.· And do those networks often have quick
      21· customer turnover?
      22· · · ·A.· ·I don't know.
      23· · · ·Q.· ·What -- you said you all had an interest in being
      24· in that market.· Why was that market of interest to you
      25· all?


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      ·1· · · · · · MR. FRAY-WITZER:· Objection.
      ·2· · · · · · You can answer.
      ·3· · · · · · THE WITNESS:· We -- we believed that there is a
      ·4· · · ·potential growth in that market, like, more market
      ·5· · · ·share, and it was not -- not every company can afford
      ·6· · · ·an enterprise hosting solution --
      ·7· · · · · · Not every company can afford an enterprise
      ·8· · · ·hosting.· So we just want to widen our market share,
      ·9· · · ·let's say, market presence by offering that kind of
      10· · · ·service as well.
      11· BY MS. BOLGER:
      12· · · ·Q.· ·Do you believe that the acquisition of Root has
      13· been successful in widening your market share?
      14· · · ·A.· ·In my opinion?
      15· · · ·Q.· ·That's all I can ask.
      16· · · ·A.· ·No.
      17· · · ·Q.· ·Why not?
      18· · · ·A.· ·We was not able to gain significantly more market
      19· share in that area.
      20· · · ·Q.· ·Okay.· I am going to hand you what has been
      21· marked as Defendant's Exhibit 11, which is the home page
      22· for the Root S.A. website.
      23· · · ·(Exhibit No. 11 was marked for Identification.)
      24· BY MS. BOLGER:
      25· · · ·Q.· ·First off, Mr. Bezruchenko, you will notice this


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      ·1· is actually in English.· What language does Root S.A.
      ·2· function in, largely?
      ·3· · · ·A.· ·They are -- their company language is English,
      ·4· but they do a branch -- a Luxembourg branch, in German.
      ·5· · · ·Q.· ·When you speak to them, you speak to them in
      ·6· English?
      ·7· · · ·A.· ·Yes.
      ·8· · · ·Q.· ·You will see that the services offered by Root
      ·9· S.A. are consistent, generally, with the services offered
      10· by Webzilla.· Would you agree with that?
      11· · · ·A.· ·No.
      12· · · ·Q.· ·No?· What is different?
      13· · · ·A.· ·As I explained previously, it is quality of
      14· service.
      15· · · ·Q.· ·Okay.· I am sorry.· My question was wrong.· What
      16· I am saying is, these are the same kinds of services, it
      17· is just a question of quality and price point that is the
      18· difference.· Is that right, or not?
      19· · · · · · MR. FRAY-WITZER:· Objection.
      20· BY MS. BOLGER:
      21· · · ·Q.· ·Okay.· What is wrong with what I just said?
      22· · · ·A.· ·It is not the same services.
      23· · · ·Q.· ·Well, let's talk about that.· You will see it
      24· says "Dedicated Servers."· Do you see that?
      25· · · ·A.· ·Yes.


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      ·1· · · ·Q.· ·Okay.· So you have dedicated servers in Webzilla,
      ·2· too.· But you are saying these are different, right?
      ·3· · · ·A.· ·Yes.
      ·4· · · ·Q.· ·Okay.· And they are different how?
      ·5· · · ·A.· ·That's not the same level of ded- -- it is not
      ·6· the quality of -- dedicated servers is not the same level
      ·7· of support we can give undedicated servers, so it is
      ·8· different, undedicated servers.
      ·9· · · ·Q.· ·Okay.· What is the difference in the quality --
      10· what's the difference in level of support?
      11· · · ·A.· ·It is only -- basic level of support.· If -- like
      12· really bad SLA, that is the main difference.
      13· · · ·Q.· ·For the record, what is SLA?
      14· · · ·A.· ·Service level agreement.
      15· · · ·Q.· ·Okay.· And what do you mean by a bad SLA?
      16· · · ·A.· ·I mean that if the customer needs support, he can
      17· wait for 24 hours before getting any response on that.
      18· · · ·Q.· ·And that is different on your other servers,
      19· right?
      20· · · ·A.· ·Yes.
      21· · · ·Q.· ·Okay.· You have managed and unmanaged servers
      22· through Root.· Is that right?
      23· · · ·A.· ·No. I think we have only unmanaged servers.
      24· · · ·Q.· ·Only unmanaged servers.· Okay.· What services do
      25· you provide for the unmanaged servers for Root?


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      ·1· · · ·A.· ·We do provide the server, itself, Internet
      ·2· connectivity, and that's all.· Yes.
      ·3· · · ·Q.· ·Do the servers come with an operating system on
      ·4· them, or do the people who use them have to --
      ·5· · · ·A.· ·The servers come with operating system on it.
      ·6· · · ·Q.· ·And the user conceivably has Root access, is that
      ·7· right?
      ·8· · · ·A.· ·Yes.
      ·9· · · ·Q.· ·Okay.· Do you monitor the Root servers as you do
      10· the Webzilla servers?
      11· · · ·A.· ·Could you be more specific?· Monitor in which
      12· way?
      13· · · ·Q.· ·Well, when we talked earlier, you said that you
      14· got the Genee reports.· Do you get Genee reports on the
      15· root servers?
      16· · · ·A.· ·Yes.
      17· · · ·Q.· ·Do you follow up on -- where do those come in?
      18· · · ·A.· ·To the support, support team.
      19· · · ·Q.· ·In Ukraine?
      20· · · ·A.· ·Yes.
      21· · · ·Q.· ·Okay.· They don't go to Luxembourg, is my
      22· question?
      23· · · ·A.· ·No.
      24· · · ·Q.· ·Okay.· Do they come to your usual support team?
      25· · · ·A.· ·Yes.


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      ·1· · · ·Q.· ·So is there a difference in the response your
      ·2· support team makes to an alert or notification for a Root
      ·3· server than they would for the others?
      ·4· · · ·A.· ·No.· Not -- no. No.
      ·5· · · ·Q.· ·Okay.· Because you mentioned earlier that it may
      ·6· take 24 hours to get a response of support?
      ·7· · · ·A.· ·To customer request.
      ·8· · · ·Q.· ·I understand.· Okay.· You get the Genee report.
      ·9· Do you all do any other monitoring of the activity on the
      10· Root S.A. servers?
      11· · · ·A.· ·There are passive measures.· We are relying on
      12· third-party reports.
      13· · · ·Q.· ·That is the passive measure, the third-party
      14· reports?
      15· · · ·A.· ·Yes.
      16· · · ·Q.· ·Okay.· Do you get more alerts through Genee on
      17· the Root S.A. servers than you do on the Webzilla servers?
      18· · · ·A.· ·I don't know.
      19· · · ·Q.· ·Are the Root S.A. servers in the same data
      20· centers as the Webzilla servers?
      21· · · ·A.· ·They share one data center.
      22· · · ·Q.· ·Which data center is that?
      23· · · ·A.· ·In Luxembourg.
      24· · · ·Q.· ·Okay.· And are there -- are the only Root S.A.
      25· servers in that data center in Luxembourg?


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      ·1· · · ·A.· ·There are -- yeah.· There are Root S.A. servers
      ·2· in Singapore, as well, two locations; Luxembourg and
      ·3· Singapore.
      ·4· · · ·Q.· ·Okay.· Jumping back to -- do all of your data
      ·5· centers have colocation in them?
      ·6· · · ·A.· ·No.
      ·7· · · ·Q.· ·Which one does not?· Which ones do not?
      ·8· · · ·A.· ·Virginia has no colocation.· Vienna, Virginia,
      ·9· here in the U.S.
      10· · · ·Q.· ·You noticed my eyebrows raised because I was just
      11· surprised Virginia showed up.· I apologize.
      12· · · ·A.· ·And Hong Kong.
      13· · · ·Q.· ·Okay.· So you can colocate in the Moscow data
      14· center?
      15· · · ·A.· ·Yes, we can do.
      16· · · ·Q.· ·But don't you have to be Russian?
      17· · · ·A.· ·No.
      18· · · ·Q.· ·Okay.· The next -- so for customers for your
      19· dedicated servers through Root S.A., what if any
      20· procedures do you use for those customers?
      21· · · ·A.· ·I believe it is better to ask Marc.
      22· · · ·Q.· ·It may be better to ask Marc, but I am asking
      23· you.· So to the best of your knowledge, what are the
      24· procedures you use to vet customers for Root S.A.?
      25· · · ·A.· ·I don't know.


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      ·1· · · ·Q.· ·Does it not come to your attention?
      ·2· · · ·A.· ·It is run more as a separate business entity.
      ·3· · · ·Q.· ·Is that in all respects, or simply in this
      ·4· customer respect.
      ·5· · · · · · MR. FRAY-WITZER:· Objection.
      ·6· · · · · · You can answer.
      ·7· · · · · · THE WITNESS:· What do you mean, all?
      ·8· BY MS. BOLGER:
      ·9· · · ·Q.· ·Well, in what ways is it run as a separate
      10· business entity?
      11· · · ·A.· ·At least in the way of customer things --
      12· · · · · · Customer related -- they interact with customer
      13· on their own without interacting with me or someone else.
      14· They -- hiring decisions, it is -- like not dependent on
      15· other companies.· There may be a couple of other ways.· So
      16· there is a difference, big difference.
      17· · · ·Q.· ·Okay.· It is cheaper, right?
      18· · · ·A.· ·Cheaper than?
      19· · · ·Q.· ·Webzilla?
      20· · · ·A.· ·Yeah.· It is cheaper, yeah.
      21· · · ·Q.· ·Okay.· And it is -- so terms of use for Root
      22· S.A. -- are they different than the rest of Webzilla?
      23· · · ·A.· ·Yes, they are.
      24· · · ·Q.· ·And how are they different?
      25· · · ·A.· ·I don't know.


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      ·1· · · ·Q.· ·Why don't you know?
      ·2· · · ·A.· ·Because that is Marc, since he owned the company,
      ·3· he knows it.
      ·4· · · ·Q.· ·Who drafts the terms of use for Root?
      ·5· · · ·A.· ·I don't know.· That was attorneys, either in
      ·6· in-house or outside.
      ·7· · · ·Q.· ·But ultimately, Root is an XBT company, so they
      ·8· have to have been approved by someone at XBT; correct?
      ·9· · · · · · MR. FRAY-WITZER:· Objection.
      10· · · · · · You can answer.
      11· · · · · · THE WITNESS:· I don't know.
      12· BY MS. BOLGER:
      13· · · ·Q.· ·Well, do you think Root S.A. could put up its own
      14· terms of use?
      15· · · ·A.· ·Yes.
      16· · · ·Q.· ·And that wouldn't matter to you all, that your --
      17· that your subsidiary was out there saying whatever it
      18· wanted?
      19· · · ·A.· ·I don't know.
      20· · · ·Q.· ·Well, you are the CTO of the company --
      21· · · ·A.· ·Yes.
      22· · · ·Q.· ·-- you have certain standards you want people --
      23· I mean, I assume that you have certain standards you want
      24· for your company.· Don't you want to know what is their
      25· terms of use?


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      ·1· · · · · · MR. FRAY-WITZER:· Objection.
      ·2· · · · · · You can answer.
      ·3· · · · · · THE WITNESS:· I don't know.
      ·4· BY MS. BOLGER:
      ·5· · · ·Q.· ·Well, that is actually a yes or no question.· You
      ·6· can actually answer that yes or no.· Don't you want to
      ·7· know what is in Root S.A.'s terms of use?
      ·8· · · ·A.· ·I don't know.
      ·9· · · ·Q.· ·No, "I don't know" doesn't answer that question.
      10· · · ·A.· ·You asked me do I know.
      11· · · ·Q.· ·No, I said "Don't you want to know?"
      12· · · ·A.· ·I don't know if I want to know, or no.
      13· · · ·Q.· ·No, you can't answer that question "I don't
      14· know."· You either want to know what is in their terms of
      15· use, or you don't.· So which one is it?
      16· · · · · · MR. FRAY-WITZER:· Objection.· The witness can
      17· · · ·answer it however he wants.
      18· · · · · · THE WITNESS:· I -- I don't know.
      19· BY MS. BOLGER:
      20· · · ·Q.· ·Not truthfully.
      21· · · · · · Do you want to know what is the terms of use on
      22· Root S.A., which is a subsidiary of XBT?
      23· · · · · · MR. FRAY-WITZER:· Objection.· Asked and answered.
      24· · · · · · THE WITNESS:· I don't know.· Root S.A. has CEO,
      25· · · ·and it is to up him to decide about that.


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      ·1· BY MS. BOLGER:
      ·2· · · ·Q.· ·You don't give a damn what is on the Root S.A.
      ·3· website?
      ·4· · · · · · MR. FRAY-WITZER:· Objection.
      ·5· · · · · · THE WITNESS:· I do.
      ·6· BY MS. BOLGER:
      ·7· · · ·Q.· ·You just told me you didn't.· So which one is it,
      ·8· do you want to know what their terms of use are, or do you
      ·9· not?
      10· · · ·A.· ·I don't know.
      11· · · · · · MR. FRAY-WITZER:· Objection.
      12· BY MS. BOLGER:
      13· · · ·Q.· ·Okay.· So fine.· So your testimony is that you
      14· don't care what Root S.A. says in their terms of use?
      15· · · · · · MR. FRAY-WITZER:· Objection.
      16· · · · · · THE WITNESS:· No.
      17· BY MS. BOLGER:
      18· · · ·Q.· ·You don't want to know?· It doesn't matter to you
      19· at all?
      20· · · · · · MR. FRAY-WITZER:· Objection.
      21· · · · · · THE WITNESS:· There is an officer who is in
      22· · · ·charge of that, and he has responsibility.
      23· BY MS. BOLGER:
      24· · · ·Q.· ·I'm not asking you what your beat is.· I'm not
      25· asking you what your responsibilities are.· I am asking


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      ·1· you, as the CTO of XBT Holdings, is it your actual sworn
      ·2· testimony that you have no interest in what Root S.A. says
      ·3· its terms of use are?
      ·4· · · · · · MR. FRAY-WITZER:· Objection.
      ·5· · · · · · THE COURT REPORTER:· I'm sorry.· There is
      ·6· · · ·overlap.
      ·7· BY MS. BOLGER:
      ·8· · · ·Q.· ·Okay.· What's your answer then?
      ·9· · · ·A.· ·I don't know.
      10· · · ·Q.· ·You don't know if you are interested in what Root
      11· S.A. says?
      12· · · ·A.· ·Yes.
      13· · · ·Q.· ·That's a preposterous answer.
      14· · · · · · MR. FRAY-WITZER:· Objection.· That's not a
      15· · · ·question.
      16· BY MS BOLGER:
      17· · · ·Q.· ·What is their acceptable use policy?
      18· · · ·A.· ·That it is acceptable use policy.
      19· · · ·Q.· ·What is their acceptable use policy?· Is it the
      20· same as Webzilla's?
      21· · · ·A.· ·I don't know.
      22· · · ·Q.· ·You don't know what Root S.A.'s acceptable use
      23· policy is?
      24· · · ·A.· ·That's correct.
      25· · · ·Q.· ·Do you remember in the beginning of this day when


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      ·1· you told me that you all emphatically enforced illegality
      ·2· on your systems?
      ·3· · · · · · MR. FRAY-WITZER:· Objection.
      ·4· · · · · · THE WITNESS:· I don't -- I don't know -- yeah, we
      ·5· · · ·do.· We do.
      ·6· BY MS. BOLGER:
      ·7· · · ·Q.· ·You do?
      ·8· · · ·A.· ·Yes.
      ·9· · · ·Q.· ·Well, do you do that for Root S.A., or does it
      10· not matter for Root S.A.?
      11· · · ·A.· ·Yes, we do enforce any illegal matters on the
      12· Root S.A., as well as any other company.
      13· · · ·Q.· ·So what is their acceptable use policy?
      14· · · · · · MR. FRAY-WITZER:· Objection.
      15· · · · · · THE WITNESS:· I don't know.
      16· BY MS. BOLGER:
      17· · · ·Q.· ·Has anyone ever been kicked off of Root S.A. for
      18· violating an acceptable use policy?
      19· · · ·A.· ·I don't know.
      20· · · ·Q.· ·Has anyone ever brought to your attention a
      21· violation of the Root S.A. acceptable use policy?
      22· · · ·A.· ·I don't remember.
      23· · · ·Q.· ·Has anyone every brought to your attention a
      24· violation of their terms of use?
      25· · · ·A.· ·I don't remember.


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      ·1· · · ·Q.· ·What percentage of your customer base is on Root
      ·2· S.A.?
      ·3· · · ·A.· ·I don't know that -- is numbers.
      ·4· · · ·Q.· ·Well, big part or small part?
      ·5· · · ·A.· ·I really don't know.
      ·6· · · ·Q.· ·What percentage of your revenue is from Root
      ·7· S.A.?
      ·8· · · ·A.· ·I don't know.· That's -- it is better to ask
      ·9· Rajesh.
      10· · · ·Q.· ·How often do you turn over customers on Root
      11· S.A.?
      12· · · ·A.· ·I don't know.
      13· · · ·Q.· ·And generally, how long are your relationships
      14· with your customers on Root S.A.?
      15· · · ·A.· ·I don't have these numbers, and I don't know who
      16· knows them.
      17· · · ·Q.· ·Do you care?
      18· · · · · · MR. FRAY-WITZER:· Objection.
      19· · · · · · THE WITNESS:· What do you mean?
      20· BY MS. BOLGER:
      21· · · ·Q.· ·Do you care?
      22· · · ·A.· ·About?
      23· · · ·Q.· ·How often you turn over customers on Root S.A.?
      24· · · ·A.· ·No.
      25· · · ·Q.· ·No, you don't care?


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      ·1· · · ·A.· ·That is not my duty.
      ·2· · · ·Q.· ·That is not my question.· I am not asking you
      ·3· what your duty is.· I am asking if you care.· They are not
      ·4· the same question.· Do you care, regardless of whether it
      ·5· is your duty?
      ·6· · · · · · MR. FRAY-WITZER:· Objection.
      ·7· · · · · · You can answer.
      ·8· · · · · · THE WITNESS:· I don't know.
      ·9· BY MS. BOLGER:
      10· · · ·Q.· ·Okay.· Would you agree that if you have many
      11· small customers, the chances are greater that illegal
      12· content actually resides on their websites than if you
      13· have a few large customers?
      14· · · · · · MR. FRAY-WITZER:· Objection.
      15· · · · · · THE WITNESS:· No.
      16· BY MS. BOLGER:
      17· · · ·Q.· ·Sorry?
      18· · · ·A.· ·No.
      19· · · ·Q.· ·Okay.· How long has Servers.com been around?
      20· · · ·A.· ·Around three years.
      21· · · ·Q.· ·And you said that Servers.com is fully automated?
      22· · · ·A.· ·Except the compliance and abuse handling --
      23· · · · · · except the compliance and abuse handing.
      24· · · ·Q.· ·How do you all detect malware on Servers.com?
      25· · · ·A.· ·We rely on the -- there are two ways.· We rely on


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      ·1· the third-party reports.
      ·2· · · ·Q.· ·The what?
      ·3· · · ·A.· ·Third-party reports, or we may see illegal
      ·4· activity, if it is all going from a server, we may see
      ·5· some -- Genee -- seen that.· So we may see reports from
      ·6· Genee.
      ·7· · · ·Q.· ·Okay.· And then you told me it is not fully
      ·8· automated for compliance, and what was the second thing?
      ·9· · · ·A.· ·Compliance and abuse.
      10· · · ·Q.· ·Abuse.· Okay.· So what do you all do to track
      11· compliance?
      12· · · ·A.· ·Well, we are relying on the third-party end and
      13· in-house tools for that.
      14· · · ·Q.· ·And the in-house tool is Genee?
      15· · · ·A.· ·Yeah, yeah.· Genee.
      16· · · ·Q.· ·Any other in-house tools?
      17· · · ·A.· ·There are not tools, but procedures.
      18· · · ·Q.· ·And what are those?
      19· · · ·A.· ·Where we are looking for some outside sources for
      20· any malicious activity that may happen on our servers.
      21· · · ·Q.· ·You look at outside sources, you say?
      22· · · ·A.· ·Yes.
      23· · · ·Q.· ·What outside source do you go to?
      24· · · ·A.· ·There are a couple of them, at least.· Spam
      25· House -- Spam House, at least Google Security, and


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      ·1· Radar -- Radar --
      ·2· · · · · · THE INTERPRETER:· Radar.
      ·3· · · · · · THE WITNESS:· Radar.· Yeah.· It is Q-R-A-E-I-L
      ·4· (sic).
      ·5· · · ·Q.· ·And do you have a contract with those?
      ·6· · · ·A.· ·It is a publicly available service.
      ·7· · · ·Q.· ·Okay.· So how do you use Spam House?
      ·8· · · ·A.· ·We do check if there is any IP addresses appears
      ·9· on their lists.
      10· · · ·Q.· ·And how often do you check Spam House?
      11· · · ·A.· ·Regularly.
      12· · · ·Q.· ·What does regularly mean?
      13· · · ·A.· ·At least once a month.
      14· · · ·Q.· ·And who checks that?
      15· · · ·A.· ·Abuse team.
      16· · · ·Q.· ·Where is the abuse team again?
      17· · · ·A.· ·Ukraine.
      18· · · ·Q.· ·Is that the same as the support team?
      19· · · ·A.· ·Same place, but it is not the same team.
      20· · · ·Q.· ·Okay.· And how many people are on the abuse team?
      21· · · ·A.· ·I -- maybe around seven.
      22· · · ·Q.· ·And who is the head of your abuse team?
      23· · · ·A.· ·Kseniya, K-S-E-N-Y-A, B-S-E-N-I-T-S-I-N-A (sic).
      24· Yes.
      25· · · ·Q.· ·And is Kseniya -- sorry -- Kseniya in Ukraine or


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      ·1· Luxembourg?
      ·2· · · ·A.· ·She is in Cyprus.
      ·3· · · ·Q.· ·An unexpected twist.· Okay.· So sorry.· So the
      ·4· abuse team is in Ukraine?
      ·5· · · ·A.· ·Yes.
      ·6· · · ·Q.· ·But he is in Cyprus?
      ·7· · · ·A.· ·She is in Cyprus.
      ·8· · · ·Q.· ·She is in Cyprus?
      ·9· · · ·A.· ·Yes.
      10· · · ·Q.· ·And -- okay.· And who is the head of the abuse
      11· team in Ukraine?
      12· · · ·A.· ·There is no head of team in Ukraine.
      13· · · ·Q.· ·Is that a 24-hour team?
      14· · · ·A.· ·Not a 24-hour.· I believe they are working the
      15· whole week, about eight hours, only.
      16· · · ·Q.· ·Monday to Friday, or --
      17· · · ·A.· ·Monday to Sunday.
      18· · · ·Q.· ·Monday to Sunday?
      19· · · ·A.· ·About eight hours, only.
      20· · · ·Q.· ·And does Kseniya have a team in Cyprus?
      21· · · ·A.· ·No.
      22· · · ·Q.· ·Do your automatic servers have automatic DDoS
      23· detection?
      24· · · ·A.· ·Automatic servers?
      25· · · ·Q.· ·Do -- sorry, does your -- does Servers.com have


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      ·1· automatic DDoS protection?
      ·2· · · ·A.· ·That is the part of the Genee tool.· Genee
      ·3· detects DDoS, as well.
      ·4· · · ·Q.· ·Do you have any mitigation techniques?
      ·5· · · ·A.· ·Yes.· A few other techniques.· We can protect a
      ·6· few kind of attacks.
      ·7· · · ·Q.· ·What?
      ·8· · · ·A.· ·It is volumetric attack.· Volumetric --
      ·9· volumetric, yeah.· And -- no, actually, it is one.
      10· Volumetric attack.
      11· · · ·Q.· ·What is a volumetric attack, just for the record?
      12· · · ·A.· ·The volumetric attack is attack which is trying
      13· to fill the Internet channel towards the attacking device,
      14· like a server or whatever.· So they are trying to fill the
      15· pipe with junk traffic.
      16· · · ·Q.· ·Okay.· And do you have any packet -- sorry.· Do
      17· you have any countermeasures on Servers.com?
      18· · · ·A.· ·Countermeasures?
      19· · · ·Q.· ·Countermeasures to counterattack any malware
      20· attacks?
      21· · · ·A.· ·I understand that.· Countermeasures about which
      22· kind of attacks?
      23· · · ·Q.· ·Any kind of attacks?
      24· · · ·A.· ·Volumetric give us attacks.
      25· · · ·Q.· ·And that's it?


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      ·1· · · ·A.· ·Yes.
      ·2· · · ·Q.· ·Okay.· How much money do you spend on those
      ·3· systems?
      ·4· · · ·A.· ·To my knowledge, that was one, of payment around
      ·5· a hundred-something thousand dollars, or euros.
      ·6· · · ·Q.· ·Okay.· Sorry, I should have gone back to
      ·7· something you said.· So you said you check Spam House once
      ·8· a month, right?
      ·9· · · ·A.· ·At least.
      10· · · ·Q.· ·At least.· And then there is a Google service you
      11· talked about?
      12· · · ·A.· ·Yes.
      13· · · ·Q.· ·Which was?
      14· · · ·A.· ·Google Security.
      15· · · ·Q.· ·And what does Google Security tell you?
      16· · · ·A.· ·The Google Security tells you if there is
      17· anything -- any malware in the network, websites which may
      18· include malware.· Google has -- great possibilities come
      19· with the websites, and they may know that, so we rely on
      20· that data, as well.
      21· · · ·Q.· ·And how often do you check that?
      22· · · ·A.· ·Quite often.· I believe at least once a week.
      23· · · ·Q.· ·And how do you -- how do you check?· Are you
      24· looking for IP addresses?· Are you looking for ASNs?· What
      25· are you looking at?


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      ·1· · · ·A.· ·ASNs.
      ·2· · · ·Q.· ·You type in the ASN you wanted to check?
      ·3· · · ·A.· ·There is some specific interface for that.           I
      ·4· believe Google provides specific interface for network
      ·5· engineers to look into -- into that.
      ·6· · · ·Q.· ·Okay.· And you mentioned Radar.· What does Radar
      ·7· do?
      ·8· · · ·A.· ·Radar does basically the same kind of the thing
      ·9· as Google.· They scan the Internet for available --
      10· potentially dangerous services, which may run DDoS attacks
      11· out of your network to hurt someone else.
      12· · · ·Q.· ·And there was one other third-party service that
      13· you said you used, and I didn't write it down.
      14· · · ·A.· ·Spam House.
      15· · · ·Q.· ·Spam House, Google, Radar, and I thought there
      16· was a fourth --
      17· · · ·A.· ·I am sure there is more of them, but -- I don't
      18· remember which one of -- four of them, Spam House, for
      19· sure, Radar for sure, Google for sure, there -- there may
      20· be others.
      21· · · ·Q.· ·Okay.· And how often do you use Radar?
      22· · · ·A.· ·Once in a quarter, maybe.
      23· · · ·Q.· ·And you use those three services for Servers.com?
      24· · · ·A.· ·Not only for Servers.com; for Webzilla, as well.
      25· · · ·Q.· ·Do you do it for Root S.A.?


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      ·1· · · ·A.· ·For Root S.A., as well.
      ·2· · · ·Q.· ·And do you do that personally?
      ·3· · · ·A.· ·No.
      ·4· · · ·Q.· ·Who does that?
      ·5· · · ·A.· ·Abuse team does.
      ·6· · · ·Q.· ·Who at the abuse team does that?
      ·7· · · ·A.· ·I believe all of the members, they share the
      ·8· responsibilities.
      ·9· · · ·Q.· ·Does someone check that they are doing it?
      10· · · ·A.· ·Yes, I think so.
      11· · · ·Q.· ·Who?
      12· · · ·A.· ·Kseniya.
      13· · · ·Q.· ·Have you ever asked Kseniya whether she checks?
      14· · · ·A.· ·Yes.
      15· · · ·Q.· ·Okay.· And when was that?
      16· · · ·A.· ·I will ask like once in a few months when I have
      17· a meeting.· Like, when I have a chance to meet her and ask
      18· her about it.
      19· · · ·Q.· ·Okay.· Do you and Kseniya work in the same
      20· facility for Cyprus?
      21· · · ·A.· ·Yes, same building.
      22· · · ·Q.· ·How often do you bump into each other?
      23· · · ·A.· ·At least once a day during lunch.· We have a
      24· lunch in the same building.
      25· · · ·Q.· ·Okay.· Do you have meetings with her on a daily


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      ·1· basis?
      ·2· · · ·A.· ·No, not on a daily basis.
      ·3· · · ·Q.· ·And how often do you meet with her?
      ·4· · · ·A.· ·It is based on the request she may receive, and
      ·5· the request may need my attention.· And otherwise, at
      ·6· least once in a few months.
      ·7· · · ·Q.· ·Okay.· So regardless of what generates the
      ·8· meetings, how often do you guys meet?
      ·9· · · ·A.· ·Once in a month, maybe.· Once in two months.
      10· · · ·Q.· ·How many people are in your office in Cyprus?
      11· · · ·A.· ·Around 50, or 60 or 70.· I don't know.· I never
      12· count them.
      13· · · ·Q.· ·Well, those are all really different numbers, 50,
      14· 60 and 70?
      15· · · ·A.· ·Yes.· But I never count them, and so --
      16· · · ·Q.· ·How many people are in your department in Cyprus?
      17· · · ·A.· ·What is my department?
      18· · · ·Q.· ·Well, the tech department at Cyprus?
      19· · · ·A.· ·Two-thirds of them probably, or half, two-thirds.
      20· · · ·Q.· ·And what do they do?
      21· · · ·A.· ·There are developers in Cyprus; they are cloud
      22· team in Cyprus.· They are part of networking team in
      23· Cyprus.· That's -- those are all teams.
      24· · · ·Q.· ·And are your -- is your team in Cyprus mostly
      25· made up of Cyprians, or is made up of ex pats from Russia


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      ·1· and Ukraine?
      ·2· · · ·A.· ·The technical team is not Cyprians.· We don't
      ·3· have any single Cyprian in the technical team.
      ·4· · · ·Q.· ·Are they mostly Russians and Ukrainians?
      ·5· · · ·A.· ·Yes.
      ·6· · · ·Q.· ·What -- do you all keep -- do you know what an
      ·7· intrusion detection system is?
      ·8· · · ·A.· ·Yes, I know.
      ·9· · · ·Q.· ·What is that?
      10· · · ·A.· ·It is a system which tries to detect any
      11· malicious activity on the network.
      12· · · ·Q.· ·Do you have such a thing?
      13· · · ·A.· ·I don't know.
      14· · · ·Q.· ·Why not?
      15· · · ·A.· ·That's not possible on our scale.· That is -- it
      16· is specifically designed for the enterprises to keep on
      17· premise, like this office, or factory, or government, or
      18· organization, but not on the other side, of the hosting
      19· side.
      20· · · ·Q.· ·What about intrusion prevention?
      21· · · ·A.· ·Typically the same thing.· It is called IDS IPS.
      22· It is the same system.
      23· · · ·Q.· ·Okay.· And have you all ever had one?
      24· · · ·A.· ·Heard?
      25· · · ·Q.· ·Had one?


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      ·1· · · ·A.· ·No. We have it in our office, but not in the data
      ·2· centers, and not with the customers.· It is not possible
      ·3· to have that.
      ·4· · · ·Q.· ·What do you have in your office?
      ·5· · · ·A.· ·It is a Juniper SRX --
      ·6· · · · · · Juniper, Juniper SRX.
      ·7· · · ·Q.· ·What is Juniper SRX?
      ·8· · · ·A.· ·It is a firewall and IDS IPS system.
      ·9· · · ·Q.· ·And what is it?· What does it do?
      10· · · ·A.· ·It is like -- see if there are any -- it protects
      11· from any incoming attacks, like the firewall protects from
      12· an unauthorized access to the onsite network, and IDS IPS
      13· protects from attacks that may be malware, may be --
      14· whatever attacks may have.
      15· · · ·Q.· ·And do you have anything like an IDS or IPS on
      16· the network?
      17· · · ·A.· ·The like thing is a Genee thing.· It may see some
      18· network -- some abnormalities, network abnormalities and
      19· it reports to us.
      20· · · ·Q.· ·Okay.· Do you have firewalls on the network?
      21· · · ·A.· ·Yes, we do.
      22· · · ·Q.· ·What kind of firewall do you have?
      23· · · ·A.· ·That is firewall based on the Juniper.
      24· · · ·Q.· ·And who designed the firewall?
      25· · · ·A.· ·What do you mean?


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      ·1· · · ·Q.· ·I don't quite know what you mean by "based on."
      ·2· Who -- who put together the firewall?· Who was the
      ·3· architect of the firewall?
      ·4· · · ·A.· ·You mean who placed the rules of the firewall,
      ·5· maybe?
      ·6· · · ·Q.· ·Yes, sure.
      ·7· · · ·A.· ·I do, networking team do, and the software team
      ·8· do.
      ·9· · · ·Q.· ·Okay.· Do you all keep proxy logs of your
      10· servers?
      11· · · ·A.· ·Well, what is a proxy log of our servers?
      12· · · ·Q.· ·So a proxy log is that -- so a proxy log would be
      13· a log that captures all web-based traffic for that IP
      14· address.
      15· · · ·A.· ·What is your servers?· You mean our
      16· infrastructure servers, or our customer servers?
      17· · · ·Q.· ·Both.
      18· · · ·A.· ·For infrastructure servers, we don't have any
      19· proxy servers, we keep log.· For the customer servers, we
      20· -- we don't have -- for the managed servers, they may be
      21· -- for the managed servers, there may be the logs.· For
      22· the unmanaged, we don't -- there is no technic books
      23· related to actual logs from unmanaged server.
      24· · · ·Q.· ·Okay.· From the managed server, do you have them,
      25· or do you not have them?


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      ·1· · · · · · MR. FRAY-WITZER:· Objection.
      ·2· · · · · · THE WITNESS:· Can you be a little more specific?
      ·3· · · ·In general, we should have them.· In general.· But I
      ·4· · · ·can't be answering for any particular case, if I
      ·5· · · ·don't see the case.
      ·6· BY MS. BOLGER:
      ·7· · · ·Q.· ·Do you have any rules for the keeping of such
      ·8· logs, standards?
      ·9· · · ·A.· ·Yes.· All of the locks are always enabled, so we
      10· don't disable locks on the systems.
      11· · · ·Q.· ·So your system should have all of their logs in
      12· perpetuity?
      13· · · · · · MR. FRAY-WITZER:· Objection.
      14· · · · · · THE WITNESS:· Which of our systems?
      15· BY MS. BOLGER:
      16· · · ·Q.· ·Your server -- your servers should have all of
      17· their logs in perpetuity?
      18· · · ·A.· ·Infrastructure?
      19· · · · · · MR. FRAY-WITZER:· Objection.
      20· BY MS. BOLGER:
      21· · · ·Q.· ·Not for infrastructure.
      22· · · ·A.· ·Managed or unmanaged?
      23· · · ·Q.· ·Okay.· We will do them in order.· Infrastructure?
      24· · · ·A.· ·Yes.
      25· · · ·Q.· ·Managed?


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      ·1· · · ·A.· ·Yes.
      ·2· · · ·Q.· ·And then your unmanaged, you told me they don't
      ·3· generate logs?
      ·4· · · ·A.· ·No.
      ·5· · · ·Q.· ·I was paying attention.· So infrastructure and
      ·6· managed, there should be logs in perpetuity?
      ·7· · · ·A.· ·Yes.
      ·8· · · ·Q.· ·Do you all keep DNS logging, logs?
      ·9· · · ·A.· ·No.
      10· · · ·Q.· ·And why not?
      11· · · ·A.· ·Because the nature of -- because of the size of
      12· the log.· DNS request is small and quite fast, and it
      13· takes normal space to keep the logs of DNS servers.
      14· · · ·Q.· ·So you don't keep them for any length of time?
      15· · · ·A.· ·We do keep for -- at least for managed servers,
      16· but I don't -- I can't say for what amount of time.· It
      17· may be days; it may be weeks.· Not more than that.
      18· · · ·Q.· ·And who would know the answer to that?· It seems
      19· right within your wheelhouse --
      20· · · · · · MR. FRAY-WITZER:· Objection.
      21· · · · · · THE WITNESS:· I -- I can know that, but I don't
      22· · · ·remember off my head.
      23· BY MS. BOLGER:
      24· · · ·Q.· ·Well -- can you imagine it being long -- do you
      25· know if it's a long period of time, or a short period of


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      ·1· time?
      ·2· · · ·A.· ·No.· It is not long period because of the space
      ·3· it takes.
      ·4· · · ·Q.· ·Because of the volume?
      ·5· · · ·A.· ·What?
      ·6· · · ·Q.· ·Because of the volume of the information?
      ·7· · · ·A.· ·Yes, volume, yeah.
      ·8· · · ·Q.· ·Okay.· Do you all keep net flow logs?
      ·9· · · ·A.· ·Yes, we do.
      10· · · ·Q.· ·And can you just say what a net flow log is?
      11· · · ·A.· ·Net flow is the log that keeps the samples of the
      12· packets from the rooting device and stores them on the
      13· server.
      14· · · ·Q.· ·Okay.· That was just packed full of definition.
      15· So what are the samples of the packets?· What are the
      16· packets?
      17· · · ·A.· ·The IP packets, which it is containing the data
      18· transfer from network.· And net flow stores samples of
      19· that, or sample, it is not the full -- full flow.· It
      20· takes one tenth of the -- that each one tenth packet gets
      21· cached and goes to the log.
      22· · · ·Q.· ·Okay.· And are those logs reviewed?
      23· · · ·A.· ·Huh?
      24· · · ·Q.· ·Are -- does someone review those logs, or are
      25· they simply kept in case you need them, so to speak?


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      ·1· · · ·A.· ·They -- they based on the -- we keep them for the
      ·2· purpose of requests from the legal authorities or any
      ·3· other authorities who may need information about certain
      ·4· activity on the network.
      ·5· · · ·Q.· ·Do you review them otherwise?
      ·6· · · ·A.· ·No.
      ·7· · · ·Q.· ·And how long do you keep them?
      ·8· · · ·A.· ·Right now?· We keep them for at least six months.
      ·9· · · ·Q.· ·And how long did you keep them in January of
      10· 2017?
      11· · · ·A.· ·It was like two or three months.· I don't
      12· remember.
      13· · · ·Q.· ·Is that information obtainable?
      14· · · ·A.· ·I think so.· I'm not sure.
      15· · · ·Q.· ·Okay.· Who would know it, if you don't know?
      16· · · ·A.· ·I would know it -- I would know that, but I
      17· need -- I need to talk to my attorneys, probably, about
      18· it.
      19· · · ·Q.· ·Okay.· Do you have net flow logs for all of --
      20· like Webzilla and Root S.A. and IBE and all those?
      21· · · ·A.· ·Yes.
      22· · · ·Q.· ·Do you maintain pcap files?
      23· · · ·A.· ·No.
      24· · · ·Q.· ·And what are pcap files?
      25· · · ·A.· ·It is basically the same as net flow, but it


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      ·1· contains the -- the full set of data.
      ·2· · · ·Q.· ·And why don't you guys maintain those?
      ·3· · · ·A.· ·Well, it is technically impossible to have a pcap
      ·4· files for everything.
      ·5· · · ·Q.· ·And you don't even maintain them for a short
      ·6· period of time?
      ·7· · · ·A.· ·No.· It is impossible for even a short period of
      ·8· time because you can't have them -- you can't have them.
      ·9· · · ·Q.· ·Okay.· So how do you all monitor -- is there a
      10· way that you all monitor the Webzilla network that is
      11· different from the way we talked about today?
      12· · · ·A.· ·What is your -- can you --
      13· · · ·Q.· ·Yes.· I will show you.· I ask you to take look at
      14· Exhibit 12, which is part of the Webzilla website.
      15· · · ·(Exhibit No. 12 was marked for Identification.)
      16· BY MS. BOLGER:
      17· · · ·Q.· ·So you will see it is -- it describes your
      18· network as a private, high-performance network.· Are you
      19· with me?
      20· · · ·A.· ·Well, yes, yes.
      21· · · ·Q.· ·And you look on the second page of this, and it
      22· has a paragraph that begins, "Unparalleled monitoring."
      23· Do you see that?
      24· · · ·A.· ·Let me read.
      25· · · ·Q.· ·Sure.


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      ·1· · · ·A.· ·Yeah.
      ·2· · · ·Q.· ·Okay.· Do you know what this is in reference to?
      ·3· Or, do you know what services this is describing?
      ·4· · · ·A.· ·Services -- it is -- it's on our infrastructure
      ·5· service, on our infrastructure.
      ·6· · · ·Q.· ·Okay.· So it is describing monitoring of your
      ·7· infrastructure service, right?
      ·8· · · ·A.· ·Yes.
      ·9· · · ·Q.· ·Okay.· What is that monitoring?
      10· · · ·A.· ·Availability -- availability monitoring.
      11· · · ·Q.· ·Okay.· It says here "The monitoring capabilities
      12· include both resource availability as well as our own
      13· proprietary monitoring system, which in conjunction with
      14· MPSL-TE involves each POP monitoring other POPs."
      15· · · · · · Do you see that?
      16· · · ·A.· ·Yes.
      17· · · ·Q.· ·Okay.· What is the resource availability
      18· referencing?
      19· · · ·A.· ·It is a capacity availability, typically.
      20· · · ·Q.· ·What does that mean?
      21· · · ·A.· ·It is like a pipe, and there is a flow through,
      22· through this pipe, and the pipe may be full or may be not.
      23· So it is constantly monitoring when the pipe is full, or
      24· it is not full.· Because the people, if the pipe is full,
      25· it means that service will be degraded.


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      ·1· · · ·Q.· ·"As well as our own proprietary monitoring."
      ·2· · · · · · What is proprietary monitoring?
      ·3· · · ·A.· ·Well, we have monitoring system in place.
      ·4· · · ·Q.· ·That monitors what?
      ·5· · · ·A.· ·The capacity.
      ·6· · · ·Q.· ·Capacity and the availability?
      ·7· · · ·A.· ·And capacity and availability, yes.
      ·8· · · ·Q.· ·So you are not monitoring for security or
      ·9· attacks, right -- on this -- this is not reference to
      10· monitoring the network for security purposes, or to ward
      11· off attacks, right?
      12· · · ·A.· ·We do monitor for attacks, for DDoS attacks, yes.
      13· · · ·Q.· ·Is that Genee?
      14· · · ·A.· ·Yes, that is Genee.
      15· · · ·Q.· ·Okay.
      16· · · ·A.· ·Same system.· It is part of the -- this whole
      17· paragraph.
      18· · · ·Q.· ·Okay.· What I am trying to figure out is, this is
      19· referencing monitoring.· Other than that, which we have
      20· spoken about today --
      21· · · ·A.· ·Yes.· It is capacity monitoring, and -- and
      22· availability monitoring.
      23· · · ·Q.· ·Okay.· So what tools do you actually use?· What
      24· is the --
      25· · · ·A.· ·It is proprietary and open serve tools to monitor


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      ·1· the network.
      ·2· · · ·Q.· ·Are there any particular names to them?
      ·3· · · ·A.· ·Nagios, N-A-G-I-O-S, for example.
      ·4· · · ·Q.· ·Any others?
      ·5· · · ·A.· ·I don't remember.
      ·6· · · ·Q.· ·Have you all ever been attacked?· Have you ever
      ·7· been subject to a DDoS attack?
      ·8· · · · · · MR. FRAY-WITZER:· Objection.
      ·9· · · · · · THE WITNESS:· Oh yeah.
      10· BY MS. BOLGER:
      11· · · ·Q.· ·Can you give me an example of when that happened?
      12· · · ·A.· ·I don't remember the date, but I remember
      13· attacks.· Yes.
      14· · · ·Q.· ·So I don't really need a date.· I want to know
      15· how you -- tell me about how you came to know you were
      16· being attacked.
      17· · · ·A.· ·We got a notification from the Genee, and we
      18· noticed the service degradation, and our customers started
      19· emailing us that they see their server's unavailability,
      20· and that's how we see it.
      21· · · ·Q.· ·And when did -- what did you do to defend
      22· yourself against that attack?
      23· · · ·A.· ·Well, it depends on the case.· There is two
      24· possibilities to defend from Volumetric that does attack.
      25· You can new root the IP space which is attacked, or you


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      ·1· can filter the attack.· New rooting means that if a
      ·2· particular empty space getting attacked, it would just cut
      ·3· off all the traffic for IP address so that it doesn't go
      ·4· any further to our network.· And the filtering, it is
      ·5· basically the same, but we are more flexible in terms of
      ·6· what to choose -- to choose not only IP address, but also
      ·7· the protocol and the port and all these features.
      ·8· · · ·Q.· ·Do you monitor the network for spear-phishing
      ·9· attacks?
      10· · · ·A.· ·Only through third-party reports.
      11· · · ·Q.· ·Only through --
      12· · · ·A.· ·Third-party reports.· The spear phishing usually
      13· involves spam.· So through other resources like Spam
      14· House.
      15· · · ·Q.· ·Okay.· So what are the -- so third-party reports
      16· is an abuse notification?
      17· · · ·A.· ·Yes.
      18· · · ·Q.· ·Are there other third-party reports that you are
      19· referencing when you use the phrase?
      20· · · ·A.· ·It is not only abuse notification.· They are
      21· typically just notification from third-party services that
      22· there is something wrong going in on the network.
      23· · · ·Q.· ·Which third-party servicer?
      24· · · ·A.· ·Many -- many of them.· I don't -- I don't
      25· remember like, they are -- CERTS search, government search


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      ·1· systems.· C-E-R-T, Spam House-like resources.· There are
      ·2· many organizations on the Internet doing these kind of
      ·3· monitoring.
      ·4· · · ·Q.· ·And they report to who, in the --
      ·5· · · ·A.· ·The IP address owner --
      ·6· · · · · · The IP address owner.
      ·7· · · ·Q.· ·Who gets that at your --
      ·8· · · ·A.· ·We do.
      ·9· · · ·Q.· ·Who?
      10· · · ·A.· ·For -- the company who is owning the IP space.
      11· · · ·Q.· ·Right.· And who, at your shop, gets those?
      12· · · ·A.· ·You mean people?
      13· · · ·Q.· ·Which human being in your shop get those?
      14· · · ·A.· ·There is three ways it can go.· It can go to
      15· abuse department, or support department, or a networking
      16· department.
      17· · · ·Q.· ·We have talked about the abuse department.· We
      18· talked about the support department.· I am not sure we
      19· have talked about the networking department.· And I
      20· apologize if I am asking this again.· Where is the
      21· networking department?
      22· · · ·A.· ·Part of the people is in Cyprus, and part in
      23· Ukraine, and part in Russia.
      24· · · ·Q.· ·And who is the head of your networking
      25· department?


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      ·1· · · ·A.· ·Vitalyi, V-I-T-A-L-Y-I, Karlov, K-A-R-L-O-V.
      ·2· · · ·Q.· ·And how big is your networking department?
      ·3· · · ·A.· ·There are about ten people.
      ·4· · · ·Q.· ·And if you -- have you all ever been notified of
      ·5· involvement in spear phishing?
      ·6· · · ·A.· ·I don't remember.
      ·7· · · ·Q.· ·Okay.· Do you have procedures for making sure
      ·8· your network is not being used to generate spam?
      ·9· · · ·A.· ·We have -- we are relying on the third-party
      10· measures and on our proactive measures, which I already
      11· mentioned, like monitoring third-party -- systems like
      12· Spam House.
      13· · · ·Q.· ·Okay.· And do you have procedures for making sure
      14· your network is not being used to generate botnets?
      15· · · ·A.· ·We are mostly relying on the Genee and on
      16· third-party reports.
      17· · · ·Q.· ·What about for making sure your network isn't
      18· being used for child pornography, for example, illegal
      19· content?
      20· · · ·A.· ·We are relying on the third-party reports.
      21· · · ·Q.· ·Okay.· So who is responsible -- who is directly
      22· responsible for network security and monitoring?
      23· · · ·A.· ·I do.
      24· · · ·Q.· ·And who works with you on that aspect of the
      25· business?


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      ·1· · · ·A.· ·My teams.
      ·2· · · ·Q.· ·Do you read the Krebs Report?
      ·3· · · ·A.· ·Krebs?
      ·4· · · ·Q.· ·Krebs Report?· Ryan Krebs?
      ·5· · · ·A.· ·Yes.· I know who is Ryan Krebs.
      ·6· · · ·Q.· ·Do you read the Krebs Report for reports about
      ·7· spam and botnets and things like that?
      ·8· · · · · · MR. FRAY-WITZER:· Objection.
      ·9· · · · · · You can answer.
      10· · · · · · THE WITNESS:· Which one?· A specific report?
      11· BY MS. BOLGER:
      12· · · ·Q.· ·No, Ryan Krebs writes a blog.· He writes a lot of
      13· -- a lot of reports?
      14· · · ·A.· ·You mean reports?
      15· · · ·Q.· ·Yes.
      16· · · ·A.· ·Yes, in general, sometimes I do read them, yes.
      17· He's famous in that kind of business of --
      18· · · ·Q.· ·Yes.
      19· · · ·A.· ·-- let's say.
      20· · · ·Q.· ·Okay.· So I am sorry.· I asked you who is
      21· responsible for network security and monitoring.· You said
      22· you are.· And then I said, who works with you on that, and
      23· I confess I didn't hear your answer.
      24· · · ·A.· ·Yes.· That is my teams, like my abuse team and
      25· networking team.


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      ·1· · · ·Q.· ·Okay.· Do you have a -- the American word we use
      ·2· would be a deputy.· Do you have someone who is your right
      ·3· hand on these subjects?
      ·4· · · ·A.· ·No.· I am the only one who does it.· I don't
      ·5· trust anyone --
      ·6· · · ·Q.· ·Okay.
      ·7· · · ·A.· ·-- in that kind -- in that I want to be sure that
      ·8· all those --
      ·9· · · ·Q.· ·Well, except when it comes to Root S.A.?
      10· · · ·A.· ·No. In terms of network and abuse, I still
      11· oversee this --
      12· · · · · · In terms of network and abuse, I still oversee
      13· this.
      14· · · ·Q.· ·Okay.· So what you do -- let's do it this way.
      15· In 2016, so before -- before the Buzzfeed article is
      16· published, what did you all do to protect your own
      17· infrastructure?
      18· · · ·A.· ·We do have firewalls in place.· We do have VPN in
      19· place to limit scope of the access to the infrastructure
      20· servers.
      21· · · ·Q.· ·Do you have something called a WAF?
      22· · · ·A.· ·WAF, yes.· But not -- not at that time.· It was
      23· -- not at that time.· No.
      24· · · ·Q.· ·Okay.· When did you put that one in?
      25· · · ·A.· ·January 2018.


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      ·1· · · ·Q.· ·And why did you put it in?
      ·2· · · ·A.· ·Just I found it is -- it is a good idea to have
      ·3· WAF.
      ·4· · · ·Q.· ·Okay.· What does WAF do?
      ·5· · · ·A.· ·WAF application firewall protects from any kind
      ·6· of attacks designated to an application on the server, not
      ·7· the server, itself, but the application, typically that
      ·8· application.
      ·9· · · ·Q.· ·And what is barracuda?
      10· · · ·A.· ·Barracuda, which barracuda?· Barracuda is a
      11· company.
      12· · · ·Q.· ·Actually, you all produced a document that was
      13· Barracuda product, and it means you used it.· So what is
      14· that?
      15· · · ·A.· ·We do use Barracuda spam protection.
      16· · · ·Q.· ·What is that?
      17· · · ·A.· ·Spam and virus protection, virus protection.
      18· · · ·Q.· ·And is that on your own infrastructure, or is
      19· than on the network?
      20· · · ·A.· ·Yes.· It's protecting our own infrastructure from
      21· viruses and spam.
      22· · · ·Q.· ·Do you have a spam or virus protection on the
      23· network?
      24· · · ·A.· ·We can't.· We don't.· We can't.
      25· · · ·Q.· ·Do you have WAF on the network?


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      ·1· · · ·A.· ·We don't, and we can't.
      ·2· · · ·Q.· ·And what is Google Malware Dashboard?
      ·3· · · ·A.· ·That is exactly the service I described during
      ·4· our previous conversation, a service where we look for the
      ·5· malware in our network.
      ·6· · · ·Q.· ·And how long have you had that?
      ·7· · · ·A.· ·Looking into that?· I don't remember.· Years.
      ·8· · · ·Q.· ·Years, you are saying?
      ·9· · · ·A.· ·Yes.
      10· · · ·Q.· ·Okay.· And CERT -- that's the government report
      11· you all said you get.
      12· · · ·A.· ·Yes.· I believe it is government or
      13· semi-government organization.· So we -- which is
      14· responsible for overwatching the security.
      15· · · ·Q.· ·And how often do you -- do you get reports from
      16· CERT when there is an abuse, or do you get like a monthly
      17· report just letting you know what is going on?
      18· · · ·A.· ·We are getting abuse reports from them.
      19· · · ·Q.· ·And who gets those?
      20· · · ·A.· ·Abuse team, typically, or me, or abuse team.
      21· · · ·Q.· ·Okay.· If you reach out to one of your customers
      22· to ask about an abuse report, how long do they have to
      23· respond?
      24· · · · · · MR. FRAY-WITZER:· Objection.
      25· · · · · · THE WITNESS:· It depends on the type of the


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      ·1· · · ·attack.· Like, it depends on the type of abuse
      ·2· · · ·report.· Typically, from 24 to maybe 72 hours.
      ·3· BY MS. BOLGER:
      ·4· · · ·Q.· ·Okay.· What processes do you have set up so that
      ·5· you can handle complaints or tips on malicious cyber
      ·6· activities?· What is your process?
      ·7· · · · · · MR. FRAY-WITZER:· Objection.
      ·8· · · · · · THE WITNESS:· Can you explain?
      ·9· BY MS. BOLGER:
      10· · · ·Q.· ·Sure.· When you get a third-party report about a
      11· malicious activity, what is the process?
      12· · · · · · MR. FRAY-WITZER:· Objection.
      13· · · · · · THE WITNESS:· That there is -- it depends, case
      14· · · ·by case.
      15· BY MS. BOLGER:
      16· · · ·Q.· ·How much money do you guys spend on that?
      17· · · ·A.· ·Money, we spend on what?
      18· · · ·Q.· ·How much money do you spend on investigating
      19· abuse notifications?
      20· · · · · · MR. FRAY-WITZER:· As objection.
      21· · · · · · THE WITNESS:· I don't -- I don't know.
      22· BY MS. BOLGER:
      23· · · ·Q.· ·Well, do you pay for any third-party services,
      24· for example?
      25· · · ·A.· ·For -- for web application firewall.


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      ·1· · · ·Q.· ·Did you say for the firewall?
      ·2· · · ·A.· ·Web application for the firewall, Barracuda --
      ·3· · · ·Q.· ·But not on your own structure, of the network?
      ·4· · · ·A.· ·I don't think we pay for something.· I don't
      ·5· think so.· I don't know.
      ·6· · · ·Q.· ·Have you all ever like hired a consultant to work
      ·7· with you on the security of the network?
      ·8· · · ·A.· ·Yes.
      ·9· · · ·Q.· ·And who was that?
      10· · · ·A.· ·I don't -- I don't remember the company name.· It
      11· was company from San Francisco.· I can't remember the
      12· company name.
      13· · · ·Q.· ·When was that?
      14· · · ·A.· ·Two to three years ago.
      15· · · ·Q.· ·What was the occasion?
      16· · · ·A.· ·We just wanted them to be sure that our network
      17· is secure.
      18· · · ·Q.· ·Did they make certain recommendations to you?
      19· · · ·A.· ·Yes.
      20· · · ·Q.· ·What were they?
      21· · · ·A.· ·They found some -- I don't remember exactly.
      22· They found something.· We fixed it.· There was not --
      23· there was no serious findings.· There was just a general
      24· recommendations for improvements.· There was no serious
      25· findings.


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      ·1· · · ·Q.· ·Well, what did you do to improve it?
      ·2· · · ·A.· ·We -- we fixed that things.
      ·3· · · ·Q.· ·And you don't remember what that was?
      ·4· · · ·A.· ·Unfortunately, no. It was two to three years ago.
      ·5· Well, Wallarm, the company is W-A-L-L-A-R-M-E (sic).
      ·6· · · ·Q.· ·Okay.· About how many abuse notices do you get a
      ·7· month?
      ·8· · · · · · MR. FRAY-WITZER:· Objection.
      ·9· · · · · · THE WITNESS:· I don't remember.
      10· BY MS. BOLGER:
      11· · · ·Q.· ·Well, is it -- do you get one a month, or more
      12· than one a month?· Do you get less than one a month?
      13· · · ·A.· ·I really don't remember.· I don't read every
      14· abuse email that is -- so I don't remember.
      15· · · ·Q.· ·How many abuse notices come to your attention in
      16· a year -- in a month?· Let's do it that way.· How many
      17· abuse notices come to your attention in a month?
      18· · · ·A.· ·In average, maybe less than one.· In average,
      19· that is less than one in a month.
      20· · · ·Q.· ·How long does it take you, XBT, that is, to
      21· investigate an abuse notification?
      22· · · ·A.· ·It depends on the -- which abuse notification.
      23· · · ·Q.· ·Well, give me an example.
      24· · · ·A.· ·For example, for spam, it takes from 24 to
      25· 72 hours.· Something like that.· For malware, it may take


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      ·1· 24 hours to 48 hours, like that.
      ·2· · · ·Q.· ·Okay.· Does XBT conduct security reviews of its
      ·3· network?
      ·4· · · ·A.· ·What does this mean?
      ·5· · · ·Q.· ·Do you all have periodic times when you sit down
      ·6· and assess the security of the network?
      ·7· · · ·A.· ·Do -- do you mean our infrastructure?
      ·8· · · ·Q.· ·No, I mean the network.
      ·9· · · ·A.· ·The network, itself, is secure in general.· There
      10· is not -- nothing to be reviewed.
      11· · · ·Q.· ·Okay.· Who is responsible for patch management?
      12· · · ·A.· ·Where?
      13· · · ·Q.· ·On the network?
      14· · · ·A.· ·Our networking team.
      15· · · ·Q.· ·And as part of that review, the patch review, do
      16· they ever do a security review?
      17· · · ·A.· ·There is nothing, in general, to do about
      18· security review.
      19· · · ·Q.· ·Okay.· What is the process for patch management?
      20· · · ·A.· ·For where?
      21· · · ·Q.· ·Patch management?
      22· · · ·A.· ·For the network?
      23· · · ·Q.· ·Um-hmm.
      24· · · ·A.· ·Well, when the -- when I go to release of that
      25· software, they evaluate if this bug is critical or not.


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      ·1· If critical, they are -- the bug is critical or not -- if
      ·2· the bug is critical, they are going to update system or
      ·3· doing their recommendation workaround or recommendations
      ·4· in this specific -- specific release.· But typically,
      ·5· there is ways to do workaround or update.
      ·6· · · ·Q.· ·Okay.· And do you make the decision about whether
      ·7· to patch or do the workaround?
      ·8· · · ·A.· ·No. It is -- they made the decision, and they
      ·9· have knowledge to make the decisions themselves.
      10· · · ·Q.· ·Does XBT follow any of the accepted security
      11· standards for the network?
      12· · · ·A.· ·Can you define that?
      13· · · ·Q.· ·Sure.· Do you know what the National Institute of
      14· Standards in Technology, NIST --
      15· · · ·A.· ·Yeah, sure.
      16· · · ·Q.· ·Yes?
      17· · · ·A.· ·Everyone knows NIST.
      18· · · ·Q.· ·Okay.· Do you -- they have - they put out certain
      19· cyber security standards, right?
      20· · · ·A.· ·Yes, I think so.
      21· · · ·Q.· ·And does XBT follow them?
      22· · · ·A.· ·I think they follow some of that.
      23· · · ·Q.· ·Which ones?
      24· · · ·A.· ·Like password policy, and password -- password.
      25· · · ·Q.· ·Anything else?


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      ·1· · · ·A.· ·I don't remember specifics.· It's a pretty long
      ·2· document.· I don't remember specifics.
      ·3· · · ·Q.· ·Okay.· Is it the case that the password policy is
      ·4· the only one you know you follow?
      ·5· · · ·A.· ·I am pretty sure.
      ·6· · · · · · It should be something else, because -- they
      ·7· cover pretty wide services, documents cover pretty wide
      ·8· set of services, so it is probably not the only one, but I
      ·9· am not sure.
      10· · · ·Q.· ·Do you know what the ISO/IEC 27001 standard is,
      11· 27001?
      12· · · ·A.· ·There is a whole set of the standards behind
      13· that, so there is -- like a lot of standards behind it.
      14· · · ·Q.· ·Okay.· Do you -- so you do know they exist,
      15· right?
      16· · · ·A.· ·I know this exists, but I don't -- I don't know
      17· specifically which standard -- what this means, this
      18· specific standard.
      19· · · ·Q.· ·Okay.· So what do the ISO standards in general
      20· mean?
      21· · · ·A.· ·There are various kinds of standards ISO covers,
      22· from like for all aspects of the life.
      23· · · ·Q.· ·Okay.
      24· · · ·A.· ·For all aspects of the life, even for Burger King
      25· there are ISO standards.


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      ·1· · · ·Q.· ·So it is for information security management
      ·2· systems, right?
      ·3· · · ·A.· ·Yes.· There are some standards for information
      ·4· security system.
      ·5· · · ·Q.· ·Okay.· Does XBT follow any of those standards?
      ·6· · · ·A.· ·I do think we do.· We have some -- some ISO
      ·7· certification, so we have passed through this procedure,
      ·8· but I am not sure.· I don't remember.
      ·9· · · ·Q.· ·So you don't know if you have an ISO
      10· certification?
      11· · · ·A.· ·I don't know if we have any valid certification.
      12· · · ·Q.· ·Valid certification?
      13· · · ·A.· ·Yeah.· Maybe -- we had some, at some point, but
      14· we never renew it.· I don't know the current status of the
      15· ISO certification we may have.
      16· · · ·Q.· ·Are you compliant with the EU Data Protection
      17· Directive?
      18· · · · · · MR. FRAY-WITZER:· Objection.
      19· · · · · · You can answer.
      20· · · · · · THE WITNESS:· No.· I don't know the -- it is
      21· · · ·probably a good question to our attorney.· I don't
      22· · · ·know.
      23· BY MS. BOLGER:
      24· · · ·Q.· ·How about the Cloud Security Alliance Standard?
      25· · · ·A.· ·Again, I don't know.


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      ·1· · · ·Q.· ·Or Payment Card Standards?
      ·2· · · ·A.· ·We do have PCI DSS certification.
      ·3· · · ·Q.· ·Do you have a SOC generation, S-O-C -- SOC
      ·4· certification, S-O-C.
      ·5· · · ·A.· ·Not to my knowledge, no.
      ·6· · · ·Q.· ·How about a CJIS certification?
      ·7· · · ·A.· ·No.
      ·8· · · ·Q.· ·How about a DoD SRG certification?
      ·9· · · ·A.· ·I don't know what is that.
      10· · · ·Q.· ·Okay.· Fed ramp?
      11· · · ·A.· ·I don't know what that is.
      12· · · ·Q.· ·FERPA?
      13· · · ·A.· ·No.
      14· · · ·Q.· ·FFIEC?
      15· · · ·A.· ·Never heard of that.
      16· · · ·Q.· ·Okay.· FIPS?
      17· · · ·A.· ·I don't know.
      18· · · ·Q.· ·FISMA, F-I-S-M-A?
      19· · · ·A.· ·Maybe it will be better if you tell the whole
      20· name, not the abbreviation.
      21· · · ·Q.· ·Sure.· I will be happy to do that.· So FISMA is
      22· the Federal Information Security Management certification.
      23· · · ·A.· ·No.
      24· · · ·Q.· ·Okay.· And then there is GXP, which is quality
      25· guidelines and regulations.· Do you have that


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      ·1· certification?
      ·2· · · ·A.· ·No.
      ·3· · · ·Q.· ·How about HIPAA certification?
      ·4· · · ·A.· ·We looked into that.· We want to have to enter
      ·5· into that business, but it seems like quite complicated,
      ·6· and at this time, we decided not to do the certification.
      ·7· · · ·Q.· ·How about ITAR, which is the International Arms
      ·8· Regulations?
      ·9· · · ·A.· ·No.
      10· · · ·Q.· ·The MPAA, Motion Pictures Association of America
      11· certification?
      12· · · ·A.· ·No.· We have no certifications like that.
      13· · · ·Q.· ·How about SEC Rule 17a-4, financial data?
      14· · · · · · MR. FRAY-WITZER:· Objection.
      15· · · · · · You can answer.
      16· BY MS. BOLGER:
      17· · · ·Q.· ·Do you have any certifications related to that?
      18· · · ·A.· ·Not to my knowledge.
      19· · · ·Q.· ·Okay.· And how about the VPAT Section 508,
      20· Accessibility Standards?
      21· · · ·A.· ·Not to my knowledge.
      22· · · ·Q.· ·So your -- you don't think this is a mystery,
      23· these are the certification that AWS has.
      24· · · ·A.· ·Okay.· Yeah.
      25· · · ·Q.· ·The Asia-Pacific certification -- do you have


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      ·1· anything from the FISC, Financial Industry Information
      ·2· System certification?
      ·3· · · ·A.· ·Not to my knowledge.
      ·4· · · ·Q.· ·The Australian Security standards?
      ·5· · · ·A.· ·No. We don't have anything else.
      ·6· · · ·Q.· ·Korean Information security?
      ·7· · · ·A.· ·We don't have anything in Korea.
      ·8· · · ·Q.· ·The Singapore Multi-Tier Cloud Security standard?
      ·9· · · ·A.· ·No.
      10· · · ·Q.· ·And then the Japan Personal Information
      11· Protection standard?
      12· · · ·A.· ·No, we don't.
      13· · · ·Q.· ·How about the German Operational Security
      14· Attestation?
      15· · · ·A.· ·We are not in Germany.
      16· · · ·Q.· ·The UK Cyber Threat Protection?
      17· · · ·A.· ·We are not in UK by the day -- by today.
      18· · · ·Q.· ·And when you get there, will you have a cyber
      19· essential cross threat protection certification?
      20· · · ·A.· ·We will have to look into that.
      21· · · ·Q.· ·How about the ENS High Spanish Government
      22· standard?
      23· · · ·A.· ·We are not in Spain.· No.
      24· · · ·Q.· ·And the German Baseline Protection Methodology?
      25· · · ·A.· ·No. We are not in Germany.


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      ·1· · · ·Q.· ·Okay.· Have you applied for any of those
      ·2· certifications and been rejected?
      ·3· · · ·A.· ·No. We typically first over review requirements
      ·4· and then decide to if we have to apply or not --
      ·5· · · · · · If we have to apply, or will be able to comply or
      ·6· not, and so we never do this, going through certification
      ·7· and being rejected.
      ·8· · · ·Q.· ·Does each of your -- if I ask you to describe
      ·9· XBT's IT governance structure, what would you say?
      10· · · ·A.· ·Governance structure, I don't understand what is
      11· this means.
      12· · · ·Q.· ·Okay.· Does each subsidiary have its own IT
      13· person?
      14· · · ·A.· ·IT person?
      15· · · ·Q.· ·An IT head, an IT governor?
      16· · · ·A.· ·What does it mean?
      17· · · ·Q.· ·So does everybody --
      18· · · ·A.· ·Typically --
      19· · · ·Q.· ·-- so do each of the subsidiaries, other -- have
      20· their -- effectively, their own CTO, or does everybody
      21· report to you?
      22· · · ·A.· ·No.· I don't think everybody reports to me, but
      23· some of these doesn't have the designated CTO.· They have
      24· provided policy, for example.· They don't have designated
      25· CTO.· They -- and some -- so maybe some others.· But we --


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      ·1· there is companies who operate without a CTO, and some
      ·2· companies report to me.
      ·3· · · ·Q.· ·Which companies operate without a CTO?
      ·4· · · ·A.· ·I believe - I believe Fozzy do.· But they -- it
      ·5· is hard question.· You know?· The thing is we don't have
      ·6· it, titles in the organization.· I mentioned that before.
      ·7· I am just in general responsible for technology.· So if --
      ·8· so if something strategically happens or they need
      ·9· something, they come back to me anyway, and I oversee like
      10· most of the technology stuff in the company.
      11· · · ·Q.· ·So the subsidiaries don't -- subsidiaries don't
      12· have a person who is designated to oversee the technology?
      13· · · ·A.· ·I -- typically, it is my job.
      14· · · ·Q.· ·Do you have -- other than -- sorry.· You said the
      15· name, Wallman?
      16· · · ·A.· ·Wallarm.
      17· · · ·Q.· ·Wallarm.· Thank you.· Other than Wallarm, have
      18· you had an independent auditor review your security?
      19· · · ·A.· ·No.
      20· · · ·Q.· ·Do you have anti-fraud mechanisms on your
      21· network?
      22· · · ·A.· ·If we do -- anti-fraud mechanism -- no, not in
      23· network.· No.
      24· · · ·Q.· ·Do you have one in your infrastructure?
      25· · · ·A.· ·No. We do have anti-fraud system for our


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      ·1· accounts, for the customer accounts.
      ·2· · · ·Q.· ·It is true that you all carry porn on your
      ·3· servers, right, pornography?
      ·4· · · · · · MR. FRAY-WITZER:· Objection.
      ·5· · · · · · THE WITNESS:· Yeah, it may be, but I'm not sure.
      ·6· BY MS. BOLGER:
      ·7· · · ·Q.· ·Okay.· It has come to pass that there have been
      ·8· botnets discovered on your servers, right?
      ·9· · · ·A.· ·I remember one case that -- the recent one, yes,
      10· that it was at least once, yes.
      11· · · ·Q.· ·Okay.· And there has been spam carried on your
      12· servers?
      13· · · ·A.· ·I don't remember, but that may happen, yes --
      14· · · ·Q.· ·Okay.
      15· · · ·A.· ·-- before.
      16· · · ·Q.· ·And people have used your servers to hack, right?
      17· Or seek to hack?
      18· · · · · · MR. FRAY-WITZER:· Objection.
      19· · · · · · THE WITNESS:· I don't remember.· I don't know.
      20· BY MS. BOLGER:
      21· · · ·Q.· ·Okay.· Your testimony as you sit here is you
      22· don't think your servers have ever been used by people
      23· attempting to hack?
      24· · · · · · MR. FRAY-WITZER:· Objection.
      25· · · · · · THE WITNESS:· I don't know.


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      ·1· BY MS. BOLGER:
      ·2· · · ·Q.· ·Okay.· Quickly -- okay.· We talked a lot about
      ·3· abuse notifications.· What is an actual abuse
      ·4· notification?
      ·5· · · ·A.· ·It is typically an incoming email describing any
      ·6· potentially illegal activity happening.
      ·7· · · ·Q.· ·Okay.· And how does it -- if I -- sorry.· If I am
      ·8· a user and I want to send an abuse notification, I can
      ·9· find the email on your websites.· Right?
      10· · · ·A.· ·For the abuse notifications?· Most likely.
      11· · · ·Q.· ·Okay.· And how is that email received?· Does it
      12· come in through a regular email box, or does abuse -- do
      13· abuse notifications go through their own kind of channel?
      14· · · ·A.· ·It is an email box, and behind this email box
      15· there is a ticketing system to register the event.
      16· · · ·Q.· ·Okay.· What is that software?· What is the
      17· ticketing system?
      18· · · ·A.· ·It is RT.
      19· · · ·Q.· ·What is RT?
      20· · · ·A.· ·Request record.
      21· · · ·Q.· ·Okay.· And is that a proprietary system, or is
      22· that something you guys buy, you know, buy off the rack?
      23· · · ·A.· ·It is open source system.
      24· · · ·Q.· ·Open source system?
      25· · · ·A.· ·Yes.


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      ·1· · · ·Q.· ·Okay.· And how long have you guys had the RT
      ·2· system?
      ·3· · · ·A.· ·During the whole history of the company.           I
      ·4· believe that was one of the first systems that I have
      ·5· installed.
      ·6· · · ·Q.· ·Okay.· Has it been updated over time, or is that
      ·7· still the same system?
      ·8· · · ·A.· ·It is all been updated all the time.
      ·9· · · ·Q.· ·And what happens once there is a ticket created
      10· in the RT system?
      11· · · ·A.· ·The designated persons get notified about this
      12· ticket.
      13· · · ·Q.· ·And who are the designate people that get
      14· notified about the ticket?
      15· · · ·A.· ·It depends on which ticket you are talking about.
      16· · · ·Q.· ·What kind of tickets are there?
      17· · · ·A.· ·Abuse and support.
      18· · · ·Q.· ·So abuse and support come through the same
      19· channel?
      20· · · ·A.· ·No. It comes through the same request record.
      21· · · ·Q.· ·Same request record?
      22· · · ·A.· ·Yes.
      23· · · ·Q.· ·Okay.· So if -- setting aside support -- I don't
      24· want to talk about support.· I want to talk about abuse.
      25· What happens in this case when an abuse ticket is created?


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      ·1· · · ·A.· ·The designated persons gets notified about that.
      ·2· · · ·Q.· ·And who is the designated person for abuse?
      ·3· · · ·A.· ·Abuse team.
      ·4· · · ·Q.· ·Okay.· And it can go to any one of the seven
      ·5· members of the abuse team?
      ·6· · · ·A.· ·All of them.
      ·7· · · ·Q.· ·It goes to all of them, and then what happens
      ·8· next?
      ·9· · · ·A.· ·They decide who will be responsible for that
      10· particular abuse notification.
      11· · · ·Q.· ·Okay.· And what is that process like?
      12· · · · · · MR. FRAY-WITZER:· When there is a chance, when it
      13· · · ·is convenient to take a --
      14· · · · · · MS. BOLGER:· Sure.· We can take a break right
      15· · · ·now.
      16· · · · · · MR. FRAY-WITZER:· I don't want to interrupt your
      17· · · ·question.
      18· · · · · · MS. BOLGER:· That's fine.· We can take a break
      19· · · ·right now.
      20· · · · · · THE WITNESS:· Repeat the last question so I reply
      21· · · ·and then I go for break.
      22· BY MS. BOLGER:
      23· · · ·Q.· ·That's fine.· I said what determines which person
      24· gets which abuse ticket?· Is there a specific system, or
      25· do they just do it on the fly?


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      ·1· · · · · · THE WITNESS:· They are fighting for that.
      ·2· BY MS. BOLGER:
      ·3· · · ·Q.· ·They fight for it?
      ·4· · · ·A.· ·Yes.
      ·5· · · · · · MS. BOLGER:· Okay.· Great.· We can take a break.
      ·6· · · ·Thanks.
      ·7· · · · · · THE VIDEOGRAPHER:· We are off the video record at
      ·8· · · ·2:54 P.M.
      ·9· · · · · · (Whereupon, there was a recess, after which the
      10· · · ·following proceedings were had:)
      11· · · · · · THE VIDEOGRAPHER:· Back on the video record at
      12· · · ·3:00 P.M.
      13· BY MS. BOLGER:
      14· · · ·Q.· ·Okay.· So the abuse staff, members of the abuse
      15· staff gets the ticket, and what happens next?
      16· · · ·A.· ·There are staff working on this ticket.
      17· · · ·Q.· ·And what do you mean?· What do they do to start
      18· working on the ticket?
      19· · · ·A.· ·They contact the customer, or doing some
      20· research.· It depends on the ticket.
      21· · · ·Q.· ·Okay.· They do some research to figure out
      22· whether the complaint is justified or not?
      23· · · ·A.· ·It can be.
      24· · · ·Q.· ·What else can it be?
      25· · · ·A.· ·I don't know.


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      ·1· · · ·Q.· ·Okay.· And then who makes the decision about what
      ·2· happens in responding to that abuse ticket?
      ·3· · · ·A.· ·Can you elaborate?
      ·4· · · ·Q.· ·Sure.· Some -- generally, you guys take some
      ·5· action or the client takes some action in response to an
      ·6· abuse ticket, right?
      ·7· · · ·A.· ·I don't think we decline to act, but -- we always
      ·8· act on the ticket.· Each one or other way.
      ·9· · · ·Q.· ·That is what I was asking.· Some action or
      10· nonaction is taken in response to the complaint, right?
      11· · · · · · MR. FRAY-WITZER:· Objection.
      12· · · · · · THE WITNESS:· Yes, we act on the complaint.
      13· BY MS. BOLGER:
      14· · · ·Q.· ·And who makes a decision about what that response
      15· is going to be?
      16· · · ·A.· ·It is -- person who is currently working on that
      17· ticket, or it will be me, me, if they are going to ask me
      18· about that.
      19· · · ·Q.· ·What -- do you get asked about all of the abuse
      20· tickets?
      21· · · ·A.· ·No.
      22· · · ·Q.· ·What percentage of the abuse tickets do they ask
      23· you about?
      24· · · ·A.· ·It is less than one a month.
      25· · · ·Q.· ·Less than one a month?


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      ·1· · · ·A.· ·Um-hmm.
      ·2· · · ·Q.· ·Okay.· Do they go to a supervisor before they
      ·3· come to you, or do they go right to you?
      ·4· · · ·A.· ·They may go right to me.· They may go to
      ·5· supervisor.· I don't know.· It is their decision.
      ·6· · · ·Q.· ·Okay.· I am going to hand you what has been
      ·7· marked as Exhibit 13.
      ·8· · · ·(Exhibit No. 13 was marked for Identification.)
      ·9· BY MS. BOLGER:
      10· · · ·Q.· ·Which, for the record, is marked PT1704.
      11· Mr. Bezruchenko, this is an abuse ticket, an abuse report,
      12· right, an abuse ticket?
      13· · · ·A.· ·Let me read.
      14· · · · · · MR. FRAY-WITZER:· While he is reading it, I know
      15· · · ·I should have done it again in the morning, but we
      16· · · ·were going to designate the page as confidential.
      17· · · · · · MS. BOLGER:· Duly noted.
      18· · · · · · THE WITNESS:· Yes, this looks like an abuse
      19· · · ·ticket.
      20· BY MS. BOLGER:
      21· · · ·Q.· ·On the XBT -- in the XBT system, right?
      22· · · ·A.· ·Yes.
      23· · · ·Q.· ·Okay.· And you will see if you look at the part
      24· that says dates, you will see this is from 2014.· Do you
      25· see that?


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      ·1· · · ·A.· ·Yes, it is created on 2014, yes.
      ·2· · · ·Q.· ·And up at the top, it says logged in as Kseniya.
      ·3· That is the person who handled the abuse ticket, right, at
      ·4· the very top of the page, under "attorney's eyes only"?
      ·5· · · · · · Did I point --
      ·6· · · ·A.· ·Yes, that's someone who logged into and get the
      ·7· tickets to bring this.
      ·8· · · ·Q.· ·That is a person?
      ·9· · · ·A.· ·Yes, it's a person.
      10· · · ·Q.· ·And that is the person who had, was -- does
      11· Kseniya then investigate this report?
      12· · · ·A.· ·It looks like -- yeah, it looks like.· Yeah.
      13· · · ·Q.· ·Okay.· If you go back to the top, it says "Abuse
      14· Type Network Activity."· Did you see that?
      15· · · ·A.· ·Yes.
      16· · · ·Q.· ·Okay.· Is network activity -- is that a
      17· user-generated phrase, or is that automatic, in other
      18· words, are there types of abuse types that get generated
      19· automatically, or did someone put that in?
      20· · · ·A.· ·Someone put that in.
      21· · · ·Q.· ·Do you understand what a network activity abuse
      22· type would be?
      23· · · ·A.· ·Yes.· Something related to the network activity
      24· from server to server.
      25· · · ·Q.· ·From your servers, out?


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      ·1· · · ·A.· ·From/to servers, or from or to the server in our
      ·2· network.
      ·3· · · ·Q.· ·From or to the server in your network?
      ·4· · · ·A.· ·Yes.
      ·5· · · ·Q.· ·Okay.· And then you will see where it says,
      ·6· "People," it says "owner, nobody in particular."· Do you
      ·7· see that?
      ·8· · · ·A.· ·Yes.
      ·9· · · ·Q.· ·Okay.· Does that mean that you all didn't know
      10· the owner of the server?
      11· · · ·A.· ·It is -- ticket owner.· It is not the server
      12· owner.· It is who currently works on the ticket.
      13· · · ·Q.· ·Understand.· Okay.· On the next page, you will
      14· see it says there is -- what looks like an email from
      15· someone named Francois Raynaud to abuse@AS5577.net.
      16· · · · · · Do you see that?
      17· · · ·A.· ·Yes.
      18· · · ·Q.· ·And do you know what AS577.net is?
      19· · · ·A.· ·It is a Root S.A.
      20· · · ·Q.· ·It is Root S.A.?
      21· · · ·A.· ·Yes.
      22· · · ·Q.· ·Okay.· Great.· And you will see this seems to be
      23· the abuse report.· It has in the subject:· IP abuse
      24· report.
      25· · · · · · And you will see the second, second graph of it


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      ·1· says, "We have completed an investigation and discovered
      ·2· that a series of IP addresses which appear to be
      ·3· registered to your organization" -- and then it gives the
      ·4· numbers --"has been abusing our network by habitually
      ·5· scanning it."
      ·6· · · · · · Do you see that?
      ·7· · · ·A.· ·Yes.
      ·8· · · ·Q.· ·And then the email goes on from there.· What is
      ·9· the concern about someone habitually scanning your
      10· network?
      11· · · ·A.· ·I don't know.
      12· · · ·Q.· ·Generally, they are scanning for vulnerabilities,
      13· right?
      14· · · ·A.· ·I don't know.· Generally, I don't know.
      15· · · ·Q.· ·Okay.· Well, do you want your users to be
      16· habitually scanning other people's networks?
      17· · · ·A.· ·The scanning is always happening.· It is normal
      18· process.
      19· · · ·Q.· ·You are saying you don't think this is a valid
      20· abuse?
      21· · · ·A.· ·I don't say that.
      22· · · ·Q.· ·Okay.· Well, I mean --
      23· · · ·A.· ·You asked about scan.
      24· · · ·Q.· ·What are the legitimate purposes for habitually
      25· scanning somebody else's network?


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      ·1· · · ·A.· ·I got an example of the server's Radar, Radar
      ·2· scans the networks for vulnerability.
      ·3· · · ·Q.· ·Habitually?
      ·4· · · ·A.· ·What do you mean?
      ·5· · · ·Q.· ·Habitually?· Is habitually scanning it?
      ·6· · · ·A.· ·What is habitually?
      ·7· · · · · · (Discussion off record between witness and
      ·8· · · ·interpreter.)
      ·9· · · · · · THE WITNESS:· Yes, yeah.
      10· BY MS. BOLGER:
      11· · · ·Q.· ·Okay.· Then you will see, after the email, there
      12· are several -- what seem to be line entries, one dated May
      13· 16th, and then redated May 21st.· Do you see that?
      14· · · ·A.· ·Yes.
      15· · · ·Q.· ·Okay.· Do you know who KP is?
      16· · · ·A.· ·Most likely, it is Kseniya, Kseniya, the same --
      17· same as here.
      18· · · ·Q.· ·Okay.· And it says, "forwarded transaction," and
      19· then it gives the number of this ticket, to, and then
      20· there is an email address which is pqwetxkjls@gmail.com.
      21· · · ·A.· ·Yes.
      22· · · ·Q.· ·And what do you understand that to mean?
      23· · · ·A.· ·It -- most likely, it is the reference to the
      24· ticket where the abuse team contacted the customer.
      25· · · ·Q.· ·Okay.· And then if you look at the next page, you


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      ·1· will see there is a response, which is regarding the abuse
      ·2· report to abuse@AS5577.net from King Servers.· Do you see
      ·3· that?
      ·4· · · ·A.· ·Yes.
      ·5· · · ·Q.· ·And this says, "Hello.· This IP address is VPN
      ·6· service.· We closed access user for our service."· Do you
      ·7· see that?
      ·8· · · ·A.· ·Yes.
      ·9· · · ·Q.· ·Okay.· So that is the letter back from the --
      10· that is the information back from your customer to you.
      11· Correct?
      12· · · ·A.· ·Let me see.· It seems like, yes.
      13· · · ·Q.· ·Okay.· What does that mean?· "This IP address is
      14· VPN service.· We closed access user for our service"?
      15· · · ·A.· ·I don't know.· That's our customer reply.           I
      16· don't know what does that mean.
      17· · · ·Q.· ·Well, I know, but you know what the words mean.
      18· What does it mean that this IP address is VPN server?
      19· What do those words mean?
      20· · · ·A.· ·I don't know.· I can't -- I don't want to
      21· speculate.· That is not my reply.· That is the private
      22· customer.
      23· · · ·Q.· ·Well, but words have meaning.· Right.· And you're
      24· capable of educing them.· And frankly, these don't make
      25· any sense to me, as a person who reads English.· Do they


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      ·1· make sense to you?
      ·2· · · · · · MR. FRAY-WITZER:· Objection.
      ·3· · · · · · You can answer.
      ·4· · · · · · THE WITNESS:· I can read them.
      ·5· BY MS. BOLGER:
      ·6· · · ·Q.· ·Right.· Does it make sense to you?
      ·7· · · ·A.· ·The words, like, make some sense.· I don't know.
      ·8· · · ·Q.· ·Is there something in that sentence that makes
      ·9· you think, "Oh, well, that's why they are habitually
      10· scanning.· It is okay."
      11· · · · · · Or does this -- how does this relate to the
      12· actual alleged abuse?
      13· · · ·A.· ·Again, I don't want to speculate, but that's most
      14· likely -- that is not -- the company who we contacted was
      15· not our end user.· They run the VPN service, and their end
      16· user do the scanning, and they closed it, the end user.
      17· That is how it looks to me, but I don't know what this
      18· means.
      19· · · ·Q.· ·Do you know what King Servers is?
      20· · · ·A.· ·I heard this name, yes.
      21· · · ·Q.· ·And in what context did you hear this name?
      22· · · ·A.· ·I heard this name in the context of some -- some
      23· claims about they do something wrong, like hacking or
      24· something like that.
      25· · · ·Q.· ·Wait.· They hacked.· They were actually


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      ·1· specifically accused of trying to --
      ·2· · · ·A.· ·Trying to --
      ·3· · · ·Q.· ·Hack the Arizona and Illinois election systems --
      ·4· · · ·A.· ·Yes.· I heard that, probably.
      ·5· · · ·Q.· ·-- by scanning them for vulnerabilities?
      ·6· · · ·A.· ·I don't know.
      ·7· · · ·Q.· ·And that's --
      ·8· · · ·A.· ·It is not possible to hack by scanning.
      ·9· · · ·Q.· ·You have to figure out the vulnerabilities before
      10· you can hack something, don't you?
      11· · · · · · MR. FRAY-WITZER:· Objection.
      12· · · · · · THE WITNESS:· I don't know.· I am not a hacker.
      13· BY MS. BOLGER:
      14· · · ·Q.· ·And Vladimir Fomenko was the head of King
      15· Servers, right?
      16· · · ·A.· ·I don't know.
      17· · · ·Q.· ·You have never heard of the name Vladimir
      18· Fomenko?
      19· · · ·A.· ·No.
      20· · · ·Q.· ·Okay.· I am going to ask you to look at another
      21· one -- sorry.· Do you know what happened to this abuse
      22· ticket, what was the result of this abuse ticket?
      23· · · ·A.· ·That was -- there was sufficient answer.· They
      24· closed their end user.· That was sufficient answer.
      25· · · ·Q.· ·So you all undertook no action -- no action as a


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      ·1· result?
      ·2· · · ·A.· ·Our customer undertook action.
      ·3· · · ·Q.· ·That is not my question.· XBT took no action?
      ·4· · · ·A.· ·We took action.
      ·5· · · · · · MR. FRAY-WITZER:· Objection.
      ·6· · · · · · THE WITNESS:· We took action.
      ·7· · · ·Q.· ·What is the action you took?
      ·8· · · ·A.· ·We contacted our customer --
      ·9· · · ·Q.· ·Okay.
      10· · · ·A.· ·-- and asked them to resolve this particular
      11· abuse.
      12· · · ·Q.· ·Other than contacting your customer and asking
      13· them to do something, you all did nothing, right?
      14· · · ·A.· ·No, that is not true.
      15· · · ·Q.· ·What did you do?
      16· · · ·A.· ·We do everything to our capacity to resolve this
      17· abuse.
      18· · · ·Q.· ·What did you do, other than contact the customer
      19· and get their response?
      20· · · ·A.· ·We make sure that they respond to us and fix the
      21· problem.
      22· · · ·Q.· ·How did you make sure they fixed the problem?
      23· · · ·A.· ·They responded to us.
      24· · · ·Q.· ·So after they got the -- you got the email from
      25· them, did XBT undertake any action?


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      ·1· · · · · · MR. FRAY-WITZER:· Objection.
      ·2· · · · · · You can answer.
      ·3· · · · · · THE WITNESS:· We replied to the company who sent
      ·4· · · ·original request about actions taken, yes.
      ·5· BY MS. BOLGER:
      ·6· · · ·Q.· ·What were the actions you took?
      ·7· · · ·A.· ·We contacted our customer to resolve this
      ·8· question.
      ·9· · · ·Q.· ·You contacted your customer and asked them about
      10· it, they resolved it, and you all took no action on your
      11· end to these two IP address -- the three IP addresses
      12· mentioned, right?
      13· · · ·A.· ·No.
      14· · · ·Q.· ·What did you do to those -- sorry.· Probably
      15· because I asked a bad question, I'm not sure I understand
      16· your answer, so I'm going to do it again.· In response to
      17· this abuse ticket, did XBT undertake any action as to
      18· these three IP addresses?
      19· · · ·A.· ·Yes.
      20· · · ·Q.· ·What was that?
      21· · · ·A.· ·We reached to our customer and asked for the
      22· action.
      23· · · ·Q.· ·And that's it?
      24· · · ·A.· ·Yes.
      25· · · ·Q.· ·I am going to ask you to take a look at --


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      ·1· · · · · · So do you know what Methbot was?
      ·2· · · ·A.· ·I have read about this in the reports and in
      ·3· newspapers.
      ·4· · · ·Q.· ·Okay.· Can you tell me what it was?
      ·5· · · ·A.· ·According to the report in newspapers, it was
      ·6· some scam, advertisement scam -- advertisement scam,
      ·7· something like that.
      ·8· · · ·Q.· ·Okay.
      ·9· · · ·A.· ·Not scam.· Fraud, fraud.
      10· · · ·Q.· ·Okay.· And when did you first hear of the
      11· Methbot?
      12· · · ·A.· ·I believe in December 2016.
      13· · · ·Q.· ·Okay.· Do you know when the Methbot fraud
      14· actually occurred?
      15· · · ·A.· ·No.
      16· · · ·Q.· ·Okay.· If I represented to you it occurred in
      17· mostly September and October of 2016, does that refresh
      18· your memory?
      19· · · ·A.· ·No.
      20· · · ·Q.· ·Okay.· How did you first hear about the Methbot
      21· fraud?
      22· · · ·A.· ·I believe someone called me from the company -- I
      23· was here in the United States, and someone called me that
      24· to -- talking about that, and asking for the actions we
      25· should take about that.


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      ·1· · · ·Q.· ·Who was the someone?
      ·2· · · ·A.· ·It is either Alex or Nick.· I don't remember.· It
      ·3· is one of these two persons, Aleksej or Nick Dvas.
      ·4· · · ·Q.· ·I think that would be kind of a significant
      ·5· conversation in your life and in your business, given what
      ·6· the Methbot fraud was.· You don't remember who called you?
      ·7· · · · · · MR. FRAY-WITZER:· Objection.
      ·8· · · · · · THE WITNESS:· Yeah.
      ·9· BY MS. BOLGER:
      10· · · ·Q.· ·Okay.· So what did this mysterious person say?
      11· · · · · · MR. FRAY-WITZER:· Objection.
      12· · · · · · You can answer.
      13· · · · · · THE WITNESS:· That we had -- this kind of prob-
      14· · · ·-- they sent me, they told me about this article,
      15· · · ·asked me to read about this, and asked, like, what
      16· · · ·action we should take.· And it was pretty surprised
      17· · · ·it was happening.· I was shocked this was happening.
      18· · · ·That's all I remember.
      19· BY MS. BOLGER:
      20· · · ·Q.· ·Okay.· So what did they tell you?· What was this
      21· article?· What was it?· Do you remember?
      22· · · ·A.· ·No. They tell me to read the article, and, like,
      23· ask for further opinion or what we should do, like, they
      24· was shocked about it.
      25· · · ·Q.· ·So what they told you to read was the -- I am


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      ·1· going to ask -- I am going to hand you what was marked at
      ·2· Mr. Mishra's deposition as Defendant's Exhibit 27.· I will
      ·3· get you a copy in a second.
      ·4· · · · · · That's mine.
      ·5· · · · · · Sorry.· No, it's my fault.· I snatched,
      ·6· Mr. Bezruchenko.· That was bad childhood manners.            I
      ·7· apologize.· I mean, also bad grownup.
      ·8· BY MS. BOLGER:
      ·9· · · ·Q.· ·This is marked as Defendant's 27, which is a
      10· document called "The Methbot Operation," published by
      11· White Ops December 20, 2016.· And you have seen this
      12· before, right?
      13· · · ·A.· ·Let me briefly go through this.· It looks like
      14· the document I have seen before, yes.
      15· · · ·Q.· ·Okay.· And this document details the ad fraud,
      16· and when it was published, it was also published with a
      17· listing of URLs that were associated with the Methbot
      18· operation; correct?
      19· · · ·A.· ·I don't remember.
      20· · · ·Q.· ·How did you -- so when -- when the mysterious
      21· person called you to tell you about Methbot.· They told
      22· you to read this article.· What did they say that was so
      23· alarming?· What did they learn about XBT's involvement in
      24· Methbot?
      25· · · ·A.· ·That they were shocked that this customer is


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      ·1· doing this activity.
      ·2· · · ·Q.· ·Okay.· What customer, doing what activity?
      ·3· · · ·A.· ·The customer's name was Alexander Zhukov.
      ·4· · · ·Q.· ·Okay.· And who is Mr. Zhukov?
      ·5· · · ·A.· ·A customer of ours.· Previous -- well, no, no.
      ·6· Not customer anymore.· But he was a customer of ours.
      ·7· · · ·Q.· ·And during that initial telephone call with
      ·8· whoever it was, did the person on the other end of the
      ·9· line tell you that it was Mr. Zhukov?
      10· · · ·A.· ·I don't remember exactly what they tell me --
      11· · · ·Q.· ·Okay.
      12· · · ·A.· ·-- they told me.
      13· · · ·Q.· ·They told you that XBT's networks were involved
      14· in what was a massive ad fraud, right?
      15· · · ·A.· ·No.
      16· · · ·Q.· ·What did they say?
      17· · · ·A.· ·I don't remember.
      18· · · ·Q.· ·Mr. Bezruchenko, with respect, if you are getting
      19· a telephone call by your business partners telling you
      20· that the thing you do for a living was just involved in a
      21· massive ad fraud, I submit you should remember that
      22· telephone conversation.· So let's try again.· How did you
      23· first hear about Methbot?
      24· · · · · · MR. FRAY-WITZER:· Objection.
      25· · · · · · THE WITNESS:· Through -- through conversation


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      ·1· · · ·with one of my colleagues.
      ·2· BY MS. BOLGER:
      ·3· · · ·Q.· ·And what did they say in that conversation?
      ·4· · · ·A.· ·That they seen the publication about our
      ·5· customer, who is alleged some illegal activity.
      ·6· · · ·Q.· ·Okay.· During that initial telephone call, they
      ·7· specifically said it was your customer who was alleged to
      ·8· do the activity?
      ·9· · · ·A.· ·I don't remember exactly.
      10· · · ·Q.· ·What did they tell -- what else did they tell you
      11· on that telephone call?
      12· · · ·A.· ·At least to read this article, and they asked how
      13· to act on it.
      14· · · ·Q.· ·Okay.· So what happened next?
      15· · · ·A.· ·I believe the -- that we immediately disconnected
      16· the customer, and contacted him asking explain himself.
      17· · · ·Q.· ·How did you know what customer it was?
      18· · · ·A.· ·We found the IP addresses.
      19· · · ·Q.· ·Okay.· Who found the IP addresses?
      20· · · ·A.· ·I believe I do, or Nick Dvas.· Who, I don't
      21· remember.
      22· · · ·Q.· ·How did you go about finding the IP addresses?
      23· · · ·A.· ·They were published on the same website where
      24· these documents were published.
      25· · · ·Q.· ·Do you regularly read White Ops reports?


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      ·1· · · ·A.· ·No.
      ·2· · · ·Q.· ·Does either of your phantom telephone callers,
      ·3· does Mr. Dvas read White Ops reports?
      ·4· · · ·A.· ·I don't know.
      ·5· · · ·Q.· ·Does Mr. Gubarev read White Ops reports?
      ·6· · · · · · MR. FRAY-WITZER:· Objection.
      ·7· · · · · · THE WITNESS:· I don't know.
      ·8· BY MS. BOLGER:
      ·9· · · ·Q.· ·How did they come to know about this document?
      10· · · ·A.· ·From the news, as far as I know.· From the
      11· publication in the news.
      12· · · ·Q.· ·Who made the connection between the White Ops
      13· report and XBT?
      14· · · · · · MR. FRAY-WITZER:· Objection.· You can answer.
      15· · · · · · THE WITNESS:· I believe I do.· I found the IP
      16· · · ·addresses, I believe I do that.
      17· BY MS. BOLGER:
      18· · · ·Q.· ·But I thought you said you didn't know about the
      19· White Ops report -- sorry.· I thought you said you didn't
      20· know about Methbot until you got a telephone call telling
      21· you that XBT was involved?
      22· · · ·A.· ·They told me that XBT was involved in that, yes.
      23· But I don't remember, that I do, or somebody else do --
      24· found this.· Maybe -- maybe Nick Dvas.· I told you
      25· previously maybe Nick Dvas make it.· I don't remember.


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      ·1· · · ·Q.· ·Okay.· So when you got off the telephone call,
      ·2· you went and you looked, and you traced down the IP
      ·3· addresses that were yours.· And what happened next?
      ·4· · · ·A.· ·As far as I remember, we contacted -- we
      ·5· disconnect the customer and contacted with him to explain
      ·6· himself.
      ·7· · · ·Q.· ·How soon after you found out about the Methbot
      ·8· fraud being perpetrated on your servers did you contact
      ·9· the customer?
      10· · · · · · MR. FRAY-WITZER:· Objection.
      11· · · · · · You can answer.
      12· · · · · · THE WITNESS:· I don't remember exactly.
      13· BY MS. BOLGER:
      14· · · ·Q.· ·How many IP addresses of yours were involved in
      15· it?
      16· · · ·A.· ·I don't remember.
      17· · · ·Q.· ·Okay.· Can I have -- do you remember which
      18· subsidiary the IP addresses were associated with?
      19· · · ·A.· ·I only remember that the customer brings a lot of
      20· his own IP addresses.· That was the case.· And he may use
      21· some of ours, but I don't remember how many and which
      22· subsidiary.· He was -- yeah.
      23· · · ·Q.· ·I don't understand.· What do you mean, brought
      24· his own IP addresses?
      25· · · ·A.· ·There is a list of IP addresses you have for the


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      ·1· -- our companies, and the customers may bring his own IP
      ·2· addresses.
      ·3· · · ·Q.· ·And use your servers with his own IP address?
      ·4· · · ·A.· ·Yes.
      ·5· · · ·Q.· ·So are you saying that this customer not only
      ·6· used IP addresses that belonged to XBT, but also used
      ·7· XBT's servers to generate his own IP addresses.
      ·8· · · ·A.· ·Not XBT.
      ·9· · · ·Q.· ·What entity?
      10· · · ·A.· ·I believe it was at least -- it was two
      11· companies, Webzilla and Servers.com.
      12· · · ·Q.· ·Okay.· So he used IP addresses that belonged to
      13· Webzilla and Servers.com, and then he also brought his own
      14· IP addresses to servers owned by Webzilla and Servers.com
      15· and perpetrated the fraud that way too?· Is that what you
      16· just said?
      17· · · · · · MR. FRAY-WITZER:· Objection.
      18· · · · · · You can answer.
      19· · · · · · THE WITNESS:· I am not sure if servers were owned
      20· · · ·by us.· I don't know the financial status of the
      21· · · ·servers.· But they --
      22· BY MS. BOLGER:
      23· · · ·Q.· ·-- leased from you?
      24· · · ·A.· ·He bring his own IP addresses to use on these
      25· servers.· That is the answer.


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      ·1· · · ·Q.· ·And by "these servers," you mean Webzilla and
      ·2· servers?
      ·3· · · ·A.· ·Servers.com, exact.
      ·4· · · ·Q.· ·Got you.
      ·5· · · · · · So I am going to ask you to look at Defendant's
      ·6· Exhibit 14.
      ·7· · · ·(Exhibit No. 14 was marked for Identification.)
      ·8· BY MS. BOLGER:
      ·9· · · ·Q.· ·For the record, this is a document given the
      10· Bates number PT1764, which is an e-mail from C. Taylor to
      11· dvas@servers.com.
      12· · · · · · Who is C. Taylor?
      13· · · ·A.· ·Cameron Taylor is our on-site employee in the
      14· Dallas data center.
      15· · · ·Q.· ·You'll see the text of the message says:· "Hello,
      16· please remove drives from servers and match each of them
      17· with the server name from which they've been removed,
      18· store them, and make sure under no circumstances they are
      19· used in other servers or information on them is damaged in
      20· any other way."
      21· · · · · · Do you see that?
      22· · · ·A.· ·Yes.
      23· · · ·Q.· ·Okay.· And are those the drives from the servers
      24· that were involved in the Methbot fraud?
      25· · · ·A.· ·I don't remember.· It's on this -- some IT, so I


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      ·1· don't remember.
      ·2· · · ·Q.· ·Okay.· Well, the Xbot -- sorry, the White Ops
      ·3· report was released on December 20, 2016.· This is dated
      ·4· December 21, 2016.
      ·5· · · · · · Does that refresh your memory that those are the
      ·6· servers used for the Methbot fraud?
      ·7· · · ·A.· ·No.
      ·8· · · ·Q.· ·Okay.
      ·9· · · ·A.· ·I don't remember.
      10· · · ·Q.· ·Okay.· Do you still have these servers?
      11· · · ·A.· ·We do have servers.
      12· · · ·Q.· ·Do you have these servers?
      13· · · ·A.· ·I don't know.· We have all servers.· Probably we
      14· have all servers, yes.
      15· · · ·Q.· ·Did you -- this -- did you all maintain these
      16· servers, because it says "Make sure under no circumstances
      17· they are used in other servers or information on them is
      18· damaged in any other way"?
      19· · · · · · MR. FRAY-WITZER:· Objection.
      20· · · · · · THE WITNESS:· It says "drives."
      21· · · · · · MS. BOLGER:· You're right.· I apologize.
      22· BY MS. BOLGER:
      23· · · ·Q.· ·Do you all still have these drives maintained
      24· somewhere?
      25· · · ·A.· ·I'm pretty sure, yes.


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      ·1· · · ·Q.· ·Where?
      ·2· · · ·A.· ·In Dallas data center.
      ·3· · · ·Q.· ·And these are the drives that were used for the
      ·4· Methbot fraud?
      ·5· · · · · · MR. FRAY-WITZER:· Objection.
      ·6· · · · · · THE WITNESS:· I don't know.· I don't see that.
      ·7· BY MS. BOLGER:
      ·8· · · ·Q.· ·Okay.· Well, it's the day after the Methbot
      ·9· report is released, right?
      10· · · ·A.· ·I don't know.· I don't remember when it was
      11· released.
      12· · · ·Q.· ·Did you, in fact, preserve the drives used in the
      13· Methbot fraud?
      14· · · ·A.· ·Yes.
      15· · · ·Q.· ·And did you, in fact, keep them in Dallas?
      16· · · ·A.· ·Yes.
      17· · · ·Q.· ·And are they still in Dallas?
      18· · · ·A.· ·Yes.
      19· · · ·Q.· ·Okay.· Other than connecting -- other than
      20· researching the IP addresses and identifying the customer,
      21· and you said shutting down the IP addresses, what else did
      22· you do in response to the Methbot report?
      23· · · ·A.· ·We -- can you repeat your question?
      24· · · ·Q.· ·Sure.
      25· · · · · · What else did you do in response to the White Ops


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      ·1· report about Methbot?
      ·2· · · ·A.· ·We shut down customer.
      ·3· · · ·Q.· ·Okay.
      ·4· · · ·A.· ·We preserved our hard drives, and we later
      ·5· cancelled -- terminated the service of the customer
      ·6· because he -- we got no response for our request to
      ·7· customer to explain himself.
      ·8· · · ·Q.· ·Okay.· Who made the request to the customer?
      ·9· · · ·A.· ·I believe it was either Nick or abuse team,
      10· because I wasn't -- I was away from the office at that
      11· time, in the U.S.
      12· · · ·Q.· ·What were you doing in the U.S.?
      13· · · ·A.· ·I was setting up the facility in Virginia.
      14· · · ·Q.· ·Okay.· So you were in the United States for your
      15· job; you weren't here on vacation?
      16· · · ·A.· ·Yeah.
      17· · · ·Q.· ·Other than that initial conversation with whoever
      18· it was that told you about the Methbot fraud, did you have
      19· other conversations about the Methbot fraud?
      20· · · ·A.· ·I don't remember.
      21· · · ·Q.· ·You don't remember that you had them, or you
      22· think you didn't have them?
      23· · · ·A.· ·I don't remember in general.· I don't remember.
      24· · · ·Q.· ·But you do remember cutting off Mr. Zhukov?
      25· · · ·A.· ·Yes.


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      ·1· · · ·Q.· ·Who was Mr. Zhukov?
      ·2· · · ·A.· ·Our customer.
      ·3· · · ·Q.· ·And you knew him personally, right?
      ·4· · · ·A.· ·Yes.
      ·5· · · ·Q.· ·How did you know him?
      ·6· · · ·A.· ·I met him on the concert, musical band concert.
      ·7· · · ·Q.· ·Fozzy?
      ·8· · · ·A.· ·No.
      ·9· · · ·Q.· ·Where did you -- in -- where was the concert?
      10· · · ·A.· ·Cyprus.
      11· · · ·Q.· ·And what did you know about Mr. Zhukov?
      12· · · ·A.· ·Very briefly, I knew that he's doing some
      13· advertisement company, like, have some AD company.
      14· · · · · · THE COURT REPORTER:· AD?
      15· · · · · · THE WITNESS:· Yes, advertisement.
      16· BY MS. BOLGER:
      17· · · ·Q.· ·What kind of company?· I'm sorry.
      18· · · ·A.· ·Advertisement.
      19· · · ·Q.· ·Advertisement company?
      20· · · ·A.· ·Advertisement, yes.
      21· · · ·Q.· ·What else did you know about him?
      22· · · ·A.· ·It's a general question.· I know his full name is
      23· Alexander Zhukov.
      24· · · ·Q.· ·Well, I know that.
      25· · · · · · But what else did you know about him?· That's not


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      ·1· too general a question.· What else did you know about him?
      ·2· · · ·A.· ·He's a male.· I don't know.
      ·3· · · · · · Can you be more specific.
      ·4· · · ·Q.· ·Would you give me a nonsmartass answer?
      ·5· · · · · · What did you know about him?
      ·6· · · · · · MR. FRAY-WITZER:· Objection.
      ·7· BY MS. BOLGER:
      ·8· · · ·Q.· ·Did you know where he lived?
      ·9· · · ·A.· ·No.
      10· · · ·Q.· ·Did you know what he did for a living?
      11· · · ·A.· ·I knew he runs this company.· That's all I know.
      12· · · ·Q.· ·That's all you knew?
      13· · · ·A.· ·Yes.
      14· · · ·Q.· ·Okay.· I'm going to -- would it surprise you if I
      15· told you that Mr. Gubarev said that he knew Mr. Zhukov
      16· personally, and that Mr. Zhukov came to Cyprus several
      17· times?
      18· · · · · · MR. FRAY-WITZER:· Objection.
      19· · · · · · You can answer.
      20· · · · · · THE WITNESS:· I don't know.
      21· BY MS. BOLGER:
      22· · · ·Q.· ·And that he'd been in your offices?
      23· · · · · · MR. FRAY-WITZER:· Objection.
      24· · · · · · THE WITNESS:· I don't know.· I never met him in
      25· · · ·our offices.


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      ·1· BY MS. BOLGER:
      ·2· · · ·Q.· ·No?
      ·3· · · · · · Is Mr. Zhukov the same Mr. Zhukov who is a member
      ·4· of the Duma?
      ·5· · · · · · MR. FRAY-WITZER:· Objection.
      ·6· · · · · · THE WITNESS:· I have no idea.
      ·7· BY MS. BOLGER:
      ·8· · · ·Q.· ·Why did you laugh?
      ·9· · · ·A.· ·You want an honest answer?
      10· · · ·Q.· ·Yeah, I do.
      11· · · ·A.· ·The real answer?
      12· · · ·Q.· ·I want an answer, yeah.
      13· · · ·A.· ·Because that's -- you're trying to push an idea
      14· that he's a Russian.· And that's --
      15· · · ·Q.· ·Well, his name is Zhukov.· I thought he was -- is
      16· he not Russian?
      17· · · ·A.· ·I don't know.
      18· · · ·Q.· ·Was your customer named Alexander Zhukov not
      19· Russian?
      20· · · ·A.· ·I don't know.
      21· · · ·Q.· ·You met him personally?
      22· · · ·A.· ·Yes.
      23· · · ·Q.· ·What language did you talk to him in?
      24· · · ·A.· ·Russian.
      25· · · ·Q.· ·How shocking of me, then, to think he was


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      ·1· Russian.
      ·2· · · ·A.· ·I'm -- I'm --
      ·3· · · · · · MR. FRAY-WITZER:· Objection.
      ·4· · · · · · There is no question.
      ·5· BY MS. BOLGER:
      ·6· · · ·Q.· ·Okay.· I'm going to ask you to take a look at a
      ·7· document that's marked MB9.
      ·8· · · ·(Exhibit No. MB9 was marked for Identification.)
      ·9· · · · · · MS. BOLGER:· You know what, I'm missing
      10· · · ·something.
      11· · · · · · Can we just go off the record real quick while I
      12· · · ·look for something?
      13· · · · · · MR. FRAY-WITZER:· Sure.
      14· · · · · · THE VIDEOGRAPHER:· Off the video record at
      15· · · ·3:30 P.M.
      16· · · · · · (Whereupon, there was a recess, after which the
      17· · · ·following proceedings were had:)
      18· · · · · · THE VIDEOGRAPHER:· Stand by.
      19· · · · · · Back on the video record at 3:32 P.M.
      20· BY MS. BOLGER:
      21· · · ·Q.· ·Were you the person who discovered that the name
      22· of the client was Zhukov?
      23· · · ·A.· ·Most likely, no.· No, I don't remember.
      24· · · ·Q.· ·Did you talk to him?
      25· · · ·A.· ·Who?


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      ·1· · · ·Q.· ·Mr. Zhukov.
      ·2· · · ·A.· ·I had talked to him in my life, yes.
      ·3· · · ·Q.· ·No.· Did you talk to him when you discovered that
      ·4· he was the perpetrator of the Methbot fraud?
      ·5· · · ·A.· ·I didn't talk to him.
      ·6· · · ·Q.· ·Did someone else talk to him?
      ·7· · · ·A.· ·I don't know.
      ·8· · · ·Q.· ·Did you make efforts to talk to him?· Did you,
      ·9· personally?· I don't mean XBT.· I mean you.
      10· · · ·A.· ·No.
      11· · · ·Q.· ·No?
      12· · · · · · Who did?
      13· · · ·A.· ·I don't know.
      14· · · ·Q.· ·How much server space of yours was being used by
      15· the perpetrator of the Methbot fraud?
      16· · · ·A.· ·I believe around 1,000, 1,000-plus.
      17· · · ·Q.· ·That's a lot, right?
      18· · · ·A.· ·I don't know.
      19· · · ·Q.· ·You don't know if that's a lot of server space,
      20· but it's what you do for a living, right?· What you do for
      21· a living as the CTO of a company that providers servers,
      22· right?
      23· · · ·A.· ·Yes.
      24· · · ·Q.· ·Okay.· Do a lot of your client take up thousands
      25· of servers?


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      ·1· · · ·A.· ·We have some customers.
      ·2· · · ·Q.· ·Are they big customers?
      ·3· · · ·A.· ·Just customers.
      ·4· · · ·Q.· ·Do most of your customers take up thousands of
      ·5· servers?
      ·6· · · ·A.· ·I don't know.
      ·7· · · ·Q.· ·This is what you do for a living, right?· But you
      ·8· don't know the answer to that question.
      ·9· · · · · · MR. FRAY-WITZER:· Objection.
      10· · · · · · You can answer.
      11· · · · · · THE WITNESS:· I may know, yeah.· I don't know all
      12· · · ·of the customers.
      13· BY MS. BOLGER:
      14· · · ·Q.· ·How much was he paying you all per month?
      15· · · ·A.· ·As far as I remember, on December, it was around
      16· $200,000 a month.
      17· · · ·Q.· ·Okay.· In fact, he was using so much server space
      18· that you all had to lease -- you were also leasing servers
      19· to provide him server space, right?
      20· · · · · · MR. FRAY-WITZER:· Objection.
      21· · · · · · You can answer.
      22· · · · · · THE WITNESS:· That's what we generally do.· We
      23· · · ·lease servers.
      24· BY MS. BOLGER:
      25· · · ·Q.· ·Okay.· So when the -- when you had to turn off


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      ·1· the servers because of the Methbot fraud, not only did you
      ·2· lose the income, but you had to pay the rent on the
      ·3· servers, right?
      ·4· · · ·A.· ·No --
      ·5· · · ·Q.· ·The lease on the servers?
      ·6· · · ·A.· ·Yeah, we still had to pay lease, but I don't know
      ·7· about income.· We still have to pay lease, yes.
      ·8· · · ·Q.· ·So how big of a total loss was it for the
      ·9· company?
      10· · · ·A.· ·I don't know.
      11· · · ·Q.· ·How many IP addresses did he have?
      12· · · ·A.· ·If I recollect correctly, it was hundreds of
      13· thousands.· Hundreds of thousands.
      14· · · ·Q.· ·All right.· Did you all report him to law
      15· enforcement?
      16· · · ·A.· ·No.
      17· · · ·Q.· ·Why not?
      18· · · ·A.· ·I discussed it with our attorney.· I asked for --
      19· · · · · · MR. FRAY-WITZER:· No, you are not to discuss
      20· · · ·anything that you discussed with any of your
      21· · · ·attorneys.
      22· · · · · · THE WITNESS:· Okay.
      23· BY MS. BOLGER:
      24· · · ·Q.· ·Other than what you talked about with your
      25· attorney, and I'm not seeking to intrude on that, what did


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      ·1· you -- why did you not report him to the FBI?
      ·2· · · ·A.· ·Because he was alleged only.· Like, it doesn't
      ·3· mean he do something wrong.
      ·4· · · ·Q.· ·Okay.
      ·5· · · ·A.· ·Not -- none of the law enforcement agencies
      ·6· contacted us.· No one at all contacted us about that.
      ·7· · · · · · Actually, I had only one contact about that, and
      ·8· it was from some researcher asking for more information,
      ·9· and I provided it.· But no one contacted us about that.
      10· · · · · · So why I should believe that --
      11· · · ·Q.· ·As you sit here, do you believe that the person
      12· who ran those IP addresses on your servers did not conduct
      13· the Methbot fraud?
      14· · · · · · MR. FRAY-WITZER:· Objection.
      15· · · · · · THE WITNESS:· I don't know.
      16· BY MS. BOLGER:
      17· · · ·Q.· ·You don't know whether or not he was involved in
      18· the Methbot fraud?
      19· · · ·A.· ·That's right, I don't know.
      20· · · ·Q.· ·What is your basis for doubting it?
      21· · · · · · MR. FRAY-WITZER:· Objection.
      22· · · · · · THE WITNESS:· If article says that it's a fraud,
      23· · · ·and it's huge, there is -- law enforcement should
      24· · · ·contact us about that.· That's -- that's always
      25· · · ·happens, probably.· Like the fraud.· No one reached


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      ·1· · · ·us.· That's -- that's not --
      ·2· BY MS. BOLGER:
      ·3· · · ·Q.· ·Mr. Zhukov lives in the United States?
      ·4· · · ·A.· ·I don't know.
      ·5· · · ·Q.· ·Was there any due diligence done in screening Mr.
      ·6· Zhukov to be your client?
      ·7· · · ·A.· ·I believe there was extensive due diligence done
      ·8· because of the amount of the servers.
      ·9· · · ·Q.· ·Who did that due diligence?
      10· · · ·A.· ·I believe the person who was involved in getting
      11· this customer.
      12· · · ·Q.· ·Who was that?
      13· · · ·A.· ·I believe it was Aleksej Gubarev.
      14· · · ·Q.· ·Do you know what that diligence was?
      15· · · ·A.· ·Like, a couple of in-person meetings and most
      16· likely, getting -- we got his documents copied and created
      17· a card system, like that -- I don't know --
      18· · · · · · THE COURT REPORTER:· Created?
      19· · · · · · THE WITNESS:· Created a card company.
      20· BY MS. BOLGER:
      21· · · ·Q.· ·And Alex's due diligence was done because he was
      22· a big customer, right?
      23· · · ·A.· ·No, I don't know.
      24· · · ·Q.· ·Well, you just said it.· You just said that
      25· because of the size of -- I can't remember what your exact


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      ·1· words were, even the number of servers, the amount of
      ·2· money, that's why you believe Mr. Gubarev did that big
      ·3· diligence, is what you just said.· Right?
      ·4· · · · · · MR. FRAY-WITZER:· Objection.
      ·5· · · · · · THE WITNESS:· That's -- I believe, yes.
      ·6· BY MS. BOLGER:
      ·7· · · ·Q.· ·So he was a big customer?
      ·8· · · ·A.· ·I don't know.
      ·9· · · ·Q.· ·Is there a due diligence file on Mr. Zhukov at
      10· XBT?
      11· · · ·A.· ·I don't know.
      12· · · ·Q.· ·Was there any kind of internal investigation into
      13· how this was allowed to happen on XBT servers?
      14· · · · · · MR. FRAY-WITZER:· Objection.
      15· · · · · · You can answer.
      16· · · · · · THE WITNESS:· Yes.· To some sort -- some sort of
      17· · · ·investigation, yes.
      18· BY MS. BOLGER:
      19· · · ·Q.· ·And what was that?
      20· · · ·A.· ·We -- we oversee that if there was any abuse, if
      21· we may have received any request about his activities, and
      22· that's all.
      23· · · ·Q.· ·And were there abuse notifications about those IP
      24· addresses?
      25· · · ·A.· ·No, no.


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      ·1· · · ·Q.· ·Well that's -- that's not true.
      ·2· · · ·A.· ·It's true.
      ·3· · · ·Q.· ·Are you aware that you produced those
      ·4· notifications related to those IP addresses in this
      ·5· litigation?
      ·6· · · ·A.· ·No, no.
      ·7· · · ·Q.· ·Is it your position, as you sit here today, that
      ·8· XBT received no abuse notifications relevant to the
      ·9· Methbot fraud?
      10· · · ·A.· ·Yes.· To my knowledge, yes.
      11· · · · · · MR. FRAY-WITZER:· Objection.
      12· BY MS. BOLGER:
      13· · · ·Q.· ·Who else would know that?· Did you look?
      14· · · ·A.· ·Yeah, I believe we looked into that.
      15· · · ·Q.· ·Who looked?
      16· · · ·A.· ·I believe I looked.
      17· · · ·Q.· ·When?
      18· · · ·A.· ·At some time after this happens.
      19· · · ·Q.· ·So, sorry, it's your testimony, as you sit here
      20· today, under oath, that after you found out about the Meth
      21· report, you personally looked for abuse notifications
      22· related to the Methbot fraud and found none?
      23· · · ·A.· ·Yes.
      24· · · · · · MR. FRAY-WITZER:· Objection.
      25· BY MS. BOLGER:


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      ·1· · · ·Q.· ·Are you testifying that you found no abuse
      ·2· notifications related to that server -- sorry, that IP
      ·3· address during that time period?
      ·4· · · ·A.· ·Which IP address?
      ·5· · · ·Q.· ·The IP addresses used in the Methbot fraud.
      ·6· · · ·A.· ·To my knowledge, we have received no abuse
      ·7· notification about that.
      ·8· · · ·Q.· ·Right.
      ·9· · · · · · I'm trying to make a distinction.· I'm trying to
      10· understand you, because I think you're wrong.
      11· · · · · · Are you telling me that you received no abuse
      12· notifications relevant to those IP addresses used in the
      13· Methbot fraud while the Methbot fraud was being conducted?
      14· · · · · · MR. FRAY-WITZER:· Objection.
      15· · · · · · You can answer.
      16· · · · · · THE WITNESS:· To my knowledge, we received no
      17· · · ·notification about any activities from that customer.
      18· BY MS. BOLGER:
      19· · · ·Q.· ·Yeah, I can't tell if you're making distinctions.
      20· · · · · · Are you saying there were no abuse notifications,
      21· period, or that there were no abuse notifications that you
      22· think are relevant to the fraud?
      23· · · ·A.· ·There was no notifications I was able to find
      24· relevant to this customer.
      25· · · ·Q.· ·How did you look for the customer?


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      ·1· · · ·A.· ·By his contact e-mail address.
      ·2· · · ·Q.· ·So you didn't look for IP notifications based on
      ·3· the IP addresses in the White Ops report?
      ·4· · · ·A.· ·If we received -- no, no.
      ·5· · · ·Q.· ·Why not?
      ·6· · · ·A.· ·Because procedures we have.
      ·7· · · ·Q.· ·What does that mean?
      ·8· · · ·A.· ·This means, when we get abuse notification, we
      ·9· are sending request to the customer.· So if I don't have a
      10· request towards the customer, this means there is no
      11· incoming request.· So that's as simple as that.
      12· · · ·Q.· ·You don't get abuse notifications based on the
      13· name of your customer.· You get abuse notifications based
      14· on your IP address.
      15· · · · · · MR. FRAY-WITZER:· Objection.
      16· · · · · · THE WITNESS:· Yes.
      17· BY MS. BOLGER:
      18· · · ·Q.· ·Right?
      19· · · ·A.· ·Sometimes it's IP address, sometimes the domain
      20· names.· Yeah, we get abuse notifications.
      21· · · · · · THE COURT REPORTER:· Domain names?
      22· · · · · · THE WITNESS:· Domain names, yeah.
      23· BY MS. BOLGER:
      24· · · ·Q.· ·Right.
      25· · · · · · So if you wanted to find out if there were any


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      ·1· abuse notifications relevant to the Methbot fraud, as an
      ·2· internal investigation --
      ·3· · · ·A.· ·Yes.
      ·4· · · ·Q.· ·-- you are telling me you did not look at the IP
      ·5· addresses relevant to the Methbot fraud?
      ·6· · · ·A.· ·No.
      ·7· · · · · · MR. FRAY-WITZER:· Objection.
      ·8· BY MS. BOLGER:
      ·9· · · ·Q.· ·No, you're not telling me that, or no, you didn't
      10· look?
      11· · · ·A.· ·I didn't look.
      12· · · ·Q.· ·Did anybody else look?
      13· · · ·A.· ·I don't know.
      14· · · ·Q.· ·Who would know?
      15· · · ·A.· ·I don't know.
      16· · · ·Q.· ·Who would know?
      17· · · ·A.· ·I don't know.
      18· · · ·Q.· ·That's not -- that's impossible.· You're the CTO
      19· of a company whose servers were involved in a massive
      20· fraud.· If you didn't do the investigating, who else would
      21· have done the investigating?
      22· · · · · · MR. FRAY-WITZER:· Objection.
      23· · · · · · THE WITNESS:· I don't know.· I really don't know.
      24· BY MS. BOLGER:
      25· · · ·Q.· ·Doesn't it strike you as a little bit


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      ·1· irresponsible?
      ·2· · · · · · MR. FRAY-WITZER:· Objection.
      ·3· · · · · · THE WITNESS:· I don't know.
      ·4· BY MS. BOLGER:
      ·5· · · ·Q.· ·It's not irresponsible to not know who
      ·6· investigated a massive fraud, as the CTO of your company?
      ·7· · · · · · MR. FRAY-WITZER:· Objection.
      ·8· · · · · · THE WITNESS:· I did my best to investigate it.
      ·9· BY MS. BOLGER:
      10· · · ·Q.· ·What did you do, other than look up abuse
      11· notifications using your customer's name?
      12· · · · · · MR. FRAY-WITZER:· Objection.
      13· · · · · · THE WITNESS:· I've looked for my customer name.
      14· · · ·That's all.
      15· BY MS. BOLGER:
      16· · · ·Q.· ·That's the only investigation you did?
      17· · · ·A.· ·Yes.
      18· · · ·Q.· ·And did any --
      19· · · ·A.· ·No.· Actually, I looked in Google also.· Tried to
      20· Google if it was any appearances, but nothing else.· That
      21· was two things, yes.
      22· · · ·Q.· ·By name?
      23· · · ·A.· ·Not by name.
      24· · · ·Q.· ·What did you use in Google?
      25· · · ·A.· ·IP address, blocks of the IP addresses.


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      ·1· · · ·Q.· ·Okay.· What Google program did you do that in?
      ·2· · · ·A.· ·Google.· Just Google.
      ·3· · · ·Q.· ·Regular Google search?
      ·4· · · ·A.· ·Yes.
      ·5· · · ·Q.· ·Why would that turn up evidence of abuse on your
      ·6· servers?
      ·7· · · ·A.· ·Maybe someone else discovered this before.           I
      ·8· don't know.· I just looked what Internet knows about these
      ·9· IP addresses.
      10· · · ·Q.· ·Were you involved in discussions regarding how to
      11· manage the publicity from the White Ops report?
      12· · · ·A.· ·Not to my knowledge.
      13· · · ·Q.· ·Did you ever have any conversation with Charles
      14· Dolan about the White Ops report?
      15· · · ·A.· ·No.
      16· · · ·Q.· ·Are you aware that there came a time when your
      17· colleagues decided that it would be best to try to
      18· publically associate the Methbot fraud with Webzilla,
      19· rather than Servers.com?
      20· · · · · · MR. FRAY-WITZER:· Objection.
      21· · · · · · You can answer.
      22· · · · · · THE WITNESS:· I saw that documents, but that's
      23· · · ·only --
      24· · · · · · THE COURT REPORTER:· "That's only" --
      25· · · · · · THE WITNESS:· I saw the documents.


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      ·1· BY MS. BOLGER:
      ·2· · · ·Q.· ·When did you see the documents?
      ·3· · · ·A.· ·Like, recently.
      ·4· · · ·Q.· ·In preparation for the lawsuit?
      ·5· · · ·A.· ·I think so.
      ·6· · · ·Q.· ·Were you involved in those discussions at the
      ·7· time they were happening?
      ·8· · · ·A.· ·I don't remember.· Probably I wasn't in U.S., so
      ·9· I was not involved.
      10· · · ·Q.· ·Other than doing the investigation, as you just
      11· described it, were you involved in any other of the
      12· responses by XBT to the Methbot fraud?
      13· · · ·A.· ·Can you repeat your question?
      14· · · ·Q.· ·Sure.
      15· · · · · · Other than the investigation you described -- and
      16· I'm using that term loosely -- were you involved in any
      17· other response to the Methbot fraud?
      18· · · ·A.· ·Alleged Methbot fraud, yes.
      19· · · ·Q.· ·What's the answer?
      20· · · ·A.· ·Not to my knowledge.
      21· · · ·Q.· ·Did you all make any new policy -- any policy
      22· changes based on the Methbot fraud?
      23· · · ·A.· ·Absolutely.
      24· · · ·Q.· ·And what were those?
      25· · · ·A.· ·We -- we not allowing the customers -- we are


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      ·1· making hard time to the customers to bring their IP spaces
      ·2· to our network.
      ·3· · · ·Q.· ·Can you explain that to me?
      ·4· · · ·A.· ·Yes.· We are making additional due diligence on
      ·5· the reasons why the customer want to bring their IP space
      ·6· into our network.
      ·7· · · ·Q.· ·Okay.· What else?
      ·8· · · ·A.· ·That's all.
      ·9· · · ·Q.· ·How would that have prevented XBT's servers and
      10· XBT's IP addresses from being used to perpetrate an ad
      11· fraud?
      12· · · · · · MR. FRAY-WITZER:· Objection.
      13· · · · · · THE WITNESS:· I don't know.
      14· BY MS. BOLGER:
      15· · · ·Q.· ·Well, what was it designed to prevent, that
      16· remediation?
      17· · · ·A.· ·All we know is the customer used extensive IP
      18· addresses, which it brings to do alleged fraud.· So that's
      19· the only thing we know.· And we are protecting from this
      20· thing.· That's only thing, piece of thing we know, and we
      21· are protecting from this e-mail.· That's all.
      22· · · ·Q.· ·Is it your testimony that the fraudster, the
      23· alleged fraudster, used only his own IP addresses to
      24· perpetuate the fraud, or do you know that some of them
      25· were --


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      ·1· · · ·A.· ·Some of them were our company IP addresses.
      ·2· · · ·Q.· ·Okay.· So the change you made to not -- or make
      ·3· it more difficult for customers to bring their own IP
      ·4· addresses doesn't address the fact that the customer used
      ·5· your own IP addresses, correct?
      ·6· · · ·A.· ·That's correct.
      ·7· · · ·Q.· ·Okay.· Other than the change you just discussed,
      ·8· did you make any other changes in response to the Methbot
      ·9· fraud?
      10· · · ·A.· ·No.
      11· · · ·Q.· ·Would you describe that as a KYC change?
      12· · · ·A.· ·Yes.· We are asking customers to explain why they
      13· need to have own IP space in our network.· All of the
      14· reasons behind, all of the, like, technologists, they need
      15· to use that for, so that's all.
      16· · · ·Q.· ·Okay.· None of those changes would in any way
      17· make it harder for a customer to perpetrate some kind of
      18· fraud on your own IP addresses, right?
      19· · · ·A.· ·What kind of fraud?
      20· · · ·Q.· ·Any kind of fraud.
      21· · · ·A.· ·I don't know.
      22· · · ·Q.· ·Did you ever go back and vet existing clients
      23· based on these new rules, these new KYC rules?
      24· · · ·A.· ·Yes.
      25· · · ·Q.· ·Which ones?


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      ·1· · · ·A.· ·There was no other customers like that, having
      ·2· extent -- a lot of IP addresses, bring -- their only --
      ·3· · · · · · THE COURT REPORTER:· I'm sorry.· "Their only" --
      ·4· · · · · · THE WITNESS:· Their own IP addresses in our
      ·5· · · ·network.
      ·6· BY MS. BOLGER:
      ·7· · · ·Q.· ·You had no other customers that brought their own
      ·8· IP addresses to your network?
      ·9· · · ·A.· ·We had customers, but there was no customers who
      10· bring that amount of IP addresses.· And we asked, like --
      11· and there is no customers who have that amount of that IP
      12· address in our network.
      13· · · ·Q.· ·Because it's a big customer, right?
      14· · · ·A.· ·No.· I don't know.
      15· · · ·Q.· ·Did you block -- did you ever block the servers
      16· he used by updating that -- by updating its firewall after
      17· the Methbot report?
      18· · · ·A.· ·Which firewall?
      19· · · ·Q.· ·Did you ever update the firewall on the servers
      20· used by the alleged fraudster after he came to be known of
      21· the Methbot fraud?
      22· · · ·A.· ·We don't have access to those servers.· It was
      23· unmanaged.
      24· · · ·Q.· ·Did you ever identify any malware left behind by
      25· this allege fraudulent activity?


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      ·1· · · ·A.· ·Malware left behind where?
      ·2· · · ·Q.· ·On the servers, on the drives on the servers,
      ·3· that you preserved?
      ·4· · · ·A.· ·No, we have no such authority.
      ·5· · · ·Q.· ·What do you need authority for?
      ·6· · · · · · MR. FRAY-WITZER:· Objection.
      ·7· · · · · · THE WITNESS:· I mean, authority.· We don't have
      ·8· · · ·authority to look onto the customer's data.
      ·9· BY MS. BOLGER:
      10· · · ·Q.· ·From whom did you need authority, the guy who
      11· defrauded a bunch of people?· Is that who you're talking
      12· about?
      13· · · · · · MR. FRAY-WITZER:· Objection.
      14· · · · · · THE WITNESS:· No.· You're talking about alleged
      15· · · ·fraud.· That's right.
      16· BY MS. BOLGER:
      17· · · ·Q.· ·And you make no effort to try to isolate any
      18· malware on the drives that you maintained in Dallas?
      19· · · · · · MR. FRAY-WITZER:· Objection.
      20· · · · · · THE WITNESS:· We have no authority to do that.
      21· BY MS. BOLGER:
      22· · · ·Q.· ·Did you ever check any AV logs for malicious
      23· files that were found or scanned?
      24· · · ·A.· ·Where?
      25· · · ·Q.· ·On your servers.


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      ·1· · · ·A.· ·Can you be more specific?
      ·2· · · ·Q.· ·No.· I'm wondering if you searched for any -- any
      ·3· remnants of the fraud, any indicators of compromise after
      ·4· you shut down the -- his access to the servers and
      ·5· preserved the data?
      ·6· · · ·A.· ·On which servers?
      ·7· · · ·Q.· ·On your servers that you owned, or that you
      ·8· lease.
      ·9· · · · · · Did you ever look for any indicators of
      10· compromise related to the Methbot fraud?
      11· · · ·A.· ·It's important to clarify, on which servers.· On
      12· the customers' servers, or on the infrastructure servers?
      13· · · ·Q.· ·Both.
      14· · · ·A.· ·We don't do this on this infrastructure servers,
      15· and we don't do this on customer servers.
      16· · · ·Q.· ·Why was it so important to clarify if the answer
      17· was the same for both?
      18· · · ·A.· ·It --
      19· · · ·Q.· ·Because you don't want to answer the question?
      20· · · ·A.· ·No.
      21· · · ·Q.· ·Did you update any patches in response to the
      22· discovery of the Methbot fraud?
      23· · · ·A.· ·No.
      24· · · ·Q.· ·Did you update any security policies other than
      25· Know Your Own Customer -- the KYC policy, as a result of


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      ·1· the Methbot fraud?
      ·2· · · ·A.· ·No.
      ·3· · · ·Q.· ·Did you monitor your network traffic after the
      ·4· Methbot fraud to see if activity recommenced?
      ·5· · · ·A.· ·We are monitoring network at same capacity as
      ·6· before.
      ·7· · · ·Q.· ·Okay.· And you notified no governments or any --
      ·8· and no users about the fact that there had been this
      ·9· activity?
      10· · · ·A.· ·No.
      11· · · ·Q.· ·I'm going to ask you to take a look at
      12· Exhibit 15.
      13· · · ·(Exhibit No. 15 was marked for Identification.)
      14· BY MS. BOLGER:
      15· · · ·Q.· ·For the record, this is a document produced in
      16· this litigation bearing Bates Number PT1714.
      17· · · · · · Have you seen this before?
      18· · · ·A.· ·Let me read.
      19· · · ·Q.· ·Um-hmm.
      20· · · ·A.· ·No.
      21· · · ·Q.· ·Okay.· Do you know what this is?
      22· · · ·A.· ·It looks like an abuse notification.
      23· · · ·Q.· ·Okay.· And if you look at the -- the top of
      24· Page 1714, the first page, you'll see it's to
      25· abuse@AS5577.net.


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      ·1· · · · · · That says Root S.A., right?
      ·2· · · ·A.· ·Yes.
      ·3· · · ·Q.· ·Okay.· And if you read that first e-mail, it says
      ·4· "I'd to like report that" -- "I'd like to report that from
      ·5· that," and then gives an IP number, "that you are the
      ·6· owner, tried to hack to our tracking system."
      ·7· · · · · · Do you see that?
      ·8· · · ·A.· ·It's written here, yes.
      ·9· · · ·Q.· ·Okay.· So in other words, this person is alleging
      10· that that IP address is trying to hack their system.
      11· · · · · · Do you see that?
      12· · · ·A.· ·I don't know.
      13· · · ·Q.· ·What do you mean, you don't know?· Isn't that
      14· what it says?
      15· · · ·A.· ·I see the text, but I don't know what the person
      16· means.
      17· · · ·Q.· ·That's what it says, right?
      18· · · ·A.· ·It's the text here, yes.
      19· · · ·Q.· ·Right.
      20· · · · · · Well, again, words mean things, so that's what
      21· those words mean, right?
      22· · · · · · MR. FRAY-WITZER:· Objection.
      23· · · · · · THE WITNESS:· I don't know what the meaning of
      24· · · ·the person --
      25· BY MS. BOLGER:


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      ·1· · · ·Q.· ·What do you think "trying to hack" means?· Tried
      ·2· to hack?· Do you think that means they're -- think someone
      ·3· is trying to hack them?
      ·4· · · ·A.· ·It can be.
      ·5· · · ·Q.· ·Okay.· If you got this abuse alert, what would
      ·6· you think it said?
      ·7· · · · · · And you did get this abuse alert.· So when your
      ·8· company got this abuse alert, what do you think that
      ·9· conveyed to them?
      10· · · ·A.· ·It may mean scanning, it may mean hacking, it may
      11· mean anything else, like --
      12· · · ·Q.· ·Well, if it didn't mean "hack," why would they
      13· have used the word "hack"?
      14· · · · · · MR. FRAY-WITZER:· Objection.
      15· · · · · · THE WITNESS:· I don't know why they use word
      16· · · ·"hack."
      17· BY MS. BOLGER:
      18· · · ·Q.· ·And when you read the word "hack," what do you
      19· think that word means?
      20· · · ·A.· ·I don't know.
      21· · · ·Q.· ·You don't know what the word "hack" means?
      22· · · ·A.· ·No, I don't know what the word "hack" means.
      23· · · ·Q.· ·You don't know what the word "hack" means?
      24· · · ·A.· ·No.
      25· · · ·Q.· ·You're the CTO of a technology company, and


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      ·1· you're telling me that you don't know what the word "hack"
      ·2· means?
      ·3· · · ·A.· ·Yes.
      ·4· · · ·Q.· ·Under oath?
      ·5· · · ·A.· ·Yes.
      ·6· · · ·Q.· ·That's preposterous, do you understand that?
      ·7· · · · · · MR. FRAY-WITZER:· Objection.
      ·8· BY MS. BOLGER:
      ·9· · · ·Q.· ·Okay.
      10· · · ·A.· ·It's context again --
      11· · · · · · MR. FRAY-WITZER:· Objection.
      12· · · · · · There's no question.
      13· BY MS. BOLGER:
      14· · · ·Q.· ·No.· There's no context.
      15· · · · · · I'm asking you what the word "hack" means, and
      16· you are telling me you do not know, correct?
      17· · · ·A.· ·Yes.
      18· · · ·Q.· ·Okay.· If you'll see down that this person who
      19· was doing this thing that you can't possibly know what it
      20· is, is again, you send another e-mail to King Servers.
      21· · · · · · Do you see that?
      22· · · ·A.· ·Yes, I see it.
      23· · · ·Q.· ·Okay.· And King Servers responds.· And you'll see
      24· that's the same response you got to the other abuse
      25· notifications, right?


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      ·1· · · ·A.· ·It look like the same, yeah.
      ·2· · · ·Q.· ·Okay.· Can you tell from this e-mail exchange
      ·3· what, if anything, XBT did in response to that e-mail?
      ·4· · · ·A.· ·We reached out to the customer.
      ·5· · · ·Q.· ·To King Servers, right.
      ·6· · · · · · And then you got that response.
      ·7· · · ·A.· ·Yes, yes.· Wait, we reached back to the customer.
      ·8· · · ·Q.· ·I'm sorry.
      ·9· · · · · · After you got the response from King Servers that
      10· says the same thing as the other abuse report, what did
      11· you all do next?
      12· · · ·A.· ·We replied to the requester of this.
      13· · · ·Q.· ·Where?· Where is that shown?
      14· · · ·A.· ·I don't see it here.· That --
      15· · · ·Q.· ·Do you know what actions were taken?
      16· · · ·A.· ·Yeah.· We reached out to the customer.
      17· · · ·Q.· ·And then once you got the answer from King
      18· Services, you all closed the ticket?
      19· · · ·A.· ·I'm not sure -- from here, it looks like yes, but
      20· I'm not sure what happens.· There is some references --
      21· · · ·Q.· ·You didn't -- there's nothing in here that
      22· indicates you disabled that IP address, right?
      23· · · ·A.· ·Yeah.· We got the response from the customer.· He
      24· disabled this IP address.
      25· · · ·Q.· ·No, he disabled his user.


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      ·1· · · · · · I'm asking you a different question.
      ·2· · · ·A.· ·No.
      ·3· · · ·Q.· ·I'm saying, did XBT disable that IP address?
      ·4· · · ·A.· ·No.
      ·5· · · ·Q.· ·I know you don't know what the word "hack" means,
      ·6· but why don't you try to tell me everything you know about
      ·7· the hack of the DNC?
      ·8· · · ·A.· ·I don't know anything about hack of DNC.
      ·9· · · ·Q.· ·Is that because you don't believe there was a
      10· hack of the Democratic National Committee?
      11· · · ·A.· ·No, I just don't know anything about that --
      12· don't know anything about that.
      13· · · ·Q.· ·What does -- what do news reports say about the
      14· hack of the Democratic National Convention -- Committee?
      15· · · · · · MR. FRAY-WITZER:· Objection.
      16· · · · · · THE WITNESS:· Which news report are you referring
      17· · · ·to?
      18· BY MS. BOLGER:
      19· · · ·Q.· ·Any single news report.
      20· · · · · · What is American common knowledge about the
      21· allegations regarding the hack of the Democratic National
      22· Committee?
      23· · · · · · MR. FRAY-WITZER:· Objection.
      24· · · · · · Do you know what American common knowledge is?
      25· · · · · · THE WITNESS:· I don't know what American common


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      ·1· · · ·knowledge --
      ·2· BY MS. BOLGER:
      ·3· · · ·Q.· ·No, you also don't know what a hack is, so I
      ·4· understand that this a very hard question for a CTO of a
      ·5· technology company.
      ·6· · · · · · What do you know, from your reading generally,
      ·7· happened to the IT system of the Democratic National
      ·8· Committee leading up to the election of 2016?
      ·9· · · · · · MR. FRAY-WITZER:· Objection.
      10· · · · · · THE WITNESS:· I don't know.
      11· BY MS. BOLGER:
      12· · · ·Q.· ·It's your position, as you sit here, that you
      13· have never heard that Republicans -- sorry.· That was a
      14· Freudian slip.
      15· · · · · · That Russian State actors hacked the Democratic
      16· National Committee?· No one's ever said that to you
      17· before?
      18· · · · · · MR. FRAY-WITZER:· Objection, objection.
      19· · · · · · THE WITNESS:· I read it from news.
      20· BY MS. BOLGER:
      21· · · ·Q.· ·Okay.· What else have you read in the news about
      22· it?
      23· · · ·A.· ·I don't remember.
      24· · · ·Q.· ·You're really going to stick with you don't
      25· remember anything about the Democratic National Committee,


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      ·1· as you're -- hack of the Democratic National Committee, as
      ·2· your testimony under oath?· That's what you're saying
      ·3· under oath?
      ·4· · · · · · MR. FRAY-WITZER:· Objection.
      ·5· BY MS. BOLGER:
      ·6· · · ·Q.· ·Do you know, for example, that it was a
      ·7· spear-phishing attack?
      ·8· · · ·A.· ·No.
      ·9· · · ·Q.· ·Do you know who Guccifer is?
      10· · · ·A.· ·No.
      11· · · ·Q.· ·Do you know the name John Podesta?
      12· · · ·A.· ·Yes.
      13· · · ·Q.· ·What do you know about John Podesta?
      14· · · ·A.· ·He's some guy related to some party in U.S.
      15· · · ·Q.· ·What?
      16· · · ·A.· ·He's -- that's a name of the person who is
      17· related to some U.S. party.
      18· · · ·Q.· ·I thought you said "park," and I was very
      19· confused.
      20· · · ·A.· ·Party.· No, party, party.
      21· · · ·Q.· ·Okay.· So you say you don't know who Guccifer is?
      22· · · ·A.· ·No.
      23· · · ·Q.· ·Okay.· Do you know what AS-28 is?
      24· · · ·A.· ·AS?
      25· · · ·Q.· ·28?


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      ·1· · · ·A.· ·AS-28, no.
      ·2· · · ·Q.· ·Do you know what the Grizzly Steppe Report is?
      ·3· · · ·A.· ·Yes.
      ·4· · · ·Q.· ·What is the Grizzly Steppe Report?
      ·5· · · ·A.· ·That was report from Guy Ches, if I remember
      ·6· correctly, regarding the -- some malicious activity
      ·7· targeting various U.S. organizations.
      ·8· · · ·Q.· ·And when did you come to know of the Grizzly
      ·9· Steppe Report?
      10· · · ·A.· ·Somewhere mid 2017.
      11· · · ·Q.· ·Somewhere mid 2017?
      12· · · ·A.· ·Somewhere mid 2017, yes.
      13· · · ·Q.· ·And what did you come know about the Grizzly
      14· Steppe Report?
      15· · · ·A.· ·Can you explain the question?· What do you mean?
      16· · · · · · (Discussion off the record between witness and
      17· interpreter.)
      18· · · ·Q.· ·What do you know about the Grizzly Steppe Report?
      19· · · · · · (Discussion off the record between witness and
      20· interpreter.)
      21· · · · · · THE WITNESS:· Oh, that's clear.· No.· That's -- I
      22· know that there was some suspicious, malicious activity
      23· targeting various U.S. organizations, and there was --
      24· some Root S.A. IP addresses was in the report.
      25· BY MS. BOLGER:


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      ·1· · · ·Q.· ·Who told you about the Grizzly Steppe Report?
      ·2· · · ·A.· ·We discussed that before.
      ·3· · · ·Q.· ·Before your conversations with your attorneys,
      ·4· had you ever heard of the Grizzly Steppe Report?
      ·5· · · ·A.· ·No.
      ·6· · · ·Q.· ·What is the alleged defamatory allegation that
      ·7· forms the basis of this lawsuit?
      ·8· · · ·A.· ·Can you explain what is --
      ·9· · · ·Q.· ·I'm asking you to.
      10· · · · · · Your company is suing Buzzfeed, right?
      11· · · ·A.· ·Yes.
      12· · · ·Q.· ·For quite literally hundreds of millions of
      13· dollars, right?
      14· · · ·A.· ·Yes.
      15· · · ·Q.· ·Okay.· What is the thing that you think Buzzfeed
      16· said about you all that causes this lawsuit?
      17· · · ·A.· ·They say -- they lie -- lie about us.
      18· · · ·Q.· ·What do they say?
      19· · · ·A.· ·That's Aleksej Gubarev and XBT Webzilla hacked
      20· Democratic National Committee.
      21· · · ·Q.· ·That's the central defamatory allegation in the
      22· complaint, right?· That's what you claim caused you
      23· hundreds of millions of dollars of damage, right?
      24· · · · · · MR. FRAY-WITZER:· Objection.
      25· · · · · · You can answer.


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      ·1· · · · · · THE WITNESS:· That's what I say.
      ·2· BY MS. BOLGER:
      ·3· · · ·Q.· ·Okay.· But even though you're seeking hundreds of
      ·4· millions of dollars in damages, you never asked around
      ·5· about the hack of the DNC?
      ·6· · · · · · MR. FRAY-WITZER:· Objection.
      ·7· · · · · · THE WITNESS:· I didn't say that.
      ·8· BY MS. BOLGER:
      ·9· · · ·Q.· ·Well, you told me you didn't know anything about
      10· it.
      11· · · ·A.· ·You didn't ask me about -- you asked, have I
      12· heard about this?· Yes, I heard.· I read from the
      13· newspapers.· I heard this, yes.
      14· · · ·Q.· ·Tell me everything you know about the hack of the
      15· DNC.
      16· · · · · · MR. FRAY-WITZER:· Objection.
      17· · · · · · You can answer.
      18· · · · · · THE WITNESS:· Everything I know about the hack of
      19· · · ·the DNC?
      20· BY MS. BOLGER:
      21· · · ·Q.· ·Yes.
      22· · · ·A.· ·Alleged hack of DNC.
      23· · · ·Q.· ·Tell me everything you know about it.
      24· · · ·A.· ·There was -- the DNC says they were hacked, and
      25· their e-mails were leaked, and they have one company named


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      ·1· CrowdStrike who assessed their servers and found that it
      ·2· was hacked by some Russians.
      ·3· · · ·Q.· ·What else do you know?
      ·4· · · ·A.· ·I don't know.· That's probably all.
      ·5· · · ·Q.· ·But you never read the Grizzly Steppe Report
      ·6· before 2017?
      ·7· · · ·A.· ·Never.
      ·8· · · ·Q.· ·Had you heard of the Grizzly Steppe Report before
      ·9· 2017?
      10· · · ·A.· ·No.
      11· · · ·Q.· ·Okay.· I'm going to ask you to take a look at the
      12· Grizzly Steppe Report.
      13· · · · · · I'm handing you Defendant's Exhibit 16, which is
      14· the Grizzly Steppe Report.
      15· · · ·(Exhibit No. 16 was marked for Identification.)
      16· BY MS. BOLGER:
      17· · · ·Q.· ·And you have read this, yes?
      18· · · ·A.· ·It looks like that document I read, yes.
      19· · · ·Q.· ·Okay.· Which you read for the first time after --
      20· I was wrong about AS-29 and AS-28.· I apologize.
      21· · · · · · They're APT29, right?
      22· · · ·A.· ·Yes.
      23· · · ·Q.· ·Have you heard of APT29?
      24· · · ·A.· ·Well, from the report probably, or from the
      25· hacking of the Democratic National Committee.


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      ·1· · · ·Q.· ·Okay.· Do you remember, like, five minutes ago,
      ·2· you told me nothing?
      ·3· · · ·A.· ·I --
      ·4· · · ·Q.· ·That you knew nothing -- you knew nothing about
      ·5· the hack of the Democratic National Committee.· That's how
      ·6· you started.
      ·7· · · · · · First, you started with, you didn't know what the
      ·8· word "hack" meant.· Then, you started with, you didn't
      ·9· know anything about the hack of the Democratic National
      10· Committee.
      11· · · ·A.· ·No.
      12· · · ·Q.· ·And now, you do know who APT28 and 29 are?
      13· · · ·A.· ·No.
      14· · · ·Q.· ·So who are APT29?
      15· · · · · · MR. FRAY-WITZER:· Objection.
      16· · · · · · THE WITNESS:· I don't know.
      17· BY MS. BOLGER:
      18· · · ·Q.· ·You don't know who APT29 is?
      19· · · ·A.· ·No.
      20· · · ·Q.· ·You forgot from 30 seconds ago?
      21· · · ·A.· ·I never forgot.
      22· · · ·Q.· ·Who's APT28?
      23· · · ·A.· ·I don't know.
      24· · · · · · MR. FRAY-WITZER:· Objection.
      25· BY MS. BOLGER:


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      ·1· · · ·Q.· ·Okay.· After you read this report and were told
      ·2· that, as is the case, 13 addresses associated with Root
      ·3· S.A. were in this report, what did you do?
      ·4· · · ·A.· ·I have contacted CEO of Root S.A., Marc
      ·5· Goederich.
      ·6· · · ·Q.· ·How did you react when you heard that 13 IP
      ·7· addresses from Root S.A. were listed on the Grizzly Steppe
      ·8· Report?
      ·9· · · · · · MR. FRAY-WITZER:· Objection.
      10· · · · · · THE WITNESS:· How I'd react?
      11· BY MS. BOLGER:
      12· · · ·Q.· ·How did you react?
      13· · · ·A.· ·Well, I was quite angry.
      14· · · ·Q.· ·Angry.· Why angry?
      15· · · ·A.· ·Because that -- Marc knows about this report and
      16· he didn't tell us.
      17· · · ·Q.· ·No, before you talked to Marc.
      18· · · ·A.· ·Before I talked to Marc --
      19· · · ·Q.· ·Before you talked to Marc, when you first heard
      20· about it --
      21· · · ·A.· ·I was --
      22· · · ·Q.· ·I understand it's from your lawyers, and I don't
      23· want to know about the conversations.
      24· · · ·A.· ·Yeah.
      25· · · ·Q.· ·I want to know how you reacted to the news.


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      ·1· · · ·A.· ·I was -- I was surprised.
      ·2· · · ·Q.· ·Were you concerned?
      ·3· · · ·A.· ·Yes.
      ·4· · · ·Q.· ·Okay.· What were you concerned about?
      ·5· · · ·A.· ·That there's our IPs on this report.
      ·6· · · ·Q.· ·Why were you concerned?
      ·7· · · ·A.· ·Because this report says that these IPs have
      ·8· malicious activities against various organizations in the
      ·9· U.S.· It's pretty concerning.
      10· · · ·Q.· ·Right.
      11· · · · · · So you reached out to Marc Goederich.
      12· · · · · · I'm going to hand you something marked
      13· Defendant's Exhibit 17.
      14· · · · · · Take a look at it.· It's just a few pages.
      15· · · · · · (Exhibit 17 was marked for Identification.)
      16· BY MS. BOLGER:
      17· · · ·Q.· ·For the record, this is an e-mail exchange marked
      18· PT08.
      19· · · · · · And you'll see, starting from the bottom to the
      20· top, it's -- the first is an e-mail from you,
      21· Mr. Bezruchenko, to Mr. Goederich, dated September 6,
      22· 2017, saying "Can you let me know if there's any request
      23· in the years 25 through 2016, from local police, other EU,
      24· U.S. law enforcement agencies regarding the following
      25· IPs."


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      ·1· · · · · · And then you -- you list the IPs.
      ·2· · · · · · These are the IPs in Grizzly Steppe, right?
      ·3· · · ·A.· ·Yes.
      ·4· · · ·Q.· ·Okay.· And it says "I'm wondering if someone had
      ·5· visited data center to gain access to those servers, copy
      ·6· data, and install any wiretap devices to listen to
      ·7· Internet data towards this servers, et cetera."
      ·8· · · · · · Do you see that?
      ·9· · · ·A.· ·Yes.
      10· · · ·Q.· ·Why were you wondering that?
      11· · · ·A.· ·Because I know if -- I would like to know if
      12· there's any illegal proceedings going on against this IP
      13· addresses.
      14· · · ·Q.· ·Okay.· So you're asking him to specifically look
      15· into law enforcement requests, but not to investigate the
      16· activity on the IP addresses themselves, right?
      17· · · ·A.· ·I believe I requested this later, during the
      18· conversation later.
      19· · · ·Q.· ·But it's not this in e-mail, right?
      20· · · ·A.· ·Not in this e-mail.
      21· · · ·Q.· ·So the very first thing when do you hear about
      22· these e-mail addresses -- the listing of these IP
      23· addresses on the Grizzly Steppe Report, is reach out to
      24· Mr. Goederich and say, "Hey, have we heard from law
      25· enforcement."· Right?


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      ·1· · · · · · MR. FRAY-WITZER:· Objection.
      ·2· · · · · · You can answer.
      ·3· · · · · · THE WITNESS:· Yes.
      ·4· BY MS. BOLGER:
      ·5· · · ·Q.· ·Okay.· So he responds, "Is this about the court
      ·6· case against Buzzfeed?"
      ·7· · · · · · And then he says, "The request I found on my
      ·8· e-mails was just an inquiry from our local secret police.
      ·9· I believe it was from the IPs on the same as DHS list.             A
      10· quick look at the traffic stats of the IPs revealed that
      11· those IPs were either part of the Tor network or used as
      12· proxy VPN services.· This Secret Service was not
      13· interested to get more information."
      14· · · · · · And then it goes -- you say, "If you enter those
      15· IPs in Google, you should still be able see which IPs were
      16· part of Tor."
      17· · · · · · Do you see that?
      18· · · ·A.· ·Yes.
      19· · · ·Q.· ·So he's telling you to Google it, right?
      20· · · ·A.· ·Yes.
      21· · · ·Q.· ·Okay.· Can you tell me what it means, for the
      22· record, that those IP addresses were either part of the
      23· Tor network or used as proxy VPN service?
      24· · · ·A.· ·I can -- so what I think, not what Marc wrote?
      25· · · ·Q.· ·Well, those words have meaning.


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      ·1· · · · · · What do they mean?· What does it mean to be part
      ·2· of a Tor network?· What does it mean to be used as a proxy
      ·3· VPN service?
      ·4· · · · · · I know your attorney has told you not to adopt
      ·5· the reasoning of the e-mail, but I'm not telling you that.
      ·6· · · · · · I'm telling you, English words have meaning.
      ·7· What do they mean?
      ·8· · · · · · MR. FRAY-WITZER:· Objection.· And, in fact, the
      ·9· · · ·question is so bad, including assumptions about what
      10· · · ·the attorneys said, that I'm going to ask you to
      11· · · ·rephrase it.
      12· BY MS. BOLGER:
      13· · · ·Q.· ·And I'm going to deny it.
      14· · · · · · Read the question -- answer my question.
      15· · · · · · What do the words mean?
      16· · · ·A.· ·My meaning of these words?
      17· · · ·Q.· ·What do the words mean?· What do the words, "It's
      18· part of the Tor network" mean?
      19· · · ·A.· ·This means that these IPs is part of Tor network.
      20· · · ·Q.· ·And what does that mean?
      21· · · ·A.· ·They are in the -- they're part of the Tor
      22· network.· That's what exactly this means.
      23· · · ·Q.· ·What is the Tor network?
      24· · · ·A.· ·It's called -- onion router.· It's anonymous
      25· network.


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      ·1· · · ·Q.· ·Okay.· And what does it mean to be used as a
      ·2· proxy VPN service?
      ·3· · · ·A.· ·It means there is a VPN service on this IPs.
      ·4· · · ·Q.· ·And what is a VPN service?
      ·5· · · ·A.· ·Virtual private network service.
      ·6· · · ·Q.· ·And what is a virtual private network service?
      ·7· · · ·A.· ·It's the service -- it's a VPN, self-describing.
      ·8· I can't describe it further.
      ·9· · · ·Q.· ·Try.· What is a virtual private network?
      10· · · · · · If you need to explain the website to a jury, who
      11· is going to see this tape, what would you say?
      12· · · · · · MR. FRAY-WITZER:· Objection.
      13· · · · · · THE WITNESS:· It's software to connect, which
      14· · · ·someone can connect remotely and, like, get access to
      15· · · ·the Internet services.
      16· BY MS. BOLGER:
      17· · · ·Q.· ·And when you read this sentence, what did it
      18· communicate to you?· What did you understand it to mean?
      19· · · ·A.· ·That this -- this IP was part of the Tor network
      20· or VPN service.
      21· · · ·Q.· ·And what does that mean?
      22· · · ·A.· ·That there was Tor or VPN, like, you used on this
      23· services, which is used by these IP addresses.
      24· · · ·Q.· ·And what, practically, does that mean about the
      25· use on this IP network?


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      ·1· · · ·A.· ·I don't know.
      ·2· · · ·Q.· ·Does it mean that you can't trace it?· Is that
      ·3· what it means?
      ·4· · · ·A.· ·No.
      ·5· · · ·Q.· ·What does it mean?
      ·6· · · ·A.· ·It means that the IP address uses for Tor and
      ·7· VPN.· There is no other meaning --
      ·8· · · ·Q.· ·You'll agree with me that Mr. Goederich is
      ·9· suggesting that somehow you shouldn't have to worry about
      10· these IP addresses because they were part of the Tor
      11· network or proxies or VPN network services, right?
      12· · · · · · MR. FRAY-WITZER:· Objection.
      13· · · · · · THE WITNESS:· No.
      14· BY MS. BOLGER:
      15· · · ·Q.· ·Well, he's suggesting that that's what made the
      16· Secret Service go away.
      17· · · · · · Do you understand why that would be?
      18· · · ·A.· ·I don't know.· I never talked to Secret Service.
      19· · · ·Q.· ·Did you talk to Mr. Goederich about it?
      20· · · ·A.· ·Yes.
      21· · · ·Q.· ·What did you talk about?
      22· · · ·A.· ·About this situation.
      23· · · ·Q.· ·What did you say?
      24· · · ·A.· ·Why he didn't report it back to us.
      25· · · ·Q.· ·What did he say back to you?


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      ·1· · · ·A.· ·That he believed as Secret Service is not
      ·2· interested, it's not important.
      ·3· · · ·Q.· ·And what did you say in response to that?
      ·4· · · ·A.· ·I'm not sure if I can use this word.
      ·5· · · ·Q.· ·I'd like to know what it was.
      ·6· · · ·A.· ·I said he is a jerk.
      ·7· · · ·Q.· ·That's your -- that's the worst word you called
      ·8· him?
      ·9· · · ·A.· ·Yes.· I called him a jerk, yes.
      10· · · ·Q.· ·Okay.· And what else did you say?
      11· · · ·A.· ·Like, that he should report it to us anyway.
      12· That his understanding if it's important or not is not
      13· important; that he should report these cases to us anyway.
      14· · · ·Q.· ·That the Buzzfeed case was important to you, and
      15· he should have told you?
      16· · · ·A.· ·No, the DHS report was important.
      17· · · ·Q.· ·And what did he say in response?
      18· · · ·A.· ·I don't remember.
      19· · · ·Q.· ·Did you ask him who the customers were?
      20· · · ·A.· ·Yes.
      21· · · ·Q.· ·And who were they?
      22· · · ·A.· ·There was various persons, organizations.           I
      23· don't remember.
      24· · · ·Q.· ·You don't remember the names of the customers who
      25· were listed on the DHS Grizzly Steppe Report?


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      ·1· · · · · · MR. FRAY-WITZER:· Objection.
      ·2· · · · · · THE WITNESS:· I don't think there is any
      ·3· · · ·customers listed on the DHS report.
      ·4· BY MS. BOLGER:
      ·5· · · ·Q.· ·The IP addresses of your customers were listed on
      ·6· the DHS report.
      ·7· · · ·A.· ·I don't remember the customer names.
      ·8· · · ·Q.· ·They don't seem important to you?
      ·9· · · · · · MR. FRAY-WITZER:· Objection.
      10· · · · · · THE WITNESS:· They do.
      11· BY MS. BOLGER:
      12· · · ·Q.· ·What happened to those 13 IP addresses?
      13· · · ·A.· ·We decided to disable all of the Tor networks in
      14· the whole XBT network.
      15· · · ·Q.· ·Why?
      16· · · ·A.· ·Because the Tor had high potential for abuse.
      17· · · ·Q.· ·Why does Tor have high potential for abuse?
      18· · · ·A.· ·Because it's anonymous service.
      19· · · ·Q.· ·Okay.· And so, how many of -- sorry.
      20· · · · · · How many of those 13 IP addresses were Tor nodes?
      21· · · ·A.· ·I don't remember exactly.
      22· · · ·Q.· ·Where you able to trace the customers for all 13
      23· of the IP addresses that were named in the Grizzly Steppe
      24· Report?
      25· · · ·A.· ·Yes.


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      ·1· · · ·Q.· ·Did you shut down the -- any of those 13
      ·2· customers?
      ·3· · · ·A.· ·The Tor networks for sure.
      ·4· · · ·Q.· ·That's not my question.
      ·5· · · · · · Did you shut down any of those 13 customers?
      ·6· · · ·A.· ·Yes.
      ·7· · · ·Q.· ·The customers, not their ability to access Tor.
      ·8· · · ·A.· ·Yes, yes.
      ·9· · · ·Q.· ·You shut down the customers?
      10· · · ·A.· ·Yes.
      11· · · ·Q.· ·How many?
      12· · · ·A.· ·I don't remember.
      13· · · ·Q.· ·All of them?
      14· · · ·A.· ·No.
      15· · · ·Q.· ·Okay.· After you got this response that we just
      16· read from Mr. Goederich, what do you next?
      17· · · ·A.· ·I believe I requested him to collect all of the
      18· information about the customers, all of the information
      19· they have about the customers.
      20· · · ·Q.· ·Did you do that by telephone?
      21· · · ·A.· ·I believe I wrote him an e-mail.
      22· · · ·Q.· ·How many conversations did you have with Mr.
      23· Goederich about this?
      24· · · ·A.· ·I don't remember.
      25· · · ·Q.· ·Was it more than two?


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      ·1· · · ·A.· ·More than two, I believe.
      ·2· · · ·Q.· ·Less than ten?
      ·3· · · ·A.· ·Less than five.
      ·4· · · ·Q.· ·Did you ever fire him?
      ·5· · · ·A.· ·No.
      ·6· · · ·Q.· ·Did you think about firing him?
      ·7· · · ·A.· ·No.
      ·8· · · ·Q.· ·Why not?
      ·9· · · ·A.· ·Well, I don't know.
      10· · · ·Q.· ·I mean, you got contacted by the Secret Service
      11· in a country and he didn't let you know.· It seems like a
      12· pretty big deviation from his responsibilities, doesn't
      13· it?
      14· · · · · · MR. FRAY-WITZER:· Objection.
      15· · · · · · You can answer.
      16· · · · · · THE WITNESS:· I don't know.
      17· BY MS. BOLGER:
      18· · · ·Q.· ·I'm going to show you a document that we're going
      19· to mark as Defendant's 18.
      20· · · ·(Exhibit No. 18 was marked for Identification.)
      21· BY MS. BOLGER:
      22· · · ·Q.· ·You know that the Grizzly Steppe Report is
      23· partially DHS, Department of Homeland Security, and
      24· partly, the FBI, right?· It was a joint report?
      25· · · ·A.· ·I didn't know the DHS, the part of the FBI, but I


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      ·1· know it's the Department of Homeland Security.
      ·2· · · ·Q.· ·Did you ever reach to the Department of Homeland
      ·3· Security or the FBI?
      ·4· · · ·A.· ·Did I?
      ·5· · · ·Q.· ·Did you ever reach out to the Department of
      ·6· Homeland Security or the FBI?
      ·7· · · ·A.· ·Did I --
      ·8· · · ·Q.· ·Did you ever contact the --
      ·9· · · ·A.· ·Regarding?
      10· · · ·Q.· ·-- Department of Homeland Security or the FBI
      11· regarding your investigation into these 13 IP addresses?
      12· · · ·A.· ·No.
      13· · · ·Q.· ·Why not?
      14· · · ·A.· ·Because they are -- looks like the Secret Service
      15· was not interested about that.
      16· · · ·Q.· ·What does that have to do with the FBI?· It
      17· wasn't Luxembourg that was being hacked, right?· It was
      18· the FBI.· It was the United States of America.
      19· · · ·A.· ·Because United States of America, if they will
      20· contact Luxembourg service first, and then they contact
      21· us.
      22· · · ·Q.· ·So you're an expert on law enforcement, but you
      23· don't know what "hacking" means, right?
      24· · · · · · MR. FRAY-WITZER:· Objection.
      25· · · · · · THE WITNESS:· I don't know this is how it works.


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      ·1· · · · · · MR. FRAY-WITZER:· Objection.
      ·2· BY MS. BOLGER:
      ·3· · · ·Q.· ·Okay.· On your website, you have a legal standard
      ·4· that says "Webzilla will fully cooperate with law
      ·5· enforcement authorities in investigating suspected
      ·6· lawbreakers and reserves the right to report to law
      ·7· enforcement any suspected illegal activity it becomes
      ·8· aware of."
      ·9· · · · · · Do you know that that's in your terms?
      10· · · ·A.· ·I see the terms are here --
      11· · · ·Q.· ·It's in -- it's a document marked Mishra 2.
      12· · · · · · And on Page 19, if you look at the Bates numbers
      13· on the bottom, paragraph 1.6.
      14· · · ·A.· ·Yes.
      15· · · ·Q.· ·Do you see that?
      16· · · ·A.· ·Yes.
      17· · · ·Q.· ·So it says in your legal terms that you published
      18· to the world, you say that you reserve right to report to
      19· law enforcement any suspected illegal activity it becomes
      20· aware of."
      21· · · · · · Do you see that?
      22· · · ·A.· ·Yes.
      23· · · ·Q.· ·But you didn't report Methbot?
      24· · · ·A.· ·I contacted our attorney.
      25· · · ·Q.· ·You didn't report Methbot to the authorities?


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      ·1· · · ·A.· ·No.
      ·2· · · ·Q.· ·And you didn't report your 13 IP addresses to
      ·3· the --
      ·4· · · ·A.· ·I contacted our attorney, but never report.
      ·5· · · ·Q.· ·You didn't report it to law enforcement?
      ·6· · · ·A.· ·No.
      ·7· · · ·Q.· ·Okay.· Please look at -- sorry.· I have a
      ·8· different number.· 18.
      ·9· · · · · · Okay.· This is the e-mail from Mr. Goederich to
      10· Mr. Gubarev and to you, dated September 6, 2017, in which
      11· he details what he considers his investigation into these
      12· 13 IP address, correct?
      13· · · ·A.· ·It says a --
      14· · · · · · THE COURT REPORTER:· It says what?
      15· · · · · · THE WITNESS:· It says a quick overview, yes.
      16· · · · · · MR. FRAY-WITZER:· Quick overview.
      17· · · · · · THE WITNESS:· Yeah.· So it's part of the
      18· · · ·investigation, probably.
      19· BY MS. BOLGER:
      20· · · ·Q.· ·Okay.· I want to actually start with "Here's a
      21· quick overview."
      22· · · · · · It says "Here's a quick overview of the IP
      23· addresses with comments.· As you can see, they tend, to a
      24· large extent, be identified as anonymizer services.· Even
      25· with information publically available on the Internet


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      ·1· today, whatever journalists you used to verify the
      ·2· information, Kseniya is doing in more detail, as she has
      ·3· all of the abuse communications."
      ·4· · · · · · Do you see that?
      ·5· · · ·A.· ·Yes.
      ·6· · · ·Q.· ·Okay.· So what that did you understand Mr.
      ·7· Goederich to be communicating to you when he said that
      ·8· these can be identified as anonymizer services?· What did
      ·9· that mean to you?
      10· · · ·A.· ·Probably this referenced to his privacy e-mail,
      11· when he says it's a Tor or VPN, and he found it in Google.
      12· · · ·Q.· ·And is the point of telling you that it's -- is
      13· the point of your knowing that it's an anonymizer service
      14· to communicate that you all didn't know what was happening
      15· on it?· Is that the point of saying it's an anonymizer
      16· service?
      17· · · · · · MR. FRAY-WITZER:· Objection.
      18· · · · · · THE WITNESS:· I don't know what his point.
      19· BY MS. BOLGER:
      20· · · ·Q.· ·Well, I didn't really ask what his point was.
      21· I'm wondering what you took away from that.
      22· · · · · · What -- what did that mean to you about this
      23· investigation?· Why is it relevant that it was an
      24· anonymizer service?
      25· · · ·A.· ·This means that service is high potential for


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      ·1· abuse.
      ·2· · · ·Q.· ·Okay.· So you will see that it goes through each
      ·3· of the IPs, and I'll just -- the first one, which starts
      ·4· 212.117.180.130, has couple of hacking attempt abuses.
      ·5· · · · · · Do you see that?
      ·6· · · ·A.· ·Yes.
      ·7· · · ·Q.· ·Then the next one, which is 212.117.180.21, has
      ·8· an informal police request and a hacking attempt abuse,
      ·9· right?
      10· · · ·A.· ·Yes.
      11· · · ·Q.· ·Okay.· Then the next one has -- starts 94 and
      12· ends with 186 had 40 abuses in early 2016.
      13· · · · · · Do you see that?
      14· · · ·A.· ·Yes.
      15· · · ·Q.· ·Okay.· Then if you go down a couple more, it says
      16· there's one that's 94 and it ends with 162.· And it's --
      17· looks -- VPN provider, the address is
      18· secretlineservice@gmail.com.· And it says that it's around
      19· 200 abuses for 2006 to 2017.
      20· · · · · · Do you see that?
      21· · · ·A.· ·Yes.
      22· · · ·Q.· ·When you got that -- that's a lot.· Each of these
      23· IP addresses has an abuse associated with it, except the
      24· last one, correct?
      25· · · ·A.· ·Yes.


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      ·1· · · ·Q.· ·Did you go back and look at them?
      ·2· · · ·A.· ·Abuses?
      ·3· · · ·Q.· ·Yes.
      ·4· · · ·A.· ·Yes.
      ·5· · · ·Q.· ·And do you still have them all?
      ·6· · · ·A.· ·I think so.
      ·7· · · ·Q.· ·Okay.· And were you surprised that -- had any
      ·8· activity been taken on any of those abuses?
      ·9· · · ·A.· ·There was activity taken on all abuses.
      10· · · ·Q.· ·And was the activity that you contacted the user
      11· and they said it was okay, so you didn't shut anything
      12· down?
      13· · · · · · MR. FRAY-WITZER:· Objection.
      14· · · · · · THE WITNESS:· I don't know.
      15· BY MS. BOLGER:
      16· · · ·Q.· ·Had any of them been shut down at all?
      17· · · ·A.· ·I think after this, yes.
      18· · · ·Q.· ·Before this?
      19· · · ·A.· ·I don't know.
      20· · · ·Q.· ·Okay.· So, for example, in response to the 200
      21· abuses between 2016 and 2017, from 94 that ended in 162,
      22· did you shut that down before you saw the Grizzly Steppe
      23· Report?
      24· · · ·A.· ·I don't know.
      25· · · ·Q.· ·Who would know?


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      ·1· · · ·A.· ·Abuse department probably know.
      ·2· · · ·Q.· ·Okay.· Then the next -- so is it your testimony
      ·3· that you all review every abuse alert that comes in?
      ·4· · · ·A.· ·I do.· Or the company.
      ·5· · · ·Q.· ·No, you all.· I said, "you all."
      ·6· · · · · · XBT, the company?
      ·7· · · ·A.· ·Yes.· We review all of incoming abuse alerts.
      ·8· · · ·Q.· ·Okay.· And you act on every single abuse alert?
      ·9· · · · · · MR. FRAY-WITZER:· Objection.
      10· · · · · · THE WITNESS:· That's our policy.
      11· BY MS. BOLGER:
      12· · · ·Q.· ·Okay.· Look at the next page, please.
      13· · · · · · It says "I am not aware of any abuse e-mail from
      14· a third party relating to this specific incident.· There
      15· is no" -- and then there is a paragraph -- "but I only get
      16· forwarded important abuses from lawyers, et cetera.· There
      17· is no time to check all abuse messages, as I have over 40
      18· -- 400,000 messages in my abuse mailbox at the moment for
      19· the past seven years."
      20· · · · · · Do you see that?
      21· · · ·A.· ·Yes.
      22· · · ·Q.· ·So he's telling you he's got 400,000 messages and
      23· he doesn't review them all, right?
      24· · · · · · MR. FRAY-WITZER:· Objection.
      25· · · · · · THE WITNESS:· No.


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      ·1· BY MS. BOLGER:
      ·2· · · ·Q.· ·What's he saying?
      ·3· · · ·A.· ·No, actually, yes, he's saying that.· Yes.
      ·4· · · ·Q.· ·Okay.· So he's not handling every abuse in
      ·5· closing, though?
      ·6· · · ·A.· ·It's not his responsibility.
      ·7· · · ·Q.· ·Okay.· And then it says Kseniya is still looking
      ·8· at details."
      ·9· · · · · · Do you see that?
      10· · · ·A.· ·Yes.
      11· · · ·Q.· ·And did Kseniya do more than this?
      12· · · ·A.· ·Yes.
      13· · · ·Q.· ·Where is -- did Kseniya ever report that to you?
      14· · · ·A.· ·Yes.
      15· · · ·Q.· ·In what form?
      16· · · ·A.· ·I believe I got all of the abuse e-mails from
      17· this IP addresses.
      18· · · ·Q.· ·Okay.· What else?
      19· · · ·A.· ·Customer information.· History of the customer
      20· information, contact information of the customers, all of
      21· information we have on customers.
      22· · · ·Q.· ·In what form did you get that?
      23· · · ·A.· ·E-mail address, from e-mail.· E-mail, it was
      24· e-mail.
      25· · · ·Q.· ·I don't have any of that information.· I have


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      ·1· some abuse notifications, but I don't have any e-mails
      ·2· about the customers.
      ·3· · · · · · How come I don't have that stuff?
      ·4· · · · · · MR. FRAY-WITZER:· Objection.
      ·5· · · · · · THE WITNESS:· I don't know.
      ·6· · · · · · MR. FRAY-WITZER:· Object to form.· Discovery
      ·7· · · ·question.
      ·8· BY MS. BOLGER:
      ·9· · · ·Q.· ·Does it exist?
      10· · · ·A.· ·Absolutely.
      11· · · ·Q.· ·Did you have any conversations with Kseniya about
      12· it?
      13· · · ·A.· ·Probably.· I don't remember.
      14· · · ·Q.· ·You don't remember?
      15· · · ·A.· ·Yes.
      16· · · ·Q.· ·Okay.· Who else did you talk to besides Mr.
      17· Goederich and maybe Kseniya about the Grizzly Steppe
      18· Report?
      19· · · ·A.· ·Aleksej Gubarev.
      20· · · ·Q.· ·And what did you talk about with Mr. Gubarev?
      21· · · ·A.· ·I explained to him the situation, and he asks to
      22· produce more details about that.
      23· · · ·Q.· ·I'm sorry.· Say that again.
      24· · · ·A.· ·I've told him briefly about existence of this
      25· report, and he asked me to produce more detail, more


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      ·1· details about this report.
      ·2· · · ·Q.· ·Okay.· And then once you had this e-mail, did you
      ·3· have a conversation with Mr. Gubarev about it?
      ·4· · · ·A.· ·Yeah, I believe so.· That's what I'm saying.           I
      ·5· talked to him, and he asked me to produce a report on
      ·6· that.
      ·7· · · ·Q.· ·Okay.· And then I'm going to ask you to take a
      ·8· look at a document that we'll mark as 19.
      ·9· · · ·(Exhibit No. 19 was marked for Identification.)
      10· BY MS. BOLGER:
      11· · · ·Q.· ·Which was marked PT002.· It actually came to us
      12· in two forms.· This one has my handwritten -- has a
      13· handwritten Bates number, but I assure you we took it from
      14· the -- one of the documents produced that has a Bates
      15· number.
      16· · · · · · Okay.· And this is the report you produced,
      17· correct?
      18· · · ·A.· ·Yes, it looks like -- it looks like this report I
      19· was produced.
      20· · · ·Q.· ·Not sure I understand your hesitation.
      21· · · · · · Is it, or isn't it?
      22· · · · · · I'm happy to have you read it, if that would
      23· reassure you.
      24· · · ·A.· ·Yes.· Well, let me read it, yeah.
      25· · · · · · Yes, it looks like -- yes, it's mine.· I prepared


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      ·1· this report.
      ·2· · · ·Q.· ·Okay.· Great.
      ·3· · · · · · When?
      ·4· · · ·A.· ·Mid 2016, I believe.
      ·5· · · ·Q.· ·You didn't know about the report until the middle
      ·6· of 2017.
      ·7· · · ·A.· ·Of this '17 -- I'm sorry.· Mid 2017.
      ·8· · · ·Q.· ·Okay.· If I told you that the metadata shows that
      ·9· this report was actually created on October 30, 2017, do
      10· you have any reason to doubt that that date is correct?
      11· · · ·A.· ·The document probably was created, but not the
      12· report itself.
      13· · · ·Q.· ·Okay.· If you look at the e-mail right in front,
      14· the document right in front of you, 18.
      15· · · ·A.· ·Yes.
      16· · · ·Q.· ·Look at the paper right in front of you.· This
      17· one.· Sorry.· 18.
      18· · · · · · Do you see that that e-mail exchange is dated
      19· September 6th?
      20· · · ·A.· ·Yes.
      21· · · ·Q.· ·Okay.· You wrote the report after that e-mail
      22· exchange, right?
      23· · · ·A.· ·Absolutely.
      24· · · ·Q.· ·Okay.· So October of 2017 sounds about right,
      25· correct?


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      ·1· · · ·A.· ·October 2017, when I produced this to Aleksej,
      ·2· probably, yes.
      ·3· · · ·Q.· ·What's the distinction you're making?· How -- you
      ·4· could not have written this report before September 2017.
      ·5· Agreed?
      ·6· · · ·A.· ·I written off of this.
      ·7· · · ·Q.· ·Right.
      ·8· · · ·A.· ·It took a while to, like, go through all of the
      ·9· things, and then I create the Word format, printed, and
      10· produced to Aleksej.
      11· · · ·Q.· ·Okay.· So a date of October 30, 2017, sounds like
      12· it could be right for when you wrote this report?
      13· · · · · · MR. FRAY-WITZER:· Objection.
      14· · · · · · THE WITNESS:· Sorry.· A final date, final version
      15· · · ·of the report that was released.
      16· BY MS. BOLGER:
      17· · · ·Q.· ·Okay.· In the beginning it says "From BK to XBT
      18· Holding Stakeholders."
      19· · · · · · Do you see that?
      20· · · ·A.· ·Yes.
      21· · · ·Q.· ·Who are the stakeholders?
      22· · · ·A.· ·Management, shareholders, whatever Aleksej maybe
      23· decided, because he asked me to prepare.· I prepared just
      24· in case he wanted to show it to anyone else.
      25· · · ·Q.· ·Okay.· So you distributed this report to


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      ·1· Mr. Gubarev?
      ·2· · · ·A.· ·Yes.
      ·3· · · ·Q.· ·You don't -- do you know what Mr. Gubarev did
      ·4· with it after that?
      ·5· · · ·A.· ·No.
      ·6· · · ·Q.· ·Do you know if it was ever sent to XBT
      ·7· stakeholders?
      ·8· · · ·A.· ·I know that at least Nick Dvas saw this report as
      ·9· well.
      10· · · ·Q.· ·Anybody else?
      11· · · ·A.· ·I don't know.
      12· · · ·Q.· ·After you sent this to Mr. Gubarev, did you ever
      13· talk to anybody about it?
      14· · · ·A.· ·I provide him hardcopy.
      15· · · ·Q.· ·I'm sorry?
      16· · · ·A.· ·I provided him hardcopy, I believe.
      17· · · ·Q.· ·Okay.· And did you have a conversation with him
      18· when you brought it to him?
      19· · · ·A.· ·Yes.
      20· · · ·Q.· ·What was the conversation?
      21· · · ·A.· ·I don't remember.
      22· · · ·Q.· ·Well, I mean, were you telling him "Everything is
      23· okay.· I've concluded my investigation.· We're A-OK.· We
      24· can still sue Buzzfeed"?· What were you saying?
      25· · · · · · MR. FRAY-WITZER:· Objection.


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      ·1· · · · · · THE WITNESS:· That was not that kind of
      ·2· · · ·conversation.
      ·3· BY MS. BOLGER:
      ·4· · · ·Q.· ·What was the conversation?
      ·5· · · ·A.· ·Not that kind of conversation.· I believe we
      ·6· discussed that there was tons of other IP addresses in
      ·7· that report, and that it -- it looks like just too general
      ·8· to be concerned about that.
      ·9· · · ·Q.· ·Okay.· So you concluded you didn't have anything
      10· to be concerned about?
      11· · · ·A.· ·We do have concerns.· Still, we had concerns, and
      12· we decided to stop the Tor services from our network.
      13· · · ·Q.· ·Okay.· If you take a look at the second page --
      14· · · · · · And it says "From those conversations, it
      15· appeared that there is no ongoing investigation, and no
      16· inquiries from U.S. law enforcement authorities were made.
      17· Luxembourg State Intelligence Service representative did
      18· not request any further details.· Also, for none of the
      19· IPs, there was a search warrant, neither by the police nor
      20· by Secret Service from 2015 until now.· Most of the IP
      21· addresses were Tor exit nodes."
      22· · · · · · Do you see that?
      23· · · ·A.· ·Yes.
      24· · · ·Q.· ·Okay.· So this report has no conclusions other
      25· than law enforcement isn't interested, right?


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      ·1· · · ·A.· ·If -- yes.
      ·2· · · ·Q.· ·Okay.· You say you made decisions based on it,
      ·3· though, and closed down the ability to have Tor nodes,
      ·4· right?
      ·5· · · ·A.· ·Yes.
      ·6· · · ·Q.· ·Incidentally, just for the record --
      ·7· · · · · · THE VIDEOGRAPHER:· Counsel, I need to go off the
      ·8· · · ·record.
      ·9· · · · · · MS. BOLGER:· Oh, sure.
      10· · · · · · THE VIDEOGRAPHER:· Off the video record at
      11· · · ·4:32 P.M.
      12· · · · · · (Brief recess.)
      13· · · · · · THE VIDEOGRAPHER:· Back on the video record at
      14· · · ·4:38 P.M.
      15· BY MS. BOLGER:
      16· · · ·Q.· ·Okay.· Mr. Bezruchenko, just for the record, I'm
      17· going to ask you to, like, take a look at a document that
      18· was produced, which was given the number PT004.
      19· · · · · · Just, if you'll confirm for me, I believe you
      20· created this document; is that right?
      21· · · ·A.· ·I don't think so.
      22· · · ·Q.· ·Okay.· Do you know who did?
      23· · · ·A.· ·No.
      24· · · ·Q.· ·Have you seen it?
      25· · · ·A.· ·Yes.


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      ·1· · · ·Q.· ·What is it?
      ·2· · · ·A.· ·It's a list of customers related to -- of this
      ·3· report.
      ·4· · · ·Q.· ·Okay.· But you don't think you created it?
      ·5· · · ·A.· ·No.· It's not me for sure.
      ·6· · · ·Q.· ·Okay.· Did you ever use it in any way?
      ·7· · · ·A.· ·I read it and produced it to my lawyers.
      ·8· · · ·Q.· ·Okay.· But you never, for example, used it to
      ·9· contact any of the people listed?
      10· · · ·A.· ·No.
      11· · · ·Q.· ·Did anybody else under your direction?
      12· · · ·A.· ·Not under my direction.· Maybe under their own --
      13· · · ·Q.· ·Okay.· Do you know if anyone contacted these
      14· people?
      15· · · ·A.· ·No.
      16· · · ·Q.· ·I'll ask a better question.
      17· · · · · · Did anyone contact these people?
      18· · · ·A.· ·I don't know.
      19· · · ·Q.· ·Okay.· After you found out -- after you read
      20· Grizzly Steppe and did the investigation, you said you
      21· took the remedial activity of making sure there was no Tor
      22· nodes anymore on your -- people couldn't use your service
      23· anymore for Tor nodes.
      24· · · · · · Other than that, did you do anything else?
      25· · · ·A.· ·I believe we also make a changes into applicable


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      ·1· user policy about proxy servers or VPN servers, something
      ·2· like that.
      ·3· · · ·Q.· ·What were those changes?
      ·4· · · ·A.· ·Like, that it's illegal to host, like, proxy -- I
      ·5· mean, anonymizing proxy servers or anonymizing VPN servers
      ·6· in our networks.
      ·7· · · ·Q.· ·Okay.· Anything else?
      ·8· · · · · · Sorry.· And that change was made across the
      ·9· board?
      10· · · ·A.· ·What does it mean, "across the board"?
      11· · · ·Q.· ·That that change to the acceptable use policy was
      12· made across the board for all --
      13· · · · · · THE INTERPRETER:· Across the board --
      14· · · · · · THE WITNESS:· I don't remember.· I don't
      15· · · ·remember.
      16· BY MS. BOLGER:
      17· · · ·Q.· ·Was it made for Root?
      18· · · ·A.· ·I have asked Marc to make it for Root.· I'm not
      19· sure if it was made.
      20· · · ·Q.· ·I'm sorry.· I didn't understand your question.
      21· · · · · · Are you telling me to ask Marc, or are you saying
      22· you asked Marc?
      23· · · · · · I didn't understand your answer.· I apologize.
      24· · · ·A.· ·I believe I am -- asked Marc to make the changes
      25· to our acceptable use policy.


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      ·1· · · ·Q.· ·Okay.· Anything else?
      ·2· · · ·A.· ·We collected maybe abuse reports for these IP
      ·3· addresses, but nothing else, though.
      ·4· · · ·Q.· ·So no other changes to the way you did business?
      ·5· · · ·A.· ·No.
      ·6· · · ·Q.· ·Do you know what the Kelihos botnet was?
      ·7· · · ·A.· ·No.
      ·8· · · ·Q.· ·Do you know who Peter Levashov was?
      ·9· · · ·A.· ·No.
      10· · · ·Q.· ·Are you aware that a warrant was issued in
      11· Luxembourg on February 19, 2016, notifying Root S.A. that
      12· two of its IP addresses were being monitored as the origin
      13· of the Kelihos botnet?
      14· · · ·A.· ·No.
      15· · · ·Q.· ·Are you aware that Root S.A. was actually
      16· physically searched in connection with that investigation?
      17· · · ·A.· ·No.
      18· · · ·Q.· ·Are you also aware that Root S.A. has been the
      19· subject of two other search warrants and wiretap warrants
      20· in Luxembourg, based on fraud and money laundering?
      21· · · ·A.· ·No.
      22· · · ·Q.· ·And that it was actually searched in 2009 as
      23· well?
      24· · · ·A.· ·No.
      25· · · ·Q.· ·Shouldn't you be?


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      ·1· · · · · · MR. FRAY-WITZER:· Objection.
      ·2· · · · · · THE WITNESS:· I don't know.
      ·3· BY MS. BOLGER:
      ·4· · · ·Q.· ·Well, you're the CTO of your company.· If two --
      ·5· if the law enforcement officials are monitoring two of
      ·6· your IP addresses for botnet activity in 2016, shouldn't
      ·7· you know that?
      ·8· · · · · · MR. FRAY-WITZER:· Objection.
      ·9· · · · · · THE WITNESS:· I don't know.· We see the Marc --
      10· · · ·not always notifying me.
      11· BY MS. BOLGER:
      12· · · ·Q.· ·Yeah, but that made you mad, right?
      13· · · ·A.· ·At that time, yes.
      14· · · ·Q.· ·And this doesn't make you mad?
      15· · · ·A.· ·No.
      16· · · ·Q.· ·Why not?
      17· · · ·A.· ·Because the law enforcement agencies is there.
      18· They are knowing what to do, and they will find out who is
      19· doing that and prosecute them.
      20· · · ·Q.· ·It doesn't bother you that someone might be
      21· performing illegal things on your servers that you don't
      22· know about?
      23· · · · · · MR. FRAY-WITZER:· Objection.
      24· · · · · · THE WITNESS:· I don't know if there is any
      25· · · ·illegal things, servers.


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      ·1· BY MS. BOLGER:
      ·2· · · ·Q.· ·Well, I'll tell you that Peter Levashov was
      ·3· arrested for the Kelihos botnet that they believe was on
      ·4· your IP.· Arrested, right?· So not just hypothetical.· He
      ·5· was arrested.
      ·6· · · · · · Does it surprise you to learn that information?
      ·7· · · ·A.· ·Yes.
      ·8· · · · · · MR. FRAY-WITZER:· Objection.
      ·9· BY MS. BOLGER:
      10· · · ·Q.· ·Does it concern you that you didn't?
      11· · · ·A.· ·We didn't what?
      12· · · ·Q.· ·Know about it.
      13· · · · · · MR. FRAY-WITZER:· Objection.
      14· · · · · · THE WITNESS:· No.
      15· BY MS. BOLGER:
      16· · · ·Q.· ·You just don't care?
      17· · · · · · MR. FRAY-WITZER:· Objection.
      18· · · · · · THE WITNESS:· That's not true.· I am caring.
      19· BY MS. BOLGER:
      20· · · ·Q.· ·Well, why aren't you -- why aren't you upset not
      21· to know, if you care so much?
      22· · · ·A.· ·It explained really good that the guy was
      23· arrested.· So why should I be --
      24· · · ·Q.· ·Because he used your infrastructure to commit his
      25· crimes.


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      ·1· · · · · · Does that bother you at all?
      ·2· · · · · · MR. FRAY-WITZER:· Objection.
      ·3· · · · · · THE WITNESS:· Yes.
      ·4· BY MS. BOLGER:
      ·5· · · ·Q.· ·When you get out of this deposition, are you
      ·6· going to look it up, or are you just going to let it go?
      ·7· · · · · · MR. FRAY-WITZER:· Objection.
      ·8· · · · · · THE WITNESS:· No, I'm going to look up.
      ·9· · · · · · MR. FRAY-WITZER:· Did Plaintiff mention that the
      10· · · ·last two exhibits, Defendant's Exhibit 19 and
      11· · · ·Defendant's Exhibit 20, were both originally marked
      12· · · ·"Attorneys's Eyes Only," and they have no designation
      13· · · ·on these exhibits that you have just used?
      14· · · · · · MS. BOLGER:· Well, clearly, that was
      15· · · ·unintentional, Evan.· And I am happy to --
      16· · · · · · MR. FRAY-WITZER:· I understand that.· I just -- I
      17· · · ·wanted to --
      18· · · · · · MS. BOLGER:· I'm -- I'm not trying to trick ya.
      19· · · ·We'll make sure that the ones that go into the record
      20· · · ·have the "Attorneys Eyes Only."
      21· · · · · · MR. FRAY-WITZER:· That's all I'm concerned about.
      22· · · · · · MS. BOLGER:· And we certainly haven't --
      23· · · · · · MR. FRAY-WITZER:· I know you didn't --
      24· · · · · · MS. BOLGER:· -- been distributing them.
      25· · · · · · (Exhibit 20 was marked for Identification.)


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      ·1· BY MS. BOLGER:
      ·2· · · ·Q.· ·Okay.· Do you know what a -- what the RIG exploit
      ·3· kit was?
      ·4· · · ·A.· ·Yes, I've heard about that.
      ·5· · · ·Q.· ·Okay.· What is that?
      ·6· · · ·A.· ·I don't remember the details.
      ·7· · · ·Q.· ·What do you remember?
      ·8· · · ·A.· ·That was some of our -- the customers of our
      ·9· customer was involved hosting of some C & C servers in
      10· their network and they were, like, our customer was not
      11· responsive to that abuse e-mails, and we forced them to
      12· comply with our AP and remove that from their network.
      13· · · ·Q.· ·Okay.· So I think what you just said, and you'll
      14· correct me if I'm wrong, is that one of your customer's
      15· customers was using these IPs to run a RIG -- to run an
      16· exploit kit, which is a form of malware, and when you
      17· found out, you asked your customer to shut it down?
      18· · · ·A.· ·Not correct.· There was C & C servers, command
      19· servers.· As far as I remember, command.· Yeah.· I'm not
      20· sure it was real exploit kit or something like that.· That
      21· customer is our reseller and he has own customers, and he
      22· got abuse e-mails directly, and didn't react to them
      23· properly.· And that some company reached us and we reacted
      24· immediately and forced customer to follow our acceptable
      25· use policy and stop the services to that customer


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      ·1· immediately.
      ·2· · · ·Q.· ·And how did you find out about this?
      ·3· · · ·A.· ·About who?
      ·4· · · ·Q.· ·About the use of your IP addresses by your
      ·5· customers's customer?
      ·6· · · ·A.· ·Someone contacted us.
      ·7· · · ·Q.· ·Who?
      ·8· · · ·A.· ·I don't remember.
      ·9· · · ·Q.· ·Was it the publication of the report?
      10· · · ·A.· ·No.· Someone reached us specifically, reached us
      11· and asked us for help with that matter.
      12· · · ·Q.· ·Okay.· And when was that?
      13· · · ·A.· ·I don't remember.· '15, '16, maybe.
      14· · · ·Q.· ·Do you know what PonyUp was?
      15· · · ·A.· ·No. I've heard this word from the deposition of
      16· Aleksej, but I don't know what that is.
      17· · · ·Q.· ·Do you know that there were Webzilla IP addresses
      18· used in PonyUp?
      19· · · · · · MR. FRAY-WITZER:· Objection.
      20· · · · · · THE WITNESS:· No.
      21· BY MS. BOLGER:
      22· · · ·Q.· ·And do you know that there were -- that there
      23· were Webzilla IP addresses used in the attack on the
      24· Ukrainian power grid?
      25· · · · · · MR. FRAY-WITZER:· Objection.


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      ·1· · · · · · You may answer.
      ·2· · · · · · THE WITNESS:· No.
      ·3· BY MS. BOLGER:
      ·4· · · ·Q.· ·That's the first time you've heard that?
      ·5· · · ·A.· ·Yes.
      ·6· · · ·Q.· ·What was your reaction to the Buzzfeed article?
      ·7· · · ·A.· ·I was shocked.
      ·8· · · ·Q.· ·And where were you?
      ·9· · · ·A.· ·I was in Thailand.
      10· · · ·Q.· ·On vacation?
      11· · · ·A.· ·Yes.
      12· · · ·Q.· ·Okay.· And how did you hear about it?
      13· · · ·A.· ·Aleksej called me.
      14· · · ·Q.· ·What did he say?
      15· · · ·A.· ·He asked me to read the report first.
      16· · · ·Q.· ·Um-hmm.
      17· · · ·A.· ·And he was pretty shocked as well.
      18· · · ·Q.· ·And what did you do in response?
      19· · · ·A.· ·Well, I -- like, as far as I remember, I stopped
      20· my vacation and, like, started working from there, trying
      21· to find out the more information about this, is there any
      22· additional information available about this -- this
      23· report.
      24· · · ·Q.· ·And by "this report," you mean the dossier?
      25· · · ·A.· ·Dossier, yeah.


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      ·1· · · ·Q.· ·Okay.· So when you started to research, you were
      ·2· researching for additional information about what was
      ·3· contained in the dossier; is that right?
      ·4· · · · · · I just want to understand what you're
      ·5· researching.
      ·6· · · ·A.· ·I was researching, like, if any of our --
      ·7· researching for any information about actually the hacks,
      ·8· and the dossier, and all around that.· I don't remember
      ·9· exact specifics.· I was trying to find anything.
      10· · · ·Q.· ·What did you do?
      11· · · ·A.· ·Well, I searched for -- I read for the news
      12· availability at the time.· I tried to find -- to go
      13· through abuse e-mails, like, to find anything that may be,
      14· like, related to a U.S. officials or U.S. law enforcement
      15· agencies.· And, like, there was tons of things I've done
      16· through that time.
      17· · · ·Q.· ·You said you went through abuse notifications.
      18· · · · · · What were you looking for?
      19· · · ·A.· ·I was looking for if there was -- our
      20· infrastructure servers was involved in that.
      21· · · ·Q.· ·How were you looking for that?
      22· · · ·A.· ·Like, by using the infrastructure servers' IP
      23· addresses.
      24· · · ·Q.· ·There are no infrastructure servers IP addresses
      25· in the dossier.


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      ·1· · · ·A.· ·Yeah, but the CSA says that we hacked it.· So
      ·2· "we" means our infrastructure.
      ·3· · · ·Q.· ·I'm sorry.· So you were not looking at the
      ·4· network, you were looking at XBT's infrastructure?
      ·5· · · ·A.· ·Yes.· Because the CS specifically said Aleksej
      ·6· Gubarev and XBT hacked it.
      ·7· · · ·Q.· ·I have no idea what a CSP is.
      ·8· · · · · · What is a CSP?· Did you say CSP?
      ·9· · · ·A.· ·No, I said Aleksej Gubarev and XBT and Webzilla
      10· hacked it.· Specifically, the CS specifically says that
      11· Aleksej and Webzilla hacked it.
      12· · · ·Q.· ·Right.
      13· · · · · · So you did -- you looked -- you looked on your
      14· own infrastructure, is what you're telling me?
      15· · · ·A.· ·Yeah.
      16· · · ·Q.· ·So you looked for abuse alerts on your own
      17· infrastructure?
      18· · · ·A.· ·Yes.
      19· · · ·Q.· ·Okay.· Are there such things, abuse alerts?
      20· · · ·A.· ·No, no.
      21· · · ·Q.· ·I'm sorry.· Do you get abuse alerts for XBT's
      22· infrastructure?
      23· · · ·A.· ·No.
      24· · · ·Q.· ·So what were you looking at?
      25· · · ·A.· ·I was looking if there are anything related to


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      ·1· that, maybe, like, there are some things exist.· No -- we
      ·2· are -- I mean, technically, we can receive abuse, but we
      ·3· never received them.· And I was looking if there is
      ·4· anything I've missed, anything, like, was not bringing to
      ·5· my attention.· I was trying to find anything, any
      ·6· information, about this alleged hack.
      ·7· · · ·Q.· ·What I'm having -- sorry, by the way, do you
      ·8· believe the DNC wasn't hacked?
      ·9· · · ·A.· ·I don't know.
      10· · · ·Q.· ·I know you don't know what the word means.
      11· · · · · · So I had forgotten -- I just misunderstood you.
      12· · · · · · You said you were searching for abuse
      13· notifications, and I want to know where you were
      14· searching.
      15· · · · · · What were you looking at?· What was the
      16· information source?
      17· · · ·A.· ·It's ticketing system.
      18· · · ·Q.· ·Of your -- of the network?
      19· · · ·A.· ·That's the ticketing system where we get abuses.
      20· · · ·Q.· ·Okay.· So what were you looking for?· How were
      21· you searching it?
      22· · · ·A.· ·IP addresses of the servers, infrastructure
      23· servers.
      24· · · ·Q.· ·What IP addresses?
      25· · · ·A.· ·Infrastructure service IP addresses.


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      ·1· · · ·Q.· ·XBT's infrastructure service IP addresses?
      ·2· · · ·A.· ·Exactly.
      ·3· · · ·Q.· ·So you were looking at abuse alerts for your own
      ·4· infrastructure to see if there was any indication that it
      ·5· was involved in the hack.
      ·6· · · · · · But you didn't look at the abuse system for the
      ·7· network at large?
      ·8· · · ·A.· ·What do you mean, network?
      ·9· · · ·Q.· ·For the network.· For your network that your
      10· customers used.
      11· · · · · · You didn't look at the abuse notifications for
      12· your network?
      13· · · ·A.· ·You're talking about customers?
      14· · · ·Q.· ·Um-hmm.
      15· · · ·A.· ·No.
      16· · · ·Q.· ·Okay.· I'm just trying to understand what you
      17· did.
      18· · · ·A.· ·Yeah.
      19· · · ·Q.· ·Okay.· In addition to looking through the abuse
      20· notifications related to XBT's infrastructure, what else
      21· did you do?
      22· · · ·A.· ·I was trying to find any additional piece of
      23· information about this.· Like, anything.· Literally,
      24· reading through thousands of articles available on the
      25· Internet.· Hundreds.· I don't know, thousands.· I was


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      ·1· trying to find any piece of information.
      ·2· · · ·Q.· ·Okay.· Googling things; is that what you're
      ·3· saying?
      ·4· · · · · · MR. FRAY-WITZER:· Objection.
      ·5· · · · · · THE WITNESS:· Yes.
      ·6· BY MS. BOLGER:
      ·7· · · ·Q.· ·Okay.· What else did you do?
      ·8· · · ·A.· ·At that time, nothing.
      ·9· · · ·Q.· ·Okay.· Did you ever reach out to law enforcement
      10· and ask them if they had heard about you all, or were
      11· investigating you all?
      12· · · ·A.· ·I reached out to our attorneys.
      13· · · ·Q.· ·And I don't want to know about your contacts with
      14· your attorneys.· I want know about your contacts --
      15· because I'm not allowed to ask that question.
      16· · · · · · I want to know whether you reached out to any law
      17· enforcement representatives.
      18· · · ·A.· ·No.
      19· · · ·Q.· ·You never called the FBI to say, "Hey, I'd be
      20· happy talk to you about this.· I have no idea what's going
      21· on"?
      22· · · ·A.· ·No.
      23· · · ·Q.· ·Did anybody in your organization ever reach out
      24· to law enforcement and say they would be happy to meet
      25· with them?


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      ·1· · · ·A.· ·I don't know.
      ·2· · · ·Q.· ·So after you, as you put it, dropped your
      ·3· vacation and started to look around, and I -- presumably
      ·4· didn't find anything that you thought was useful, what did
      ·5· you do next?
      ·6· · · ·A.· ·I continued searching for any piece of
      ·7· information.
      ·8· · · ·Q.· ·Okay.· Did you talk to anybody, or did you mostly
      ·9· search online?
      10· · · ·A.· ·We talked to Aleksej.
      11· · · ·Q.· ·And who else?
      12· · · ·A.· ·I don't remember.· It was pretty stressful time.
      13· Like, Aleksej for sure, but maybe someone else.· I don't
      14· remember.
      15· · · ·Q.· ·Okay.· And were you part of the decision to sue
      16· Buzzfeed?
      17· · · ·A.· ·Yes.
      18· · · ·Q.· ·Okay.· And when did you all make that decision?
      19· · · ·A.· ·I don't remember.
      20· · · ·Q.· ·I'm going to ask you to take a look at an exhibit
      21· I'll mark as Defendant's Exhibit 21.
      22· · · ·(Exhibit No. 21 was marked for Identification.)
      23· BY MS. BOLGER:
      24· · · ·Q.· ·Mr. Bezruchenko, what is this?
      25· · · ·A.· ·That's the report I prepared to XBT stakeholders


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      ·1· on the Buzzfeed publication.
      ·2· · · ·Q.· ·And who did you give this to?
      ·3· · · ·A.· ·Aleksej.
      ·4· · · ·Q.· ·Okay.· And what was the -- how did this report
      ·5· come to pass?
      ·6· · · ·A.· ·It was my idea to make this report.
      ·7· · · ·Q.· ·Okay.· Tell me more about that.
      ·8· · · ·A.· ·Yeah, that -- I was still continued trying to
      ·9· search any piece of information.· And whatever I found, I
      10· prepared this report and produced to Aleksej.
      11· · · ·Q.· ·Okay.· And you produced this report around the
      12· same time you produced the Grizzly Steppe Report, right?
      13· · · ·A.· ·I don't remember.
      14· · · ·Q.· ·Okay.· The metadata says this document was
      15· created in September of 2017.
      16· · · ·A.· ·Again, that was the time when I put it into the
      17· Word document.· I used the text edit redactor, like, you
      18· know, VIM, V-I-M.· It's a text redactor.
      19· · · ·Q.· ·A text what?· I'm sorry.
      20· · · ·A.· ·Consult -- it's a pretty old school redactor.
      21· · · ·Q.· ·Redactor?
      22· · · ·A.· ·It's a text processor.
      23· · · ·Q.· ·Okay.
      24· · · ·A.· ·Consult text processor.
      25· · · ·Q.· ·Okay.· Why are you old school?


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      ·1· · · ·A.· ·I'm just used to that.· You know, I'm using these
      ·2· for years.
      ·3· · · ·Q.· ·Okay, okay.· You wrote in it English, why?
      ·4· · · ·A.· ·Because Rajesh doesn't understand Russian
      ·5· language.
      ·6· · · ·Q.· ·When you talk to Aleksej, what language do you
      ·7· guys talk to each other in?
      ·8· · · ·A.· ·Russian.
      ·9· · · ·Q.· ·Okay.· But you wrote this investigation because
      10· you wanted -- in English, because you wanted to include
      11· Rajesh?
      12· · · ·A.· ·Yes.· Everyone who don't understand the English
      13· in our company -- Russian in our company, they should be
      14· able to read it, so it's pretty common to do that.
      15· · · ·Q.· ·Okay.· So when you wrote this, what did you
      16· intend to be done with it?
      17· · · ·A.· ·Can you repeat the question?
      18· · · ·Q.· ·What did you intend Mr. Gubarev to do with this?
      19· · · ·A.· ·What?
      20· · · · · · THE INTERPRETER:· Let me.
      21· · · · · · (Discussion off the record between witness and
      22· · · ·interpreter.)
      23· · · · · · THE WITNESS:· I don't know his intent.
      24· BY MS. BOLGER:
      25· · · ·Q.· ·No, what did you intend him to do?


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      ·1· · · ·A.· ·To explain that this -- well, he's completely
      ·2· wrong.· It's not true.
      ·3· · · ·Q.· ·Okay.· If you start from the beginning, it says
      ·4· "Objective.· We know the statements regarding XBT
      ·5· Webzilla's Aleksej Gubarev not true.· Our aim is to find
      ·6· out if XBT Webzilla infrastructure was used for any
      ·7· activities related to the published report."
      ·8· · · · · · Do you see that?
      ·9· · · ·A.· ·Yes.
      10· · · ·Q.· ·So the way I read that it says, essentially,
      11· "We're assuming the statements aren't true, but we're
      12· aiming to see if essentially someone hacked us to
      13· undertake these activities."
      14· · · · · · Is that what you meant?
      15· · · · · · MR. FRAY-WITZER:· Objection.
      16· · · · · · THE WITNESS:· No.
      17· BY MS. BOLGER:
      18· · · ·Q.· ·What does it mean?
      19· · · ·A.· ·I mean, we are sure we didn't do that.
      20· · · ·Q.· ·Why are you sure?
      21· · · ·A.· ·Because we didn't do that.
      22· · · ·Q.· ·That's a dixit.
      23· · · · · · What do you mean by that?
      24· · · · · · It's Latin.· Don't worry about it.
      25· · · · · · That's just saying the same thing, right?· You're


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      ·1· saying, it is because I say it is.
      ·2· · · · · · I'm saying, how do you know?
      ·3· · · · · · How do you -- how do you -- why are you sure you
      ·4· didn't do it?
      ·5· · · ·A.· ·Because we didn't do it.· It's -- it's that
      ·6· simple.· We didn't do it.
      ·7· · · ·Q.· ·That is, in fact, an ipse dixit.
      ·8· · · · · · Okay, okay.· You say, "The following two factors
      ·9· are very limiting" -- are about -- "to our ability to
      10· conduct a proper investigation.· One is the published
      11· report contains only top level information and lack of
      12· details.· And two, the extensive time frame, March to
      13· September."
      14· · · · · · So you say you went through your infrastructure
      15· and checked out that firewall rules are up to date, all OS
      16· and software components were up to date.· There were no
      17· unauthorized logins to any of the systems or servers.
      18· · · · · · So what were you checking for by doing those
      19· things?
      20· · · ·A.· ·That our system was not compromised, and that was
      21· the reason.
      22· · · ·Q.· ·Okay.· So you're looking for someone who,
      23· effectively -- I know you don't know what the word is, so
      24· I don't want to use it -- hacked into your system or used
      25· your system in a way that you guys don't approve, right?


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      ·1· · · ·A.· ·Yes.
      ·2· · · ·Q.· ·Okay.
      ·3· · · · · · MR. FRAY-WITZER:· The packet you've just given us
      ·4· · · ·attached as two different reports.· I don't know if
      ·5· · · ·that was intended, but --
      ·6· · · · · · THE WITNESS:· No, probably not.· It's two
      ·7· · · ·different --· it's the previous and the --
      ·8· · · · · · MS. BOLGER:· It's not.· It's supposed to be Pages
      ·9· · · ·1 and 2.· I apologize.· You can take off Pages 3 and
      10· · · ·4.
      11· · · · · · Thanks.
      12· BY MS. BOLGER:
      13· · · ·Q.· ·Okay.· And what happened with this report?· Did
      14· anybody do anything with this report?
      15· · · ·A.· ·I don't know.· I produced this to Aleksej and
      16· maybe to our attorneys.
      17· · · ·Q.· ·Okay.· This was in September of 2017.
      18· · · · · · So since then, have you done anything to
      19· investigate the allegations in the dossier?
      20· · · ·A.· ·I'm doing, like, I'm reading the news from time
      21· to time to see if there is any new information that
      22· appears.· That's all.
      23· · · ·Q.· ·Okay.· After the Buzzfeed article came out, did
      24· you all make any changes at all to XBT infrastructure or
      25· your network in response?


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      ·1· · · ·A.· ·No.· No, not related to this report.· Nothing
      ·2· related to this report, correct.
      ·3· · · ·Q.· ·Have you had any interaction with Nikita Kuzmin?
      ·4· · · ·A.· ·Yes.
      ·5· · · ·Q.· ·And who is Nikita Kuzmin?
      ·6· · · ·A.· ·He's one of our customers.
      ·7· · · ·Q.· ·And what kind of customer -- what kind business
      ·8· does he run?
      ·9· · · ·A.· ·He owned a hosting company called Server Club.
      10· · · ·Q.· ·And, in fact, you guys became -- he became your
      11· customer after another network provider told him they
      12· wouldn't renew his contract, right?
      13· · · ·A.· ·I don't know this.
      14· · · ·Q.· ·Okay.· Do you know -- I think we asked already
      15· about Vladimir Fomenko, and you said you didn't know him?
      16· · · ·A.· ·No.
      17· · · ·Q.· ·How about Pavel Vrublevsky?· Sorry.
      18· · · ·A.· ·I heard this name.
      19· · · ·Q.· ·And who is he?
      20· · · ·A.· ·That's some Russian guy.· I never have met him
      21· person.· I just read about him.
      22· · · ·Q.· ·What have you read about him?
      23· · · ·A.· ·I read that he was attacking some companies, his
      24· competitors' companies with botnet, or something like
      25· that.· And he was convicted of that and he spent time in


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      ·1· jail.
      ·2· · · ·Q.· ·Okay.· Do you -- did you ever call Mr. Gubarev,
      ·3· Alex XE?
      ·4· · · ·A.· ·No.
      ·5· · · ·Q.· ·Did you know him to be identified with that name?
      ·6· · · ·A.· ·No.· Well, I know he was using that nickname at
      ·7· some -- in some businesses.· But I don't -- I use --
      ·8· always use Alex.
      ·9· · · ·Q.· ·And have you ever contacted him on an ICQ number?
      10· · · ·A.· ·Most likely, yes.
      11· · · ·Q.· ·What is an ICQ number?
      12· · · ·A.· ·It's like an e-mail.· Some identification number
      13· in the ICQ network.
      14· · · ·Q.· ·Okay.· Do you know someone named Dmitry
      15· Marinichev?
      16· · · ·A.· ·No.
      17· · · ·Q.· ·How about Victor Khaikov?
      18· · · ·A.· ·No.
      19· · · ·Q.· ·Lev Khasis?
      20· · · · · · I can show you these, if that's easier?
      21· · · ·A.· ·Yeah.· I mean, if you want a better answers, yes,
      22· because it's not always -- the pronunciation is not always
      23· the same as real name.
      24· · · ·Q.· ·Are you suggesting my Russian is not that good?
      25· · · ·A.· ·No, I just want --


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      ·1· · · ·Q.· ·Shocking.· Mr. Bezruchenko, I'll hand you these.
      ·2· There are documents that were previously marked as
      ·3· Defendant's Exhibit N1 through N15.
      ·4· · · ·A.· ·Never heard of Dmitry Marinichev.
      ·5· · · · · · Never heard of Victor Khaikov.
      ·6· · · · · · Never heard of Lev Khasis.
      ·7· · · · · · I have heard the name Natalya Kapersky.
      ·8· · · ·Q.· ·Do you know her?
      ·9· · · ·A.· ·I know who is this, but I don't know her
      10· personally.
      11· · · ·Q.· ·Okay.
      12· · · ·A.· ·I heard the name Ilya Sachkov.
      13· · · ·Q.· ·Do you know Ilya?
      14· · · ·A.· ·Not personally.· I heard the name.
      15· · · ·Q.· ·What have you heard about Ilya?
      16· · · ·A.· ·I believe he's working for Group IBEE.· It's some
      17· cert company in Russian, or something like that.
      18· · · · · · I know -- I heard the name German Klimenko.
      19· · · ·Q.· ·Who is that?
      20· · · ·A.· ·He's --
      21· · · · · · THE INTERPRETER:· Counselor.
      22· · · · · · THE WITNESS:· Advisor, advisor to Putin for the
      23· · · ·Internet.
      24· BY MS. BOLGER:
      25· · · ·Q.· ·Do you know him personally?


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      ·1· · · ·A.· ·No. Evgeniy Bogachev -- I don't know him.
      ·2· · · · · · Pavel Vrublevsky --
      ·3· · · ·Q.· ·We talked about him.
      ·4· · · ·A.· ·Yes.
      ·5· · · · · · We talked about Vladimir Fomenko.· I don't know
      ·6· him.
      ·7· · · · · · Vitaly Korchagin, I don't know him.
      ·8· · · ·Q.· ·Do you know of him?
      ·9· · · ·A.· ·Hmm?
      10· · · ·Q.· ·Do you know of him?
      11· · · ·A.· ·No, I don't know him.
      12· · · · · · Panagiotis Kouvatsos -- I know him.
      13· · · ·Q.· ·And who is he?
      14· · · ·A.· ·He was -- once he was employee of our company,
      15· and was marketing.· And he was also doing some work for
      16· Aleksej, as far as I remember, for AVM Open --
      17· · · · · · MR. FRAY-WITZER:· AWM.
      18· · · · · · THE WITNESS:· Yeah, AWM Open.· Yeah.
      19· · · · · · And he served -- he worked in our company as
      20· · · ·marketing person.
      21· BY MS. BOLGER:
      22· · · ·Q.· ·Okay.
      23· · · ·A.· ·I know this website.· FUBARWebmasters.
      24· · · ·Q.· ·Yeah.· Do you know what that is?
      25· · · ·A.· ·Yes.


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      ·1· · · ·Q.· ·What is it?
      ·2· · · ·A.· ·That's the website of the guy who went from --
      ·3· probably some of the adult conferences and made the
      ·4· photos.· He was photographer.
      ·5· · · ·Q.· ·Do you know what FUBAR means?
      ·6· · · ·A.· ·No.
      ·7· · · · · · What does it means?
      ·8· · · ·Q.· ·I'll tell you offline.
      ·9· · · ·A.· ·Okay.
      10· · · · · · I know the -- Nikolai McColo.
      11· · · ·Q.· ·And who is that?
      12· · · ·A.· ·He was -- he was owner of a hosting company named
      13· the same way, McColo.
      14· · · ·Q.· ·And have you all had any interactions with him?
      15· · · ·A.· ·I believe I met him once on Cyprus, in the AW
      16· Open conference in 2004, probably.
      17· · · · · · Konstantin Poltev or Kokach -- no, I don't know
      18· this name or nickname.
      19· · · ·Q.· ·Okay.
      20· · · ·A.· ·Anton Titov, I know this person.
      21· · · ·Q.· ·And who is that?
      22· · · ·A.· ·He was our customer in -- he still is our
      23· customer, sure.
      24· · · ·Q.· ·What does he do?
      25· · · ·A.· ·He has some -- some -- he is a customer for our


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      ·1· -- he is colocation and -- he's collocated in Dallas, and
      ·2· his network in Dallas.· He has some business.· I'm not
      ·3· sure which one.
      ·4· · · ·Q.· ·Okay.· The Nikita Kuzmin that you know and who is
      ·5· a customer of yours, is that the same Nikita Kuzmin who
      ·6· was involved in the creation of the Gozi virus?
      ·7· · · ·A.· ·In the what?
      ·8· · · ·Q.· ·The creation of Gozi virus?
      ·9· · · ·A.· ·I'm not aware about that.
      10· · · ·Q.· ·Not aware of what the Gozi virus is, or not aware
      11· of whether Mr. Kuzmin was involved?
      12· · · ·A.· ·I'm not aware of both of that.
      13· · · ·Q.· ·Okay, okay.· I'm going to -- wait, are you aware
      14· Mr. Kuzmin -- Nikita Kuzmin went to prison?
      15· · · ·A.· ·I have heard about that.
      16· · · ·Q.· ·Your Nikita Kuzmin that you -- not your -- I'll
      17· rephrase that question.
      18· · · · · · Don't worry about.· I will eject that question.
      19· · · · · · The Nikita Kuzmin with whom you interacted went
      20· to prison?
      21· · · ·A.· ·I have heard about this, yes.
      22· · · ·Q.· ·Is that a "yes"?
      23· · · ·A.· ·Yes.
      24· · · ·Q.· ·Okay, okay.· I'm going to ask you to mark a -- do
      25· you know what he went to prison for?


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      ·1· · · ·A.· ·Not exactly.
      ·2· · · ·Q.· ·Do you know what country he went to prison in?
      ·3· · · ·A.· ·In United States.
      ·4· · · ·Q.· ·Okay.· What -- you said, "not exactly."
      ·5· · · · · · What vaguely do you think he went to prison for?
      ·6· · · ·A.· ·It was some illegal activities.· I don't know
      ·7· exactly.
      ·8· · · ·Q.· ·Related to the Internet?
      ·9· · · ·A.· ·Yes.· Because he's an Internet entrepreneur, so
      10· most likely related to Internet.
      11· · · ·Q.· ·And now, he's back in Russia, right?
      12· · · ·A.· ·Yes.
      13· · · ·Q.· ·And is he still your customer?
      14· · · ·A.· ·Yes.
      15· · · ·Q.· ·Do you know him personally?
      16· · · ·A.· ·Yes.
      17· · · ·Q.· ·Where did you meet him?
      18· · · ·A.· ·In St. Petersburg.
      19· · · ·Q.· ·Do you know him well?
      20· · · ·A.· ·No, I met him only once in person.
      21· · · ·Q.· ·Where did you -- in what context?
      22· · · ·A.· ·Hmm?
      23· · · ·Q.· ·In what context?
      24· · · ·A.· ·Because he was Server Club owner, and we are
      25· acquired that company from him.


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      ·1· · · ·Q.· ·You acquired his company?
      ·2· · · ·A.· ·Yes.
      ·3· · · ·Q.· ·Okay.
      ·4· · · ·A.· ·Not only his -- he was only maybe a shareholder
      ·5· in that company.
      ·6· · · ·Q.· ·Which company was that?
      ·7· · · ·A.· ·Server Club.
      ·8· · · ·Q.· ·And where is that -- what entity of XBT's does
      ·9· Server Club belong to?
      10· · · ·A.· ·I believe there is no entity.· We acquired a
      11· customer base and the servers, like, property, and the
      12· customer base.
      13· · · ·Q.· ·And is that part of Webzilla?
      14· · · ·A.· ·Yes.
      15· · · ·Q.· ·And where are those servers located?
      16· · · ·A.· ·I believe it's both in Dallas, Texas, and
      17· Amsterdam, Netherlands.
      18· · · ·Q.· ·And you kept that customer base?
      19· · · ·A.· ·We are now going through transition, like, so
      20· we're checking who is the customers and, like, what to do
      21· with this customer base, like, to checking -- like, doing
      22· background checks for these customers.
      23· · · ·Q.· ·When did you acquire the assets of Server Club?
      24· · · ·A.· ·A few months ago.
      25· · · ·Q.· ·In the year 2018?


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      ·1· · · ·A.· ·It was end of 2017, or maybe this year.· I don't
      ·2· remember exactly.· I don't remember.
      ·3· · · ·Q.· ·What -- you just said you're in the process of
      ·4· doing diligence on the customers.
      ·5· · · ·A.· ·Yes.
      ·6· · · ·Q.· ·What kind of customers are there?
      ·7· · · ·A.· ·Various kind of customers.· Like, really a lot of
      ·8· different kind of customers.
      ·9· · · ·Q.· ·Okay.· Are they mostly businesses or individuals?
      10· · · ·A.· ·They are both individuals and businesses.           I
      11· don't know to extent, like, what the amount of personal
      12· and businesses, but there are different -- pretty
      13· different kinds of customers.
      14· · · ·Q.· ·And are they Russian?
      15· · · ·A.· ·I don't know.· I am not the person who's doing
      16· the due diligence.
      17· · · ·Q.· ·Okay.· And when did you meet Mr. Kuzmin?
      18· · · ·A.· ·It was in 2017.· I don't remember the month at
      19· all.
      20· · · ·Q.· ·Was it a cold month or a warm month?
      21· · · ·A.· ·It's hard to say.· It's always cold in St.
      22· Petersburg.
      23· · · ·Q.· ·I realized that as soon as I said those words,
      24· actually.· Yeah.
      25· · · · · · But do you remember anything about the time of


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      ·1· year?
      ·2· · · ·A.· ·I was wearing something like that, so it was not
      ·3· that cold.
      ·4· · · ·Q.· ·Okay.· So it was the spring or the summer?
      ·5· · · ·A.· ·Spring.· Most likely, spring.· Not -- not the
      ·6· autumn.· Not autumn.· Spring.
      ·7· · · ·Q.· ·Okay.· And had that been -- your acquisition of
      ·8· Server Club, had that been something you guys had
      ·9· contemplated for a long time, or did it kind of come up
      10· quickly?
      11· · · ·A.· ·As far as I know, it come up quickly.· Nikita
      12· says that he's going out of business or this thing.· And
      13· for us, that is a choice either to acquire his customer
      14· base or completely lose the revenue because someone else
      15· will acquire that.
      16· · · ·Q.· ·And were you making a lot of money from Mr.
      17· Kuzmin before the acquisition?
      18· · · ·A.· ·I don't know.
      19· · · ·Q.· ·Well, why did you make the choice to acquire it?
      20· · · ·A.· ·As I explained, there was a choice to lose the
      21· customer or to keep the revenue.
      22· · · ·Q.· ·How much money did it cost you?
      23· · · ·A.· ·I don't remember.
      24· · · ·Q.· ·Who would know that?
      25· · · ·A.· ·Rajesh would know that.


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      ·1· · · ·Q.· ·Who at your company is primarily responsible for
      ·2· contact with Mr. Kuzmin?
      ·3· · · ·A.· ·There is no dedicated contact with Mr. Kuzmin in
      ·4· our company.
      ·5· · · ·Q.· ·It doesn't have to be dedicated.
      ·6· · · · · · I kind of mean, who talks to him?
      ·7· · · ·A.· ·I don't know.· It can be anyone.
      ·8· · · ·Q.· ·Okay.· I'm going to ask you to take a look at
      ·9· Exhibit 22.
      10· · · ·(Exhibit No. 22 was marked for Identification.)
      11· BY MS. BOLGER:
      12· · · ·Q.· ·For the record, this is a document produced by
      13· kglobal, given Bates Number 3097 through 3098.
      14· · · · · · Mr. Bezruchenko, take a look.· I'm going to ask
      15· you if you know what this is.
      16· · · ·A.· ·I believe that that's someone from kglobal, yeah.
      17· · · ·Q.· ·And kglobal was a PR firm that you all hired?
      18· · · ·A.· ·Yeah, it was hired by XBT Webzilla, Servers.com.
      19· I don't remember who --
      20· · · ·Q.· ·Okay.· It was hired by you all to promote the
      21· brand?
      22· · · ·A.· ·Yes.
      23· · · ·Q.· ·Okay.· And as part of promoting the brand,
      24· they're seeking your bio, correct?
      25· · · ·A.· ·It's -- I'm not sure their intention, if it's a


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      ·1· part of promotion brand.· But they're seeking our bios.
      ·2· · · ·Q.· ·Okay.· And they're trying to do that so that you
      ·3· can -- they can develop ideas for potential op-ed
      ·4· opportunities, right?
      ·5· · · · · · MR. FRAY-WITZER:· Objection.
      ·6· BY MS. BOLGER:
      ·7· · · ·Q.· ·It says it in the e-mail.
      ·8· · · · · · MR. FRAY-WITZER:· I withdraw the objection.
      ·9· · · · · · THE WITNESS:· Yeah, it says in the e-mail, but
      10· · · ·I'm not sure what was real intention of them.· The
      11· · · ·e-mail says that.
      12· BY MS. BOLGER:
      13· · · ·Q.· ·Are you implying that there was some other
      14· intention?
      15· · · ·A.· ·It can be.· I don't know, really.
      16· · · ·Q.· ·Okay.· And you filled out the form and sent it
      17· back to him, right?
      18· · · ·A.· ·I'm not sure.· Maybe marketing team filled that
      19· for me.· I am not sure.· I don't remember that I filled
      20· that form.
      21· · · ·Q.· ·Okay.
      22· · · ·A.· ·Because marketing team may have our biographies
      23· somewhere in their records.
      24· · · ·Q.· ·Okay.· But it comes under your name.
      25· · · · · · You sent it back, correct?


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      ·1· · · ·A.· ·Yes.
      ·2· · · ·Q.· ·Okay, okay.· And you have yourself several times
      ·3· given comments -- oh -- comments to the press about XBT or
      ·4· Webzilla properties, right?
      ·5· · · ·A.· ·Yes.
      ·6· · · ·Q.· ·To promote them, right?
      ·7· · · ·A.· ·I don't know.· I was just asked to put the
      ·8· comments.· I'm not -- I was, like, of completely of this
      ·9· marketing chain.· Someone asked me to, if this text is
      10· okay, I wrote "okay" to put under name.· Okay, it goes.
      11· · · ·Q.· ·Okay.· And this happened several that times
      12· you've been asked to do that?
      13· · · ·A.· ·I don't remember exact amount of times it
      14· happened.· More than once.
      15· · · ·Q.· ·More than once.
      16· · · · · · And you say something in the neighborhood of 20?
      17· · · · · · MR. FRAY-WITZER:· Objection.
      18· · · · · · THE WITNESS:· I don't know, really.
      19· BY MS. BOLGER:
      20· · · ·Q.· ·Okay.· I'm going to hand you a pile of documents,
      21· and you can -- we can take a quick break, if you want.
      22· You can look at them.· And we have them all that you can
      23· look on.
      24· · · · · · Just for time purposes, these are all documents
      25· in which -- articles in which you find yourself quoted,


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      ·1· Mr. Bezruchenko.
      ·2· · · · · · And I just want you to take a look at them and
      ·3· confirm to me that these are all documents in which you
      ·4· are quoted?
      ·5· · · ·A.· ·Okay.
      ·6· · · · · · THE VIDEOGRAPHER:· Are we going off the record?
      ·7· · · · · · MS. BOLGER:· I don't think we need to go off the
      ·8· · · ·record.· It's pretty straightforward.
      ·9· · · · · · THE WITNESS:· Yes, all this documents include
      10· · · ·quotes under my name.
      11· BY MS. BOLGER:
      12· · · ·Q.· ·Okay.· And are those quotes you've given, or are
      13· -- that you've -- are they interviews, or are they quotes
      14· you've given, or are they a mix?
      15· · · ·A.· ·I don't remember exactly.· Some of the documents,
      16· quite old.· But most of the time, like, marketing gives me
      17· quote and I approval, maybe change it and send it back.
      18· · · ·Q.· ·Okay.· I'm going to show you a document that I
      19· marked as Defendant's Exhibit 23.
      20· · · ·(Exhibit No. 23 was marked for Identification.)
      21· BY MS. BOLGER:
      22· · · ·Q.· ·You're happy to look at the whole e-mail
      23· exchange, but I'm going to focus you on the e-mail from
      24· you, which is at the bottom of the first page.
      25· · · · · · And the e-mail from you says, "Hi, Joe.· Just to


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      ·1· let you know, Prisma is rocketing on Android right now.            I
      ·2· believe we should act fast, otherwise we may lose
      ·3· momentum."
      ·4· · · · · · Do you see that?
      ·5· · · ·A.· ·Yeah, but it seems like the thread was not
      ·6· started by me.
      ·7· · · ·Q.· ·No, I'm not suggesting it was.
      ·8· · · · · · That's the e-mail from you to Joe, right?
      ·9· · · ·A.· ·Yeah, it's my e-mail.
      10· · · ·Q.· ·So you're saying to the marketing guy, "Act fast
      11· on this to get us some publicity."· Right?
      12· · · · · · MR. FRAY-WITZER:· Objection.
      13· · · · · · THE WITNESS:· I'm not sure if he's marketing guy.
      14· BY MS. BOLGER:
      15· · · ·Q.· ·Well, what else do they do at kglobal?
      16· · · ·A.· ·He was our contact person at kglobal.· I'm not
      17· sure he -- he's doing -- really in charge of actual
      18· marketing.
      19· · · ·Q.· ·What did kglobal -- what did you hire kglobal to
      20· do?
      21· · · ·A.· ·As far as I know, for the PR activities.
      22· · · ·Q.· ·Okay.· Are you making a distinction between PR --
      23· I'll do it again.
      24· · · ·A.· ·Yeah.
      25· · · ·Q.· ·You're telling him to act quickly to get some PR


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      ·1· for Prisma, right?
      ·2· · · ·A.· ·Yes.
      ·3· · · · · · MS. BOLGER:· Okay.· I'm going to take a quick
      ·4· · · ·break.· I shouldn't have too much more.
      ·5· · · · · · MR. FRAY-WITZER:· Okay.
      ·6· · · · · · THE VIDEOGRAPHER:· Going off the video record at
      ·7· · · ·5:19 P.M.
      ·8· · · · · · (Whereupon, there was a recess, after which the
      ·9· · · ·following proceedings were had:)
      10· · · · · · THE VIDEOGRAPHER:· Stand by.
      11· · · · · · Back on the video record at 5:27 P.M.
      12· · · · · · MS. BOLGER:· That is it.· I have no further
      13· · · ·questions.
      14· · · · · · Do you all have anything to say?
      15· · · · · · MR. FRAY-WITZER:· No questions.
      16· · · · · · I'm impressed, got it down to 5:30.
      17· · · · · · MS. BOLGER:· True.· All right.· That's it.· We'll
      18· · · ·close the deposition for the day.· And thank you very
      19· · · ·much, Mr. Bezruchenko.
      20· · · · · · THE WITNESS:· Thank you.
      21· · · · · · THE VIDEOGRAPHER:· Off the video record at 5:28
      22· · · ·P.M.
      23· · · · · · THE COURT REPORTER:· Sir, the transcript was
      24· · · ·ordered.· Would you like a copy?
      25· · · · · · MR. FRAY-WITZER:· Yes, please.


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      ·1· · · · · · · · · · · · · · ·------

      ·2· · · · · (The deposition was concluded at 5:28 p.m.)

      ·3· · · (Reading and signing of the deposition was waived by

      ·4· the witness and all parties.)

      ·5

      ·6· · · · · · · · · · · CERTIFICATE OF OATH

      ·7

      ·8· STATE OF FLORIDA

      ·9· COUNTY OF MIAMI-DADE

      10

      11· · · · · ·I, SHARON VELAZCO, Registered Professional

      12· Reporter, Notary Public, State of Florida, certify that

      13· KOSTYANTYN BEZRUCHENKO personally appeared before me on

      14· the 3rd day of May, 2018, and was duly sworn.

      15· · · · · ·Signed this 8th day of May, 2018.

      16

      17

      18· · · · · · · · ·____________________________________
      · · · · · · · · · · · SHARON VELAZCO, RPR
      19· · · · · · · · · · Notary Public, State of Florida
      · · · · · · · · · · · Commission No.: FF 146173
      20· · · · · · · · · · Commission Expires: August 19, 2018

      21

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      ·1· · · · · · · · · · CERTIFICATE OF REPORTER

      ·2

      ·3· STATE OF FLORIDA

      ·4· COUNTY OF MIAMI-DADE

      ·5

      ·6· · · · · ·I, SHARON VELAZCO, Registered Professional

      ·7· Reporter, certify that I was authorized to and did

      ·8· stenographically report the deposition of KOSTYANTYN

      ·9· BEZRUCHENKO; that a review of the transcript was not

      10· requested; and that the transcript is a true record of my

      11· stenographic notes.

      12· · · · · ·I further certify that I am not a relative,

      13· employee, attorney, or counsel of any of the parties, nor

      14· am I a relative or employee of any of the parties'

      15· attorneys or counsel connected with the action, nor am I

      16· financially interested in the action.

      17

      18· · · · · ·Dated this 8th day of May, 2018.

      19

      20· · · · · ·_________________________________
      · · · · · · ·SHARON VELAZCO, RPR
      21· · · · · ·Registered Professional Reporter

      22

      23

      24

      25


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